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 Attorney or Party Name, Address, Telephone & FAX               FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


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     Attorney for: Debtor and Debtor-In-Possession

                                    UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                         CASE NO.: 2:20-bk-17433-VZ
 JONG UK BYUN                                                   CHAPTER: 11


                                                                 FIRST AMENDED DISCLOSURE STATEMENT
                                                                               AND PLAN
                                                                          OF REORGANIZATION
                                                                               [11 U.S.C. §§ 1123, 1125]

                                                                   Initial Disclosure Statement and Plan
                                                                   1st Amended Disclosure Statement and Plan


                                                                             For information on court hearings,
                                                  Debtor(s).            see the separately filed notice(s) of hearing.

On (specify the “petition date”) August 14, 2020, the Debtor filed a voluntary bankruptcy petition under Chapter 11 of the
Bankruptcy Code (“Code"). This form Disclosure Statement and Plan of Reorganization (“DS and Plan”) is both the
Disclosure Statement (“DS”) and the Plan of Reorganization (“Plan”).

PROPONENT: The party who filed the DS and Plan (“Proponent”) is:             Debtor, or            .

PLAN: The terms of the Plan, located at Sections VIII – X, comply with the requirements of 11 U.S.C. § 1123, including
the proposed treatment of claims of the Debtor’s creditors and, if applicable, the interests of shareholders or partners.
The Court has not yet confirmed the Plan, which means the terms of the Plan are not now binding on anyone;
however, if the Plan is confirmed, the terms will bind the Debtor and any holders of claims or interests treated by the plan.

DISCLOSURE STATEMENT: Sections I – VII and XI constitute the DS and describe the assumptions that underlie the
Plan and how the Plan will be executed. The Proponent believes the DS meets the standard for adequate information set
forth in 11 U.S.C. § 1125(a). The information disclosed is for explanatory purposes only and is as accurate as
possible.

Any interested party desiring further information should contact the attorney for Proponent identified above in the box at
top left of this page, using the contact information provided.


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                                               NOTE ABOUT CITATIONS

                “Chapter, section and §” references are to 11 U.S.C. §§ 101-1532 of the Bankruptcy Code.
                “FRBP” references are to the Federal Rules of Bankruptcy Procedure.
                “LBR” references are to the Local Bankruptcy Rules for the Central District of California.




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    I. GENERAL DISCLAIMER
    PLEASE READ THIS DOCUMENT CAREFUULY, INCLUDING THE ATTACHED EXHIBITS. IT EXPLAINS WHO IS
    ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, AND WHO IS ENTITLED TO FILE AN OBJECTION TO
    CONFIRMATION OF THE PLAN. IT ALSO IDENTIFIES THE TREATMENT THAT CLAIMANTS (CREDITORS) AND
    ANY INTEREST HOLDERS (SHAREHOLDERS OR PARTNERS) CAN EXPECT TO RECEIVE UNDER THE PLAN,
    IF THE PLAN IS CONFIRMED BY THE COURT.

    THE SOURCES OF FINANCIAL DATA RELIED ON TO FORMULATE THIS DOCUMENT ARE IN EXHIBIT A,
    A DECLARATION. ALL REPRESENTATIONS ARE TRUE TO THE PROPONENT’S BEST KNOWLEDGE.

    NO REPRESENTATIONS CONCERNING THE DEBTOR THAT ARE INCONSISTENT WITH INFORMATION
    CONTAINED IN THIS DS AND PLAN ARE AUTHORIZED EXCEPT TO THE EXTENT, IF AT ALL, THAT THE
    COURT ORDERS OTHERWISE.

    AFTER CAREFULLY REVIEWING THIS DOCUMENT AND THE ATTACHED DECLARATIONS AND EXHIBITS,
    PLEASE REFER TO THE SEPARATELY FILED NOTICE OF DATES RELATED TO A HEARING ON MOTION TO
    APPROVE ADEQUACY OF THE DISCLOSURE STATEMENT, OR HEARING ON MOTION TO CONFIRM THE
    PLAN. EACH NOTICE WILL IDENTIFY DATES AND DEADLINES TO FILE A RESPONSE OR OTHER
    OBJECTION, OR TO SUBMIT A BALLOT IF YOU ARE ENTITLED TO VOTE ON THE PLAN.


    II. TYPE OF PLAN OF REORGANIZATION; IMPORTANT DATES
    Payments and treatments under the Plan have a starting date (“Effective Date”), a period of time after the Effective
    Date to continue payments (“Plan Term”), and a final payment date (“Final Payment”).

                Plan Type                         Effective Date                        Plan Term           Final Payment Date

          Liquidating: See               14 days after order confirming Plan           5 years; or              March 2026
     Section V.A.2 below for                                                                                (estimates an Effective
                                         Other date: The effective date of             360 months             Date of May 2021)
     anticipated sale(s)
                                     this Plan is the first day of the
          Operating: See Section
                                     month that is a business day
     III below
                                     following the date that is 14 days
                                     after the entry of the confirmation
                                     order. If, however, a stay of the
                                     confirmation order is in effect on
                                     that date, the effective date will be
                                     the first business day after the date
                                     on which the stay expires or is
                                     otherwise terminated.


    III. DESCRIPTION OF DEBTOR’S PAST AND FUTURE BUSINESS AND EVENTS
           PRECIPITATING BANKRUPTCY FILING
    A. PAST AND FUTURE BUSINESS OPERATIONS: The Debtor is organized as a sole proprietorship. The Debtor
       conducted over 90 percent of its business activity in Los Angeles California since 1993. Before this case was
       commenced on (specify the “petition date”) August 14, 2020, the Debtor,

                  provided the following services for pay:

                  manufactured or sold the following products:

                  was in the business of renting real estate. (See Exhibit G for a detailed description of Debtor’s property
                  or properties including locations, square footage, occupancy rates, etc.)

                  was in the business of developing real estate. (See Exhibit          for a detailed description of Debtor’s
                  property or properties including locations, size of lot(s), stage of development, etc.)

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                other:

        The Debtor        will      will not continue this course of conduct.

        The Debtor:              is not a small business debtor within the meaning of 11 U.S.C.§101(51(d)).
                                 is a small business debtor within the meaning of 11 U.S.C.§101(51(d)), please see Exhibit
                                 for information pertaining to 11 U.S.C. §1116 compliance.

        B. FACTORS THAT LED TO FILING THIS BANKRUPTCY CASE (Describe briefly):


          The Debtor is an individual, 67 years of age. The Debtor owns real property as listed in Exhibit C to
this Disclosure Statement, which is fairly valued in the range of $43,150,000. He does not own a home. He
also owns 100% of Central Metal, Inc. (“CMI”), which he formed in 1993, but does not currently conduct

business activities other than sub-renting its locations. He operated CMI ever since 1993 until recently.
          Although the California Superior Court dismissed the Debtor’s claims, finding that there was no
commitment on the part of Hyundai Steel Company, Ltd. (“Hyundai”), the Debtor’s position is that his troubles
commenced when Hyundai, CMI’s largest customer, breached its commitment with CMI. From 2007 through
mid-2016, CMI sold Hyundai more than $180 million in recycled materials pursuant to a Memorandum of
Understanding. Despite promises to the contrary, which caused CMI to purchase additional material handling

equipment and expanding its business, Hyundai stopped buying products from CMI in 2016 without any formal
notice. In breach of its promises to purchase 1.12 million tons of scrap metal since 2008, Hyundai barely
purchased approximately 334,400 tons of scrap metal. As a result of Hyundai Steel’s breach of its promises,
CMI was never able to recover financially. CMI and, by extension, the Debtor have lost approximately $32
Million from Hyundai’s failure to purchase 140,000 tons of scrap metal annually. One important detail here is
that Hyundai discontinued performing on its obligations to CMI when it made an equivalent promise to Prime

Metals U.S.A., Inc. (“Prime Metals) in exchange for the purchase by Prime Metals of certain mortgages against
the Debtor’s real properties. Hyundai had previously agreed to purchase these mortgages (and be flexible
regarding collection) as compensation for Hyundai’s breach of purchase agreements with CMI in 2008 (the
“Notes”). Again, unfortunately, the Superior Court of California already ruled against the Debtor on the
foregoing.
          Such Notes are the basis for Hyundai’s attempt to foreclose on the Debtor’s real properties on

August 17, 2020. In short, Hyundai breached agreements with CMI, which caused CMI to incur losses of tens
of millions of dollars in depreciating scrap metal and investments in equipment and expansion of operations.

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Hyundai then purchased the Notes; however, since Hyundai then continued breaching its promises to buy scrap
metal, both CMI and the Debtor were unable to perform under the Notes. To add insult to injury, Hyundai now
is attempting to foreclose on the Debtor’s real properties even though the Notes are the subject of an action to
recover them by Richard Marshack, as Chapter 7 Trustee for Prime Metals. This is another piece in Hyundai’s

game of deceit and bad faith.
        The Debtor prosecuted litigation against Hyundai unsuccessfully prior to commencing this bankruptcy
proceeding and, as mentioned above, the California Superior Court dismissed the Debtor’s claims. The Debtor
filed this personal chapter 11 case to stop a foreclosure sale of his real property by Hyundai so that he could
attempt to propose a Chapter 11 Plan that pays not only Hyundai but also several other substantial creditors
owed millions of dollars who would otherwise receive nothing from a foreclosure sale. The foreclosure sale

was set for August 17, 2020. The Debtor had previously listed his Los Angeles properties for sale and secured
three potential buyers to purchase all four properties for $34.8 Million, which is less than what the Debtor
believes he would get now that the U.S. Environmental Protection Agency (“EPA”) has found little
contamination in his property commonly known as 8201 Santa Fe Ave., Huntington Park, CA 90255 (“Santa Fe
Property”) if given sufficient time for marketing and due diligence by potential purchasers as well as to account
for the impact of substantial capital gains taxes associated with a sale. However, not even those sales could

close before August 17, 2020. Hyundai refused to provide the Debtor any further extension even though the
total sales price exceeds Hyundai’s claims of approximately $24 Million by roughly $10 Million. When the
Debtor was unable to convince Hyundai or the Superior Court for the County of Los Angeles to continue the
sale, he was forced to file the bankruptcy petition.
        The foregoing notwithstanding, the Debtor has recently retained The Environmental Law Group, LLP’s
S. Wayne Rosenbaum, Esq., who specializes in environmental law. Based on the communications with the EPA

by the Debtor through his agents and counsel, it would appear that the EPA has concluded that the Debtor’s real
estate Santa Fe Property is not environmentally impaired, but the EPA has yet to finalize its evaluation of any
contamination caused by the Santa Fe Property on surrounding residential properties. Therefore, should the
EPA and/or the California Department of Toxic Substance Control determine that the Debtor is liable as a
generator of pollution on the surrounding properties, the Debtor is unable at this time to quantify the estimated
cleanup costs or the duration of cleanup efforts. However, environmental counsel believes that it may be

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possible to quantify the potential financial exposure in consultation with the EPA. If the Debtor is unable to pay
the cleanup costs himself, it is likely that the EPA or DTSC could use their statutory authority to carry out the
remediation and place a lien on the Santa Fe Property to recover their costs of clean up senior in priority to all
other liens, which would run with the land. This potential liability does impact the marketability of the Santa Fe

Property. Nevertheless, since , the Santa Fe Property does not appear to be environmentally impaired, this
potential exposure may not impact the stability of rental income derived from the Santa Fe Property but may
increase the likelihood of default under the Chapter 11 Plan depending on the costs of cleanup. In light of the
foregoing, the Debtor is reasonably confident that he can propose a feasible plan of reorganization at this time
as his circumstances have changed for the better and this document represents such plan; unfortunately,
Hyundai obtained relief from stay by order entered on October 29, 2020 and may foreclose commencing on

March 12, 2021. In light of such impending foreclosure sale, the Debtor shifted his focus to obtaining
refinancing offers. While the Debtor did obtain at least one offer to borrow an amount that would be only
somewhat short of Hyundai’s current balance, the lender will not close on such transaction as it relates to the
Santa Fe property (which is the largest property), until the EPA has completed its phase 3 or third required off
site investigation and testing and provides a No Further Action letter and releases the current owner and site(s)
from further testing and remediation. The EPA, on its part, has not commenced such phase 3 or third required

off-site investigation largely because it has paused or slowed down its investigations because of the current
COVID-19 pandemic and the danger of infection with such virus by its personnel or third parties while
conducting investigations. This unfortunate turn of events is thwarting the Debtor’s ability to refinance or sell
the property and leaves a conventional Chapter 11 reorganization as the only option at this point barring a
change in the EPA’s ability to conduct such investigations now that vaccines against the COVID-19 virus have
been approved. The foregoing notwithstanding, the Debtor has continued to approach parties who may finance a

loan to pay off Hyundai to keep Hyundai from foreclosing on this Los Angeles properties and may request that
a confirmation order reflect satisfaction of Hyundai’s claim thusly. The Debtor has obtained at least one offer
for a loan despite the EPA issues; however, as the interest rate is 12%, the Debtor continues to explore other
lenders at lower interest rates while also clearing up warehouse space to rent to enhance his income.




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        C. FUTURE FINANCIAL OUTLOOK: Proponent believes that the Debtor’s economic health has, or will, improve
           from its prebankruptcy state for the following reasons. (Describe briefly)

        Historically, the Debtor technically leased his properties to his corporation, CMI, which then serviced
the debt secured by his properties in lieu of or as rent. Since CMI’s recycling operations have ceased, the
Debtor has been able to lease the majority of his properties as his financial projections reveal and now has
sufficient income to service his debt over terms and an interest rate set under Bankruptcy Law. Interest rates are
historically low at this time and such circumstance favors the Debtor.

        D. PROPOSED MANAGEMENT OF THE DEBTOR:
                1. Names of persons who will manage the Debtor’s business affairs: The Debtor will continue to manage his
                   business affairs.


                2. Proposed compensation to persons listed above: The Debtor will fund his ongoing modest living
                   expenses after satisfying his obligations under this Plan from rental income.

                3. Qualifications of persons listed above: The Proponent has operated businesses for about 27 years and
                   his business failed only because of Hyundai’s unexpected halt to its orders for metal as explained above,
                   which left the Debtor with the debt secured by his properties which had been incurred largely to increase
                   CMI’s capacity to be able to service Hyundai’s demand. Without the large orders from Hyundai, the cost
                   of operating CMI’s recycling business are too high to be offset by income from operations. Therefore,
                   since the operations now consist of renting out his properties, the Debtor is eminently qualified for such
                   straightforward business model.

                4. Affiliation of persons listed above to Debtor: Jong Uk Byun is the Debtor.


                5. Job description: Manager and Operator


        E. PROPOSED         DISBURSING AGENT              MULTI-PURPOSE POST-CONFIRMATION AGENT
           will pay all amounts due under the Plan from a fund hereby authorized to be opened. This fund shall be
           maintained in a segregated, interest-bearing account in a depository approved by the United States trustee
           for the Central District of California for deposits of funds by trustees.
                1. Name of person responsible for collecting money intended for distribution to claimants and transmitting it
                   to claimants: Jong Uk Byun*
                2. Disbursing agent’s address: 8201 Santa Fe Ave., Huntington Park, CA 90255
                3. Disbursing agent’s phone number: May Be Provided by Request to Debtor's Attorney.
                4. Proposed compensation for person listed above: $0
                5. Qualifications of person listed above: Plan Proponent will serve as the Disbursing Agent. As explained
                   above, in light of the Debtor’s history operating businesses, he is eminently qualified to manage the rental
                   of his properties and payment of his obligations under his Chapter 11 Plan.
                6. Affiliation of person listed above to Debtor: The Debtor, the Plan Proponent, is also the Disbursing Agent.
                7. Job description: Manager and Operator
                    *The Debtor shall act as the disbursing agent for the purpose of making all distributions provided
                    for under the Plan. The Disbursing Agent shall serve without bond and shall not receive
                    compensation or reimbursement for services and expenses rendered and incurred in connection
                    with making distributions under the Plan.
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    IV. DEFINITIONS AND PRELIMINARY INFORMATION

        A. CLAIMS AND INTERESTS

        A claim refers to all obligations of the Debtor or against property of the Debtor. Claims treated under the Plan are
        included whether the claim arose before or after the bankruptcy case was filed, and whether or not an obligation
        involves a cash payment. A claimant refers to holder of a claim treated under the Plan, even if the party did not
        file a proof of claim. An interest represents an ownership stake in the Debtor. An interest holder refers to holder
        of an interest treated under the Plan, even if the party did not file a proof of interest.

        A claim or interest is allowed if it is (a) timely and properly scheduled or filed, and not objected to; (b) objected to,
        and was resolved by settlement of the parties or a court order, or (c) deemed allowed. A claim is deemed allowed
        if the claim is listed on the Debtor’s schedules and is not scheduled as disputed, contingent, or unliquidated. An
        interest is deemed allowed if it is included on the list of equity security holders filed by the Debtor with the court
        and is not scheduled as disputed. Allowed claims and interests are provided for in the Plan in the relevant
        category or class.

        A claim or interest is disallowed if it was timely objected to by a party in interest and the court ordered that the
        claim or interest be disallowed in part or entirely. Disallowed claims and interests are not treated under the
        Plan.

        A claim or interest is disputed if a ruling on allowance has not been made, and (a) a proof of claim or interest has
        been filed or deemed filed and a party in interest has filed an objection; or (b) a proof of claim or interest has not
        been filed and the Debtor scheduled such claim or interest as disputed, contingent, unliquidated or unknown.

        In this case, the deadline by which to file a proof of claim or interest is December 22, 2020 (“Bar Date”) and the
        deadline by which to have an objection to claim or interest heard is January 29, 2021. The status of the claims
        and interest objection process is that      all objections to have been resolved, and no other objections are
        anticipated; or     the objection process is pending, or will shortly begin, for the claims or interests identified in
        Exhibit B as having an objection pending and Proponent has filed the Motion for Order Approving Disclosure
        Statement with objections still pending because the Bar Date had not expired by the time this disclosure statement
        had to be filed and because counsel anticipates rulings on or negotiating resolutions of such objections on time to
        obtain approval of a disclosure statement.

        If the holder of a claim or interest wants to vote, but holds a claim or interest that has either (a) been objected to,
        or (b) has been scheduled by the Debtor as contingent, disputed, unliquidated, or unknown, and the holder has
        not filed a proof of claim or interest, the holder must file a motion to have its claim or interest allowed for voting
        purposes in time for that motion to be heard before the hearing on confirmation of the Plan.

        No distribution will be made on the disputed portion of a claim or interest unless allowed by a final non-appealable
        order. FRBP 9019 authorizes the Debtor to settle disputed claims with court approval; but court approval is not
        required if a proposed settlement does not exceed $2,500.00. The Debtor is required to reserve funds to pay the
        amount claimants would receive if the claim is allowed in full (unless the court approves a different amount). To
        the extent a disputed claim is disallowed, (a) the funds that had been reserved for such claims will be distributed
        as provided in the Plan to other creditors of the same class (or as ordered by the court); or (b) if this box is
        checked       then such funds will be distributed to the Debtor.


      B. POTENTIAL § 1111(b) ELECTIONS. § 1111(b) allows a partially secured claim to be treated as fully secured
         under certain conditions, notwithstanding § 506(a). Claimants should consult their attorney to evaluate if a
         § 1111(b) election is available and is in their best interest, and to identify the deadline for making an election.


      C. VOTING AND OBJECTIONS TO CONFIRMATION OF PLAN.

           “Voting” to accept or reject the Plan is different from “objecting” to confirmation of the Plan. Voting by ballot
           means a claimant entitled to vote completes the ballot enclosed with this DS and Plan and returns it to


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           Proponent. Objecting to confirmation means a party in interest files and serves either a Preliminary Objection to
           Confirmation of Plan, or an Opposition to Motion to Confirm Plan.


         1. Who may object to confirmation of the Plan. Any party in interest may object to confirmation of the Plan;
            but, as explained below, not all claimants and interest holders are entitled to vote to accept or reject the Plan.

         2. Who may vote (§ 1124). It requires both an allowed and impaired claim, or allowed and impaired interest in
            order to vote either to accept or reject the Plan.

          Impaired claimants include those whose legal, equitable, and contractual rights are altered by the Plan even if
          the alteration is beneficial to the claimant. Impaired interest-holders include those whose legal, equitable, and
          contractual rights are altered by the Plan, even if the alteration is beneficial to the interest holder.

          Claims and interests are placed into classes consistent with § 1122. Members of unimpaired classes do not
          vote, though they may file an objection to confirmation of the plan.

          Many claimants are treated by the Bankruptcy Code as having accepted or rejected the Plan without a vote.
          Some types of claims are required to be treated a certain way by the Bankruptcy Code and for that reason they
          are considered unimpaired. Holders of such claims cannot vote. In addition, the Bankruptcy Code treats some
          claimants as having rejected the Plan without a vote if (a) the claimant is to receive no distribution under the
          Plan; (b) an objection has been filed to that claimants’ claim and the objection has not been resolved prior to
          filing the Plan; or (c) Debtor scheduled a claim as contingent, disputed, unliquidated or unknown and the creditor
          has not filed a proof of claim.

                     Classes Entitled to Vote Because                            Classes Not Entitled to Vote Because
                          the Class is Impaired:                                       the Class is Unimpaired:

            Except for Classes 1 and 2a and priority claims            None.
            under § 507(a)(8) and § 1129(a)(9)(C) , ALL
            Classes Are Impaired and Entitled to Vote.



          A party that disputes the Proponent’s characterization of its claim or interest as unimpaired and wants to vote,
          may request a finding of impairment from the Court in order to obtain the right to vote.

    3.     Votes necessary to confirm the Plan.. The court may confirm the Plan if at least one non-insider impaired
         class of claims has accepted, and certain statutory requirements are met as to both nonconsenting members
         within a consenting class and as to dissenting classes. A class of claim has accepted the Plan when more than
         one half in number and at least two-thirds in amount of the allowed claims actually voting, vote in favor of the
         Plan. A class of interest has accepted when more than one half in number and at least two-thirds in amount of
         the allowed interests of such class actually voting have accepted it. It is important to remember that even if the
         requisite number of votes to confirm the Plan are obtained, the Plan will not bind the parties unless and until the
         Court makes an independent determination that confirmation is appropriate. That is the subject of any upcoming
         confirmation hearing.

      (A) How to vote. The Debtor will file and serve 2 notices: (1) Notice of Hearing on Adequacy of Disclosure
          Statement (“Notice of DS Hearing”); and Notice of Dates Related to Confirmation of Plan and Deadlines to:
          Submit Ballot; (B) File Preliminary Objection to Confirmation of Plan; and (C) File Response to Motion to
          Confirm Plan (“Notice of Deadlines Related to Confirmation”).

          A ballot will accompany the Notice of Deadlines Related to Confirmation. A voting claimant must follow the
          instructions set forth in the Notice of Deadlines Related to Confirmation. A claimant whose claim is allowed as
          partly secured and partly unsecured is entitled to vote in each capacity by delivering one ballot for the secured
          part of the claim and another ballot for the unsecured portion of the claim.



V. SOURCE OF MONEY TO SATISFY CLAIMS AND INTERESTS

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    The Plan cannot be confirmed unless the Court finds that it is "feasible," which means that the Proponent has timely
    submitted evidence establishing that the Debtor will have sufficient funds available to satisfy all expenses, including
    the scheduled payments to claimants discussed in sections VIII below.


    A. NON-INCOME SOURCES TO FUND PLAN. See Exhibit(s) D for income that will fund the Plan. If additional
       funding sources (non-income) are needed, see below:

                1. Loan or Line of Credit:        None        Loans or Lines of Credit are as follows:

           NAME OF LENDER                                     CONTRIBUTION TYPE             TERM         INT RATE        PROCEEDS

           (a)     The Debtor continues to seek                 Loan      Credit Line                          %         $
                   financing and may amend this
                   Disclosure Statement to reflect
                   relevant information.

           (b)                                                  Loan      Credit Line                          %         $


                2. Sales of Property:

                        None - Because of the significant ordinary and/or capital gain tax consequences of a sale and the
                    limitations imposed by not having a final clearance from the EPA, the Debtor does not currently have a
                    purchase transaction in place, but reserves the right to sell some or all of his real property in the future to
                    pay claims sooner.

                       All or substantially all of Debtor’s assets will be sold. The terms of the proposed sale and evidence of
                       the financial solvency of the proposed buyer is attached in Exhibit          .

                       The specified property of Debtor is planned to be sold as follows:

                                                                                 PROPOSED           PROPOSED            PROCEEDS
                                                                                   SALE               SALE               TO FUND
           PROPERTY DESCRIPTION:
                                                                                   DATE               PRICE             THE PLAN
           (a)         Property in CLASS #3, #4 or #5: Check only ONE:
                          3a         3b      3c          3d      3e                              $                  $
                          4a         4b      4c          4d      4e
                          5a         5b      5c          5d      5e

           (b)         Property in CLASS #3 or #4: Check only ONE:
                          3a         3b      3c          3d      3e                              $                  $
                          4a         4b      4c          4d      4e
                          5a         5b      5c          5d      5e


                       See Exhibit         for additional anticipated sales of specific property.


                3. Adversary Proceedings:           None        Adversary proceedings are as follows:

           ADVERSARY PROCEEDING DESCRIPTION: FRBP                          DATE FILED OR            ADV. PROC.       ANTICIPATED
           7001 and LBR 7004-1 require a summons/complaint.                 TO BE FILED              NUMBER           RECOVERY
           (a)                                                                                                       $
           (b)                                                                                                       $
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    B. PAYMENTS ON THE EFFECTIVE DATE. This section demonstrates the Plan is feasible on the Effective Date.


     (1) CLAIMS AND EXPENSES TO BE PAID ON THE EFFECTIVE DATE                                            AMOUNT
         Cure Payments: Executory Contracts, Unexpired Leases: Section VIII.B.2.                                   $0
         Administrative claims + Statutory Costs/Charges: Section VIII.C.1. +court costs                   $141,875
             (estimated)
         Nominal Unsecured Claims: Section VIII.E.1.                                                               $0
        First Payments: General Unsecured Claims: Section VIII.E.2 (Payments totaling                              $0
     $3,613.87 per month – See Exhibit B – are currently anticipated to commence on
     January 5, 2022 by which time the Debtor’s rental income is set to increase
     substantially as explained in Exhibit D).
        Arrearages + First Payments: Secured Claims: Sections VIII.F. – VIII.G. (The                    $129,188.71
     claim of Hyundai will commence on the Effective Date while the payments to other
     holders of secured claims totaling $51,934.93 per month – See Exhibit B – are
     currently anticipated to commence on January 5, 2022 by which time the Debtor’s
     rental income is set to increase substantially as explained in Exhibit D).
                                           TOTAL TO BE PAID ON THE EFFECTIVE DATE:                      $271,063.71
     (2) SOURCE OF FUNDS ON THE EFFECTIVE DATE
        Cash on Hand (estimated based on all cash on hand plus contractual amounts to                 $2,008,049.28
     be received up to the Effective Date less expenditures):
         New Value:       Contributor Name (identify): Ex Wife or Chidlren, if needed.                             $0
         Loan or Line of Credit: Described above in:      V.A.(1a)       V.A.(1b)                                  $0
         Sale of Property: Described above in:     V.A.(2a)       V.A.(2b)                                         $0
         Adversary Proceeding Recovery: Described above in:          V.A.(3a)       V.A.(3b)                       $0
         Other Sources:      (identify):                                                                           $0

                                   TOTAL FUNDS AVAILABLE ON THE EFFECTIVE DATE:                       $2,008,049.28
     (3) CASH AVAILABLE AFTER PAYMENTS MADE ON THE EFFECTIVE DATE:                                    $1,736,985.57


    C. PAYMENTS DURING THE PLAN TERM. Please see Exhibit D. for cash flow projections for the duration of the
       Plan, to help determine that the plan is feasible during the plan term. The focus is on projected cash receipts and
       cash disbursements. All non-cash items such as depreciation, amortization, gains and losses are omitted. A
       positive number reflects a source of cash; a (negative number) reflects a use of cash. Exhibit D also contains
       details of the assumptions that underlie the projections.


    D. FINANCIAL RECORDS TO ASSIST IN DETERMINING WHETHER PROPOSED PAYMENT IS FEASIBLE
       Please see Exhibit E for three types of financial documents related to past activities. The two time periods of
       activities are: (1) the most recent twelve-month calendar year; and (2) all months subsequent thereto. Since the
       Debtor has only recently commenced renting to entities other than CMI, the available historical documents are
       limited, but are provided herein. The financial documents include: balance sheets, cash flow statements and
       income and expense statements.


    E. EXPLANATION OF RISK FACTORS AND POTENTIAL FLUCTUATIONS WHEN IMPLEMENTING THE PLAN.

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                RISK FACTOR                          EXPLANATION OF RISK AND FLUCTUATIONS

            Business/Economic        It is difficult to speculate on all circumstances that may exist which may
                                     prevent the successful consummation of the proposed plan. However,
            Sale of Property
                                     completion of the Plan depends on the Debtor’s continued business
            Balloon Payment          operations and the income generated from renting his real estate assets.
                                     Furthermore, as previously mentioned, the Debtor has recently retained The
            Int. Rate Adjustment
                                     Environmental Law Group, LLP’s S. Wayne Rosenbaum, Esq., who
            Other                    specializes in environmental law. Based on the communications with the EPA
                                     by the Debtor through his agents and counsel, it would appear that the EPA
                                     has concluded that the Debtor’s real estate Santa Fe Property is not
                                     environmentally impaired, but the EPA has yet to finalize its evaluation of any
                                     contamination caused by the Santa Fe Property on surrounding residential
                                     properties. Therefore, should the EPA and/or the California Department of
                                     Toxic Substance Control determine that the Debtor is liable as a generator of
                                     pollution on the surrounding properties, the Debtor is unable at this time to
                                     quantify the estimated cleanup costs or the duration of cleanup efforts.
                                     However, environmental counsel believes that it may be possible to quantify
                                     the potential financial exposure in consultation with the EPA. If the Debtor is
                                     unable to pay the cleanup costs himself, it is likely that the EPA or DTSC
                                     could use their statutory authority to carry out the remediation and place a lien
                                     on the Santa Fe Property to recover their costs of clean up senior in priority to
                                     all other liens, which would run with the land. This potential liability does
                                     impact the marketability of the Santa Fe Property. Nevertheless, since , the
                                     Santa Fe Property does not appear to be environmentally impaired, this
                                     potential exposure may not impact the stability of rental income derived from
                                     the Santa Fe Property but may increase the likelihood of default under the
                                     Chapter 11 Plan depending on the costs of cleanup.
            Business/Economic        The Debtor may make balloon payments to holders of claims secured by his
                                     real estate assets as he continues to be engaged in seeking refinancing
            Sale of Property
                                     proposals for the existing debt.
            Balloon Payment
            Int. Rate Adjustment
            Other

            Business/Economic        It is difficult to predict how the currently ongoing COVID-19 pandemic may
                                     affect the Debtor’s income; however, the projections are based on rents being
            Sale of Property
                                     received in the middle of the pandemic while Los Angeles is still in a
            Balloon Payment          “WIDESPREAD” status according to the official website from the State of
                                     California regarding COVID-19 issues: https://covid19.ca.gov/safer-
            Int. Rate Adjustment
                                     economy/. Therefore, the Debtor anticipates that his income is likely to
            Other                    increase in the future, not decrease.



    F. TAX CONSEQUENCES OF THE PLAN.

        1. To the Debtor: Tax consequences to the Debtor are:
             The following disclosure of possible tax consequences is intended solely for the purpose of alerting readers
        about possible tax issues this Plan may present to the Debtor. The Debtor CANNOT and DOES NOT represent
        that the tax consequences contained below are the only tax consequences of the Plan because the Tax Code
        embodies many complicated rules which make it difficult to state completely and accurately all the tax implications
        of any action.
             The following are the tax consequences which the Plan will have on the Debtor’s tax liability: In general,
        absent an exception, a debtor will realize and recognize cancellation of debt income (''COD Income'') upon
        satisfaction of its outstanding indebtedness for total consideration less than the amount of such indebtedness.
        The amount of COD Income, in general, is the excess of (a) the adjusted issue price of the indebtedness
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          satisfied, over (b) the sum of (x) the amount of Cash paid, and (y) the fair market value of any new consideration
          (including stock of the debtor) given in satisfaction of such indebtedness at the time of the exchange.
                A debtor will not, however, be required to include any amount of COD Income in gross income if the debtor is
          under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy Code and the discharge of debt
          occurs pursuant to that proceeding. Instead, as a consequence of such exclusion, a debtor must reduce its tax
          attributes by the amount of COD Income that it excluded from gross income under section 108 of the Internal
          Revenue Code. In general, tax attributes will be reduced in the following order: (a) NOLs; (b) most tax credits and
          capital loss carryovers; (c) tax basis in assets; and (d) foreign tax credits. A debtor with COD Income may elect
          first to reduce the basis of its depreciable assets under section 108(b)(5) of the Internal Revenue Code.

          2. To Claimants: Claimants should consult their advisors regarding potential tax effects of the Plan;
             nevertheless:

                   The Debtor believes tax consequences to claimants are:


                    The Debtor is not certain of tax consequences, because: Tax consequences may vary from claimant to
                claimant. Creditors and parties in interest concerned with how the plan may affect their tax liability should
                consult with their own accountants, attorneys, and/or advisors. The Debtor CANNOT and DOES NOT
                represent that the tax consequences contained above are the only tax consequences of the Plan because the
                Tax Code embodies many complicated rules which make it difficult to state completely and accurately all the
                tax implications of any action. Additionally, the Debtor is not apprised of all possible claimants’ tax situations.

VI.       ASSETS AND LIABILITIES OF THE ESTATE
      A. ASSETS The identity and fair market value of the estate’s assets are listed in Exhibit C so that the reader can
         assess what assets are at least theoretically available to satisfy claims and to evaluate the overall worth of the
         bankruptcy estate. Any proposed sale of these assets is discussed in Section V.A.2 above.

      B. LIABILITIES Exhibit B shows the allowed claims against the estate, claims whose treatment is explained in
         detail in Sections VIII below.

      C. SUMMARY The fair market value of all assets equals $44,450,645.53. Total liabilities equal $35,555,773.15, but
         the amount of the administrative claims may continue to increase. Note that these amounts may change as
         additional proofs of claim are filed and professional appraisals are completed. In addition, the amount of liabilities
         would increase in case the Los Angeles real properties are sold as capital gains of approximately $13,330,030.00
         would be incurred.


VII.      TREATMENT OF NONCONSENTING MEMBERS OF CONSENTING CLASS
          The Plan must provide that a nonconsenting impaired claimant or interest holder of a consenting class receive at
          least as much as would be available had the Debtor filed a Chapter 7 petition instead. In a Chapter 7 case the
          general rule is that the Debtor's assets are sold by a trustee. Unsecured claims generally share in the proceeds
          of sale only after secured creditors and administrative claimants are paid. Certain unsecured claims get paid
          before other unsecured claims do. Unsecured claims with the same priority share in proportion to the amount of
          their allowed claim in relationship to the total amount of allowed claims.

          A claimant would recover from the assets of the bankruptcy estate less under chapter 7 than under chapter 11 for
          a number of reasons including: (1) the liquidation value of Debtor’s assets is less than its fair market value
          because virtually all of the Debtor’s assets have not been cleared by the EPA as explained above in
          Section III.B., which would likely eliminate the potential for sale transactions in the foreseeable near
          future; (2) in a sale transaction, a chapter 7 trustee would have to pay capital gains taxes to the Internal
          Revenue Service and the State of California; (3) in a chapter 7 case, a trustee is appointed and is entitled
          to compensation from the bankruptcy estate as reflected in the chart below; and (4) an individual debtor
          is permitted to exempt a certain amount of the sales proceeds before unsecured claims are paid anything.

 CALCULATION OF ESTIMATED PERCENT RECOVERY                                                  CHAPTER 7             CHAPTER 11



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 (a)  Total value of the Debtor’s assets (Estimate):                                     $31,120,615.53         $44,450,645.53
      See Exhibits A and C for a list of all property of the bankruptcy estate,
      valuations, and valuation methods. In addition, the value of the Los
      Angeles real properties should be reduced in case of a sale as capital
      gains of approximately $13,330,030.00 would be incurred. A Chapter
      7 Trustee may abandon the Debtor’s real estate assets due to the
      aforementioned EPA issues in the foreseeable near future, which
      would lead to a zero recovery by unsecured claimholders.
      Note that the Debtor may pursue avoidance actions against
      Central Metal, Inc. and other parties, if any, and will dedicate net
      proceeds of such litigation to satisfy claims sooner. However, the
      potential recovery from Central Metal, Inc. may not exceed the
      costs of pursuing such litigation and, therefore, may not be
      pursued.
 (b) Administrative Expense Claims (Estimate) – Chapter 7 administrative                   <$341,875>             <$141,875>
 expense claims would include both Chapter 11 claims and Chapter 7 claims:
 (c)      Tax Claims (Estimate):                                                          <$263,982.52>          <$263,982.52>

 (d)      Secured Claims to be Paid Before General Unsecured Claims:                    <$34,477,378.90>       <$34,477,378.90>

 (e)      Trustee’s Fees: Assuming the chapter 7 trustee disburses the net
          liquidation value of assets to claimants, § 326 indicates the chapter 7
          trustee is entitled to fees of:

        * 25% on the first $5,000 of all moneys disbursed = $1,250,
        * 10% on any amount over $5,000 but less than $50,000 = $4,500,
        * 5% on any amount over $50,000 but not in excess of $1 million
       = $47,500,
        * 3% on all amounts over $1 million) = $1,333,519.34,

                                        TOTAL TRUSTEE’S FEES =                           <$1,386,769.37>               N/A

 (f)   New Value (the Debtor currently plans to pay 100% of its claims with
                                                                                                N/A                   $N/A
 interest at the federal post-judgment interest rate, but reserves the right to
 accept a new value contribution, if necessary)
 (g)      Dollar Amount Available for General Unsecured Claims: (a) plus (f)
                                                                                                 $0              $8,576,392.46
          minus (b), (c), (d) and (e) =
 (h)      Dollar Amount of General Unsecured Claims: =                                    $1,274,556.02          $1,274,556.02

 (i) % recovery on general unsecured claims: [(g) divided by (h)] x
                                                                                                0%                  100.09%
 100% =



VIII. PLAN PROVISIONS: TREATMENT OF CLAIMS
       Below is a summary of who gets paid what and when and from what source. The Proponent is usually not required by
       law to pay the holder of an unsecured claim or interest everything it would otherwise be entitled to, had a bankruptcy
       case not commenced.


       A. ASSUMPTION AND REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES. [§ 365]

           1.      There are no executory contracts or unexpired leases.

           2.      Assumption. The post-confirmation debtor will perform all related obligations whether arising before or
                   after confirmation of the Plan. Any arrearages arising before confirmation of the Plan will be paid by the
                   first day of the month following the Effective Date unless the parties agree otherwise or the court finds
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                      that a longer payment schedule still provides the creditor with timely cure and adequate assurance of
                      future performance. Obligations that arise after confirmation of the Plan will be paid as they come due.

                         Previously Assumed:

                                                                                                DATE OF           CURE AMOUNT:
                                DESCRIPTION OF EXECUTORY CONTRACT
                                                                                               ORDER TO            Must be paid on
                                        OR UNEXPIRED LEASE
                                                                                                ASSUME              Effective Date
                        (a)                                                                                       $
                        (b)                                                                                       $

                         To be Assumed on the Effective Date.

                                                                                                                  CURE AMOUNT:
                              DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
                                                                                                                   Must be paid on
                                                                                                                    Effective Date
                        (a)    See List of Leases Attached as part of Exhibit G                                   $0


         3.           Rejection. Claims arising from the rejection of an executory contract or unexpired lease are treated as
                      general unsecured claims in CLASS #2, except to the extent the court orders otherwise. A claim arising
                      from the rejection must be filed no later than 30 days after the date of the order confirming the Plan.

              DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
              (a)     None                                                   Rejected:      Order Entered on:
                                                                                            Deemed Rejected on:
                                                                             To be Rejected on the Effective Date

              (b)                                                            Rejected:      Order Entered on:
                                                                                            Deemed Rejected on:
                                                                             To be Rejected on the Effective Date


                See Exhibit G for additional executory contracts and unexpired leases to be assumed or rejected.


  B. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(A) and § 1129(a)(9)(C),
     UNLESS A CLAIMANT CONSENTS TO A DIFFERENT TREATMENT. §§ 1129(a)(9)(A) and (C) require that
     certain claims be treated one at a time, rather than as a class. Even if another claimant votes to accept a lesser
     treatment, the claims listed below are not altered. The debtor must prove to the court that claims are either being
     treated as 1129(a)(9) requires, or that the claimant agreed to some other treatment.

      1. Administrative Expense Claims - § 507(a)(2) and § 1129(a)(9)(A). These include: (1) court-approved
         claims of attorneys and other professionals; and (2) United States trustee fees under 28 U.S.C. chapter 123.

                    The deadline to file administrative expensive claims is (date)                    .
                    There are no administrative expense claims.
                    All administrative expense claims  have been filed and/or   are anticipated to be filed, and the
                    claims and amounts indicated below are the amounts requested or anticipated to be requested:

 Claimant: U.S. Trustee*
      Claim Amount                      Interest         Amount                    Amount Paid After Effective Date
    (less paid to date)                   Rate           Paid on                        Each           Balloon               Term of
                                                                         Frequency
     Actual                              (if any)        Effective                    Payment           Pymts               Payments
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    Estimated                                            Date

        $4,875.00                      N/A            Unknown                 Monthly         Unknown             None             N/A
                                                                              Quarterly
                * U.S. trustee quarterly fees shall be paid until a final decree is entered or the case is dismissed or converted. Fees
                of the Office of the United States Trustee are not subject to Court approval and may be paid in the ordinary course
                of business when due.


 Claimant: The Orantes Law Firm, P.C.
      Claim Amount                                    Amount                          Amount Paid After Effective Date
    (less paid to date)              Interest
                                                      Paid on
                                       Rate                                                  Each             Balloon          Term of
     Actual                                           Effective         Frequency
                                      (if any)                                              Payment           Pymts           Payments
     Estimated                                          Date
                                                       To Be             Monthly          Debtor and Counsel will negotiate
        $ 120,000                      N/A
                                                     Negotiated          Quarterly        payment terms for fees.


 Claimant: Appraiser – Braun International Real Estate
      Claim Amount                                    Amount                          Amount Paid After Effective Date
    (less paid to date)              Interest
                                                      Paid on
                                       Rate                                                  Each             Balloon          Term of
     Actual                                           Effective         Frequency
                                      (if any)                                              Payment           Pymts           Payments
     Estimated                                          Date
                                                                         Monthly          To be paid as approved by Court or by
         $ 12,000                      N/A                0
                                                                         Quarterly        Debtor’s relatives.

 Claimant: Environmental Consultant
      Claim Amount                                    Amount                          Amount Paid After Effective Date
    (less paid to date)              Interest
                                                      Paid on
                                       Rate                                                  Each             Balloon          Term of
     Actual                                           Effective         Frequency
                                      (if any)                                              Payment           Pymts           Payments
     Estimated                                          Date
                                                       To Be             Monthly          To be paid as approved by Court or by
          $ 5,000                      N/A
                                                     Negotiated          Quarterly        Debtor’s relatives.


     2. Tax Claims - § 507(a)(8) and § 1129(a)(9)(C). Must be paid in full within 5 years after the Petition Date.

                There are no tax claims             All tax claims have been filed or scheduled, and are indicated below:

 Claimant: San Bernardino County Tax Collector
      Claim Amount                                    Amount                          Amount Paid After Effective Date
                                     Interest
    (less paid to date)                               Paid on
                                       Rate                                                  Each             Balloon          Term of
     Actual                                           Effective         Frequency
                                      (§511)                                                Payment           Pymts           Payments
     Estimated                                          Date
                                                                                                                             51 Months
                                                                         Monthly                                                after
       $ 56,635.33                    18 %           $1,091.00                             $1,091.00            N/A
                                                                         Quarterly                                            Effective
                                                                                                                                Date


 Claimant: Employment Development Department
      Claim Amount                                    Amount                          Amount Paid After Effective Date
                                     Interest
    (less paid to date)                               Paid on
                                       Rate                                                  Each             Balloon          Term of
     Actual                                           Effective         Frequency
                                      (§511)                                                Payment           Pymts           Payments
     Estimated                                          Date

             $0                        5%             Unknown             Monthly                   For Notice purposes only
                                                                          Quarterly

                See Exhibit H for additional unsecured claims (not listed in VII.C) on which voting is not allowed.
                   § 507(a)(2) – Administrative Expense Claims

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                   § 507(a)(8) – Tax Claims
                   § 507(a)(3) – Involuntary Gap Claims Allowed Under § 502(f)

  C. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(B) – CLASS #1.
     § 1129(a)(9)(B) requires certain unsecured claims to be treated with priority over general unsecured claims, and
     pay them in full on the Effective Date or as soon as practicable after unless claimants vote as a class to accept
     deferred payments. If so, claims are impaired and claimants are entitled to vote to accept or reject the Plan.

                There are no claims in CLASS #1.

                CLASS #1a: § 507(a)(1) - Wage and Commission Claims

 Claimant:
      Claim Amount                                   Amount                        Amount Paid After Effective Date
    (less paid to date)             Interest
                                                     Paid on
                                      Rate                                              Each            Balloon          Term of
     Actual                                          Effective       Frequency
                                     (if any)                                          Payment          Pymts           Payments
     Estimated                                         Date

     $                                    %          $                 Monthly          $               $
                                                                       Quarterly                                         months

                See Exhibit       for additional unsecured claims (not listed above) in Class #1:
                   CLASS #1(a): § 507(a)(4) - Wage and Commission Claims
                   CLASS #1(b): § 507(a)(5) – Employee Benefit Plan Contribution Claims
                   CLASS #1(c): § 507(a)(6) – Grain Producer and Fisherman Claims
                   CLASS #1(d): § 507(a)(7) – Consumer Deposit Claims

  D. OTHER UNSECURED CLAIMS – CLASS #2.

           There are no claims in CLASS #2.

           See Exhibit B for a list of all CLASS #2 claimants and amount owed to each.

           1.        CLASS #2a: Nominal Unsecured Claims. These include “nominal” claims of $500 or less, and any
                     larger unsecured claims whose claimant agreed to reduce its claim to this amount. Claimants are not
                     entitled to vote to accept or reject the Plan.

                     Claimants will be paid the nominal amount on the Effective Date, or as soon as practicable thereafter.
                     Estimated total payments are Not known at this time as there are no small claims and claimants may
                     nevertheless elect to receive $500 in conjunction with voting.

            2.       CLASS #2b: General unsecured claims. These are unsecured claims not included in CLASS #2a, and
                     will be paid as follows. Claimants are entitled to vote to reject or accept the Plan.

                          Percent Plan. Each claimant in CLASS #2b will be paid 100.09% of its claim beginning on
                          January 5, 2022:

                          a. Over 30 years in equal      monthly      quarterly installments, due on the first day of each
                             calendar quarter – the Debtor may refinance the loans secured by his properties or sell some or
                             all of them in the future and pay the claims early without additional interest or penalty;

                          b.      with interest at the rate of 0.09 % Federal Post-Judgment Interest Rate per annum, or
                  without interest; and.

                          c.   The amount each claimant receives depends on the total amount of allowed claims in this class.

                          Pot Plan. Each member of CLASS #2b will be paid a pro rata share of a fund totaling $                   ,
                          created by the Debtor’s payment:

                          a. Pro rata means the entire fund amount divided by the total of all allowed claims in this class.

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                         b. Payment amount is $                     per   month      quarter for a period of       months/quarters,

                         c.       Payments will begin on (date):

                                   Other: See Exhibit

  E. SECURED CLAIMS – CLASS #3, CLASS #4 and Class #5.

      CLASS #3 - Unimpaired Non-Insider Claims. Claimants are not entitled to vote to accept or reject the Plan. Until
      claims are fully paid, claimants retain their interest in the property securing the claim. Treatment is:

           There are no claims in CLASS #3.


                 CLASS #3a           Claimant:
                                     Basis for secured status:
                                     Priority of lien:


             Total            Total Amount of                                                 Frequency          Total
                                                                      First   Amount of                                    Final
           Amount of          Payments Over              Interest                                 of            Yearly
                                                                    Payment      Each                                     Payment
            Allowed           Time to Satisfy              Rate                               Payments         payments
                                                                      Date    Installment                                   date
             Claim             Secured Claim
           $                  $                              %                $                                $



           Address or Other Description of Collateral Securing Claim 3a:

           Value:                 Valuation         Order on motion or stipulation     Declaration: Certified appraiser
           $                      Method            Other:

                Additional Comments relating to Class #3a:



                 CLASS #3b           Claimant:
                                     Basis for secured status:
                                     Priority of lien:


             Total            Total Amount of                                                 Frequency          Total
                                                                      First   Amount of                                    Final
           Amount of          Payments Over              Interest                                 of            Yearly
                                                                    Payment      Each                                     Payment
            Allowed           Time to Satisfy              Rate                               Payments         payments
                                                                      Date    Installment                                   date
             Claim             Secured Claim
           $                  $                              %                $                                $



           Address or Other Description of Collateral Securing Claim 3b:

           Value:                 Valuation         Order on motion or stipulation     Declaration: Certified appraiser
           $                      Method            Other:



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                Additional Comments relating to Class #3b:


                  CLASS #3c          Claimant:
                                     Basis for secured status:
                                     Priority of lien:


             Total            Total Amount of                                                  Frequency        Total
                                                                       First    Amount of                                     Final
           Amount of          Payments Over              Interest                                  of          Yearly
                                                                     Payment       Each                                      Payment
            Allowed           Time to Satisfy              Rate                                Payments       payments
                                                                       Date     Installment                                    date
             Claim             Secured Claim
           $                  $                              %                 $                              $



           Address or Other Description of Collateral Securing Claim 3c:

           Value:                 Valuation         Order on motion or stipulation       Declaration: Certified appraiser
           $                      Method            Other:

                Additional Comments relating to Class #3c:

                See Exhibit           for more unimpaired secured claims. Label as Class #3d, #3e, etc.

        CLASS #4 - Impaired Non-Insider Claims. Claimants are entitled to vote to accept or reject the Plan. Until
        claims are fully paid, claimants retain their interest in the property securing the claim. Treatment is:

                There are no claims in CLASS #4.


                  CLASS #4a          Claimant: Allen Park
                                     Basis for secured status: Deeds of Trust
                                     Priority of lien: 9th
                                        Lien is not modified in any way.
                                        Lien is modified as follows: The interest rate of the Claim has been decreased from
                                        20% to 4.25%, and will be paid over 360 months as set forth below. Claimant will have
                                        its claim increased by an amount equal to interest at 4.25% from the Effective Date until
                                        payments commence, which is currently estimated to occur on January 5, 2022.


              Total               Total Amount of                                              Frequency        Total
                                                                       First    Amount of                                     Final
            Amount of             Payments Over          Interest                                  of          Yearly
                                                                     Payment       Each                                      Payment
             Allowed              Time to Satisfy          Rate                                Payments       payments
                                                                       Date     Installment                                    date
              Claim                Secured Claim
          $144,777.78         $255,494.20            4.25%          Jan. 5,    $709.71        Monthly        $8,516.47      359
                                                                    2022                                                    months
                                                                                                                            after
                                                                                                                            effective
                                                                                                                            date



           Address or Other Description of Collateral Securing Claim 4a: 8201 Santa Fe Ave., Huntington Park, CA
           90255, 1736 East 24th Street, Los Angeles, CA 90058; 2203 S. Alameda Street, Los Angeles Ca 90058; 2445
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           S. Alameda Street, CA 90058

           Value:           Valuation         Order on motion or stipulation       Declaration: Certified appraiser
           $42,750,000.00   Method            Other: Debtor as Owner.


            Additional Comments relating to Class #4a:
             Debtor may satisfy the Allowed Secured Amount by selling or refinancing the collateral, which shall
        obligate the holder of the claim in this class to reconvey or release its lien in conjunction with such
        transaction without further order of this Court.
             If Debtor materially defaults post-petition under the terms herein, the holder of the claim in this class
        shall have the right to pursue its rights under State law after serving a Notice of Default under this Plan
        and under State law. Please see Section VIII for definition of Material Default.




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                CLASS #4b      Claimant: Bae Family Trust
                               Basis for secured status: Deeds of Trust
                               Priority of lien: 12th
                                  Lien is not modified in any way.
                                   Lien is modified as follows: The interest rate of the Claim has been decreased from
                               20% to 4.25%, and will be paid over 360 months as set forth below. Claimant will have its
                               claim increased by an amount equal to interest at 4.25% from the Effective Date until
                               payments commence, which is currently estimated to occur on January 5, 2022.


              Total        Total Amount of                                                Frequency         Total
                                                               First      Amount of                                      Final
            Amount of      Payments Over         Interest                                     of           Yearly
                                                             Payment         Each                                       Payment
             Allowed       Time to Satisfy         Rate                                   Payments        payments
                                                               Date       Installment                                     date
              Claim         Secured Claim
          $1,517,633.33 $2,678,218.39          4.25%        Jan. 5,      $7,439.50       Monthly        $89,273.95 359
                                                            2022                                                   months
                                                                                                                   after
                                                                                                                   effective
                                                                                                                   date



           Address or Other Description of Collateral Securing Claim 4b: 8201 Santa Fe Ave., Huntington Park, CA
           90255, 1736 East 24th Street, Los Angeles, CA 90058; 2203 S. Alameda Street, Los Angeles Ca 90058; 2445
           S. Alameda Street, CA 90058

           Value:            Valuation          Order on motion or stipulation       Declaration: Certified appraiser
           $42,750,000.00    Method             Other: Debtor as Owner.


            Additional Comments relating to Class #4b:
             Debtor may satisfy the Allowed Secured Amount by selling or refinancing the collateral, which shall
        obligate the holder of the claim in this class to reconvey or release its lien in conjunction with such
        transaction without further order of this Court.
             If Debtor materially defaults post-petition under the terms herein, the holder of the claim in this class
        shall have the right to pursue its rights under State law after serving a Notice of Default under this Plan
        and under State law. Please see Section VIII for definition of Material Default.

                CLASS #4c      Claimant: Bank of America, N.A.
                               Basis for secured status: NA
                               Priority of lien: NA
                                  Lien is not modified in any way. Debtor does not owe any claims to this Creditor.
                                  Lien is modified as follows:


             Total        Total Amount of                                                 Frequency         Total
                                                               First      Amount of                                      Final
           Amount of      Payments Over          Interest                                     of           Yearly
                                                             Payment         Each                                       Payment
            Allowed       Time to Satisfy          Rate                                   Payments        payments
                                                               Date       Installment                                     date
             Claim         Secured Claim
          $0            $0                     0%           N/A          $0              N/A            $0             N/A


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           Address or Other Description of Collateral Securing Claim 4c: NA

           Value:               Valuation        Order on motion or stipulation      Declaration: Certified appraiser
           $                    Method           Other:


                Additional Comments relating to Class #4c:


        See Exhibit I for more impaired secured claims. Label as Class #4d, #4e, etc.


        CLASS #5 - Insider Claims. These are claims of persons defined in 11 U.S.C. §101(31). Essentially, an insider
        is a person with a close relationship with the Debtor other than a creditor-debtor relationship. Treatment is:

                There are no claims in CLASS #5.


                  CLASS #5a       Claimant:
                                  Basis for secured status:
                                  Priority of lien:
                                     Lien is not modified in any way.
                                     Lien is modified as follows:


             Total          Total Amount of                                                 Frequency         Total
                                                                   First    Amount of                                      Final
           Amount of        Payments Over             Interest                                  of           Yearly
                                                                 Payment       Each                                       Payment
            Allowed         Time to Satisfy             Rate                                Payments        payments
                                                                   Date     Installment                                     date
             Claim           Secured Claim
           $                $                             %                 $                              $



           Address or Other Description of Collateral Securing Claim 5a:

           Value:               Valuation        Order on motion or stipulation      Declaration: Certified appraiser
           $                    Method           Other:


                Additional Comments relating to Class #5a:


        See Exhibit          for more insider secured claims. Label as Class #5b, #5c, etc.



  F. SHAREHOLDER OR PARTNER INTERESTS

          Under the Plan, Shareholders simply retain their shares of stock.

          Shareholders redeem their shares of stock and receive the following consideration:                        .



           Partner’s interest(s) in partnership Debtor:


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          1. Each partner’s interest in the debtor shall remain as it is now. The identity of the general partners are:
                          . There      are no limited partners                .
                                       are limited partners and their identities are as follows:              .


          2. The interest of      some or      all of the partners changes under the Plan as follows:                     .




            The     Articles of Incorporation or   Bylaws have been changed to include a provision prohibiting the
       issuance of nonvoting equity securities as required by 11 U.S.C. §1123(a)(6).

IX.    UNCLAIMED OR UNDELIVERABLE PLAN DISTRIBUTIONS . Payments or other distributions made
       under the Plan that are unclaimed or undeliverable for six (6) months after the attempted distribution will revest in the
       post-confirmation debtor free of restrictions. Any entitlement to distribution will be barred.

X. EFFECT OF CONFIRMATION.
      A. General Comments

         The provisions of a confirmed Plan bind the Debtor, any entity acquiring property under the Plan, and any
         claimant, interest holder, or general partner of the Debtor, even those who do not vote to accept the Plan.

         The confirmation of the Plan vests all property of the estate in the Debtor.

         The automatic stay is lifted upon confirmation as to property of the estate. However, the stay continues to prohibit
         collection or enforcement of pre-petition claims against the Debtor or the Debtor's property until the date the
         Debtor receives a discharge, if any. If the Debtor does not seek a discharge, the discharge is deemed denied and
         the stay as to the Debtor and the Debtor's property terminates on entry of the order confirming the Plan.

      B. Discharge of Liability for Payment of Debts; Termination of Rights and Interests of Equity Security
         Holders and General Partners Provided for by the Plan

            Debtor will seek an order of discharge pursuant to 11 U.S.C. § 1141(d)(5)(C).

            Debtor is not eligible for a discharge pursuant to 11 U.S.C. § 1141(d)(3) because:
                     the Plan provides for the liquidation of all, or substantially all, of the property of the estate.
                     the Debtor will not engage in business after consummation of the Plan.
                    the Debtor would be denied a discharge under 11 U.S.C. § 727(a) if the case were a case under
                    chapter 7.

            Debtor is a corporate debtor thus pursuant to 11 U.S.C. §1141(d)(5)-(6), “[t]he confirmation of the plan does
            not discharge the Debtor from any debt of a kind specified in 11 U.S.C. §523(a)(2)(A)-(B) that is owed to a
            domestic governmental unit, or owed to a person as the result of an action filed under subchapter III of
            Chapter 37 of title 31 or any similar State statute, or for a tax or customs duty with respect to which the debtor
            made a fraudulent tax return or willfully attempted in any manner to evade or to defeat such tax or such
            customs duty.”

      C. Modification of the Plan

         The Proponent may modify the Plan pursuant to 11 U.S.C. § 1127.

      D. Final Decree

         Once the Plan has been consummated, a final decree may be entered upon motion of the Proponent. The effect
         of the final decree is to close the bankruptcy case. After such closure, a party seeking any type of relief relating to
         a Plan provision can seek such relief in a state court of general jurisdiction.



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    E. Material Default

        If Debtor fails to make any payment required under the Plan, or to perform any other obligation required under the
        Plan for more than 14 days after the time specified in the Plan, the affected creditor may serve upon Debtor and
        Debtor’s attorney (if any) a written notice of default. The Debtors are in Material Default under the Plan if the
        Debtor fails within 21 days of the service of such notice of default either: (i) to cure the default or (ii) to obtain from
        the Court an extension of time to cure the default or a determination that no default occurred.

XI. LIST OF EXHIBITS AND DECLARATIONS.
    A. MANDATORY

        Exhibit A:      Declaration of Jong Uk Byun to support all assertions in this Disclosure Statement, and all
        information provided in all other Exhibits.

        Exhibit B:         List of all claims (next to each claim, indicate whether or not the claim is disputed and scheduled
                           or unscheduled, and include the class number).

        Exhibit C:         List of all property of the estate (including cash on hand) and going concern and liquidation
                           valuations of all listed property as of the date of plan confirmation. Include appendices to
                           describe valuation methods such as order entered determining value, declaration of appraiser
                           with approach used, qualifications as expert, etc. For rental property include average monthly
                           cash flow, deducting for debt service and ordinary, necessary operating expenses for the past
                           three months and the past two years. Estimates of collections and likelihood of collections of
                           accounts receivable and lawsuits should also be provided. See Exhibit F for appraisals.

        Exhibit D:         Projected income, expenses, and plan payments prepared on (date) December 21, 2020, to
                           support that the plan is feasible during the plan term, as referred to in section V.C. Details
                           include proposed plan payments to be made on the Effective Date and for each month and/or
                           quarter of the Plan Term. Sources and uses of funds and any expense fluctuations are explained.

        Exhibit E:         Financial records:

                                    Balance sheets, income and expense statements, cash flow statements for the period
                                    including the most recent twelve-month calendar year and all months subsequent thereto.
                                    Sources and uses of funds and any expense fluctuations are explained.

                                    Evidence of funds constituting the source of funds on the effective date (i.e., MOR
                                    Summary)

    B. OPTIONAL

            Exhibit F:     Declarations:        Certified Appraisers
                                                Contributor of New Value (regarding ability to provide funding)
                                                Other: Declarations of Accountant regarding Capital Gains Taxes and
                                                      Declaration regarding interest rate


           Exhibit G: Other Exhibits: List of Leases with lease amounts and explanation of anticipated changes and
        Copy Site Inspection Interim Sampling Report regarding that property commonly known as 8201 Santa Fe
        Avenue, Huntington Park, Los Angeles County, California (full copy of this interim report may be omitted if Court
        permits it and a copy be available from the docket of the case or upon request from Debtor’s counsel).


    C. ADDITIONAL CLAIMS THAT ARE UNABLE TO BE IDENTIFIED IN SECTIONS VIII.A – VIII.F.
            Exhibit H: Additional Claim(s), Sec.       VIII.A      VIII.B      VIII.C      VIII.D      VIII.E     VIII.F
            Exhibit I: Additional Claim(s), Sec.       VIII.A      VIII.B      VIII.C      VIII.D      VIII.E     VIII.F
            Exhibit J: Additional Claim(s), Sec.       VIII.A      VIII.B      VIII.C      VIII.D      VIII.E     VIII.F
            Exhibit K: Additional Claim(s), Sec.       VIII.A      VIII.B      VIII.C      VIII.D      VIII.E     VIII.F

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            Exhibit L: Additional Claim(s), Sec.    VIII.A       VIII.B      VIII.C      VIII.D      VIII.E     VIII.F


      Date: 2/02/21                                                  /s/ Giovanni Orantes
                                                                     Signature of attorney for proponent


                                                                     Giovanni Orantes
                                                                     Printed name of attorney for proponent




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                             Site Inspection
                        Interim Sampling Report

                       Central Metal
                   8201 Santa Fe Avenue
       Huntington Park, Los Angeles County, California

                          EPA ID No.: CAN000903324
                  USACE Contract Number: W912P7-16-D-0001
                 Document Control Number: 20074.067.024.0003.01




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                                    Prepared for:
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                                      Region 9

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                              List of Acronyms and Abbreviations
APN                       Assessor Parcel Number
AST                       aboveground storage tank
BDCM                      bromodichloromethane
CERCLA                    Comprehensive Environmental Response, Compensation, and Liability Act
CFR                       Code of Federal Regulations
CMI                       Central Metal, Inc.
CPT                       Cone Penetration Testing
CUPA                      Certified Unified Program Agency
DCE                       dichloroethylene
DMS                       Damille Metal Supply, Inc.
DP                        direct push
DTSC                      Department of Toxic Substances Control
EPA                       United States Environmental Protection Agency
ft-bgs                    foot below ground surface
ft2                       square foot
HHRA                      Human Health Risk Assessment
HRS                       Hazard Ranking System
HWSA                      Hazardous Waste Storage Area
ISR                       Interim Sampling Report
LAUSD                     Los Angeles Unified School District
MCL                       Maximum Contaminant Level
MEK                       methyl ethyl ketone
mg/kg                     milligram per kilogram
National Tank             National Tank & Manufacturing Company
NOV                       Notice of Violation
NPL                       National Priorities List
PA                        Preliminary Assessment
PCE                       tetrachloroethylene
QA                        Quality Assurance
RSL                       Regional Screening Level
RWQCB                     Regional Water Quality Control Board
SAP                       Sampling and Analysis Plan
SARA                      Superfund Amendments and Reauthorization Act of 1986
SEMS                      Superfund Enterprise Management System
SI                        Site Inspection
TCE                       trichloroethylene
UST                       underground storage tank
VISL                      Vapor Intrusion Screening Level
VOC                       volatile organic compound
WESTON®                   Weston Solutions, Inc.
µg/kg                     microgram per kilogram
µg/L                      microgram per liter
µg/m3                     microgram per cubic meter
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1.0 EXECUTIVE SUMMARY
The Central Metal site is located at 8201 Santa Fe Ave., Huntington Park, Los Angeles County,
California. The approximately 11-acre site, which was formerly identified by the United States
Environmental Protection Agency (EPA) as “Damille Metal Svc,” comprises nine parcels and is
located within an industrial corridor bound to the east and west by residential neighborhoods,
specifically the unincorporated communities of Walnut Park to the east and Florence-Firestone
(also known as Florence-Graham) to the west.

Industrial operations have been conducted at the site since approximately the late 1920s. Prior to
the mid-1980s, the site was used for the manufacturing of corrugated metal tanks. Since
approximately 1989, the site has been used for scrap metal recycling; initially by Damille Metal
Supply, Inc. (DMS) through approximately 2001 followed by Central Metal, Inc (CMI) through
approximately July 2016. The western and southeastern portions of the site, which were formerly
occupied by railroad freight lines, were acquired by CMI in approximately 2004. Additional
tenants associated with metal-processing industries are reported to have occupied by the property
concurrently with DMS. Scrap metal recycling activities at the facility has been prohibited since
approximately July 2016 per a Conditional Use Permit issued by the Los Angeles County Planning
Department.

Scrap metal recycling operations generally included the sorting and cleaning of purchased scrap
metal followed by the cutting and/or shredding of the scrap metal into compact sizes for domestic
and/or international shipment. During operations, various scrap metal and debris were stored
across the exterior portions of the site in large, uncontained, and uncovered “waste piles.” A waste
pile located on the north-central portion of the site in 2005 is estimated to have covered more than
23,000 square feet (ft2) and been several stories in height.

In 2016, the site was identified by EPA as a potential hazardous waste site and entered into the
Superfund Enterprise Management System (SEMS). EPA completed a Preliminary Assessment
(PA) for the site in 2018. Upon review of the PA, EPA determined that further investigation was
warranted and initiated a Site Inspection (SI) to determine if the site was a source for area-wide
volatile organic compound (VOC) and/or metals groundwater contamination. As part of the
ongoing SI, EPA conducted an on-site soil vapor survey and limited soil sampling event in
April 2019 (Stage 1) followed by a more comprehensive soil and groundwater sampling event in
June 2019 (Stage 2).

During the soil vapor survey completed during the Stage 1 efforts, several VOCs were identified
at concentrations slightly above published regulatory benchmarks. However, during the Stage 2
soil sampling no VOCs were found at concentrations either exceeding or approaching their
respective Regional Screening Levels (RSLs). Furthermore, groundwater beneath the site was
found to have only minimal VOC concentrations. The data suggests that the site is not a likely
source of area-wide VOC groundwater contamination.

During the Stage 1 and Stage 2 sampling efforts, hazardous metals; specifically arsenic, cobalt,
and lead; were identified at concentrations slightly exceeding their respective RSLs. Based upon
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the relative concentrations of total metals in groundwater, as well as the estimated groundwater
flow direction, the data suggests that the site is not a significantly impacting area groundwater.

During the course of the SI, EPA became aware that in December 2018 a waste pile on the facility
had been containerized into 21 large roll-off bins and sampled under the direction of the local
Certified Unified Program Agency (CUPA). The roll-off bins, which were stored within the large
on-site manufacturing building (i.e., Warehouse), were present during EPA’s Stage 1 (April 2019)
and Stage 2 (June 2019) sampling events. Placards attached to the bins, as well as analytical data
subsequently provided to EPA by the CUPA, indicated that the material was classified as a
hazardous waste based on the identified concentrations of arsenic, lead, and/or cadmium.
Moreover, an investigation conducted in 2011 by the California Department of Toxic Substances
Control (DTSC) also identified high levels of hazardous heavy metals in waste piles on the site.
Based on concerns that historical on-site waste piles contained similar concentrations of hazardous
metals, EPA proceeded to complete a comprehensive aerial photo analysis to assess the controls
and volumes of historical waste piles as well as an analysis of the prevailing wind directions. Based
on the results of this analysis, the site’s proximity to a large down-wind residential population, and
concerns raised to EPA by nearby residents, EPA concluded that an additional sampling effort was
necessary to determine if hazardous metals originating from historical on-site waste piles had
migrated through the air and been deposited onto nearby residential properties. EPA is currently
in the process of planning and executing this third stage (Stage 3) of the SI.




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2.0 INTRODUCTION
Under the authority of the Comprehensive Environmental Response, Compensation, and Liability
Act of 1980 (CERCLA), Weston Solutions, Inc. (WESTON®) has been tasked to conduct a Site
Inspection (SI) of the Central Metal site in Huntington Park, Los Angeles County, California.

The Central Metal site (formerly identified as Damille Metal SVC) was identified as a potential
hazardous waste site and entered into the Superfund Enterprise Management System (SEMS) on
March 11, 2016 (CAN000903324). A Preliminary Assessment (PA) was completed for the United
States Environmental Protection Agency (EPA) by WESTON on January 31, 2018. The purpose
of a PA is to review existing information on a site with potential releases of a hazardous substance
and its environs to assess the threats, if any, posed to public health, welfare, or the environment
and to determine if further investigation under CERCLA is warranted (EPA, 2019;
WESTON, 2017).

After reviewing the 2018 PA, EPA determined that further investigation of the Central Metal site
would be necessary to more completely evaluate the site using EPA Hazard Ranking System
(HRS) criteria. The HRS assesses the relative threat associated with actual or potential releases of
hazardous substances at the site. The HRS has been adopted by EPA to help set priorities for
further evaluation and eventual remedial action at hazardous waste sites. The HRS is the primary
method of determining a site's eligibility for placement on the National Priorities List (NPL). The
NPL identifies sites at which EPA may conduct remedial response actions (EPA, 2018).

This Interim Sampling Report (ISR) serves as an intermediary deliverable of the Central Metal SI
report and pertains to only the soil vapor sampling and limited soil matrix sampling activities that
were conducted as the ‘Stage 1’ portion of the project and to the soil matrix and groundwater
sampling activities that were conducted as the ‘Stage 2’ portion of the project.

EPA is currently in the process of planning and executing a third stage (Stage 3) of the SI. The
‘Stage 3’ portion of the investigation will focus on the collection of surface and shallow subsurface
soil samples in residential neighborhoods adjacent to the Central Metal site for the purpose of
evaluating the potential that airborne deposition of hazardous materials originating from former
on-site uncontrolled waste piles has occurred. A complete SI report, which will include a more
detailed discussion of the ‘Stage 1’ and ‘Stage 2’ findings as well as a full reporting of the ‘Stage 3’
findings, will be produced in spring 2021.

More information about the Superfund program is available on the EPA website at
https://www.epa.gov/superfund.

EPA determined that a Site Inspection (SI) was needed at the Central Metal site because of the
following apparent problems:

    •   Between the late 1920s and the mid-1980s, the site was operated as a corrugated metal tank
        manufacturing facility. Since approximately 1989, the site has been operating as a metal
        supply and industrial scrap metal recycling facility. Between 1999 and 2001,
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        approximately 1.79 tons of tetrachloroethylene (PCE) were reported as being manifested
        from the site (DTSC, 2016; WEECO, 2014; WESTON, 2017).

    •   Inspections conducted at the site by various state and local regulatory agencies resulted in
        the issuance of numerous Notices of Violation (NOVs) as a result of poor housekeeping,
        improper hazardous waste storage, and improper hazardous waste disposal (DTSC, 2012;
        DTSC, 2016; WESTON, 2017).

    •   The site is situated upgradient with respect to the regional groundwater flow from several
        municipal supply wells that have been identified with elevated concentrations of volatile
        organic compounds (VOCs), including PCE and trichloroethylene (TCE). The nearest
        active well to the site is Nadeau Well 03, which is located approximately 0.5 mile northwest
        and has exhibited PCE and TCE concentration up to 1.4 micrograms per liter (µg/L) and
        6.0 µg/L, respectively. The federal Maximum Contaminant Level (MCL) for both PCE and
        TCE is 5.0 µg/L (RWQCB, 2019).




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3.0 SITE LOCATION, DESCRIPTION, AND OPERATIONAL HISTORY
(See Figures 1, 2, & 3)

The Central Metal site is located at 8201 Santa Fe Ave., Huntington Park, California. Additional
addresses associated with the site property include 8240 Marbrisa Ave. The geographic
coordinates for the site are 33° 57' 47.31" North latitude and 118° 13' 52.07" West longitude.

The site occupies approximately 11.1 acres in a mixed industrial and residential area of southern
Los Angeles County. The site is bordered to the north across Short Street by industrial businesses;
to the west across the subgrade railroad tracks of the Alameda Corridor by industrial businesses,
with the single-family residences of the Florence-Firestone (also known as Florence-Graham)
community beyond; to the south by an industrial recycling business; and to the east across Santa Fe
Avenue by commercial businesses and the single-family residences of the Walnut Park
community. The southeastern portion of the site is bordered directly to the northeast by single-
family residences (Google, 2019; LACA, 2019).

For the purposes of this SI, two distinct potential source zones were designated within the site
boundaries. These zones were based on the identified historical operations within each area and
are henceforth referred to as the Former Tank Manufacturing Area and the Former Railroad Area.
The Former Tank Manufacturing Area occupies approximately 4.0 acres at the northeastern
portion of the site and the Former Railroad Area occupies approximately 7.1 acres at the
southwestern portion of the site (Google, 2019; LACA, 2019).

The site comprises nine Los Angeles County Assessor parcels. Five of these parcels compose the
Former Tank Manufacturing Area and are identified by the following Assessor Parcel Numbers
(APNs):

    •   6202-036-009
    •   6202-037-004
    •   6202-037-006
    •   6202-037-009
    •   6202-037-010

The remaining four parcels compose the Former Railroad Area and are identified by the following
APNs (Google, 2019; LACA, 2019):

    •   6202-036-010
    •   6202-036-011
    •   6202-036-012
    •   6202-036-013




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The site is currently occupied by three primary structures, including the following (Google, 2019;
LACA, 2019; WEECO, 2014; WESTON, 2017):

    •   An approximately 53,000 square foot (ft2) manufacturing and warehouse building
        (i.e., Warehouse) at the east-central portion of the site. This building currently includes a
        maintenance shop and hazardous waste storage area (HWSA) at the southern portion, and
        an aboveground storage tank (AST) area at the northern portion. The building, which was
        likely constructed in multiple stages, was reportedly constructed between 1928 and 1937
        although it appears to be present in aerial imagery dated from 1927.

    •   An approximately 2,500 ft2 office building at the northeast corner of the site (i.e., Main
        Office). The construction date of this building is not known; however, the building appears
        to be present in aerial imagery dated from 1927.

    •   An approximately 500 ft2 office building at the northern portion of the site, adjacent to the
        subgrade scale (i.e., Scale House). The construction date of this building is not known.

In addition, a stormwater treatment area is located in the southwestern corner of the site and various
pieces of heavy equipment (e.g., metal sorters, metal crushers, excavators) are located throughout
the exterior portions of the site. Historically, the Warehouse included an additional approximately
62,000 ft2 area to the west of the current structure. This portion of the building was reportedly
demolished in 1988. In addition, railroad tracks historically bisected the property from southeast
to northwest. The railroad tracks appear to have been abandoned in the late 1990s, likely
concurrent with the construction of the adjacent Alameda Corridor, and were removed in the early
2000s. Prior to the installation of the existing stormwater treatment system in approximately 2008,
a historical stormwater treatment system was located at the north-central portion of the site
(Google, 2019; LACA, 2019; WEECO, 2014).

Based on aerial imagery, numerous large scrap metal waste and debris piles were located on the
property between at least 2003 and 2018. These piles, which were generally confined to the Former
Tank Manufacturing Area of the site from 2003-2007 and from 2012-2018, appeared to encompass
areas up to a 0.5 acre and to be several stories in height. The specific materials that comprised the
various piles is not known; however, it is estimated that they were primarily a combination of
metal and debris generated during metal recycling operations (Google, 2019).

The site is entirely fenced and the surface of the site is entirely covered in pavement or buildings.
However, prior to approximately 2007, the western portion of the site was unpaved. During
investigative efforts conducted by the EPA in April and June 2019, the concrete slab was found to
vary from approximately 18 to 48 inches (Google, 2019).

The Former Tank Manufacturing Area of the site was operated, and presumably owned, by the
National Tank & Manufacturing Company (National Tank) from approximately the late 1920s
through the mid-1980s. By 1989, this portion of the site was owned by David Miller and occupied
by Damille Metal Supply, Inc. (DMS). During the 1990s, additional tenants or companies may
have also occupied the site, including L&S Metals; MCS, Inc.; and All Star Metals, Inc. In
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addition, during an unknown period, the site was historically occupied by Ace Foundry LTD. The
relationship, if any, between these companies and DMS is not known. In approximately 2002, the
Former Tank Manufacturing Area of the site was purchased by the current owner, Jong Uk Byun,
doing business as Central Metal, Inc (CMI). In approximately 2004, CMI also purchased the
Former Railroad Area of the site. No additional historical ownership information is known;
however, it is assumed that the Former Railroad Area was historically owned by a major rail
company (WEECO, 2014; WESTON, 2017).

National Tank & Manufacturing Company (National Tank)
National Tank was historically a manufacturer of corrugated metal water and oil tanks. The
specific tank manufacturing operations associated with the site are not known; however, the
majority of operations likely occurred within the existing Warehouse and the former westward
extension of that building. It is unlikely that any National Tank operations were conducted on the
Former Railroad area of the site. Ace Foundry likely also operated on the western portion of the
Former Tank Manufacturing Area during National Tank operations; however, specific information
regarding foundry operations, hazardous substances, and operational time periods is not known
(WEECO, 2014; WESTON, 2017).

Damille Metal Supply, Inc. (DMS)
DMS operated on the site as an industrial scrap metal recycler from approximately 1989 through
the late 1990s or early 2000s. Operations included buying and selling scrap metal including at least
aluminum, steel, copper, and titanium. Scrap metals were sorted on site, sheared or cut, and
shipped off site. Hazardous waste manifests indicate that between 1999 and 2001, approximately
1.79 tons of PCE waste (listed as an aqueous solution with organic residues) were generated at the
site. The origin of this organic waste is not known. No additional information is known regarding
specific activities or hazardous substances associated with DMS operations. It is presumed that
one or more of the additional businesses historically identified at the site (L&M Metals, MCS, All
Star Metals) conducted similar scrap metal operations. Ace Foundry likely also operated on the
western portion of the Former Tank Manufacturing Area during DMS operations; however,
specific information regarding foundry operations, hazardous substances, and operational time
periods is not known (DTSC, 2016; WEECO, 2014; WESTON, 2017).

Central Metal, Inc. (CMI)
CMI also operated on site as an industrial metal supply and scrap metal recycling facility from
approximately 2001 through July 2016. On-site activities included purchasing scrap metals from
various industries, primarily fabrication, manufacturing, and construction companies. Scrap metals
were then sorted, cleaned, and cut or shredded into compact sizes for domestic and/or international
shipment. Recycled metals included, but were not limited to, steel, aluminum, copper, brass, and
stainless steel. The facility also received, stored, and resold electronic waste such as computer
monitors, desktop towers, batteries, and other computer parts (DTSC, 2016; WESTON, 2017).

During operations, various metal scrap and debris were stored across the exterior portions of the
site in large piles. These metal and debris piles, which were generally uncontained and uncovered,
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were identified within the Former Tank Manufacturing Area from approximately 2003 through
2018 and within the Former Railroad Area from approximately 2007 through 2011. The piles
ranged considerably in size; however, a distinct pile located on the north-central portion of the site
in 2005 is estimated based on aerial imagery to have covered more than 23,000 ft2 (DTSC, 2016;
Google, 2019).

Spent automobile batteries, hydraulic oil, motor oil, antifreeze, gasoline, and diesel fuel were
stored on site. Used oil was stored in an on-site AST. Stormwater runoff from the site was
historically filtered through a single-chamber clarifier and then pumped through two 1,000-gallon
ASTs before being discharged to the municipal stormwater system on Short Street on the northern
side of the property. Since approximately 2008, stormwater runoff has been flowing first to an
eight-stage filtration system located at the southwestern corner of the site, then has been discharged
to Alameda Street. Scrap metal recycling activities at the facility has been prohibited since
approximately July 2016 per a Conditional Use Permit issued by the Los Angeles County Planning
Department (DTSC, 2012; WEECO, 2014; WESTON, 2017).

Unaltered petroleum products, as well as any substances that are purposefully added to the
indigenous petroleum product during the refining process, are excluded from consideration under
CERCLA.




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4.0 STAGE 1 INVESTIGATIVE EFFORTS
(See Tables 1 & 2; Figures 4, 6 & 7; Attachments A & B)

In April 2019, WESTON, on behalf of EPA, conducted the Stage 1 SI sampling event at the Central
Metal site. The Stage 1 event included soil vapor and soil matrix sampling at 20 non-biased
sampling locations located across the site (SV-1 through SV-20), predominantly within the Former
Tank Manufacturing Area. The primary objective of the Stage 1 portion of the investigation was
to provide information on the relative concentrations of metals and VOCs across the site to assist
in the selection of subsequent on-site soil matrix and groundwater sampling (i.e., Stage 2).

Between April 8 and April 11, 2019, 37 soil vapor probes were installed across the site, which
were subsequently analyzed using a WESTON-subcontracted mobile laboratory. The probes were
installed at two distinct depths (approximately 5 feet and 15 feet below ground surface [ft-bgs])
using direct-push (DP) technology. In addition, 38 soil matrix samples (not including duplicate or
Quality Assurance [QA] samples) were collected during the investigation. Soil samples were
collected from depths of approximately 2 ft-bgs and 10 ft-bgs at each location and submitted to a
fixed laboratory for metals analyses. Due to refusal issues, a soil vapor sample could not be
collected from either of the targeted depths at SV-6 or from the 15-foot targeted depth at SV-13,
and soil matrix samples could not be collected from the 10-foot targeted depths at either location.
A more comprehensive discussion of the Stage 1 sampling activities (including, but not limited to,
field duplicates, lab QA samples, data qualifiers, blanks) will be included within the final SI report.

4.1    STAGE 1 SOIL VAPOR RESULTS for VOCs                                 (See Tbl. 1; Fig. 6; Att. A)

Numerous VOC analytes were identified at detectable concentrations during the survey. Although
soil vapor benchmarks are not applicable within the HRS, for the purposes of this ISR, the soil
vapor data collected during the investigation was compared to the November 2019 EPA Resident
and Commercial Sub-slab and Near-source Soil Gas Vapor Intrusion Screening Levels (VISLs).
In addition, the April 2019 California Department of Toxic Substances Control (DTSC) Human
Health Risk Assessment (HHRA) Note 3 –Screening Levels (DTSC-SLs) for Residential and
Commercial/Industrial Air (modified with an attenuation factor of 0.05 applied) are presented for
reference. Three analytes, bromodichloromethane (BDCM), carbon tetrachloride, and PCE,
exceeded their respective Resident VISLs with carbon tetrachloride and PCE also slightly
exceeding their respective Commercial VISLs. In addition, PCE also exceeded its Residential
DTSC-SL, which is significantly lower than its Resident VISL. TCE was not detected above
reporting limits during the survey.

The maximum BDCM concentration of 13 micrograms per cubic meter (µg/m3) was identified in
the 6-ft-bgs sample collected from SV-20 (southern portion of the Former Railroad Area). The
Resident and Commercial VISLs for BDCM are 3.0 µg/m3 and 11 µg/m3, respectively. The
Residential and Commercial/Industrial DTSC-SLs (based on the noncancer endpoint) for BDCM
are 1,660 µg/m3 and 7,000 µg/m3, respectively.

The maximum carbon tetrachloride concentration of 18 µg/m3 was identified in the 6-ft-bgs sample
collected from SV-10 (northwestern portion of the Warehouse). The Resident and Commercial
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VISLs for carbon tetrachloride are 16 µg/m3 and 68 µg/m3, respectively. The Residential and
Commercial/Industrial DTSC-SLs (based on the noncancer endpoint) for carbon tetrachloride are
840 µg/m3 and 3,600 µg/m3, respectively.

The maximum PCE concentration of 2,530 µg/m3 was identified in the 6.5-ft-bgs sample collected
from SV-14 (central portion of the Warehouse). The 16-ft-bgs sample from this location exhibited
a PCE concentration of 2,190 µg/m3. PCE was identified in 34 of the remaining 35 samples with
concentrations that ranged from 8.0 to 339 µg/m3. The Resident and Commercial VISLs for PCE
are 360 µg/m3 and 1,570 µg/m3, respectively. The Residential and Commercial/Industrial
DTSC-SLs (based on the cancer endpoint) for PCE are 9.2 µg/m3 and 40 µg/m3, respectively.

4.2    STAGE 1 SOIL SAMPLING RESULTS for METALS                        (See Tbl. 2; Fig. 7; Att. B)

Numerous metal analytes were identified at detectable concentrations during the Stage 1 soil
sampling event. For purposes of discussion, these results were compared to the November 2019
EPA Residential and Industrial Regional Screening Levels (RSLs); however, RSLs are not
appropriate for use as benchmarks under the HRS. In addition, the April 2019 DTSC-SLs for
Residential and Commercial/Industrial Soil are presented for reference. Arsenic, cobalt, and lead
were identified in samples at concentrations exceeding one or more of their respective RSLs and/or
DTSC-SLs. Elevated concentrations of manganese were also identified, although not at a level
exceeding its Residential RSL and there are no published DTSC-SLs for manganese. There are
also no published RSLs or DTSC-SLs for total (i.e., unspeciated) chromium. Site-specific
background concentrations (including of both naturally-occurring and anthropogenic origins) have
not yet been established for the project.

The maximum arsenic concentration of 14 milligrams per kilogram (mg/kg) was identified in the
2-ft-bgs sample collected from SV-13 (located immediately west of the central portion of the
Warehouse). No deep sample was collected from SV-13 due to early refusal. Eleven of the
remaining 37 samples also exhibited arsenic concentrations that exceeded the Industrial RSL. The
Residential and Industrial RSLs for arsenic are 0.68 mg/kg and 3.0 mg/kg, respectively. The
Residential and Commercial/Industrial DTSC-SLs for arsenic are 0.11 mg/kg and 0.36 mg/kg,
respectively. In 2005, DTSC published the results of a study evaluating background concentrations
of arsenic found at various school properties within the Los Angeles Unified School District
(LAUSD). This study, which included the statistical analysis of data collected from approximately
600 samples, calculated a regional background arsenic concentration of 6.0 mg/kg, notably
exceeding both the Industrial RSL and the Commercial/Industrial DTSC-SL (DTSC, 2005).

The maximum cobalt concentration of 152 mg/kg was identified in the 2-ft-bgs sample collected
from SV-12 (located approximately 75 feet west of the central portion of the Warehouse). The
Residential and Industrial RSLs for cobalt are 23 mg/kg and 350 mg/kg, respectively. Two of the
remaining 37 samples also exhibited cobalt concentrations that exceeded the Residential RSL.
There are no published DTSC-SLs for cobalt.

The maximum lead concentration of 338 mg/kg was identified in the 2-ft-bgs sample collected
from SV-6 (located approximately 75 feet west of the northwest corner of the Warehouse). No
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deep sample was collected from SV-6 due to early refusal. The Residential and Industrial RSLs
for lead are 400 mg/kg and 800 mg/kg, respectively. The Residential and Commercial/Industrial
DTSC-SLs for lead (based on the noncancer endpoint) are 80 mg/kg and 320 mg/kg, respectively.

The maximum manganese concentration of 825 mg/kg was identified in the 2-ft-bgs sample
collected from SV-13 (located immediately west of the central portion of the Warehouse). No deep
sample was collected from SV-13 due to early refusal. The 2-ft-bgs sample collected from SV-6
also exhibited a relatively high manganese concentration of 801 mg/kg. The Residential and
Industrial RSLs for manganese are 1,800 mg/kg and 26,000 mg/kg, respectively. There are no
published DTSC-SLs for manganese.

The maximum chromium concentration of 57 mg/kg was identified in the 2-ft-bgs sample collected
from SV-6 (located approximately 75 feet west of the northwest corner of the Warehouse
building). No deep sample was collected from SV-6 because of early refusal. There are no
published RSLs or DTSC-SLs for total (i.e., unspeciated) chromium.




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5.0 STAGE 2 INVESTIGATIVE EFFORTS
(See Table 3; Figures 5, 8 & 9; Attachments C & D)

In June 2019, WESTON, on behalf of EPA, conducted the Stage 2 SI sampling event at the Central
Metal site. The Stage 2 event included both soil and groundwater sampling at selectively-biased
sampling locations located across the site with samples analyzed for VOCs and metals. The
primary objective of the Stage 2 portion of the investigation was to collect analytical data from
site soils and groundwater to determine if an on-site hazardous substance source existed at the site
and, if present, if it was a potential source of area-wide groundwater contamination.

Between June 17 and June 20, 2019, ten soil borings were advanced using DP technology to a
maximum depth of 17 ft-bgs, and five groundwater borings were advanced using Cone Penetration
Testing (CPT) technology to a maximum depth of 101 ft-bgs. Within each soil boring, samples
were collected from four distinct depths of approximately 2, 5, 10, and 15 ft-bgs. A total of 40 soil
samples (not included duplicate or QA samples) were submitted for fixed-laboratory VOC and
metals analysis. Within each groundwater boring, a single groundwater sample was collected from
the top of the underlying Gaspur aquifer. No perched or semi-perched water was identified
between ground surface and the top of the aquifer. Five groundwater samples (not included
duplicate or QA samples) were submitted for fixed-laboratory VOC and total (i.e., not dissolved)
metals analysis. A more comprehensive discussion of the Stage 2 sampling activities (including,
but not limited to, field duplicates, lab QA samples, data qualifiers, blanks) will be included within
the final SI report.

5.1    STAGE 2 SAMPLING RESULTS for VOCs                                          (See Fig. 8; Att. C)

Five VOC analytes were identified at detectable concentrations in soil samples during the Stage 2
sampling event. For purposes of discussion, these results were compared to the November 2019
EPA Residential and Industrial RSLs for soil and the April 2019 California State Residential and
Commercial/Industrial DTSC-SLs for soil; however, neither RSLs nor DTSC-SLs are appropriate
for use as benchmarks under the HRS. Of the five identified VOC analytes, which included
2-butanone (also known as methyl ethyl ketone [MEK]), acetone, methylene chloride (also known
as dichloromethane), m,p-xylene, and PCE, none exhibited concentrations either exceeding or
approaching either their respective Residential RSLs or DTSC-SLs. There are no published
DTSC-SLs for 2-butanone, acetone, or m,p-xylene. It should be noted that 2-butanone, acetone,
and methylene chloride are all common laboratory contaminants. PCE was only identified in a
single sample, which was collected from 2 ft-bgs at DP-6 (central portion of Warehouse and
adjacent to the maximum PCE result identified during the Stage 1 Soil Vapor Survey) and was
reported at a concentration of 2.2 micrograms per kilogram (µg/kg). The Residential RSL for PCE
is 24,000 µg/kg and the Residential DTSC-SL for PCE is 590 µg/kg.

Eight VOC analytes were identified at detectable concentrations in groundwater samples during
the Stage 2 sampling event. For purposes of discussion, these results were compared to the EPA
MCLs; although MCLs are not appropriate for use as benchmarks to establish a hazardous
substance release under the HRS. Of the eight identified VOC analytes, which included 2-butanone
(also known as MEK), acetone, benzene, carbon disulfide, m,p-xylene, toluene, trans-1,2-
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dichloroethylene (trans-1,2-DCE) and TCE, only benzene, toluene, trans-1,2-DCE, and TCE have
published MCLs and none of the exhibited concentrations of these analytes either exceeded or
approached their respective MCLs. Trans-1,2-DCE was identified in the samples collected from
CPT-2 (0.12 µg/L) and CPT-4 (0.15 µg/L). TCE was identified in only a single sample, which was
collected from CPT-2, at a concentration of 0.21 µg/L. The MCLs for trans-1,2-DCE and TCE are
100 µg/L and 5 µg/L, respectively. CPT-2 was advanced at the west-central portion of the site and
CPT-4 was advanced at the southeastern portion of the site. This data does not support a release
of VOCs from the site to groundwater because the shallow groundwater beneath the site does not
appear to have significant VOC impacts.

5.2    STAGE 2 SAMPLING RESULTS for METALs                            (See Tbl. 3; Fig. 9; Att. D)

Numerous metal analytes were identified at detectable concentrations in soil samples during the
Stage 2 sampling event. For purposes of discussion, these results were compared to the November
2019 EPA Residential and Industrial RSLs; however, RSLs are not appropriate for use as
benchmarks under the HRS. In addition, the April 2019 DTSC-SLs for Residential and
Commercial/Industrial Soil are presented for reference. Arsenic and lead were both identified in
samples at concentrations exceeding one or more of their respective RSLs and/or DTSC-SLs.
Elevated concentrations of cobalt and manganese were also identified, although not at levels
exceeding their respective RSLs and there are no DTSC-SLs for either cobalt or manganese. There
are also no published RSLs or DTSC-SLs for total (i.e., unspeciated) chromium. Site-specific
background concentrations (including of both naturally-occurring and anthropogenic origins) have
not yet been established for the project.

The maximum arsenic concentration of 14 mg/kg was identified in the 2-ft-bgs sample collected
from DP-9 (located at the south-central portion of the Former Railroad Area). Nineteen of the
remaining 39 samples also exhibited arsenic concentrations that exceeded the Industrial RSL. The
Residential and Industrial RSLs for arsenic are 0.68 mg/kg and 3.0 mg/kg, respectively. The
Residential and Commercial/Industrial DTSC-SLs for arsenic are 0.11 mg/kg and 0.36 mg/kg,
respectively. In 2005, DTSC published the results of a study evaluating background concentrations
of arsenic found at various school properties within LAUSD. This study, which included the
statistical analysis of data collected from approximately 600 samples, calculated a regional
background arsenic concentration of 6.0 mg/kg, notably exceeding both the Industrial RSL and the
Commercial/Industrial DTSC-SL (DTSC, 2005).

The maximum lead concentration of 612 mg/kg was identified in the 2-ft-bgs sample collected
from DP-7 (located at the southwestern portion of the Warehouse). Four of the remaining 39
samples also exhibited lead concentrations that exceeded the Residential DTSC-SL but did not
exceed either the Residential RSL or the Commercial/Industrial DTSC-SL. All four of these
samples were also collected from approximately 2 ft-bgs. The Residential and Industrial RSLs for
lead are 400 mg/kg and 800 mg/kg, respectively. The Residential and Commercial/Industrial
DTSC-SLs for lead (based on the noncancer endpoint) are 80 mg/kg and 320 mg/kg, respectively.

The maximum cobalt concentration of 22 mg/kg was identified in the 5-ft-bgs sample collected
from DP-3 (located approximately 100 feet west of the northwest corner of the Warehouse). The
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Residential and Industrial RSLs for cobalt are 23 mg/kg and 350 mg/kg, respectively. There are
no published DTSC-SLs for cobalt.

The maximum manganese concentration of 644 mg/kg was identified in the 5-ft-bgs sample
collected from DP-8 (located in the north-central portion of the site). The Residential and Industrial
RSLs for manganese are 1,800 mg/kg and 26,000 mg/kg, respectively. There are no published
DTSC-SLs for manganese.

The maximum chromium concentration of 39 mg/kg was also identified in the 5-ft-bgs sample
collected from DP-8. There are no published RSLs or DTSC-SLs for total (i.e., unspeciated)
chromium.

Numerous metal analytes were identified at detectable concentrations in groundwater samples
during the Stage 2 sampling event. As the samples were analyzed for total metals, the results are
not comparable to human-health regulatory benchmarks such as EPA or California state MCLs. In
general, total metal concentrations were found to be higher in the samples collected from CPT-4
(located at the southeastern corner of the site) and, to a lesser degree, in CPT-2 (located at the
west-central portion of the site). Concentrations were generally found to be lower in the samples
collected from CPT-5 (located at the southwestern corner of the site) and CPT-1 (located within
the central portion of the Warehouse). This data does not support a likely release of hazardous
metals from the site to groundwater because shallow groundwater is estimated to be flowing
towards the southwest.




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6.0 STAGE 3 INVESTIGATIVE EFFORTS
During the course of the SI, EPA became aware that in December 2018 a waste pile on the facility
had been containerized into 21 large roll-off bins and sampled under the direction of the local
Certified Unified Program Agency (CUPA). The roll-off bins, which were stored within the large
on-site manufacturing building (i.e., Warehouse), were present during EPA’s Stage 1 (April 2019)
and Stage 2 (June 2019) sampling events. Placards attached to the bins, as well as analytical data
subsequently provided to EPA by the CUPA, indicated that the material was classified as a
hazardous waste based on the identified concentrations of arsenic, lead, and/or cadmium.
Moreover, an investigation conducted in 2011 by the California DTSC also identified high levels
of hazardous heavy metals in waste piles on the site. Based on concerns that historical on-site
waste piles contained similar concentrations of hazardous metals, EPA proceeded to complete a
comprehensive aerial photo analysis to assess the controls and volumes of historical waste piles as
well as an analysis of the prevailing wind directions. Based on the results of this analysis, the site’s
proximity to a large down-wind residential population, and concerns raised to EPA by nearby
residents, EPA concluded that an additional sampling effort was necessary to determine if
hazardous metals originating from historical on-site waste piles had migrated through the air and
been deposited onto nearby residential properties. EPA is currently in the process of planning and
executing this third stage (Stage 3) of the SI.




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                          Protection Agency; Final Report – Background Metals at Los Angeles
                          Unified School Sites - Arsenic; 06 June 2005.

DTSC, 2012:               Department of Toxic Substances Control; letter addressed to Mr. Steve Oh,
                          Agent for Service, In the Matter of: Central Metal Inc. – Docket No. 2011-
                          3488; 08 October 2012.

DTSC, 2016:               Department of Toxic Substances Control; California Site Screening,
                          Damille Metals Svc; 15 August 2016.

EPA, 2018:                U.S. Environmental Protection Agency; Remedial Site Assessment
                          Decision, Damille Metals Svc (EPA ID No.: CAN000903324); 31 January
                          2018.

EPA, 2019:                U.S. Environmental Protection Agency, Superfund Program; Superfund
                          Public User Database; LIST-008R Active Site Status Report, Region 9, Pre-
                          Remedial Action Types; https://www.epa.gov/superfund/superfund-data-
                          and-reports; 18 November 2019; p. 309.

Google, 2019:             Google Earth; 33°57’47.31”N 118°13’52.07”W, 14 March 2018;
                          http://earth.google.com; data extracted 02 December 2019.

LACA, 2019:               County of Los Angeles, Department of the Assessor; Assessor Parcel Map
                          Nos. 6202-036 and 6202-03, http://maps.assessor.lacounty.gov/mapping/
                          viewer.asp; data extracted 02 December 2019.

RWQCB, 2019:              Regional Water Quality Control Board; GeoTracker Database – Regulator
                          Access, DPH Public Supply Well Search Results; Golden State Water
                          Company (GSWC) Nadeau Well 02 and GSWC Nadeau Well 03; data
                          extracted 02 December 2019.

WEECO, 2014:              Western Environmental Engineers Co.; Phase I Environmental Site
                          Assessment, 8201 Santa Fe Avenue, Huntington Park, CA; 06 January
                          2014.

WESTON, 2017:             Weston Solutions, Inc.; Preliminary Assessment Report, Damille Metal Svc
                          (EPA ID No.: CAN000903324); December 2017.




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                                                Tables




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Central Metal – Site Inspection – Interim Sampling Report                                                                                                                                                                                                                                                                                                         May 2020
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                                                                                                                     TABLE 1: SOIL VAPOR SURVEY RESULTS - SELECT VOCs
                                                                                                                                                                                                        Analyte (µg/m3)




                                                                                                                                                                                                           Dichlorodifluoromethane




                                                                                                                                                                                                                                                                                                                                                      Trichlorofluoromethane
                                                                                                                        Bromodichloromethane
                                                                       1,2,4-Trimethylbenzene




                                                                                                                                                              Carbon Tetrachloride
                                            1,1,1-Trichloroethane




                                                                                                                                                                                                                                                                                                                   Tetrachloroethylene
                                                                                                                                                                                                                                                                                Methylene chloride
                                                                                                4-Isopropyltoluene




                                                                                                                                                                                     Dibromomethane




                                                                                                                                                                                                                                     Ethylbenzene
                                                                                                                                                Bromoform




                                                                                                                                                                                                                                                                  m,p-Xylene
      Sample            Sample




                                                                                                                                                                                                                                                     Freon 113




                                                                                                                                                                                                                                                                                                      o-Xylene
      Location           Depth




                                                                                                                                                                                                                                                                                                                                          Toluene
                        (ft-bgs)

              Resident VISL              174,000                       2,090                         --                 3.0                      85            16                    139                 3,480                        37            174,000      3,480         3,380                 3,480          360                  174,000        --
          Commercial VISL                730,000                       8,760                         --                  11                     372            68                    584                14,600                       164            730,000      14,600        40,900                14,600        1,570                 730,000        --
        Residential DTSC-SL              20,000 (1)                      --                          --                1,660
                                                                                                                             (1)
                                                                                                                                               1,660 (1)      840 (1)                 --                   --                         --               --          --            20                    --           9.2                     --          --
                                                (1)                                                                          (1)                     (1)
         Industrial DTSC-SL              88,000                          --                          --                7,000                   7,000         3,600 (1)                --                   --                         --               --          --           240                    --            40                     --          --
                     5.5'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   375                        ND               45          ND             ND                   ND             36                    11          390
        SV-1
                      16'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   467                        ND               45          ND             ND                   ND             32                    ND          356
                     6.5'                    ND                            15                    79                      ND                     ND             ND                    ND                   371                         8.0             28            36           ND                    12            84                    12          181
        SV-2
                      16'                    ND                         ND                       23                      ND                     ND             ND                    ND                   631                        ND               58          ND             ND                   ND            166                    ND          359
                     6.0'                    ND                         ND                       22                      ND                     ND             ND                    ND                   180                          11             33            50           ND                    16            62                    ND          106
        SV-3
                      16'                    ND                         ND                       23                      ND                     ND             ND                    ND                   200                        ND               34          ND             ND                   ND             55                    ND          105
                     6.0'                    ND                         ND                       29                      ND                     ND             ND                    ND                   111                        ND               23          ND             ND                   ND            169                    ND           94
        SV-4
                      16'                    ND                            21                   121                      ND                     ND             ND                    ND                   109                        ND               20            24           ND                    10           132                    ND           83
                     6.0'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   165                        ND               24          ND             ND                   ND             38                    ND          141
        SV-5
                      16'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   243                        ND               30          ND             ND                   ND             45                    ND          170
             (2)       --                         --                          --                     --                       --                  --                --                   --                --                           --             --            --              --                 --           --                     --          --
       SV-6
                       --                         --                          --                     --                       --                  --                --                   --                --                           --             --            --              --                 --           --                     --          --
                     6.0'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   137                        ND               35          ND             ND                   ND             41                    ND          165
        SV-7
                     15.5'                   ND                         ND                          ND                   ND                     ND             ND                    ND                   157                        ND               35          ND             ND                   ND             59                    ND          168
                     6.0'                    ND                         ND                          ND                   ND                     ND             ND                    ND                 81 / 97                      ND             20 / 23       ND             ND                   ND         151 / 184                 ND       104 / 127
        SV-8
                      16'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   115                        ND               29          ND             ND                   ND            161                    17          148
                     5.5'                       22                      ND                          ND                   ND                     ND             ND                    ND                    86                        ND               ND          ND             ND                   ND             19                    ND          128
        SV-9
                     15.5'                      25                      ND                          ND                   ND                     ND             ND                    ND                    99                        ND               19          ND             ND                   ND             22                    14          157
                     6.0'                    ND                         ND                          ND                   ND                     ND                18                 ND                    40                        ND               21          ND             ND                   ND            162                    ND          262
       SV-10
                     15.5'                   ND                         ND                          ND                   ND                     ND                12                 ND                    56                        ND               27          ND             ND                   ND             28                    20          314
                     5.5'                    ND                         ND                          26                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND            101                    13          236
       SV-11
                      16'                    ND                         ND                          15                   ND                     ND              9.0                  ND                   53                         ND               33          ND             ND                   ND            339                    11          424
                     6.5'                       26                      ND                          ND                   ND                     ND             ND                    ND                   60                         ND              101          ND             ND                   ND             57                    9.0        1,310
       SV-12
                     14.5'                      35                      ND                          ND                   ND                     ND             ND                    ND                   76                         ND              109          ND             ND                   ND            103                    ND         1,380
              (2)     3'                     ND                         ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND            137                    ND          222
       SV-13
                       --                       --                            --                     --                       --                  --                --                   --                --                           --            --             --              --                 --           --                     --          --
                     6.5'                       18                      ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               26          ND             ND                   ND           2,530                   ND          468
       SV-14
                      16'                       24                      ND                          ND                   ND                     ND             ND                    ND                   25                         ND               37          ND             ND                   ND           2,190                   12          682
                     6.0'                       73                      ND                          ND                   ND                     ND                13                 ND                   ND                         ND               22          ND             ND                   ND             60                    11          404
       SV-15
                     15.5'                      99                      ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               31          ND             ND                   ND            113                    ND          511
                     6.0'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               19          ND             ND                   ND             68                    ND          332
       SV-16
                     15.5'                44 / 43                       ND                          ND                   ND                     ND          8.0 / ND                 ND                   ND                         ND             20 / 24       ND             ND                   ND          74 / 72                  ND       388 / 403
                     6.0'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND             28                    ND           77
       SV-17
                      16'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND             52                    ND           97
                     6.0'                    ND                         ND                          9.0                  ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND            147                    ND           37
       SV-18
                      16'                    ND                         ND                          20                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND            156                    ND           39
                     6.0'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND            ND                     ND          ND
       SV-19
                      16'                    ND                         ND                          ND                   ND                     ND             ND                    ND                   ND                         ND               ND          ND             ND                   ND            8.0                    ND          ND
                     6.0'                    ND                            10                       34                      13                   16            ND                      13                 52                         ND              1,920          20             12                 ND            22                     14             26
       SV-20
                     15.5'                   ND                         ND                          ND                   ND                     ND             ND                    ND                   60                         ND              2,240        ND             ND                   ND            35                     10             17
     Notes:                                                                                                                                                                                           Definitions:
      All values are reported in µg/m3                                                                                                                                                                 DTSC-SL = California Department of Toxic Substances Control Screening Level (April 2019; HHRA Note 3; Applied AF of 0.05)
      Shaded cells indicate results that exceed Resident VISL                                                                                                                                          ft-bgs = feet below ground surface
      Samples collected in April 2019                                                                                                                                                                  ND = Analyte did not exceed analytical reporting limit
      All other reported analytes did not exceed analytical reporting limits                                                                                                                           VISL = EPA Vapor Intrusion Screening Level (Nov 2019; Target Sub-Slab; THQ =1.0, Risk = 10-6)
      1 = Noncancer Endpoint                                                                                                                                                                           µg/m3 = micrograms per cubic meter
      2         l i di t th t          b         t i t ll d d t       l f                       l

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           TABLE 2: STAGE 1 SOIL SAMPLING RESULTS - SELECT METALS
                                                                                                     Analyte (mg/kg)
            Sample
                                              Sample ID               Arsenic     Chromium               Cobalt                      Lead             Manganese
            Location
                                                                       (As)         (Cr)                  (Co)                       (Pb)               (Mn)
                                          Residential RSL (1)          0.68           --                    23                        400               1,800
                                           Industrial RSL (1)           3.0           --                   350                        800              26,000
                                   Residential DTSC-SL                 0.11           --                    --                        80 (2)              --
                                    Industrial DTSC-SL                 0.36           --                    --                       320 (2)              --
                                    DMS-SM-V01-0020                       3.3            24                     17                    8.0                    497
                SV-1
                                    DMS-SM-V01-0100                       0.83           8.6                    5.2                   1.6                    226
                                    DMS-SM-V02-0020                       2.7            21                     13                     14                    430
                SV-2
                                    DMS-SM-V02-0100                       0.89           6.6                    4.1                   1.5                    157
                                    DMS-SM-V03-0020                       2.5            19                     12                    7.5                    462
                SV-3
                                    DMS-SM-V03-0100                       0.97           5.5                    4.6                   1.3                    394
                                    DMS-SM-V04-0020                       2.6            19                     13                    5.5                    444
                SV-4
                                    DMS-SM-V04-0100                       1.0            7.0                    4.2                   1.4                    154
                                    DMS-SM-V05-0020                       3.1            21                     21                    7.1                    518
                SV-5
                                    DMS-SM-V05-0100                       0.76           5.8                    3.2                   1.3                    129
                                    DMS-SM-V06-0020                       8.3            57                     61                    338                    801
                SV-6 (3)
                                    DMS-SM-V06-0100                        --             --                     --                    --                     --
                                    DMS-SM-V07-0020                     2.3             18                    6.4                    27                     413
                SV-7
                                    DMS-SM-V07-0100                     1.1             7.3                   4.9                    6.5                    229
                                    DMS-SM-V08-0020                  3.2 / 2.3        24 / 18               14 / 13 J              31 / 11 J+             566 / 465
                SV-8
                                    DMS-SM-V08-0100                    0.44 J          4.1 J                  2.5 J-                 1.0 J                   90 J
                                    DMS-SM-V09-0020                    7.7 J            15 J                 114 J-                 196 J                   594 J
                SV-9
                                    DMS-SM-V09-0100                    1.1 J           6.6 J                  3.5 J-                 1.7 J                  149 J
                                    DMS-SM-V10-0020                    1.9 J            16 J                  9.6 J-                 4.0 J                  338 J
               SV-10
                                    DMS-SM-V10-0100                    1.2 J           6.2 J                  3.9 J-                 1.5 J                  137 J
                                    DMS-SM-V11-0020                  2.5 J/ 2.7       18 J/ 19             9.3 J-/ 13 J            16 J/ 13 J+            423 J/ 450
               SV-11
                                    DMS-SM-V11-0100                    0.65 J          4.6 J                  3.6 J-                 1.4 J                  133 J
                                    DMS-SM-V12-0020                    7.0 J            16 J                 152 J-                  68 J                   589 J
               SV-12
                                    DMS-SM-V12-0100                    2.0 J            12 J                  9.6 J-                 2.5 J                  376 J
                                    DMS-SM-V13-0020                     14 J            18 J                  15 J-                  19 J                   825 J
               SV-13 (3)
                                    DMS-SM-V13-0100                      --              --                    --                     --                      --
                                    DMS-SM-V14-0020                  2.2 / 2.3       16 / 17                9.7 J/ 11 J         4.0 J+/ 4.6 J+            381 / 406
               SV-14
                                    DMS-SM-V14-0100                    0.75            4.5                    2.8 J                1.0 J+                   115
                                    DMS-SM-V15-0020                     3.8            24                     17 J                 6.1 J+                   562
               SV-15
                                    DMS-SM-V15-0100                     1.3            6.8                    4.2 J                1.5 J+                   152
                                    DMS-SM-V16-0020                     2.6            19                     13 J                 4.3 J+                   402
               SV-16
                                    DMS-SM-V16-0100                    0.64            5.9                    3.3 J                1.3 J+                   242
                                    DMS-SM-V17-0020                  5.5 / 5.0       22 / 21                13 J/ 13 J         301 / 199 J+
                                                                                                                                   J+
                                                                                                                                                          455 / 451
               SV-17
                                    DMS-SM-V17-0100                    0.96            6.4                    4.2 J                2.0 J+                   193
                                    DMS-SM-V18-0020                     3.0            17                     8.9 J                170 J+                   315
               SV-18
                                    DMS-SM-V18-0100                     1.2            7.4                    5.1 J                2.2 J+                   184
                                    DMS-SM-V19-0020                     5.4            21                     16 J                  90 J+                   508
               SV-19
                                    DMS-SM-V19-0100                    0.74            8.4                    4.9 J                2.0 J+                   219
                                    DMS-SM-V20-0020                     2.0            14                     9.8 J                6.3 J+                   323
               SV-20
                                    DMS-SM-V20-0100                     1.2            5.4                    3.9 J                1.4 J+                   156
         Notes:                                                                   Definitions:
          All values are reported in mg/kg                                         DTSC-SL = California Department of Toxic Substances Control Screening Level
          Bold values indicate results that exceed Residential RSL                               (April 2019; HHRA Note 3)
          Shaded cells indicate results that exceed Industrial RSL                 J = The result is an estimated quantity
          Samples collected in April 2019                                          J+ = The result is an estimated quantity, but the result may be biased high
          1 = There are no published RSLs for Total Chromium                       J- = The result is an estimated quantity, but the result may be biased low
          2 = Noncancer Endpoint                                                   mg/kg = milligram per kilogram
          3 = 10-foot sample not collected due to early refusal                                                                                      -6
                                                                                   RSL = EPA Regional Screening Level (Nov 2019; THQ =1.0, Risk = 10 )
                                                                                   -- = no value


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           TABLE 3: STAGE 2 SOIL SAMPLING RESULTS - SELECT METALS
                                                                                                       Analyte (mg/kg)
            Sample
                                              Sample ID              Arsenic        Chromium               Cobalt                      Lead             Manganese
            Location
                                                                       (As)           (Cr)                  (Co)                       (Pb)               (Mn)
                                          Residential RSL (1)           0.68            --                    23                        400               1,800
                                           Industrial RSL (1)            3.0            --                   350                        800              26,000
                                   Residential DTSC-SL                  0.11            --                    --                        80 (2)              --
                                    Industrial DTSC-SL                  0.36            --                    --                       320 (2)              --
                                    DMS-SM-D01-0020                      9.6 J            23 J                   12 J                  138                     495 J
                                    DMS-SM-D01-0050                  2.0 / 2.7 J       9.1 J/ 13             6.4 J/ 7.3 J           2.0 / 2.0               199 J/ 250
                DP-1
                                    DMS-SM-D01-0100                  2.4 / 1.9 J       8.1 J/ 9.0            5.9 J/ 5.4 J           1.9 / 1.3               250 J/ 169
                                    DMS-SM-D01-0150                      4.9 J            21 J                   12 J                  7.7                     401 J
                                    DMS-SM-D02-0020                      3.5              22 J                  6.2 J                  138                     195 J
                                    DMS-SM-D02-0050                      4.9 J            18 J                   11 J                   13                     313 J
                DP-2
                                    DMS-SM-D02-0100                      2.3              8.3 J                <6.0                    1.7                     171 J
                                    DMS-SM-D02-0150                      2.2              7.6 J                 5.9 J                  1.9                     143 J
                                    DMS-SM-D03-0030                      3.4 J            18                     11 J                   29 J                   230 J
                                    DMS-SM-D03-0050                      2.5 J            19                     22 J                  6.2 J                   330 J
                DP-3
                                    DMS-SM-D03-0100                      1.6 J           9.5                    5.8 J                  2.3 J                   195 J
                                    DMS-SM-D03-0150                      3.6 J            23                     13 J                  4.6 J                   379 J
                                    DMS-SM-D04-0020                      6.0 J            13                    5.8 J                  203                    352
                                    DMS-SM-D04-0050                      4.0 J            19                    9.9 J                  4.0                    290
                DP-4
                                    DMS-SM-D04-0100                      1.8 J           8.1                    5.7 J                  1.8                    289
                                    DMS-SM-D04-0150                      2.9 J            12                    6.6 J                  2.1                    196
                                    DMS-SM-D05-0020                      3.1 J            20                     11 J                  4.9 J                   336 J
                                    DMS-SM-D05-0050                      1.4 J            12                    6.8 J                  2.4 J                   196 J
                DP-5
                                    DMS-SM-D05-0100                      2.2 J           6.2                   <4.9                    1.4 J                   133 J
                                    DMS-SM-D05-0150                      4.7 J            31                     15 J                  6.6 J                   476 J
                                    DMS-SM-D06-0020                      4.9 J            22                     12 J                  5.0                    394
                                    DMS-SM-D06-0050                  2.0 J/ 2.4 J      7.9 / 11             <5.2 / 6.4 J            1.5 / 1.9               199 / 202
                DP-6
                                    DMS-SM-D06-0100                      1.7 J           7.1                   <4.9                    1.1                    134
                                    DMS-SM-D06-0150                      6.8 J            19                    8.9 J                  3.0                    336
                                    DMS-SM-D07-0020                      8.3 J            25 J                   13 J                  612                     458 J
                                    DMS-SM-D07-0050                      2.6              8.0 J                 5.7 J                  2.1                     156 J
                DP-7
                                    DMS-SM-D07-0100                      2.2              5.8 J                <4.9                    1.6                     135 J
                                    DMS-SM-D07-0150                      2.8              11 J                  7.0 J                  2.6                     207 J
                                    DMS-SM-D08-0020                      5.3 J            26                     12 J                   49                    423
                                    DMS-SM-D08-0050                  6.2 J/ 7.8 J      32 / 39               16 J/ 19 J             5.9 J/ 6.8 J            493 / 644
                DP-8
                                    DMS-SM-D08-0100                      2.3 J            12                    6.8 J                  1.9                    181
                                    DMS-SM-D08-0150                      4.1 J            22                     12 J                  3.8                    403
                                    DMS-SM-D09-0020                      14 J             20 J                   11 J                  152                    368 J
                                    DMS-SM-D09-0050                      6.4 J            18 J                   19 J                   15                    279 J
                DP-9
                                    DMS-SM-D09-0100                      2.1              6.7 J                <5.1                    1.6                    144 J
                                    DMS-SM-D09-0150                      2.4              8.0 J                 5.8 J                  2.2                    151 J
                                    DMS-SM-D10-0020                      2.6 J            18                     11 J                  8.5 J                  306 J
                                    DMS-SM-D10-0050                      2.1 J            15                    8.5 J                  3.2 J                  257 J
               DP-10
                                    DMS-SM-D10-0100                     0.74 J           5.7                   <4.9                    1.3 J                  197 J
                                    DMS-SM-D10-0150                      3.4 J            28                     16 J                  5.1 J                  523 J
         Notes:                                                                     Definitions:
          All values are reported in mg/kg                                           DTSC-SL = California Department of Toxic Substances Control Screening Level
          Bold values indicate results that exceed Residential RSL                                 (April 2019; HHRA Note 3)
          Shaded cells indicate results that exceed Industrial RSL                   J = The result is an estimated quantity
          Samples collected in June 2019                                             J+ = The result is an estimated quantity, but the result may be biased high
          1 = There are no published RSLs for Total Chromium                         J- = The result is an estimated quantity, but the result may be biased low
          2 = Noncancer Endpoint                                                     mg/kg = milligram per kilogram
                                                                                                                                                       -6
                                                                                     RSL = EPA Regional Screening Level (Nov 2019; THQ =1.0, Risk = 10 )
                                                                                             l


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                                                                                             Site
                                                                                           Location
                                                                                                         _




                                                                          Site
                                                                        Location




                                                                                            FIGURE 1
                                                                                        SITE LOCATION MAP
                           PREPARED BY:
                           Weston Solutions, Inc.
                                                      PREPARED FOR:
                                                      EPA Region 9                           Central Metal
                           2300 Clayton Rd, Ste 900   Site Assessment          Site Inspection - Interim Sampling Report
                           Concord, CA 94520          Program                           8201 Santa Fe Avenue
0   Scale in Miles   0.5
                                                                                         Huntington Park, CA
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                                                                               Legend




                                           Marbrisa Avenue
                                                                                                                                          Parcel Boundary

            Alame                                                                                                                         Former Tank Manufacturing Area

                                                                                                                                          Former Railroad Area
                 da Cor
                ridor




                                                          Short Street


                                           6202-037-010
                                                                   6202-037-009




                                                                                       Santa Fe Avenue
               6202-036-009




                                                             6202-037-006
                                     6202-036-012



East 63rd St


                                                                            6202-037-004




                                                             6202-036-013
                          South
                           Alame




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                                                                                                                                                      FIGURE 2
                                                                                                                                          PARCEL LAYOUT MAP
                             PREPARED BY:                        PREPARED FOR:
                             Weston Solutions, Inc.              EPA Region 9                                                    Central Metal
                             2300 Clayton Rd, Ste 900            Site Assessment                                   Site Inspection - Interim Sampling Report
                             Concord, CA 94520                   Program                                                    8201 Santa Fe Avenue
    0   Scale in Feet 200
                                                                                                                             Huntington Park, CA
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                                                                                                                   Main
                                                                                                                   Office

           Former                                                            Scale
         Stormwater                                                          House
         Treatment
           System


                                                                                                                  AST Area



                                                                                                                      Warehouse
                          Scrap Metal &
                           Debris Pile
                              Area




                                                                                                                  HWSA



                                                                                                                 Maintenance
                                                                                                                    Shop

                                   Existing
                                 Stormwater
                                 Treatment
                                   System




                                                                                                           0     Scale in Feet    200

                                   Definitions:
Legend                             AST = Aboveground Storage Tank
                                                                                                          FIGURE 3
                                   HWSA = Hazardous Waste Storage Area                                SITE LAYOUT MAP
     Site Boundary                 Reference:                                                            Central Metal
                                   Google, 2019
     Existing Site Structure                                                              Site Inspection - Interim Sampling Report
     Historical Site Feature                                                                       8201 Santa Fe Avenue
                                                                                                    Huntington Park, CA
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                                     DMS-SV-1             DMS-SV-2             DMS-SV-3             DMS-SV-4


                                          DMS-SV-5             DMS-SV-6           DMS-SV-7            DMS-SV-8




                                                       DMS-SV-9            DMS-SV-10              DMS-SV-11




                                                       DMS-SV-12              DMS-SV-13             DMS-SV-14




                                                                          DMS-SV-15                 DMS-SV-16



                                                                                             DMS-SV-17




                                                                                             DMS-SV-18




                                                                                   DMS-SV-20                   DMS-SV-19




                                                                                                           0       Scale in Feet   200


Legend                                                                                                     FIGURE 4
     Site Boundary
                                                                                           STAGE 1 SAMPLE LAYOUT MAP
                                                                                                          Central Metal
     Existing Site Structure
                                                                                        Site Inspection - Interim Sampling Report
     Combined Soil Vapor &                                                                       8201 Santa Fe Avenue
     Soil Matrix Boring                Reference:                                                 Huntington Park, CA
                                       Google, 2019
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                          DMS-DP-8
                                                                           DMS-DP-10


                                                                                                                     DMS-CPT-3




                                                                                                                  DMS-DP-5
                                     DMS-DP-3


                               DMS-CPT-2

                                                  DMS-DP-4
                                                                                                                  DMS-DP-6
                                                                DMS-DP-1

                                                                                                                  DMS-CPT-1



                                                                 DMS-DP-7




                                                                                                                  DMS-DP-2




                                                                  DMS-DP-9
                                                                                                                        DMS-CPT-4
                               DMS-CPT-5



                                                                                                            0      Scale in Feet   200


Legend                                                                                                      FIGURE 5
     Site Boundary                                                                          STAGE 2 SAMPLE LAYOUT MAP
                                                                                                           Central Metal
     Existing Site Structure
                                                                                        Site Inspection - Interim Sampling Report
     Direct Push (DP) Boring                                                                     8201 Santa Fe Avenue
     Cone Penetration Testing (CPT) Boring
                                              Reference:                                          Huntington Park, CA
                                              Google, 2019
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                                                                                                                         DMS-SV-3               DMS-SV-4
                                                                          6.5 ft-bgs:                                    6.0 ft-bgs:            6.0 ft-bgs:
                                                                          CCl4 = ND                                      CCl4 = ND              CCl4 = ND
                                            DMS-SV-1                      PCE = 84                                       PCE = 62               PCE = 169
                                            5.5 ft-bgs:                   1,1,1-TCA = ND                                 1,1,1-TCA = ND         1,1,1-TCA = ND      DMS-SV-7
                                            CCl4 = ND                     16.0 ft-bgs:                                   16.0 ft-bgs:           16.0 ft-bgs:        6.0 ft-bgs:
                                            PCE = 36                      CCl4 = ND                                      CCl4 = ND              CCl4 = ND           CCl4 = ND
                                            1,1,1-TCA = ND                PCE = 166                                      PCE = 55               PCE = 132           PCE = 41
                                            16.0 ft-bgs:                  1,1,1-TCA = ND                                 1,1,1-TCA = ND         1,1,1-TCA = ND      1,1,1-TCA = ND
                          DMS-SV-5
                                            CCl4 = ND                                                                                                               15.5 ft-bgs:
                          6.0 ft-bgs:       PCE = 32                                                                                                                CCl4 = ND
                          CCl4 = ND         1,1,1-TCA = ND                                                                                                          PCE = 59
                          PCE = 38                                                                                                                                  1,1,1-TCA = ND
                          1,1,1-TCA = ND                                           DMS-SV-6
                          16.0 ft-bgs:                                             No Wells Installed                                                     DMS-SV-8
                          CCl4 = ND                                                                                                                       6.0 ft-bgs:
                          PCE = 45                                                                                                                        CCl4 = ND
                          1,1,1-TCA = ND                                                                                                                  PCE = 184
                                                           DMS-SV-9                                                                                       1,1,1-TCA = ND
                                                           5.5 ft-bgs:                                                                                    16.0 ft-bgs:
                                                           CCl4 = ND                                                                                      CCl4 = ND
                                                           PCE = 19                                                                                       PCE = 161
                                                           1,1,1-TCA = 22                                                                                 1,1,1-TCA = ND
                                                           15.5 ft-bgs:
                                                           CCl4 = ND                                                                                             DMS-SV-11
                                                           PCE = 22                                                                                              5.5 ft-bgs:
                                                           1,1,1-TCA = 25                                                                                        CCl4 = ND
                                                                                                                                                                 PCE = 101
                                                DMS-SV-10                                                                                                        1,1,1-TCA = ND
                                                6.0 ft-bgs:                                                                                                      16.0 ft-bgs:
                                                CCl4 = 18                                                                                                        CCl4 = 9.0
                                                PCE = 162                                                     DMS-SV-13                                          PCE = 339
                                                1,1,1-TCA = ND                                                                                                   1,1,1-TCA = ND
                                                                           DMS-SV-12                          3.0 ft-bgs:
                                                15.5 ft-bgs:                                                  CCl4 = ND
                                                                           6.5 ft-bgs:
                                                CCl4 = 12                                                     PCE = 137                                 DMS-SV-14
                                                                           CCl4 = ND
                                                PCE = 28                                                      1,1,1-TCA = ND                            6.5 ft-bgs:
                                                                           PCE = 57
                                                1,1,1-TCA = ND                                                No Deep Well Installed                    CCl4 = ND
                                                                           1,1,1-TCA = 26
                                                                                                                                                        PCE = 2,530
                                                                           14.5 ft-bgs:
                                                                                                                                                        1,1,1-TCA = 18
                                                                           CCl4 = ND                  DMS-SV-15
                                                                           PCE = 103                                                                    16.0 ft-bgs:
                                                                                                      6.0 ft-bgs:                                       CCl4 = ND
                                                                           1,1,1-TCA = 35
                                                                                                      CCl4 = 13                                         PCE = 2,190
                                                                                                      PCE = 60                                          1,1,1-TCA = 24
                                                                                                      1,1,1-TCA = 73
                                                                                                      15.5 ft-bgs:                                       DMS-SV-16
                                                                                                      CCl4 = ND                                          6.0 ft-bgs:
                                                                                                      PCE = 113                                          CCl4 = ND
                                                                                                      1,1,1-TCA = 99                                     PCE = 68
                                                                                                                                                         1,1,1-TCA = ND
                                                                                                                 DMS-SV-17                               15.5 ft-bgs:
                                                                                                                 6.0 ft-bgs:                             CCl4 = 8.0
                                                                                                                 CCl4 = ND                               PCE = 74
                                                                                                                 PCE = 28                                1,1,1-TCA = 44
                                                                                                                 1,1,1-TCA = ND
                                                                                                                 16.0 ft-bgs:
                                                                                                                 CCl4 = ND
Residential EPA VISLs (1):                                                                                                                                    DMS-SV-18
                                                                                                                 PCE = 52
CCI4 = 16                                                                                                        1,1,1-TCA = ND                               6.0 ft-bgs:
PCE = 360                                                                                                                                                     CCl4 = ND
1,1,1-TCA = 174,000                                                                                                                                           PCE = 147
Commercial EPA VISLs (1):                                                                                                              DMS-SV-19              1,1,1-TCA = ND
CCI4 = 68                                                                                                                              6.0 ft-bgs:            16.0 ft-bgs:
PCE = 1,570                                                                                                                            CCl4 = ND              CCl4 = ND
1,1,1-TCA = 730,000                                                                        DMS-SV-20                                   PCE = ND               PCE = 156
                                                                                           6.0 ft-bgs:                                 1,1,1-TCA = ND         1,1,1-TCA = ND
Residential DTSC-SLs (2):
                                                                                           CCl4 = ND                                   16.0 ft-bgs:
CCI4 = 840 (3)                                                                             PCE = 22
PCE = 9.2                                                                                                                              CCl4 = ND
                                                                                           1,1,1-TCA = ND                              PCE = 8.0
1,1,1-TCA = 20,000 (3)
                                                                                           15.5 ft-bgs:                                1,1,1-TCA = ND
Industrial DTSC-SLs (2) :                                                                  CCl4 = ND
CCI4 = 3,600 (3)                                                                           PCE = 35
PCE = 40                                                                                   1,1,1-TCA = ND
1,1,1-TCA = 88,000 (3)                                                                                                                          0             Scale in Feet          200
                                           Definitions:
 Legend                                    CCI4 = carbon tetrachloride
                                           DTSC-SL = California Department of Toxic Substances Control Screening Level                              FIGURE 6
                                           ft-bgs = feet below ground surface
             Site Boundary                 ND = Not Detected above Reporting Limit                                             SOIL VAPOR SURVEY RESULTS
                                           PCE = tetrachloroethylene
                                           TCA = trichloroethane
                                                                                                                               - SELECT CHLORINATED VOCs -
             Existing Site Structure
                                           VISL = Vapor Intrusion Screening Level
                                                                                                                                               Central Metal
                                           Notes:
             Combined Soil Vapor &
             Soil Matrix Boring             - All units in micrograms per cubic meter (µg/m3)                              Site Inspection - Interim Sampling Report
                                            - Samples collected in April 2019
                                           1) EPA VISL Calculator (Nov 2019). Target Sub-Slab (THQ =1,Risk = 10-6)                  8201 Santa Fe Avenue
                                           2) HHRA Note 3 (April 2019). Applied Attenuation Factor of 0.05
                                           3) Noncancer Endpoint                                                                     Huntington Park, CA
Reference: Google, 2019
                                               Case 2:20-bk-17433-VZ           Doc 197 Filed 02/02/21 Entered 02/02/21 19:31:36                     Desc
                                                        DMS-SV-1               Main Document
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                                                                                                                            DMS-SV-3                 DMS-SV-4
                                                        2 ft-bgs:                  2 ft-bgs:                                2 ft-bgs:                2 ft-bgs:
                                                          Arsenic = 3.3              Arsenic = 2.7                            Arsenic = 2.5            Arsenic = 2.6
                                                          Cobalt = 17                Cobalt = 13                              Cobalt = 12              Cobalt = 13
                                                          Lead = 8.0                 Lead = 14                                Lead = 7.5               Lead = 5.5
                                                        10 ft-bgs:                 10 ft-bgs:                               10 ft-bgs:               10 ft-bgs:
                                                          Arsenic = 0.83             Arsenic = 0.89                           Arsenic = 0.97           Arsenic = 1.0            DMS-SV-7
                                                          Cobalt = 5.2               Cobalt = 4.1                             Cobalt = 4.6             Cobalt = 4.2             2 ft-bgs:
                                   DMS-SV-6               Lead = 1.6                 Lead = 1.5                               Lead = 1.3               Lead = 1.4                 Arsenic = 2.3
                                   2 ft-bgs:                                                                                                                                      Cobalt = 6.4
                                     Arsenic = 8.3                                                                                                                                Lead = 27
                                     Cobalt = 61                                                                                                                                10 ft-bgs:
                                     Lead = 338                                                                                                                                   Arsenic = 1.1
                                   10 ft-bgs: --                                                                                                                                  Cobalt = 4.9
                                                                                                                                                                                  Lead = 6.5
                                         DMS-SV-5
                                         2 ft-bgs:
                                           Arsenic = 3.1                                                                                                           DMS-SV-8
                                           Cobalt = 21                                                                                                             2 ft-bgs (1):
                                           Lead = 7.1                                                                                                                Arsenic = 3.2
                                         10 ft-bgs:              DMS-SV-9                                                                                            Cobalt = 14
                                           Arsenic = 0.76        2 ft-bgs:                                                                                           Lead = 31
                                           Cobalt = 3.2            Arsenic = 7.7 J                                                                                 10 ft-bgs:
                                           Lead = 1.3              Cobalt = 114 J-                                                                                   Arsenic = 0.44 J
                                                                   Lead = 196 J                                                                                      Cobalt = 2.5 J-
                                                                 10 ft-bgs:                                                                                          Lead = 1.0 J
                                                                   Arsenic = 1.1 J
                                                                   Cobalt = 3.5 J-
                                                                                                                                                                                   DMS-SV-11
                                                                   Lead = 1.7 J
                                                                                                                                                                                   2 ft-bgs (1):
                                                                                                                                                                                     Arsenic = 2.7
                                                      DMS-SV-10
                                                                                                                                                                                     Cobalt = 13 J
                                                      2 ft-bgs:                                                                                                                      Lead = 16 J
                                                        Arsenic = 1.9 J                                                                                    DMS-SV-14               10 ft-bgs:
                                                        Cobalt = 9.6 J-                                                                                    2 ft-bgs (1):             Arsenic = 0.65 J
                                                        Lead = 4.0 J           DMS-SV-12                                                                     Arsenic = 2.3           Cobalt = 3.6 J-
                                                      10 ft-bgs:                                        DMS-SV-13                                            Cobalt = 11 J           Lead = 1.4 J
                                                                               2 ft-bgs:
                                                        Arsenic = 1.2 J                                 2 ft-bgs:                                            Lead = 4.6 J+
                                                                                 Arsenic = 7.0 J
                                                        Cobalt = 3.9 J-                                   Arsenic = 14 J                                   10 ft-bgs:
                                                                                 Cobalt = 152 J-
                                                        Lead = 1.5 J                                      Cobalt = 15 J-                                     Arsenic = 0.75
                                                                                 Lead = 68 J
                                                                               10 ft-bgs:                 Lead = 19 J                                        Cobalt = 2.8 J
                                                                                 Arsenic = 2.0 J        10 ft-bgs: --                                        Lead = 1.0 J+
                                                                                 Cobalt = 9.6 J-
                                                                                 Lead = 2.5 J                      DMS-SV-15
                                                                                                                                                               DMS-SV-16
                                                                                                                   2 ft-bgs:
                                                                                                                     Arsenic = 3.8                             2 ft-bgs:
                                                                                                                     Cobalt = 17 J                               Arsenic = 2.6
                                                                                                                     Lead = 6.1 J+                               Cobalt = 13 J
                                                                                                                   10 ft-bgs:                                    Lead = 4.3 J+
                                                                                                                     Arsenic = 1.3                             10 ft-bgs:
                                                                                                                     Cobalt = 4.2 J                              Arsenic = 0.64
                                                                                                                     Lead = 1.5 J+                               Cobalt = 3.3 J
                                                                                                                                                                 Lead = 1.3 J+

                                                                                                                             DMS-SV-17
                                                                                                                             2 ft-bgs (1):                             DMS-SV-18
                                                                                                                               Arsenic = 5.5                           2 ft-bgs:
                                                                                                                               Cobalt = 13 J                             Arsenic = 3.0
                                                                                                                               Lead = 301 J+                             Cobalt = 8.9 J
USEPA RSLs (2):           DTSC-SLs (3):                                                                                      10 ft-bgs:                                  Lead = 170 J+
Resident Soil:            Residential Soil:                                                                                    Arsenic = 0.96                          10 ft-bgs:
   Arsenic = 0.68            Arsenic = 0.11                                                                                    Cobalt = 4.2 J                            Arsenic = 1.2
   Cobalt = 23               Cobalt = --                                                                                       Lead = 2.0 J+                             Cobalt = 5.1 J
   Lead = 400                Lead (4) = 80                                                                                                                               Lead = 2.2 J+
Industrial Soil:          Industrial Soil:                                                                                                      DMS-SV-19
   Arsenic = 3.0             Arsenic = 0.36                                                                                                     2 ft-bgs:
   Cobalt = 350              Cobalt = --                                                        DMS-SV-20                                         Arsenic = 5.4
   Lead = 800                Lead (4) = 320                                                                                                       Cobalt = 16 J
                                                                                                2 ft-bgs:
 Data Qualifier Definitions:                                                                      Arsenic = 2.0                                   Lead = 90 J+
 J = The result is an estimated quantity. The associated numerical value is the                   Cobalt = 9.8 J                                10 ft-bgs:
 approximate concentration of the analyte in the sample.                                          Lead = 6.3 J+                                   Arsenic = 0.74
 J+ = The result is an estimated quantity, but the result may be biased high.                   10 ft-bgs:                                        Cobalt = 4.9 J
 J- = The result is an estimated quantity, but the result may be biased low.                      Arsenic = 1.2                                   Lead = 2.0 J+
 R = The data are unusable. The sample results are rejected due to serious                        Cobalt = 3.9 J
 deficiencies in meeting QC criteria. The analyte may or may not be present in                    Lead = 1.4 J+
 the sample.                                                                                                                                          0                Scale in Feet               200
                                              Definitions:
 Legend                                       As = Arsenic
                                                                                                                                                          FIGURE 7
                                              Co = Cobalt

             Site Boundary
                                              DTSC-SL = California Department of Toxic Substances Control Screening Level
                                              ft-bgs = feet below ground surface
                                                                                                                                 STAGE 1 SOIL SAMPLING RESULTS
                                              Pb = Lead
                                              RSL = Regional Screening Level
                                                                                                                                  - SELECT METALS (As, Co, Pb) -
             Existing Site Structure
                                              Notes:
                                                                                                                                                      Central Metal
             Combined Soil Vapor
             & Soil Matrix Boring
                                               - All units in milligrams per kilogram (mg/kg)
                                               - Samples collected in April 2019
                                                                                                                               Site Inspection - Interim Sampling Report
                                              (1) Duplicate sample collected; greater result is presented                               8201 Santa Fe Avenue
                                                                                                                                         Huntington Park, CA
                                              (2) EPA Regional Screening Level (Nov 2019; THQ =1.0, Risk = 10-6)
                                              (3) DTSC Screening Level (April 2019; HHRA Note 3)
Reference: Google, 2019                       (4) Noncancer Endpoint
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                                  DMS-DP-8                                                  DMS-DP-10
                                  2 ft-bgs:                                                 2 ft-bgs:                                                DMS-CPT-3
                                    PCE= <11                                                  PCE= <5.7                                              94 ft-bgs (1):
                                    t-1,2-DCE = <11                                           t-1,2-DCE = <5.7                                       PCE= <0.50
                                    TCE = <11                                                 TCE = <5.7                                              t-1,2-DCE = <0.50
                                  5 ft-bgs (1):                                                                                                       TCE = <0.50           DMS-DP-5
                                                                                            5 ft-bgs:
                                    PCE= <6.5                                                                                                                               2 ft-bgs:
                                                                                              PCE= <7.8
                                    t-1,2-DCE = <6.5                                                                                                                          PCE= <6.9
                                                                                              t-1,2-DCE = <7.8
                                    TCE = <6.5                                                                                                                                t-1,2-DCE = <6.9
                                                                                              TCE = <7.8
                                  10 ft-bgs:                                                                                                                                  TCE = <6.9
                                                                                            10 ft-bgs:
                                    PCE= <9.6                                                                                                                               5 ft-bgs:
                                                                                              PCE= <6.2
                                    t-1,2-DCE = <9.6                                                                                                                          PCE= <7.5
                                                                                              t-1,2-DCE = <6.2
                                    TCE = <9.6                                                                                                                                t-1,2-DCE = <7.5
                                                                                              TCE = <6.2
                                  15 ft-bgs:                                                                                                                                  TCE = <7.5
                                                                                            15 ft-bgs:
                                    PCE= <13                                                                                                                                10 ft-bgs:
                                                                                              PCE= <9.0
                                    t-1,2-DCE = <13                                                                                                                           PCE= <5.9
                                                                                              t-1,2-DCE = <9.0
                                    TCE = <13                                                                                                                                 t-1,2-DCE = <5.9
                                                                                              TCE = <9.0
                                                                                                                                                                              TCE = <5.9
                                                                                                                                                                            15 ft-bgs:
                          DMS-DP-3
                                                                                                                                                                              PCE= <6.4
                          2 ft-bgs:
                                                                                                   DMS-CPT-2                                                                  t-1,2-DCE = <6.4
                            PCE= <5.4
                                                                                                   97 ft-bgs:                                                                 TCE = <6.4
                            t-1,2-DCE = <5.4
                                                                                                    PCE= <0.50
                            TCE = <5.4
                                                                                                    t-1,2-DCE = 0.12 J                                               DMS-DP-6
                          5 ft-bgs:
                                                                                                    TCE = 0.21 J                                                     2 ft-bgs:
                            PCE= <8.0
                                                                                                                                                                       PCE= 2.2 J
                            t-1,2-DCE = <8.0     DMS-DP-4
                                                                                                                                                                       t-1,2-DCE = <6.6
                            TCE = <8.0           2 ft-bgs:
                                                                                                                                                                       TCE = <6.6
                          10 ft-bgs:               PCE= <11
                                                                                                                                                                     5 ft-bgs (1):
                            PCE= <5.9              t-1,2-DCE = <11
                                                                                                                                                                       PCE= <5.3
                            t-1,2-DCE = <5.9       TCE = <11
                                                                                                                                                                       t-1,2-DCE = <5.3
                            TCE = <5.9           5 ft-bgs:
                                                                                                                                                                       TCE = <5.3
                          15 ft-bgs:               PCE= <8.7
                                                                                                                                                                     10 ft-bgs:
                            PCE= <5.6              t-1,2-DCE = <8.7
                                                                                                                                                                       PCE= <5.7
                            t-1,2-DCE = <5.6       TCE = <8.7
                                                                                                                                                                       t-1,2-DCE = <5.7
                            TCE = <5.6           10 ft-bgs:                DMS-DP-1
                                                                                                                                                                       TCE = <5.7
                                                   PCE= <9.5               2 ft-bgs:
                                                                                                                                                                     15 ft-bgs:
                                                   t-1,2-DCE = <9.5          PCE= <6.0
                                                                                                                                                                       PCE= <7.0
                                                   TCE = <9.5                t-1,2-DCE = <6.0
                                                                                                                                            DMS-CPT-1                  t-1,2-DCE = <7.0
                                                 15 ft-bgs:                  TCE = <6.0
                                                                                                                                            98 ft-bgs:                 TCE = <7.0
                                                   PCE= <14                5 ft-bgs (1):
                                                   t-1,2-DCE = <14           PCE= <6.0                                                       PCE= <0.50
                                                   TCE = <14                 t-1,2-DCE = <6.0                                                t-1,2-DCE = <0.50
                                                                             TCE = <6.0                                                      TCE = <0.50
                                                                           10 ft-bgs (1):               DMS-DP-7
                                                                                                                                                                      DMS-DP-2
                                                                             PCE= <6.0                  2 ft-bgs:
                                                                                                                                                                      2 ft-bgs:
                                                                             t-1,2-DCE = <6.0             PCE= <5.1
USEPA MCLs:                                                                                                                                                             PCE= <7.3
                                                                             TCE = <6.0                   t-1,2-DCE = <5.1
                                                                                                                                                                        t-1,2-DCE = <7.3
 PCE= 5.0                                                                  15 ft-bgs:                     TCE = <5.1
 t-1,2-DCE = 100                                                                                                                                                        TCE = <7.3
                                                                             PCE= <5.5                  5 ft-bgs:
 TCE = 5.0                                                                                                                                                            5 ft-bgs:
                                                                             t-1,2-DCE = <5.5             PCE= <5.0
                                                                                                                                                                        PCE= <7.3
USEPA RSLs (2):                  DTSC-SLs (3):                               TCE = <5.5                   t-1,2-DCE = <5.0
                                                                                                                               DMS-DP-9                                 t-1,2-DCE = <7.3
Resident Soil:                   Resident Soil:                                                           TCE = <5.0
                                                                                                                               2 ft-bgs:                                TCE = <7.3
  PCE= 24,000                      PCE= 590                                                             10 ft-bgs:
  t-1,2-DCE = 1,600,000            t-1,2-DCE (4) = 130,000                                                                       PCE= <6.5                            10 ft-bgs:
                                                                                                          PCE= <5.9
  TCE = 940                        TCE = --                                                                                      t-1,2-DCE = <6.5                       PCE= <6.6
                                                                                                          t-1,2-DCE = <5.9
Industrial Soil:                 Industrial Soil:                                                                                TCE = <6.5                             t-1,2-DCE = <6.6
                                                                                                          TCE = <5.9
  PCE= 100,000                     PCE= 2,700
                                                                                                                               5 ft-bgs:                                TCE = <6.6
                                                                                                        15 ft-bgs:
  t-1,2-DCE = 23,000,000           t-1,2-DCE (4) = 600,000
                                                                                                                                 PCE= <5.7                            15 ft-bgs:
                                                                                                          PCE= <6.0
  TCE = 6,000                      TCE = --
                                                                                                                                 t-1,2-DCE = <5.7                       PCE= <6.4
                                                                                                          t-1,2-DCE = <6.0
                                                                                                                                 TCE = <5.7                             t-1,2-DCE = <6.4
Data Qualifier Definitions:                                                                               TCE = <6.0
J = The result is an estimated quantity. The associated                                                                        10 ft-bgs:                               TCE = <6.4
     numerical value is the approximate concentration of the                                                                     PCE= <5.2
     analyte in the sample.                                                                                                      t-1,2-DCE = <5.2                 DMS-CPT-4
J+ = The result is an estimated quantity, but the result may be                                                                                                   98 ft-bgs:
                                                                                                                                 TCE = <5.2
     biased high.
                                                                                                                               15 ft-bgs:                          PCE= <0.50
J- = The result is an estimated quantity, but the result may be
                                                                                                                                 PCE= <6.5                         t-1,2-DCE = 0.15 J
     biased low.                                                                          DMS-CPT-5                                                                TCE = <0.50
                                                                                                                                 t-1,2-DCE = <6.5
R = The data are unusable. The sample results are rejected due                            101 ft-bgs:
     to serious deficiencies in meeting QC criteria. The analyte                                                                 TCE = <6.5
                                                                                           PCE= <0.50
     may or may not be present in the sample.
                                                                                           t-1,2-DCE = <0.50
< = The analyte was not detected above the Contract-Required
                                                                                           TCE = <0.50                                          0
     Quantitation Limit (CRQL)                                                                                                                                 Scale in Feet               200
                                                Definitions:
 Legend                                         DTSC-SL = California Department of Toxic Substances Control Screening Level
                                                ft-bgs = feet below ground surface                                                                   FIGURE 8
                                                MCL = Maximum Contaminant Level
           Site Boundary                        PCE = Tetrachloroethylene                                                        STAGE 2 SAMPLING RESULTS
                                                RSL = Regional Screening Level
           Existing Site Structure              t-1,2,-DCE = Trans-1,2-Dichloroethylene                                         - SELECT CHLORINATED VOCs -
                                                TCE = Trichloroethylene
           Direct Push (DP) Soil                Notes:                                                                                              Central Metal
                                                                                                                              Site Inspection - Interim Sampling Report
                                                 - All soil units in micrograms per kilogram (µg/kg)
           Matrix Boring                         - All groundwater units in micrograms per liter (µg/L)

                                                                                                                                       8201 Santa Fe Avenue
                                                 - Samples collected in June 2019
           Cone Penetration Testing
                                                (1) Duplicate sample collected; greater result is presented
           (CPT) Groundwater Boring
                                                                                                                                        Huntington Park, CA
                                                (2) EPA Regional Screening Level (Nov 2019; THQ =1.0, Risk = 10-6)
                                                (3) DTSC Screening Level (April 2019; HHRA Note 3)
Reference: Google, 2019                         (4) Noncancer Endpoint
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                                    DMS-DP-8
                                    2 ft-bgs:                                                                    DMS-DP-10
                                      Arsenic = 5.3 J                                                            2 ft-bgs:
                                      Cobalt = 12 J                                                                Arsenic = 2.6 J
                                      Lead = 49                                                                    Cobalt = 11 J                                             DMS-CPT-3
                                    5 ft-bgs (1):                                                                  Lead = 8.5 J                                              94 ft-bgs (1):
                                      Arsenic = 7.8 J                                                            5 ft-bgs:                                                    Arsenic = 40 J
                                      Cobalt = 19 J                                                                Arsenic = 2.1 J                                            Cobalt = 276 J
                                      Lead = 6.8 J                                                                 Cobalt = 8.5 J                                             Lead = 155 J-
                                    10 ft-bgs:                                                                     Lead = 3.2 J
                                      Arsenic = 2.3 J                                                            10 ft-bgs:
                                      Cobalt = 6.8 J                                                               Arsenic = 0.74 J                                                            DMS-DP-5
                                      Lead = 1.9                                                                   Cobalt = <4.9                                                               2 ft-bgs:
                                    15 ft-bgs:                                                                     Lead = 1.3 J                                                                  Arsenic = 3.1 J
                                      Arsenic = 4.1 J                                                            15 ft-bgs:                                                                      Cobalt = 11 J
                                      Cobalt = 12 J                                                                Arsenic = 3.4 J                                                               Lead = 4.9 J
                                      Lead = 3.8                                                                   Cobalt = 16 J                                                               5 ft-bgs:
                                                                                                                   Lead = 5.1 J                                                                  Arsenic = 1.4 J
                                                                                                                                                                                                 Cobalt = 6.8 J
                               DMS-DP-3
                                                                                                                                                                                                 Lead = 2.4 J
                               2 ft-bgs:                                                                       DMS-CPT-2                                                                       10 ft-bgs:
                                 Arsenic = 3.4 J                                                               97 ft-bgs:                                             DMS-DP-6
                                                                                                                                                                                                 Arsenic = 2.2 J
                                 Cobalt = 11 J                                                                  Arsenic = 51 J                                        2 ft-bgs:
                                                                                                                                                                                                 Cobalt = <4.9
                                 Lead = 29 J                                                                    Cobalt = 590 J                                          Arsenic = 4.9 J
                                                                                                                                                                                                 Lead = 1.4 J
                               5 ft-bgs:                                                                        Lead = 455 J-                                           Cobalt = 12 J
                                                                                                                                                                                               15 ft-bgs:
                                 Arsenic = 2.5 J                                                                                                                        Lead = 5.0
                                                                                                                                                                                                 Arsenic = 4.7 J
                                 Cobalt = 22 J            DMS-DP-4                                                                                                    5 ft-bgs (1):
                                                                                                                                                                                                 Cobalt = 15 J
                                 Lead = 6.2 J             2 ft-bgs:                                                                                                     Arsenic = 2.4 J
                                                                                                                                                                                                 Lead = 6.6 J
                               10 ft-bgs:                   Arsenic = 6.0 J                                                                                             Cobalt = 6.4 J
                                 Arsenic = 1.6 J            Cobalt = 5.8 J                                                                                              Lead = 1.9
                                 Cobalt = 5.8 J             Lead = 203                                                                                                10 ft-bgs:
                                 Lead = 2.3 J             5 ft-bgs:                                                                                                     Arsenic = 1.7 J
                               15 ft-bgs:                   Arsenic = 4.0 J                                                                                             Cobalt = <4.9
                                 Arsenic = 3.6 J            Cobalt = 9.9 J                                                                                              Lead = 1.1
                                 Cobalt = 13 J              Lead = 4.0                                                                                                15 ft-bgs:
                                 Lead = 4.6 J             10 ft-bgs:                    DMS-DP-1                                                                        Arsenic = 6.8 J
                                                            Arsenic = 1.8 J             2 ft-bgs:                                                                       Cobalt = 8.9 J
                                                            Cobalt = 5.7 J                Arsenic = 9.6 J                                                               Lead = 3.0
                                                            Lead = 1.8                    Cobalt = 12 J
                                                          15 ft-bgs:                      Lead = 138                                                 DMS-CPT-1
                                                            Arsenic = 2.9 J             5 ft-bgs (1):                                                98 ft-bgs:
                                                            Cobalt = 6.6 J                Arsenic = 2.7 J                                             Arsenic = 35
                                                            Lead = 2.1                    Cobalt = 7.3 J                                              Cobalt = 64 J
                                                                                          Lead = 2.0                 DMS-DP-7                         Lead = 66
                                                                                                                     2 ft-bgs:                                             DMS-DP-2
                                                                                        10 ft-bgs (1):                                                                     2 ft-bgs:
                                                                                          Arsenic = 2.4                Arsenic = 8.3 J
                                                                                                                       Cobalt = 13 J                                         Arsenic = 3.5
                                                                                          Cobalt = 5.9 J                                                                     Cobalt = 6.2 J
                                                                                          Lead = 1.9                   Lead = 612
                                                                                                                     5 ft-bgs:                                               Lead = 138
                                                                                        15 ft-bgs:                                                                         5 ft-bgs:
                                                                                          Arsenic = 4.9 J              Arsenic = 2.6
                                                                                                                       Cobalt = 5.7 J                                        Arsenic = 4.9 J
USEPA RSLs (2):           DTSC-SLs (3):                                                   Cobalt = 12 J                                                                      Cobalt = 11 J
                                                                                          Lead = 7.7                   Lead = 2.1
Resident Soil:            Residential Soil:                                                                          10 ft-bgs:                                              Lead = 13
   Arsenic = 0.68            Arsenic = 0.11                                                                            Arsenic = 2.2                                       10 ft-bgs:
   Cobalt = 23               Cobalt = --
                                                                                                                       Cobalt = <4.9     DMS-DP-9                            Arsenic = 2.3
   Lead = 400                Lead (4) = 80
                                                                                                                       Lead = 1.6        2 ft-bgs:                           Cobalt = <6.0
Industrial Soil:          Industrial Soil:                                                                           15 ft-bgs:            Arsenic = 14 J                    Lead = 1.7
   Arsenic = 3.0             Arsenic = 0.36
                                                                                                                       Arsenic = 2.8       Cobalt = 11 J                   15 ft-bgs:
   Cobalt = 350              Cobalt = --
                                                                                                                       Cobalt = 7.0 J      Lead = 152                        Arsenic = 2.2
   Lead = 800                Lead (4) = 320                                                                                                                                  Cobalt = 5.9 J
                                                                                          DMS-CPT-5                    Lead = 2.6        5 ft-bgs:
Data Qualifier Definitions:
                                                                                                                                           Arsenic = 6.4 J                   Lead = 1.9
J = The result is an estimated quantity. The associated                                   101 ft-bgs:
                                                                                           Arsenic = 27                                    Cobalt = 19 J
     numerical value is the approximate concentration of the
                                                                                           Cobalt = 51 J                                   Lead = 15
     analyte in the sample.
                                                                                                                                         10 ft-bgs:                             DMS-CPT-4
J+ = The result is an estimated quantity, but the result may be                            Lead = 43                                                                            98 ft-bgs:
     biased high.                                                                                                                          Arsenic = 2.1
                                                                                                                                           Cobalt = <5.1                         Arsenic = 100 J
J- = The result is an estimated quantity, but the result may be
     biased low.                                                                                                                           Lead = 1.6                            Cobalt = <250
R = The data are unusable. The sample results are rejected due                                                                           15 ft-bgs:                              Lead = 935 J-
     to serious deficiencies in meeting QC criteria. The analyte                                                                           Arsenic = 2.4
     may or may not be present in the sample.                                                                                              Cobalt = 5.8 J
< = The analyte was not detected above the Contract-Required                                                                               Lead = 2.2
     Quantitation Limit (CRQL)                                                                                                                                0             Scale in Feet                    200
                                                   Definitions:
 Legend                                            As = Arsenic
                                                   Co = Cobalt
                                                   DTSC-SL = California Department of Toxic Substances Control Screening Level
                                                                                                                                                                  FIGURE 9
             Site Boundary                         ft-bgs = feet below ground surface
                                                   Pb = Lead
                                                                                                                                               STAGE 2 SAMPLING RESULTS
             Existing Site Structure               RSL = Regional Screening Level                                                             - SELECT METALS (As, Co, Pb) -
                                                   Notes:
             Direct Push (DP) Soil                  - All soil units in milligrams per kilogram (mg/kg)
                                                    - All groundwater units in micrograms per liter (µg/L)
                                                                                                                                                              Central Metal
             Matrix Boring                          - Groundwater results are for Total Metals and are not comparable to regulatory
                                                      human-health benchmarks                                                            Site Inspection - Interim Sampling Report
                                                                                                                                                  8201 Santa Fe Avenue
             Cone Penetration Testing               - Samples collected in June 2019
                                                   (1) Duplicate sample collected; greater result is presented
             (CPT) Groundwater Boring
                                                                                                                                                   Huntington Park, CA
                                                   (2) EPA Regional Screening Level (Nov 2019; THQ =1.0, Risk = 10-6)
                                                   (3) DTSC Screening Level (April 2019; HHRA Note 3)
Reference: Google, 2019                            (4) Noncancer Endpoint
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Central Metal - Site Inspection – Interim Sampling Report                       May 2020




                                         Attachments




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Central Metal - Site Inspection – Interim Sampling Report                       May 2020




                    Attachment A:
        Soil Vapor Survey Laboratory Reports




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                               JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                       Weston Solutions, Inc.                                                  Report date:         4/11/2019
Client Address:               5881 Obispo Ave, Unit 101                                               Jones Ref. No.:      D-1612
                              Long Beach, CA 90805

Attn:                         Brian Reilly                                                            Date Sampled:        4/10/2019
                                                                                                      Date Received:       4/10/2019
                                                                                                      Date Analyzed:       4/10/2019
Project Address:              8201 Santa Fe Ave.                                                      Physical State:      Soil Gas
                              Huntington Park, CA 90255

ANALYSES REQUESTED

1.         EPA 8260B – Volatile Organics by GC/MS + Oxygenates

 Sampling – Soil Gas samples were collected in glass gas-tight syringes equipped with Teflon plungers.
           A tracer gas mixture of n-pentane, n-hexane, and n-heptane was placed at the tubing-surface interface before sampling. These
 compounds were analyzed during the 8260B analytical run to determine if there were surface leaks into the subsurface due to improper
 installation of the probe. No tracer was detected in any of the samples reported herein.
           The sampling rate was approximately 200 cc/min, except when noted differently on the chain of custody record, using a glass
 gas-tight syringe. Purging was completed using a pump set at approximately 200 cc/min, except when noted differently on the chain of
 custody record. A default of 3 purge volumes was used as recommended by July 2015 DTSC/RWQCB guidance documents.
           Prior to purging and sampling of soil gas at each point, a shut-in test was conducted to check for leaks in the above ground
 fittings. The shut-in test was performed on the above ground apparatus by evacuating the line to a vacuum of 100 inches of water,
 sealing the entire system and watching the vacuum for at least one minute. A vacuum gauge attached in parallel to the apparatus
 measured the vacuum. If there was any observable loss of vacuum, the fittings were adjusted as needed until the vacuum did not change
 noticeably. The soil gas sample was then taken.
           No flow conditions occur when a sampling rate greater than 10 mL/min cannot be maintained without applying a vacuum
 greater than 100 inches of water to the sampling train. The sampling train is left at a vacuum for no less than three minutes. If the
 vacuum does not subside appreciably after three minutes, the sample location is determined to be a no flow sample.

 Analytical – Soil Gas samples were analyzed using EPA Method 8260 that includes extra compounds required by DTSC/RWQCB
 (such as Freon 113). Instrument Continuing Calibration Verification, QC Reference Standards, Instrument Blanks and Sampling Blanks
 were analyzed every 12 hours as prescribed by the method. In addition, a Laboratory Control Sample (LCS) and Laboratory Control
 Sample Duplicate (LCSD) were analyzed with each batch of Soil Gas samples. A duplicate/replicate sample was analyzed each day of
 the sampling activity. All samples were injected into the GC/MS system within 30 minutes of sampling.




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                             Report date:       4/11/2019
Client Address:            5881 Obispo Ave, Unit 101                                          Jones Ref. No.:    D-1612
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                       Date Sampled:      4/10/2019
                                                                                              Date Received:     4/10/2019
                                                                                              Date Analyzed:     4/10/2019
Project Address:           8201 Santa Fe Ave.                                                 Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                   SV1-5.5'       SV1-16'    SV2-6.5'         SV2-16'    SV3-6'


Jones ID:                   D-1612-01      D-1612-02   D-1612-03    D-1612-04     D-1612-05
                                                                                               Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND              ND          ND               8             μg/m3
Bromobenzene                     ND           ND         ND              ND          ND               8             μg/m3
Bromodichloromethane             ND           ND         ND              ND          ND               8             μg/m3
Bromoform                        ND           ND         ND              ND          ND               8             μg/m3
n-Butylbenzene                   ND           ND         ND              ND          ND              12             μg/m3
sec-Butylbenzene                 ND           ND         ND              ND          ND              12             μg/m3
tert-Butylbenzene                ND           ND         ND              ND          ND              12             μg/m3
Carbon tetrachloride             ND           ND         ND              ND          ND               8             μg/m3
Chlorobenzene                    ND           ND         ND              ND          ND               8             μg/m3
Chloroform                       ND           ND         ND              ND          ND               8             μg/m3
2-Chlorotoluene                  ND           ND         ND              ND          ND              12             μg/m3
4-Chlorotoluene                  ND           ND         ND              ND          ND              12             μg/m3
Dibromochloromethane             ND           ND         ND              ND          ND               8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND              ND          ND               8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND              ND          ND               8             μg/m3
Dibromomethane                   ND           ND         ND              ND          ND               8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND              ND          ND              16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND              ND          ND              16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND              ND          ND              16             μg/m3
Dichlorodifluoromethane          375          467        371             631         180              8             μg/m3
1,1-Dichloroethane               ND           ND         ND              ND          ND               8             μg/m3
1,2-Dichloroethane               ND           ND         ND              ND          ND               8             μg/m3
1,1-Dichloroethene               ND           ND         ND              ND          ND               8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND              ND          ND               8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND              ND          ND               8             μg/m3
1,2-Dichloropropane              ND           ND         ND              ND          ND               8             μg/m3
1,3-Dichloropropane              ND           ND         ND              ND          ND               8             μg/m3
2,2-Dichloropropane              ND           ND         ND              ND          ND              16             μg/m3
1,1-Dichloropropene              ND           ND         ND              ND          ND              10             μg/m3




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                              JONES ENVIRONMENTAL LABORATORY RESULTS

                                   EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                     SV1-5.5'      SV1-16'     SV2-6.5'        SV2-16'     SV3-6'


Jones ID:                     D-1612-01     D-1612-02   D-1612-03    D-1612-04     D-1612-05
                                                                                                Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene            ND          ND          ND             ND          ND              8                μg/m3
trans-1,3-Dichloropropene          ND          ND          ND             ND          ND              8                μg/m3
Ethylbenzene                       ND          ND           8             ND           11             8                μg/m3
Freon 113                           45          45          28             58          33            16                μg/m3
Hexachlorobutadiene                ND          ND          ND             ND          ND             24                μg/m3
Isopropylbenzene                   ND          ND          ND             ND          ND              8                μg/m3
4-Isopropyltoluene                 ND          ND           79             23          22             8                μg/m3
Methylene chloride                 ND          ND          ND             ND          ND              8                μg/m3
Naphthalene                        ND          ND          ND             ND          ND             40                μg/m3
n-Propylbenzene                    ND          ND          ND             ND          ND              8                μg/m3
Styrene                            ND          ND          ND             ND          ND              8                μg/m3
1,1,1,2-Tetrachloroethane          ND          ND          ND             ND          ND              8                μg/m3
1,1,2,2-Tetrachloroethane          ND          ND          ND             ND          ND             16                μg/m3
Tetrachloroethene                   36          32          84            166          62             8                μg/m3
Toluene                             11         ND           12            ND          ND              8                μg/m3
1,2,3-Trichlorobenzene             ND          ND          ND             ND          ND             16                μg/m3
1,2,4-Trichlorobenzene             ND          ND          ND             ND          ND             16                μg/m3
1,1,1-Trichloroethane              ND          ND          ND             ND          ND              8                μg/m3
1,1,2-Trichloroethane              ND          ND          ND             ND          ND              8                μg/m3
Trichloroethene                    ND          ND          ND             ND          ND              8                μg/m3
Trichlorofluoromethane             390         356         181            359         106            16                μg/m3
1,2,3-Trichloropropane             ND          ND          ND             ND          ND              8                μg/m3
1,2,4-Trimethylbenzene             ND          ND           15            ND          ND              8                μg/m3
1,3,5-Trimethylbenzene             ND          ND          ND             ND          ND              8                μg/m3
Vinyl chloride                     ND          ND          ND             ND          ND              8                μg/m3
m,p-Xylene                         ND          ND           36            ND           50            16                μg/m3
o-Xylene                           ND          ND           12            ND           16             8                μg/m3
MTBE                               ND          ND          ND             ND          ND             40                μg/m3
Ethyl-tert-butylether              ND          ND          ND             ND          ND             40                μg/m3
Di-isopropylether                  ND          ND          ND             ND          ND             40                μg/m3
tert-amylmethylether               ND          ND          ND             ND          ND             40                μg/m3
tert-Butylalcohol                  ND          ND          ND             ND          ND             400               μg/m3

Tracer:
n-Pentane                          ND          ND          ND              ND         ND              80               μg/m3
n-Hexane                           ND          ND          ND              ND         ND              80               μg/m3
n-Heptane                          ND          ND          ND              ND         ND              80               μg/m3

Dilution Factor                     1           1           1               1          1

Surrogate Recoveries:                                                                                      QC Limits
Dibromofluoromethane               119%       120%        120%            120%       124%                   60 - 140
Toluene-d₈                         92%        96%         95%             94%        96%                    60 - 140
4-Bromofluorobenzene               95%        95%         95%             99%        96%                    60 - 140

                              D1-041019-   D1-041019-   D1-041019-   D1-041019-    D1-041019-
Batch ID:
                                  01           01           01           01            01

ND = Value below reporting limit




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                             Report date:       4/11/2019
Client Address:            5881 Obispo Ave, Unit 101                                          Jones Ref. No.:    D-1612
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                       Date Sampled:      4/10/2019
                                                                                              Date Received:     4/10/2019
                                                                                              Date Analyzed:     4/10/2019
Project Address:           8201 Santa Fe Ave.                                                 Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                   SV3-16'        SV4-6'      SV4-16'         SV8-6'   SV8-6' REP


Jones ID:                   D-1612-06      D-1612-07   D-1612-08    D-1612-09    D-1612-10
                                                                                               Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND              ND         ND                8             μg/m3
Bromobenzene                     ND           ND         ND              ND         ND                8             μg/m3
Bromodichloromethane             ND           ND         ND              ND         ND                8             μg/m3
Bromoform                        ND           ND         ND              ND         ND                8             μg/m3
n-Butylbenzene                   ND           ND         ND              ND         ND               12             μg/m3
sec-Butylbenzene                 ND           ND         ND              ND         ND               12             μg/m3
tert-Butylbenzene                ND           ND         ND              ND         ND               12             μg/m3
Carbon tetrachloride             ND           ND         ND              ND         ND                8             μg/m3
Chlorobenzene                    ND           ND         ND              ND         ND                8             μg/m3
Chloroform                       ND           ND         ND              ND         ND                8             μg/m3
2-Chlorotoluene                  ND           ND         ND              ND         ND               12             μg/m3
4-Chlorotoluene                  ND           ND         ND              ND         ND               12             μg/m3
Dibromochloromethane             ND           ND         ND              ND         ND                8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND              ND         ND                8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND              ND         ND                8             μg/m3
Dibromomethane                   ND           ND         ND              ND         ND                8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND              ND         ND               16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND              ND         ND               16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND              ND         ND               16             μg/m3
Dichlorodifluoromethane          200          111        109             81         97                8             μg/m3
1,1-Dichloroethane               ND           ND         ND              ND         ND                8             μg/m3
1,2-Dichloroethane               ND           ND         ND              ND         ND                8             μg/m3
1,1-Dichloroethene               ND           ND         ND              ND         ND                8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND              ND         ND                8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND              ND         ND                8             μg/m3
1,2-Dichloropropane              ND           ND         ND              ND         ND                8             μg/m3
1,3-Dichloropropane              ND           ND         ND              ND         ND                8             μg/m3
2,2-Dichloropropane              ND           ND         ND              ND         ND               16             μg/m3
1,1-Dichloropropene              ND           ND         ND              ND         ND               10             μg/m3




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                                     EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                         SV3-16'     SV4-6'      SV4-16'         SV8-6'   SV8-6' REP


Jones ID:                     D-1612-06       D-1612-07   D-1612-08    D-1612-09    D-1612-10
                                                                                                 Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene             ND           ND          ND             ND         ND              8                μg/m3
trans-1,3-Dichloropropene           ND           ND          ND             ND         ND              8                μg/m3
Ethylbenzene                        ND           ND          ND             ND         ND              8                μg/m3
Freon 113                            34           23          20             20         23            16                μg/m3
Hexachlorobutadiene                 ND           ND          ND             ND         ND             24                μg/m3
Isopropylbenzene                    ND           ND          ND             ND         ND              8                μg/m3
4-Isopropyltoluene                   23           29         121            ND         ND              8                μg/m3
Methylene chloride                  ND           ND          ND             ND         ND              8                μg/m3
Naphthalene                         ND           ND          ND             ND         ND             40                μg/m3
n-Propylbenzene                     ND           ND          ND             ND         ND              8                μg/m3
Styrene                             ND           ND          ND             ND         ND              8                μg/m3
1,1,1,2-Tetrachloroethane           ND           ND          ND             ND         ND              8                μg/m3
1,1,2,2-Tetrachloroethane           ND           ND          ND             ND         ND             16                μg/m3
Tetrachloroethene                    55          169         132            151        184             8                μg/m3
Toluene                             ND           ND          ND             ND         ND              8                μg/m3
1,2,3-Trichlorobenzene              ND           ND          ND             ND         ND             16                μg/m3
1,2,4-Trichlorobenzene              ND           ND          ND             ND         ND             16                μg/m3
1,1,1-Trichloroethane               ND           ND          ND             ND         ND              8                μg/m3
1,1,2-Trichloroethane               ND           ND          ND             ND         ND              8                μg/m3
Trichloroethene                     ND           ND          ND             ND         ND              8                μg/m3
Trichlorofluoromethane              105           94          83            104        127            16                μg/m3
1,2,3-Trichloropropane              ND           ND          ND             ND         ND              8                μg/m3
1,2,4-Trimethylbenzene              ND           ND           21            ND         ND              8                μg/m3
1,3,5-Trimethylbenzene              ND           ND          ND             ND         ND              8                μg/m3
Vinyl chloride                      ND           ND          ND             ND         ND              8                μg/m3
m,p-Xylene                          ND           ND           24            ND         ND             16                μg/m3
o-Xylene                            ND           ND           10            ND         ND              8                μg/m3
MTBE                                ND           ND          ND             ND         ND             40                μg/m3
Ethyl-tert-butylether               ND           ND          ND             ND         ND             40                μg/m3
Di-isopropylether                   ND           ND          ND             ND         ND             40                μg/m3
tert-amylmethylether                ND           ND          ND             ND         ND             40                μg/m3
tert-Butylalcohol                   ND           ND          ND             ND         ND             400               μg/m3

Tracer:
n-Pentane                            ND          ND          ND             ND         ND              80               μg/m3
n-Hexane                             ND          ND          ND             ND         ND              80               μg/m3
n-Heptane                            ND          ND          ND             ND         ND              80               μg/m3

Dilution Factor                       1           1           1              1          1

Surrogate Recoveries:                                                                                       QC Limits
Dibromofluoromethane                123%        118%        119%           120%       119%                   60 - 140
Toluene-d₈                          94%         94%         92%            94%        93%                    60 - 140
4-Bromofluorobenzene                95%         92%         93%            96%        94%                    60 - 140

                              D1-041019-     D1-041019-   D1-041019-   D1-041019-   D1-041019-
Batch ID:
                                  01             01           01           01           01
ND = Value below reporting limit




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                             Report date:       4/11/2019
Client Address:            5881 Obispo Ave, Unit 101                                          Jones Ref. No.:    D-1612
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                       Date Sampled:      4/10/2019
                                                                                              Date Received:     4/10/2019
                                                                                              Date Analyzed:     4/10/2019
Project Address:           8201 Santa Fe Ave.                                                 Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                   SV8-16'        SV5-6'      SV5-16'         SV18-6'   SV18-16'


Jones ID:                   D-1612-11      D-1612-12   D-1612-13    D-1612-14     D-1612-15
                                                                                               Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND               ND         ND               8             μg/m3
Bromobenzene                     ND           ND         ND               ND         ND               8             μg/m3
Bromodichloromethane             ND           ND         ND               ND         ND               8             μg/m3
Bromoform                        ND           ND         ND               ND         ND               8             μg/m3
n-Butylbenzene                   ND           ND         ND               ND         ND              12             μg/m3
sec-Butylbenzene                 ND           ND         ND               ND         ND              12             μg/m3
tert-Butylbenzene                ND           ND         ND               ND         ND              12             μg/m3
Carbon tetrachloride             ND           ND         ND               ND         ND               8             μg/m3
Chlorobenzene                    ND           ND         ND               ND         ND               8             μg/m3
Chloroform                       ND           ND         ND               ND         ND               8             μg/m3
2-Chlorotoluene                  ND           ND         ND               ND         ND              12             μg/m3
4-Chlorotoluene                  ND           ND         ND               ND         ND              12             μg/m3
Dibromochloromethane             ND           ND         ND               ND         ND               8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND               ND         ND               8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND               ND         ND               8             μg/m3
Dibromomethane                   ND           ND         ND               ND         ND               8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND               ND         ND              16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND               ND         ND              16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND               ND         ND              16             μg/m3
Dichlorodifluoromethane          115          165        243              ND         ND               8             μg/m3
1,1-Dichloroethane               ND           ND         ND               ND         ND               8             μg/m3
1,2-Dichloroethane               ND           ND         ND               ND         ND               8             μg/m3
1,1-Dichloroethene               ND           ND         ND               ND         ND               8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND               ND         ND               8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND               ND         ND               8             μg/m3
1,2-Dichloropropane              ND           ND         ND               ND         ND               8             μg/m3
1,3-Dichloropropane              ND           ND         ND               ND         ND               8             μg/m3
2,2-Dichloropropane              ND           ND         ND               ND         ND              16             μg/m3
1,1-Dichloropropene              ND           ND         ND               ND         ND              10             μg/m3




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                              JONES ENVIRONMENTAL LABORATORY RESULTS

                                     EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                         SV8-16'     SV5-6'      SV5-16'         SV18-6'    SV18-16'


Jones ID:                     D-1612-11       D-1612-12   D-1612-13    D-1612-14     D-1612-15
                                                                                                  Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene             ND           ND          ND             ND          ND              8                μg/m3
trans-1,3-Dichloropropene           ND           ND          ND             ND          ND              8                μg/m3
Ethylbenzene                        ND           ND          ND             ND          ND              8                μg/m3
Freon 113                            29           24          30            ND          ND             16                μg/m3
Hexachlorobutadiene                 ND           ND          ND             ND          ND             24                μg/m3
Isopropylbenzene                    ND           ND          ND             ND          ND              8                μg/m3
4-Isopropyltoluene                  ND           ND          ND              9           20             8                μg/m3
Methylene chloride                  ND           ND          ND             ND          ND              8                μg/m3
Naphthalene                         ND           ND          ND             ND          ND             40                μg/m3
n-Propylbenzene                     ND           ND          ND             ND          ND              8                μg/m3
Styrene                             ND           ND          ND             ND          ND              8                μg/m3
1,1,1,2-Tetrachloroethane           ND           ND          ND             ND          ND              8                μg/m3
1,1,2,2-Tetrachloroethane           ND           ND          ND             ND          ND             16                μg/m3
Tetrachloroethene                   161           38          45            147         156             8                μg/m3
Toluene                              17          ND          ND             ND          ND              8                μg/m3
1,2,3-Trichlorobenzene              ND           ND          ND             ND          ND             16                μg/m3
1,2,4-Trichlorobenzene              ND           ND          ND             ND          ND             16                μg/m3
1,1,1-Trichloroethane               ND           ND          ND             ND          ND              8                μg/m3
1,1,2-Trichloroethane               ND           ND          ND             ND          ND              8                μg/m3
Trichloroethene                     ND           ND          ND             ND          ND              8                μg/m3
Trichlorofluoromethane              148          141         170             37          39            16                μg/m3
1,2,3-Trichloropropane              ND           ND          ND             ND          ND              8                μg/m3
1,2,4-Trimethylbenzene              ND           ND          ND             ND          ND              8                μg/m3
1,3,5-Trimethylbenzene              ND           ND          ND             ND          ND              8                μg/m3
Vinyl chloride                      ND           ND          ND             ND          ND              8                μg/m3
m,p-Xylene                          ND           ND          ND             ND          ND             16                μg/m3
o-Xylene                            ND           ND          ND             ND          ND              8                μg/m3
MTBE                                ND           ND          ND             ND          ND             40                μg/m3
Ethyl-tert-butylether               ND           ND          ND             ND          ND             40                μg/m3
Di-isopropylether                   ND           ND          ND             ND          ND             40                μg/m3
tert-amylmethylether                ND           ND          ND             ND          ND             40                μg/m3
tert-Butylalcohol                   ND           ND          ND             ND          ND             400               μg/m3

Tracer:
n-Pentane                            ND          ND          ND              ND         ND              80               μg/m3
n-Hexane                             ND          ND          ND              ND         ND              80               μg/m3
n-Heptane                            ND          ND          ND              ND         ND              80               μg/m3

Dilution Factor                       1           1           1               1          1

Surrogate Recoveries:                                                                                        QC Limits
Dibromofluoromethane                120%        122%        119%            119%       119%                   60 - 140
Toluene-d₈                          92%         96%         96%             92%        93%                    60 - 140
4-Bromofluorobenzene                94%         94%         98%             92%        94%                    60 - 140

                              D1-041019-     D1-041019-   D1-041019-   D1-041019-    D1-041019-
Batch ID:
                                  01             01           01           01            01
ND = Value below reporting limit




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                    Report date:       4/11/2019
Client Address:            5881 Obispo Ave, Unit 101                                 Jones Ref. No.:    D-1612
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                              Date Sampled:      4/10/2019
                                                                                     Date Received:     4/10/2019
                                                                                     Date Analyzed:     4/10/2019
Project Address:           8201 Santa Fe Ave.                                        Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                   SV10-6'      SV10-15.5'   SV11-5.5'        SV11-16'


Jones ID:                   D-1612-16      D-1612-17   D-1612-18    D-1612-19
                                                                                      Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND               ND                 8             μg/m3
Bromobenzene                     ND           ND         ND               ND                 8             μg/m3
Bromodichloromethane             ND           ND         ND               ND                 8             μg/m3
Bromoform                        ND           ND         ND               ND                 8             μg/m3
n-Butylbenzene                   ND           ND         ND               ND                12             μg/m3
sec-Butylbenzene                 ND           ND         ND               ND                12             μg/m3
tert-Butylbenzene                ND           ND         ND               ND                12             μg/m3
Carbon tetrachloride              18          12         ND                9                 8             μg/m3
Chlorobenzene                    ND           ND         ND               ND                 8             μg/m3
Chloroform                       ND           ND         ND               ND                 8             μg/m3
2-Chlorotoluene                  ND           ND         ND               ND                12             μg/m3
4-Chlorotoluene                  ND           ND         ND               ND                12             μg/m3
Dibromochloromethane             ND           ND         ND               ND                 8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND               ND                 8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND               ND                 8             μg/m3
Dibromomethane                   ND           ND         ND               ND                 8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND               ND                16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND               ND                16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND               ND                16             μg/m3
Dichlorodifluoromethane           40          56         ND               53                 8             μg/m3
1,1-Dichloroethane               ND           ND         ND               ND                 8             μg/m3
1,2-Dichloroethane               ND           ND         ND               ND                 8             μg/m3
1,1-Dichloroethene               ND           ND         ND               ND                 8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND               ND                 8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND               ND                 8             μg/m3
1,2-Dichloropropane              ND           ND         ND               ND                 8             μg/m3
1,3-Dichloropropane              ND           ND         ND               ND                 8             μg/m3
2,2-Dichloropropane              ND           ND         ND               ND                16             μg/m3
1,1-Dichloropropene              ND           ND         ND               ND                10             μg/m3




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                              JONES ENVIRONMENTAL LABORATORY RESULTS

                                     EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                         SV10-6'   SV10-15.5'   SV11-5.5'        SV11-16'


Jones ID:                     D-1612-16       D-1612-17   D-1612-18    D-1612-19
                                                                                           Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene             ND           ND          ND              ND                  8                μg/m3
trans-1,3-Dichloropropene           ND           ND          ND              ND                  8                μg/m3
Ethylbenzene                        ND           ND          ND              ND                  8                μg/m3
Freon 113                            21           27         ND               33                16                μg/m3
Hexachlorobutadiene                 ND           ND          ND              ND                 24                μg/m3
Isopropylbenzene                    ND           ND          ND              ND                  8                μg/m3
4-Isopropyltoluene                  ND           ND           26              15                 8                μg/m3
Methylene chloride                  ND           ND          ND              ND                  8                μg/m3
Naphthalene                         ND           ND          ND              ND                 40                μg/m3
n-Propylbenzene                     ND           ND          ND              ND                  8                μg/m3
Styrene                             ND           ND          ND              ND                  8                μg/m3
1,1,1,2-Tetrachloroethane           ND           ND          ND              ND                  8                μg/m3
1,1,2,2-Tetrachloroethane           ND           ND          ND              ND                 16                μg/m3
Tetrachloroethene                   162           28         101             339                 8                μg/m3
Toluene                             ND            20          13              11                 8                μg/m3
1,2,3-Trichlorobenzene              ND           ND          ND              ND                 16                μg/m3
1,2,4-Trichlorobenzene              ND           ND          ND              ND                 16                μg/m3
1,1,1-Trichloroethane               ND           ND          ND              ND                  8                μg/m3
1,1,2-Trichloroethane               ND           ND          ND              ND                  8                μg/m3
Trichloroethene                     ND           ND          ND              ND                  8                μg/m3
Trichlorofluoromethane              262          314         236             424                16                μg/m3
1,2,3-Trichloropropane              ND           ND          ND              ND                  8                μg/m3
1,2,4-Trimethylbenzene              ND           ND          ND              ND                  8                μg/m3
1,3,5-Trimethylbenzene              ND           ND          ND              ND                  8                μg/m3
Vinyl chloride                      ND           ND          ND              ND                  8                μg/m3
m,p-Xylene                          ND           ND          ND              ND                 16                μg/m3
o-Xylene                            ND           ND          ND              ND                  8                μg/m3
MTBE                                ND           ND          ND              ND                 40                μg/m3
Ethyl-tert-butylether               ND           ND          ND              ND                 40                μg/m3
Di-isopropylether                   ND           ND          ND              ND                 40                μg/m3
tert-amylmethylether                ND           ND          ND              ND                 40                μg/m3
tert-Butylalcohol                   ND           ND          ND              ND                 400               μg/m3

Tracer:
n-Pentane                            ND          ND          ND              ND                  80               μg/m3
n-Hexane                             ND          ND          ND              ND                  80               μg/m3
n-Heptane                            ND          ND          ND              ND                  80               μg/m3

Dilution Factor                       1           1           1               1

Surrogate Recoveries:                                                                                 QC Limits
Dibromofluoromethane                119%        119%        117%            119%                       60 - 140
Toluene-d₈                          91%         95%         91%             91%                        60 - 140
4-Bromofluorobenzene                93%         94%         92%             94%                        60 - 140

                              D1-041019-     D1-041019-   D1-041019-   D1-041019-
Batch ID:
                                  01             01           01           01
ND = Value below reporting limit




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                    JONES ENVIRONMENTAL QUALITY CONTROL INFORMATION

Client:                    Weston Solutions, Inc.                                    Report date:       4/11/2019
Client Address:            5881 Obispo Ave, Unit 101                                 Jones Ref. No.:    D-1612
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                              Date Sampled:      4/10/2019
                                                                                     Date Received:     4/10/2019
                                                                                     Date Analyzed:     4/10/2019
Project Address:           8201 Santa Fe Ave.                                        Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates
                            METHOD SAMPLING
Sample ID:
                             BLANK   BLANK
                               041019-      041019-
Jones ID:
                               D1MB1         D1SB1                                    Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND                                             8             μg/m3
Bromobenzene                     ND           ND                                             8             μg/m3
Bromodichloromethane             ND           ND                                             8             μg/m3
Bromoform                        ND           ND                                             8             μg/m3
n-Butylbenzene                   ND           ND                                            12             μg/m3
sec-Butylbenzene                 ND           ND                                            12             μg/m3
tert-Butylbenzene                ND           ND                                            12             μg/m3
Carbon tetrachloride             ND           ND                                             8             μg/m3
Chlorobenzene                    ND           ND                                             8             μg/m3
Chloroform                       ND           ND                                             8             μg/m3
2-Chlorotoluene                  ND           ND                                            12             μg/m3
4-Chlorotoluene                  ND           ND                                            12             μg/m3
Dibromochloromethane             ND           ND                                             8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND                                             8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND                                             8             μg/m3
Dibromomethane                   ND           ND                                             8             μg/m3
1,2- Dichlorobenzene             ND           ND                                            16             μg/m3
1,3-Dichlorobenzene              ND           ND                                            16             μg/m3
1,4-Dichlorobenzene              ND           ND                                            16             μg/m3
Dichlorodifluoromethane          ND           ND                                             8             μg/m3
1,1-Dichloroethane               ND           ND                                             8             μg/m3
1,2-Dichloroethane               ND           ND                                             8             μg/m3
1,1-Dichloroethene               ND           ND                                             8             μg/m3
cis-1,2-Dichloroethene           ND           ND                                             8             μg/m3
trans-1,2-Dichloroethene         ND           ND                                             8             μg/m3
1,2-Dichloropropane              ND           ND                                             8             μg/m3
1,3-Dichloropropane              ND           ND                                             8             μg/m3
2,2-Dichloropropane              ND           ND                                            16             μg/m3
1,1-Dichloropropene              ND           ND                                            10             μg/m3




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                        JONES ENVIRONMENTAL QUALITY CONTROL INFORMATION

                                     EPA 8260B – Volatile Organics by GC/MS + Oxygenates
                              METHOD SAMPLING
Sample ID:
                               BLANK   BLANK
                                   041019-    041019-
Jones ID:
                                   D1MB1      D1SB1                                        Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene              ND         ND                                               8                μg/m3
trans-1,3-Dichloropropene            ND         ND                                               8                μg/m3
Ethylbenzene                         ND         ND                                               8                μg/m3
Freon 113                            ND         ND                                              16                μg/m3
Hexachlorobutadiene                  ND         ND                                              24                μg/m3
Isopropylbenzene                     ND         ND                                               8                μg/m3
4-Isopropyltoluene                   ND         ND                                               8                μg/m3
Methylene chloride                   ND         ND                                               8                μg/m3
Naphthalene                          ND         ND                                              40                μg/m3
n-Propylbenzene                      ND         ND                                               8                μg/m3
Styrene                              ND         ND                                               8                μg/m3
1,1,1,2-Tetrachloroethane            ND         ND                                               8                μg/m3
1,1,2,2-Tetrachloroethane            ND         ND                                              16                μg/m3
Tetrachloroethene                    ND         ND                                               8                μg/m3
Toluene                              ND         ND                                               8                μg/m3
1,2,3-Trichlorobenzene               ND         ND                                              16                μg/m3
1,2,4-Trichlorobenzene               ND         ND                                              16                μg/m3
1,1,1-Trichloroethane                ND         ND                                               8                μg/m3
1,1,2-Trichloroethane                ND         ND                                               8                μg/m3
Trichloroethene                      ND         ND                                               8                μg/m3
Trichlorofluoromethane               ND         ND                                              16                μg/m3
1,2,3-Trichloropropane               ND         ND                                               8                μg/m3
1,2,4-Trimethylbenzene               ND         ND                                               8                μg/m3
1,3,5-Trimethylbenzene               ND         ND                                               8                μg/m3
Vinyl chloride                       ND         ND                                               8                μg/m3
m,p-Xylene                           ND         ND                                              16                μg/m3
o-Xylene                             ND         ND                                               8                μg/m3
MTBE                                 ND         ND                                              40                μg/m3
Ethyl-tert-butylether                ND         ND                                              40                μg/m3
Di-isopropylether                    ND         ND                                              40                μg/m3
tert-amylmethylether                 ND         ND                                              40                μg/m3
tert-Butylalcohol                    ND         ND                                              400               μg/m3

Tracer:
n-Pentane                            ND         ND                                               80               μg/m3
n-Hexane                             ND         ND                                               80               μg/m3
n-Heptane                            ND         ND                                               80               μg/m3

Dilution Factor                       1          1

Surrogate Recoveries:                                                                                 QC Limits
Dibromofluoromethane                116%       116%                                                    60 - 140
Toluene-d₈                          91%        94%                                                     60 - 140
4-Bromofluorobenzene                95%        91%                                                     60 - 140
                              D1-041019-     D1-041019-
Batch ID:
                                  01             01
ND = Value below reporting limit




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                             JONES ENVIRONMENTAL QUALITY CONTROL INFORMATION

        Client:                   Weston Solutions, Inc.                                              Report date:      4/11/2019
        Client Address:           5881 Obispo Ave, Unit 101                                          Jones Ref. No.:    D-1612
                                  Long Beach, CA 90805

        Attn:                     Brian Reilly                                                        Date Sampled:     4/10/2019
                                                                                                      Date Received:    4/10/2019
                                                                                                      Date Analyzed:    4/10/2019
        Project Address:          8201 Santa Fe Ave.                                                  Physical State:   Soil Gas
                                  Huntington Park, CA 90255
                                         EPA 8260B – Volatile Organics by GC/MS + Oxygenates

                Batch ID:         D1-041019-01
PA 8260B – Volatile Organics by GC/MS + Oxygenates 041019-D1LCSD1
                                   041019-D1LCS1                                                            041019-D1CCV1
                                              LCS                 LCSD                      Acceptability                   Acceptability
        Parameter                         Recovery (%)         Recovery (%)         RPD      Range (%)          CCV          Range (%)

        Vinyl chloride                       131%                  138%              5.7%     60 - 140           81%          80 - 120
        1,1-Dichloroethene                   116%                  123%              5.5%     60 - 140          106%          80 - 120
        Cis-1,2-Dichloroethene               105%                  111%              5.9%     70 - 130           89%          80 - 120
        1,1,1-Trichloroethane                106%                  111%              5.0%     70 - 130          103%          80 - 120
        Benzene                              118%                  125%              5.7%     70 - 130          115%          80 - 120
        Trichloroethene                      103%                  106%              3.4%     70 - 130          102%          80 - 120
        Toluene                              98%                   101%              2.7%     70 - 130           99%          80 - 120
        Tetrachloroethene                    95%                   100%              5.3%     70 - 130           93%          80 - 120
        Chlorobenzene                        94%                    97%              2.2%     70 - 130           96%          80 - 120
        Ethylbenzene                         101%                  108%              7.1%     70 - 130          103%          80 - 120
        1,2,4 Trimethylbenzene               91%                   102%             11.7%     70 - 130          100%          80 - 120



        Surrogate Recovery:
        Dibromofluoromethane                 111%                  117%                       60 - 140          102%          60 - 140
        Toluene-d₈                            96%                   94%                       60 - 140           96%          60 - 140
        4-Bromofluorobenzene                  97%                   95%                       60 - 140           99%          60 - 140




        LCS = Laboratory Control Sample
        LCSD = Laboratory Control Sample Duplicate
        CCV = Continuing Calibration Verification
        RPD = Relative Percent Difference; Acceptability range for RPD is ≤ 20%




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                               JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                       Weston Solutions, Inc.                                                  Report date:         4/15/2019
Client Address:               5881 Obispo Ave, Unit 101                                               Jones Ref. No.:      D-1613
                              Long Beach, CA 90805

Attn:                         Brian Reilly                                                            Date Sampled:        4/11/2019
                                                                                                      Date Received:       4/11/2019
                                                                                                      Date Analyzed:       4/11/2019
Project Address:              8201 Santa Fe Ave.                                                      Physical State:      Soil Gas
                              Huntington Park, CA 90255

ANALYSES REQUESTED

1.         EPA 8260B – Volatile Organics by GC/MS + Oxygenates

 Sampling – Soil Gas samples were collected in glass gas-tight syringes equipped with Teflon plungers.
           A tracer gas mixture of n-pentane, n-hexane, and n-heptane was placed at the tubing-surface interface before sampling. These
 compounds were analyzed during the 8260B analytical run to determine if there were surface leaks into the subsurface due to improper
 installation of the probe. No tracer was detected in any of the samples reported herein.
           The sampling rate was approximately 200 cc/min, except when noted differently on the chain of custody record, using a glass
 gas-tight syringe. Purging was completed using a pump set at approximately 200 cc/min, except when noted differently on the chain of
 custody record. A default of 3 purge volumes was used as recommended by July 2015 DTSC/RWQCB guidance documents.
           Prior to purging and sampling of soil gas at each point, a shut-in test was conducted to check for leaks in the above ground
 fittings. The shut-in test was performed on the above ground apparatus by evacuating the line to a vacuum of 100 inches of water,
 sealing the entire system and watching the vacuum for at least one minute. A vacuum gauge attached in parallel to the apparatus
 measured the vacuum. If there was any observable loss of vacuum, the fittings were adjusted as needed until the vacuum did not change
 noticeably. The soil gas sample was then taken.
           No flow conditions occur when a sampling rate greater than 10 mL/min cannot be maintained without applying a vacuum
 greater than 100 inches of water to the sampling train. The sampling train is left at a vacuum for no less than three minutes. If the
 vacuum does not subside appreciably after three minutes, the sample location is determined to be a no flow sample.

 Analytical – Soil Gas samples were analyzed using EPA Method 8260 that includes extra compounds required by DTSC/RWQCB
 (such as Freon 113). Instrument Continuing Calibration Verification, QC Reference Standards, Instrument Blanks and Sampling Blanks
 were analyzed every 12 hours as prescribed by the method. In addition, a Laboratory Control Sample (LCS) and Laboratory Control
 Sample Duplicate (LCSD) were analyzed with each batch of Soil Gas samples. A duplicate/replicate sample was analyzed each day of
 the sampling activity. All samples were injected into the GC/MS system within 30 minutes of sampling.




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                               Report date:       4/15/2019
Client Address:            5881 Obispo Ave, Unit 101                                            Jones Ref. No.:    D-1613
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                         Date Sampled:      4/11/2019
                                                                                                Date Received:     4/11/2019
                                                                                                Date Analyzed:     4/11/2019
Project Address:           8201 Santa Fe Ave.                                                   Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates
                                                       SV16-15.5'
Sample ID:                   SV16-6'      SV16-15.5'                    SV14-6.5'   SV14-16'
                                                         REP

Jones ID:                   D-1613-01      D-1613-02   D-1613-03    D-1613-04       D-1613-05
                                                                                                 Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND                ND          ND               8             μg/m3
Bromobenzene                     ND           ND         ND                ND          ND               8             μg/m3
Bromodichloromethane             ND           ND         ND                ND          ND               8             μg/m3
Bromoform                        ND           ND         ND                ND          ND               8             μg/m3
n-Butylbenzene                   ND           ND         ND                ND          ND              12             μg/m3
sec-Butylbenzene                 ND           ND         ND                ND          ND              12             μg/m3
tert-Butylbenzene                ND           ND         ND                ND          ND              12             μg/m3
Carbon tetrachloride             ND            8         ND                ND          ND               8             μg/m3
Chlorobenzene                    ND           ND         ND                ND          ND               8             μg/m3
Chloroform                       ND           ND         ND                ND          ND               8             μg/m3
2-Chlorotoluene                  ND           ND         ND                ND          ND              12             μg/m3
4-Chlorotoluene                  ND           ND         ND                ND          ND              12             μg/m3
Dibromochloromethane             ND           ND         ND                ND          ND               8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND                ND          ND               8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND                ND          ND               8             μg/m3
Dibromomethane                   ND           ND         ND                ND          ND               8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND                ND          ND              16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND                ND          ND              16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND                ND          ND              16             μg/m3
Dichlorodifluoromethane          ND           ND         ND                ND          25               8             μg/m3
1,1-Dichloroethane               ND           ND         ND                ND          ND               8             μg/m3
1,2-Dichloroethane               ND           ND         ND                ND          ND               8             μg/m3
1,1-Dichloroethene               ND           ND         ND                ND          ND               8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND                ND          ND               8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND                ND          ND               8             μg/m3
1,2-Dichloropropane              ND           ND         ND                ND          ND               8             μg/m3
1,3-Dichloropropane              ND           ND         ND                ND          ND               8             μg/m3
2,2-Dichloropropane              ND           ND         ND                ND          ND              16             μg/m3
1,1-Dichloropropene              ND           ND         ND                ND          ND              10             μg/m3




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                                   JONES ENVIRONMENTAL LABORATORY RESULTS

                                      EPA 8260B – Volatile Organics by GC/MS + Oxygenates
                                                             SV16-15.5'
Sample ID:                          SV16-6'     SV16-15.5'                    SV14-6.5'    SV14-16'
                                                               REP

Jones ID:                          D-1613-01     D-1613-02   D-1613-03    D-1613-04       D-1613-05
                                                                                                       Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene               ND            ND          ND               ND           ND             8                μg/m3
trans-1,3-Dichloropropene             ND            ND          ND               ND           ND             8                μg/m3
Ethylbenzene                          ND            ND          ND               ND           ND             8                μg/m3
Freon 113                              19            20          24              26           37            16                μg/m3
Hexachlorobutadiene                   ND            ND          ND               ND           ND            24                μg/m3
Isopropylbenzene                      ND            ND          ND               ND           ND             8                μg/m3
4-Isopropyltoluene                    ND            ND          ND               ND           ND             8                μg/m3
Methylene chloride                    ND            ND          ND               ND           ND             8                μg/m3
Naphthalene                           ND            ND          ND               ND           ND            40                μg/m3
n-Propylbenzene                       ND            ND          ND               ND           ND             8                μg/m3
Styrene                               ND            ND          ND               ND           ND             8                μg/m3
1,1,1,2-Tetrachloroethane             ND            ND          ND               ND           ND             8                μg/m3
1,1,2,2-Tetrachloroethane             ND            ND          ND               ND           ND            16                μg/m3
Tetrachloroethene                      68            74          72             2530         2190            8                μg/m3
Toluene                               ND            ND          ND               ND           12             8                μg/m3
1,2,3-Trichlorobenzene                ND            ND          ND               ND           ND            16                μg/m3
1,2,4-Trichlorobenzene                ND            ND          ND               ND           ND            16                μg/m3
1,1,1-Trichloroethane                 ND             44          43              18           24             8                μg/m3
1,1,2-Trichloroethane                 ND            ND          ND               ND           ND             8                μg/m3
Trichloroethene                       ND            ND          ND               ND           ND             8                μg/m3
Trichlorofluoromethane                332           388         403             468          682            16                μg/m3
1,2,3-Trichloropropane                ND            ND          ND               ND           ND             8                μg/m3
1,2,4-Trimethylbenzene                ND            ND          ND               ND           ND             8                μg/m3
1,3,5-Trimethylbenzene                ND            ND          ND               ND           ND             8                μg/m3
Vinyl chloride                        ND            ND          ND               ND           ND             8                μg/m3
m,p-Xylene                            ND            ND          ND               ND           ND            16                μg/m3
o-Xylene                              ND            ND          ND               ND           ND             8                μg/m3
MTBE                                  ND            ND          ND               ND           ND            40                μg/m3
Ethyl-tert-butylether                 ND            ND          ND               ND           ND            40                μg/m3
Di-isopropylether                     ND            ND          ND               ND           ND            40                μg/m3
tert-amylmethylether                  ND            ND          ND               ND           ND            40                μg/m3
tert-Butylalcohol                     ND            ND          ND               ND           ND            400               μg/m3

Gasoline Range Organics (C4-C12)      ND            ND          ND               ND          ND             400               μg/m3

Tracer:
n-Pentane                             ND            ND          ND               ND          ND              80               μg/m3
n-Hexane                              ND            ND          ND               ND          ND              80               μg/m3
n-Heptane                             ND            ND          ND               ND          ND              80               μg/m3

Dilution Factor                        1             1           1                1           1

Surrogate Recoveries:                                                                                             QC Limits
Dibromofluoromethane                 118%          121%        120%             118%        119%                   60 - 140
Toluene-d₈                           93%           92%         93%              96%         94%                    60 - 140
4-Bromofluorobenzene                 92%           95%         94%              95%         96%                    60 - 140

                                   D1-041119-   D1-041119-   D1-041119-   D1-041119-      D1-041119-
Batch ID:
                                       01           01           01           01              01
ND = Value below reporting limit




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                            Report date:       4/15/2019
Client Address:            5881 Obispo Ave, Unit 101                                         Jones Ref. No.:    D-1613
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                      Date Sampled:      4/11/2019
                                                                                             Date Received:     4/11/2019
                                                                                             Date Analyzed:     4/11/2019
Project Address:           8201 Santa Fe Ave.                                                Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                   SV15-6'      SV15-15.5'   SV12-6.5'    SV12-14.5'    SV7-6'


Jones ID:                   D-1613-06      D-1613-07   D-1613-08    D-1613-09    D-1613-10
                                                                                              Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND             ND          ND               8             μg/m3
Bromobenzene                     ND           ND         ND             ND          ND               8             μg/m3
Bromodichloromethane             ND           ND         ND             ND          ND               8             μg/m3
Bromoform                        ND           ND         ND             ND          ND               8             μg/m3
n-Butylbenzene                   ND           ND         ND             ND          ND              12             μg/m3
sec-Butylbenzene                 ND           ND         ND             ND          ND              12             μg/m3
tert-Butylbenzene                ND           ND         ND             ND          ND              12             μg/m3
Carbon tetrachloride              13          ND         ND             ND          ND               8             μg/m3
Chlorobenzene                    ND           ND         ND             ND          ND               8             μg/m3
Chloroform                       ND           ND         ND             ND          ND               8             μg/m3
2-Chlorotoluene                  ND           ND         ND             ND          ND              12             μg/m3
4-Chlorotoluene                  ND           ND         ND             ND          ND              12             μg/m3
Dibromochloromethane             ND           ND         ND             ND          ND               8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND             ND          ND               8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND             ND          ND               8             μg/m3
Dibromomethane                   ND           ND         ND             ND          ND               8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND             ND          ND              16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND             ND          ND              16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND             ND          ND              16             μg/m3
Dichlorodifluoromethane          ND           ND          60            76          137              8             μg/m3
1,1-Dichloroethane               ND           ND         ND             ND          ND               8             μg/m3
1,2-Dichloroethane               ND           ND         ND             ND          ND               8             μg/m3
1,1-Dichloroethene               ND           ND         ND             ND          ND               8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND             ND          ND               8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND             ND          ND               8             μg/m3
1,2-Dichloropropane              ND           ND         ND             ND          ND               8             μg/m3
1,3-Dichloropropane              ND           ND         ND             ND          ND               8             μg/m3
2,2-Dichloropropane              ND           ND         ND             ND          ND              16             μg/m3
1,1-Dichloropropene              ND           ND         ND             ND          ND              10             μg/m3




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                                   JONES ENVIRONMENTAL LABORATORY RESULTS

                                      EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                          SV15-6'     SV15-15.5'   SV12-6.5'    SV12-14.5'     SV7-6'


Jones ID:                          D-1613-06     D-1613-07   D-1613-08    D-1613-09    D-1613-10
                                                                                                    Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene               ND            ND           ND            ND         ND              8                μg/m3
trans-1,3-Dichloropropene             ND            ND           ND            ND         ND              8                μg/m3
Ethylbenzene                          ND            ND           ND            ND         ND              8                μg/m3
Freon 113                              22            31         101           109          35            16                μg/m3
Hexachlorobutadiene                   ND            ND           ND            ND         ND             24                μg/m3
Isopropylbenzene                      ND            ND           ND            ND         ND              8                μg/m3
4-Isopropyltoluene                    ND            ND           ND            ND         ND              8                μg/m3
Methylene chloride                    ND            ND           ND            ND         ND              8                μg/m3
Naphthalene                           ND            ND           ND            ND         ND             40                μg/m3
n-Propylbenzene                       ND            ND           ND            ND         ND              8                μg/m3
Styrene                               ND            ND           ND            ND         ND              8                μg/m3
1,1,1,2-Tetrachloroethane             ND            ND           ND            ND         ND              8                μg/m3
1,1,2,2-Tetrachloroethane             ND            ND           ND            ND         ND             16                μg/m3
Tetrachloroethene                      60           113          57           103          41             8                μg/m3
Toluene                                11           ND            9            ND         ND              8                μg/m3
1,2,3-Trichlorobenzene                ND            ND           ND            ND         ND             16                μg/m3
1,2,4-Trichlorobenzene                ND            ND           ND            ND         ND             16                μg/m3
1,1,1-Trichloroethane                  73            99          26            35         ND              8                μg/m3
1,1,2-Trichloroethane                 ND            ND           ND            ND         ND              8                μg/m3
Trichloroethene                       ND            ND           ND            ND         ND              8                μg/m3
Trichlorofluoromethane                404           511         1310          1380        165            16                μg/m3
1,2,3-Trichloropropane                ND            ND           ND            ND         ND              8                μg/m3
1,2,4-Trimethylbenzene                ND            ND           ND            ND         ND              8                μg/m3
1,3,5-Trimethylbenzene                ND            ND           ND            ND         ND              8                μg/m3
Vinyl chloride                        ND            ND           ND            ND         ND              8                μg/m3
m,p-Xylene                            ND            ND           ND            ND         ND             16                μg/m3
o-Xylene                              ND            ND           ND            ND         ND              8                μg/m3
MTBE                                  ND            ND           ND            ND         ND             40                μg/m3
Ethyl-tert-butylether                 ND            ND           ND            ND         ND             40                μg/m3
Di-isopropylether                     ND            ND           ND            ND         ND             40                μg/m3
tert-amylmethylether                  ND            ND           ND            ND         ND             40                μg/m3
tert-Butylalcohol                     ND            ND           ND            ND         ND             400               μg/m3

Gasoline Range Organics (C4-C12)      ND            ND          ND            ND          ND             400               μg/m3

Tracer:
n-Pentane                             ND            ND          ND            ND          ND              80               μg/m3
n-Hexane                              ND            ND          ND            ND          ND              80               μg/m3
n-Heptane                             ND            ND          ND            ND          ND              80               μg/m3

Dilution Factor                        1             1           1             1           1

Surrogate Recoveries:                                                                                          QC Limits
Dibromofluoromethane                 122%          117%        120%           116%       119%                   60 - 140
Toluene-d₈                           95%           96%         93%            92%        93%                    60 - 140
4-Bromofluorobenzene                 95%           94%         92%            93%        94%                    60 - 140

                                   D1-041119-   D1-041119-   D1-041119-   D1-041119-   D1-041119-
Batch ID:
                                       01           01           01           01           01
ND = Value below reporting limit




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                             Report date:       4/15/2019
Client Address:            5881 Obispo Ave, Unit 101                                          Jones Ref. No.:    D-1613
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                       Date Sampled:      4/11/2019
                                                                                              Date Received:     4/11/2019
                                                                                              Date Analyzed:     4/11/2019
Project Address:           8201 Santa Fe Ave.                                                 Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                  SV7-15.5'      SV9-5.5'    SV9-15.5'        SV13-3'    SV17-6'


Jones ID:                   D-1613-11      D-1613-12   D-1613-13    D-1613-14     D-1613-15
                                                                                               Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND               ND         ND               8             μg/m3
Bromobenzene                     ND           ND         ND               ND         ND               8             μg/m3
Bromodichloromethane             ND           ND         ND               ND         ND               8             μg/m3
Bromoform                        ND           ND         ND               ND         ND               8             μg/m3
n-Butylbenzene                   ND           ND         ND               ND         ND              12             μg/m3
sec-Butylbenzene                 ND           ND         ND               ND         ND              12             μg/m3
tert-Butylbenzene                ND           ND         ND               ND         ND              12             μg/m3
Carbon tetrachloride             ND           ND         ND               ND         ND               8             μg/m3
Chlorobenzene                    ND           ND         ND               ND         ND               8             μg/m3
Chloroform                       ND           ND         ND               ND         ND               8             μg/m3
2-Chlorotoluene                  ND           ND         ND               ND         ND              12             μg/m3
4-Chlorotoluene                  ND           ND         ND               ND         ND              12             μg/m3
Dibromochloromethane             ND           ND         ND               ND         ND               8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND               ND         ND               8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND               ND         ND               8             μg/m3
Dibromomethane                   ND           ND         ND               ND         ND               8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND               ND         ND              16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND               ND         ND              16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND               ND         ND              16             μg/m3
Dichlorodifluoromethane          157          86          99              ND         ND               8             μg/m3
1,1-Dichloroethane               ND           ND         ND               ND         ND               8             μg/m3
1,2-Dichloroethane               ND           ND         ND               ND         ND               8             μg/m3
1,1-Dichloroethene               ND           ND         ND               ND         ND               8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND               ND         ND               8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND               ND         ND               8             μg/m3
1,2-Dichloropropane              ND           ND         ND               ND         ND               8             μg/m3
1,3-Dichloropropane              ND           ND         ND               ND         ND               8             μg/m3
2,2-Dichloropropane              ND           ND         ND               ND         ND              16             μg/m3
1,1-Dichloropropene              ND           ND         ND               ND         ND              10             μg/m3




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                                   EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                     SV7-15.5'    SV9-5.5'    SV9-15.5'        SV13-3'    SV17-6'


Jones ID:                     D-1613-11     D-1613-12   D-1613-13    D-1613-14     D-1613-15
                                                                                                Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene            ND          ND          ND             ND          ND              8                μg/m3
trans-1,3-Dichloropropene          ND          ND          ND             ND          ND              8                μg/m3
Ethylbenzene                       ND          ND          ND             ND          ND              8                μg/m3
Freon 113                           35         ND           19            ND          ND             16                μg/m3
Hexachlorobutadiene                ND          ND          ND             ND          ND             24                μg/m3
Isopropylbenzene                   ND          ND          ND             ND          ND              8                μg/m3
4-Isopropyltoluene                 ND          ND          ND             ND          ND              8                μg/m3
Methylene chloride                 ND          ND          ND             ND          ND              8                μg/m3
Naphthalene                        ND          ND          ND             ND          ND             40                μg/m3
n-Propylbenzene                    ND          ND          ND             ND          ND              8                μg/m3
Styrene                            ND          ND          ND             ND          ND              8                μg/m3
1,1,1,2-Tetrachloroethane          ND          ND          ND             ND          ND              8                μg/m3
1,1,2,2-Tetrachloroethane          ND          ND          ND             ND          ND             16                μg/m3
Tetrachloroethene                   59          19          22            137         28              8                μg/m3
Toluene                            ND          ND           14            ND          ND              8                μg/m3
1,2,3-Trichlorobenzene             ND          ND          ND             ND          ND             16                μg/m3
1,2,4-Trichlorobenzene             ND          ND          ND             ND          ND             16                μg/m3
1,1,1-Trichloroethane              ND           22          25            ND          ND              8                μg/m3
1,1,2-Trichloroethane              ND          ND          ND             ND          ND              8                μg/m3
Trichloroethene                    ND          ND          ND             ND          ND              8                μg/m3
Trichlorofluoromethane             168         128         157            222         77             16                μg/m3
1,2,3-Trichloropropane             ND          ND          ND             ND          ND              8                μg/m3
1,2,4-Trimethylbenzene             ND          ND          ND             ND          ND              8                μg/m3
1,3,5-Trimethylbenzene             ND          ND          ND             ND          ND              8                μg/m3
Vinyl chloride                     ND          ND          ND             ND          ND              8                μg/m3
m,p-Xylene                         ND          ND          ND             ND          ND             16                μg/m3
o-Xylene                           ND          ND          ND             ND          ND              8                μg/m3
MTBE                               ND          ND          ND             ND          ND             40                μg/m3
Ethyl-tert-butylether              ND          ND          ND             ND          ND             40                μg/m3
Di-isopropylether                  ND          ND          ND             ND          ND             40                μg/m3
tert-amylmethylether               ND          ND          ND             ND          ND             40                μg/m3
tert-Butylalcohol                  ND          ND          ND             ND          ND             400               μg/m3

Tracer:
n-Pentane                          ND          ND          ND              ND         ND              80               μg/m3
n-Hexane                           ND          ND          ND              ND         ND              80               μg/m3
n-Heptane                          ND          ND          ND              ND         ND              80               μg/m3

Dilution Factor                     1           1           1               1          1

Surrogate Recoveries:                                                                                      QC Limits
Dibromofluoromethane               117%       118%        119%            117%       115%                   60 - 140
Toluene-d₈                         95%        95%         94%             94%        96%                    60 - 140
4-Bromofluorobenzene               94%        94%         97%             97%        97%                    60 - 140

                              D1-041119-   D1-041119-   D1-041119-   D1-041119-    D1-041119-
Batch ID:
                                  01           01           01           01            01
ND = Value below reporting limit




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                            JONES ENVIRONMENTAL LABORATORY RESULTS

Client:                    Weston Solutions, Inc.                                             Report date:       4/15/2019
Client Address:            5881 Obispo Ave, Unit 101                                          Jones Ref. No.:    D-1613
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                                       Date Sampled:      4/11/2019
                                                                                              Date Received:     4/11/2019
                                                                                              Date Analyzed:     4/11/2019
Project Address:           8201 Santa Fe Ave.                                                 Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                   SV17-16'       SV20-6'    SV20-15.5'       SV19-6'   SV19-16'


Jones ID:                   D-1613-16      D-1613-17   D-1613-18    D-1613-19     D-1613-20
                                                                                               Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND         ND               ND         ND               8             μg/m3
Bromobenzene                     ND           ND         ND               ND         ND               8             μg/m3
Bromodichloromethane             ND           13         ND               ND         ND               8             μg/m3
Bromoform                        ND           16         ND               ND         ND               8             μg/m3
n-Butylbenzene                   ND           ND         ND               ND         ND              12             μg/m3
sec-Butylbenzene                 ND           ND         ND               ND         ND              12             μg/m3
tert-Butylbenzene                ND           ND         ND               ND         ND              12             μg/m3
Carbon tetrachloride             ND           ND         ND               ND         ND               8             μg/m3
Chlorobenzene                    ND           ND         ND               ND         ND               8             μg/m3
Chloroform                       ND           ND         ND               ND         ND               8             μg/m3
2-Chlorotoluene                  ND           ND         ND               ND         ND              12             μg/m3
4-Chlorotoluene                  ND           ND         ND               ND         ND              12             μg/m3
Dibromochloromethane             ND           ND         ND               ND         ND               8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND         ND               ND         ND               8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND         ND               ND         ND               8             μg/m3
Dibromomethane                   ND           13         ND               ND         ND               8             μg/m3
1,2- Dichlorobenzene             ND           ND         ND               ND         ND              16             μg/m3
1,3-Dichlorobenzene              ND           ND         ND               ND         ND              16             μg/m3
1,4-Dichlorobenzene              ND           ND         ND               ND         ND              16             μg/m3
Dichlorodifluoromethane          ND           52          60              ND         ND               8             μg/m3
1,1-Dichloroethane               ND           ND         ND               ND         ND               8             μg/m3
1,2-Dichloroethane               ND           ND         ND               ND         ND               8             μg/m3
1,1-Dichloroethene               ND           ND         ND               ND         ND               8             μg/m3
cis-1,2-Dichloroethene           ND           ND         ND               ND         ND               8             μg/m3
trans-1,2-Dichloroethene         ND           ND         ND               ND         ND               8             μg/m3
1,2-Dichloropropane              ND           ND         ND               ND         ND               8             μg/m3
1,3-Dichloropropane              ND           ND         ND               ND         ND               8             μg/m3
2,2-Dichloropropane              ND           ND         ND               ND         ND              16             μg/m3
1,1-Dichloropropene              ND           ND         ND               ND         ND              10             μg/m3




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                                   JONES ENVIRONMENTAL LABORATORY RESULTS

                                      EPA 8260B – Volatile Organics by GC/MS + Oxygenates

Sample ID:                          SV17-16'      SV20-6'    SV20-15.5'       SV19-6'    SV19-16'


Jones ID:                          D-1613-16     D-1613-17   D-1613-18    D-1613-19     D-1613-20
                                                                                                     Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene               ND            ND           ND             ND         ND              8                μg/m3
trans-1,3-Dichloropropene             ND            ND           ND             ND         ND              8                μg/m3
Ethylbenzene                          ND            ND           ND             ND         ND              8                μg/m3
Freon 113                             ND           1920         2240            ND         ND             16                μg/m3
Hexachlorobutadiene                   ND            ND           ND             ND         ND             24                μg/m3
Isopropylbenzene                      ND            ND           ND             ND         ND              8                μg/m3
4-Isopropyltoluene                    ND            34           ND             ND         ND              8                μg/m3
Methylene chloride                    ND            12           ND             ND         ND              8                μg/m3
Naphthalene                           ND            ND           ND             ND         ND             40                μg/m3
n-Propylbenzene                       ND            ND           ND             ND         ND              8                μg/m3
Styrene                               ND            ND           ND             ND         ND              8                μg/m3
1,1,1,2-Tetrachloroethane             ND            ND           ND             ND         ND              8                μg/m3
1,1,2,2-Tetrachloroethane             ND            ND           ND             ND         ND             16                μg/m3
Tetrachloroethene                     52            22           35             ND          8              8                μg/m3
Toluene                               ND            14           10             ND         ND              8                μg/m3
1,2,3-Trichlorobenzene                ND            ND           ND             ND         ND             16                μg/m3
1,2,4-Trichlorobenzene                ND            ND           ND             ND         ND             16                μg/m3
1,1,1-Trichloroethane                 ND            ND           ND             ND         ND              8                μg/m3
1,1,2-Trichloroethane                 ND            ND           ND             ND         ND              8                μg/m3
Trichloroethene                       ND            ND           ND             ND         ND              8                μg/m3
Trichlorofluoromethane                97            26           17             ND         ND             16                μg/m3
1,2,3-Trichloropropane                ND            ND           ND             ND         ND              8                μg/m3
1,2,4-Trimethylbenzene                ND            10           ND             ND         ND              8                μg/m3
1,3,5-Trimethylbenzene                ND            ND           ND             ND         ND              8                μg/m3
Vinyl chloride                        ND            ND           ND             ND         ND              8                μg/m3
m,p-Xylene                            ND            20           ND             ND         ND             16                μg/m3
o-Xylene                              ND            ND           ND             ND         ND              8                μg/m3
MTBE                                  ND            ND           ND             ND         ND             40                μg/m3
Ethyl-tert-butylether                 ND            ND           ND             ND         ND             40                μg/m3
Di-isopropylether                     ND            ND           ND             ND         ND             40                μg/m3
tert-amylmethylether                  ND            ND           ND             ND         ND             40                μg/m3
tert-Butylalcohol                     ND            ND           ND             ND         ND             400               μg/m3

Gasoline Range Organics (C4-C12)      ND            ND          ND              ND         ND             400               μg/m3

Tracer:
n-Pentane                             ND            ND          ND              ND         ND              80               μg/m3
n-Hexane                              ND            ND          ND              ND         ND              80               μg/m3
n-Heptane                             ND            ND          ND              ND         ND              80               μg/m3

Dilution Factor                        1             1           1               1          1

Surrogate Recoveries:                                                                                           QC Limits
Dibromofluoromethane                 117%          117%        116%            120%       117%                   60 - 140
Toluene-d₈                           95%           94%         94%             92%        94%                    60 - 140
4-Bromofluorobenzene                 92%           94%         95%             93%        92%                    60 - 140

                                   D1-041119-   D1-041119-   D1-041119-   D1-041119-    D1-041119-
Batch ID:
                                       01           01           01           01            01
ND = Value below reporting limit




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                    JONES ENVIRONMENTAL QUALITY CONTROL INFORMATION

Client:                    Weston Solutions, Inc.                                    Report date:       4/15/2019
Client Address:            5881 Obispo Ave, Unit 101                                 Jones Ref. No.:    D-1613
                           Long Beach, CA 90805

Attn:                      Brian Reilly                                              Date Sampled:      4/11/2019
                                                                                     Date Received:     4/11/2019
                                                                                     Date Analyzed:     4/11/2019
Project Address:           8201 Santa Fe Ave.                                        Physical State:    Soil Gas
                           Huntington Park, CA 90255
                               EPA 8260B – Volatile Organics by GC/MS + Oxygenates
                            METHOD SAMPLING
Sample ID:
                             BLANK   BLANK
                               041119-      041119-
Jones ID:
                               D1MB1         D1SB1                                    Reporting Limit      Units
1.          EPA 8260B – Volatile Organics by GC/MS + Oxygenates
Benzene                          ND           ND                                             8             μg/m3
Bromobenzene                     ND           ND                                             8             μg/m3
Bromodichloromethane             ND           ND                                             8             μg/m3
Bromoform                        ND           ND                                             8             μg/m3
n-Butylbenzene                   ND           ND                                            12             μg/m3
sec-Butylbenzene                 ND           ND                                            12             μg/m3
tert-Butylbenzene                ND           ND                                            12             μg/m3
Carbon tetrachloride             ND           ND                                             8             μg/m3
Chlorobenzene                    ND           ND                                             8             μg/m3
Chloroform                       ND           ND                                             8             μg/m3
2-Chlorotoluene                  ND           ND                                            12             μg/m3
4-Chlorotoluene                  ND           ND                                            12             μg/m3
Dibromochloromethane             ND           ND                                             8             μg/m3
1,2-Dibromo-3-chloropropane      ND           ND                                             8             μg/m3
1,2-Dibromoethane (EDB)          ND           ND                                             8             μg/m3
Dibromomethane                   ND           ND                                             8             μg/m3
1,2- Dichlorobenzene             ND           ND                                            16             μg/m3
1,3-Dichlorobenzene              ND           ND                                            16             μg/m3
1,4-Dichlorobenzene              ND           ND                                            16             μg/m3
Dichlorodifluoromethane          ND           ND                                             8             μg/m3
1,1-Dichloroethane               ND           ND                                             8             μg/m3
1,2-Dichloroethane               ND           ND                                             8             μg/m3
1,1-Dichloroethene               ND           ND                                             8             μg/m3
cis-1,2-Dichloroethene           ND           ND                                             8             μg/m3
trans-1,2-Dichloroethene         ND           ND                                             8             μg/m3
1,2-Dichloropropane              ND           ND                                             8             μg/m3
1,3-Dichloropropane              ND           ND                                             8             μg/m3
2,2-Dichloropropane              ND           ND                                            16             μg/m3
1,1-Dichloropropene              ND           ND                                            10             μg/m3




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                        JONES ENVIRONMENTAL QUALITY CONTROL INFORMATION

                                     EPA 8260B – Volatile Organics by GC/MS + Oxygenates
                              METHOD SAMPLING
Sample ID:
                               BLANK   BLANK
                                   041119-    041119-
Jones ID:
                                   D1MB1      D1SB1                                        Reporting Limit        Units
Analytes:
cis-1,3-Dichloropropene              ND         ND                                               8                μg/m3
trans-1,3-Dichloropropene            ND         ND                                               8                μg/m3
Ethylbenzene                         ND         ND                                               8                μg/m3
Freon 113                            ND         ND                                              16                μg/m3
Hexachlorobutadiene                  ND         ND                                              24                μg/m3
Isopropylbenzene                     ND         ND                                               8                μg/m3
4-Isopropyltoluene                   ND         ND                                               8                μg/m3
Methylene chloride                   ND         ND                                               8                μg/m3
Naphthalene                          ND         ND                                              40                μg/m3
n-Propylbenzene                      ND         ND                                               8                μg/m3
Styrene                              ND         ND                                               8                μg/m3
1,1,1,2-Tetrachloroethane            ND         ND                                               8                μg/m3
1,1,2,2-Tetrachloroethane            ND         ND                                              16                μg/m3
Tetrachloroethene                    ND         ND                                               8                μg/m3
Toluene                              ND         ND                                               8                μg/m3
1,2,3-Trichlorobenzene               ND         ND                                              16                μg/m3
1,2,4-Trichlorobenzene               ND         ND                                              16                μg/m3
1,1,1-Trichloroethane                ND         ND                                               8                μg/m3
1,1,2-Trichloroethane                ND         ND                                               8                μg/m3
Trichloroethene                      ND         ND                                               8                μg/m3
Trichlorofluoromethane               ND         ND                                              16                μg/m3
1,2,3-Trichloropropane               ND         ND                                               8                μg/m3
1,2,4-Trimethylbenzene               ND         ND                                               8                μg/m3
1,3,5-Trimethylbenzene               ND         ND                                               8                μg/m3
Vinyl chloride                       ND         ND                                               8                μg/m3
m,p-Xylene                           ND         ND                                              16                μg/m3
o-Xylene                             ND         ND                                               8                μg/m3
MTBE                                 ND         ND                                              40                μg/m3
Ethyl-tert-butylether                ND         ND                                              40                μg/m3
Di-isopropylether                    ND         ND                                              40                μg/m3
tert-amylmethylether                 ND         ND                                              40                μg/m3
tert-Butylalcohol                    ND         ND                                              400               μg/m3

Tracer:
n-Pentane                            ND         ND                                               80               μg/m3
n-Hexane                             ND         ND                                               80               μg/m3
n-Heptane                            ND         ND                                               80               μg/m3

Dilution Factor                       1          1

Surrogate Recoveries:                                                                                 QC Limits
Dibromofluoromethane                116%       109%                                                    60 - 140
Toluene-d₈                          92%        103%                                                    60 - 140
4-Bromofluorobenzene                95%        91%                                                     60 - 140

                              D1-041119-     D1-041119-
Batch ID:
                                  01             01
ND = Value below reporting limit




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                             JONES ENVIRONMENTAL QUALITY CONTROL INFORMATION

        Client:                   Weston Solutions, Inc.                                             Report date:      4/15/2019
        Client Address:           5881 Obispo Ave, Unit 101                                         Jones Ref. No.:    D-1613
                                  Long Beach, CA 90805

        Attn:                     Brian Reilly                                                       Date Sampled:     4/11/2019
                                                                                                     Date Received:    4/11/2019
                                                                                                     Date Analyzed:    4/11/2019
        Project Address:          8201 Santa Fe Ave.                                                 Physical State:   Soil Gas
                                  Huntington Park, CA 90255
                                         EPA 8260B – Volatile Organics by GC/MS + Oxygenates

                Batch ID:         D1-041119-01
PA 8260B – Volatile Organics by GC/MS + Oxygenates 041119-D1LCSD1
                                   041119-D1LCS1                                                           041119-D1CCV1
                                              LCS                 LCSD                     Acceptability                   Acceptability
        Parameter                         Recovery (%)         Recovery (%)         RPD     Range (%)          CCV          Range (%)

        Vinyl chloride                       121%                  126%             4.1%     60 - 140          103%          80 - 120
        1,1-Dichloroethene                   115%                  116%             1.1%     60 - 140          118%          80 - 120
        Cis-1,2-Dichloroethene               103%                   97%             5.2%     70 - 130           92%          80 - 120
        1,1,1-Trichloroethane                100%                  101%             1.2%     70 - 130          100%          80 - 120
        Benzene                              115%                  115%             0.4%     70 - 130          117%          80 - 120
        Trichloroethene                      101%                   95%             6.0%     70 - 130          100%          80 - 120
        Toluene                              95%                    92%             2.3%     70 - 130           96%          80 - 120
        Tetrachloroethene                    93%                    90%             2.4%     70 - 130           91%          80 - 120
        Chlorobenzene                        91%                    88%             3.6%     70 - 130           94%          80 - 120
        Ethylbenzene                         103%                   99%             3.5%     70 - 130           96%          80 - 120
        1,2,4 Trimethylbenzene               92%                    92%             0.2%     70 - 130           94%          80 - 120



        Surrogate Recovery:
        Dibromofluoromethane                 107%                  108%                      60 - 140          102%          60 - 140
        Toluene-d₈                            94%                   95%                      60 - 140           96%          60 - 140
        4-Bromofluorobenzene                  95%                  100%                      60 - 140           99%          60 - 140




        LCS = Laboratory Control Sample
        LCSD = Laboratory Control Sample Duplicate
        CCV = Continuing Calibration Verification
        RPD = Relative Percent Difference; Acceptability range for RPD is ≤ 20%




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Central Metal - Site Inspection – Interim Sampling Report                       May 2020




                        Attachment B:
               Stage 1 Metals Laboratory Reports




CAN000903324
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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:           Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106218
 Date:           June 26, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48197
                 SDG No.:                        MYAMD5
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES and ICP-MS
                 Samples:                        14 Soil Samples
                 Collection Dates:               April 8, 9, and 10, 2019
                 Reviewer:                       Santiago Lee, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [ ] FYI [X] Action
SAMPLING ISSUES: [ ] Yes [X] No




10106218-21625/48197/MYAMD5 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48197
SDG No.: MYAMD5
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES and ICP-MS
Reviewer: Santiago Lee, ESAT
Date:       June 26, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB):    MYAMJ4 (in SDG MYAMH9).
                  Equipment Blanks (EB):     MYAMH0, MYAMJ0, and MYAMJ1 (in SDG MYAMH9).
                Background Samples (BG):     None.
                         Field Duplicates:   MYAME9/MYAMH5 (in SDG MYAMG1).
CLP PO Action
        The laboratory analyzed the matrix spike for copper with an added concentration of 26.7 mg/kg
        instead of 50.0 mg/kg as stated in Table 2 of the statement of work (SOW). See CLP SOW
        ISM02.4, Exhibit D, ICP-AES Pages D-24, Section 12.3.3.2 and D-31, Table 2.
Sampling Issues
        None.

Additional Comments
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Copper was analyzed
        by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES). Antimony, arsenic,
        barium, beryllium, cadmium, chromium, cobalt, lead, manganese, nickel, selenium, silver,
        thallium, vanadium, and zinc were analyzed by Inductively Coupled Plasma-Mass Spectroscopy
        (ICP-MS).
        Chain of custody records (COCs) indicate that the samples were collected on April 8, 9, and 10,
        2019 and shipped on April 12, 2019. The reviewer presumed that the samples were stored
        properly from the time of collection to the time of shipping. The laboratory documentation
        indicates that they were received on ice and at a temperature of 6.0oC.
        Sample MYAME9 was analyzed on April 22, 2019 for 15 metals. Initially, Forms 2-IN (Initial
        and Continuing Calibration Verification) and 3-IN (Blanks) had information for only seven
        metals. The laboratory submitted corrected Forms 2-IN and 3-IN and electronic data deliverable
        (EDD) upon request, on May 22, 2019.

        Samples listed below did not meet the internal standard QC limit of 60-125% relative intensity
        (RI) in the initial analysis. The samples were diluted and reanalyzed as required by the statement
        of work (SOW). Results for beryllium, cobalt, nickel, and zinc in these samples are reported from
        the 2-fold dilution because the RIs are within the QC limit.




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                                                  % Relative Intensity      % Relative Intensity
               Sample Internal Standard            from Undiluted           from 2-Fold Dilution
              MYAMD5     Scandium-45                     135                        108
              MYAMD7     Scandium-45                     138                        110
              MYAMD9     Scandium-45                     133                        104
              MYAME1     Scandium-45                     133                        105
              MYAME3     Scandium-45                     136                        105
              MYAME7     Scandium-45                     131                        100

      Preparation logbook pages for some solutions are missing from the data package. Data quality is
      not likely to be affected; all other standards and spiking solutions were analyzed before the
      expiration date.
      This report was prepared in accordance with the following documents:
      • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
          (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
      • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
      For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
      Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
      Concentration), ISM02.4.

II. VALIDATION SUMMARY
      The data were evaluated based on the following parameters:
           Parameter                                                            Acceptable     Comment
      1.   Data Completeness                                                       Yes
      2.   Preservation and Holding Times                                          Yes
      3.   ICP-MS Tune Analysis                                                    Yes
      4.   Calibration                                                             Yes
           a. Initial                                                              Yes
           b. Initial and Continuing Calibration Verification                      Yes
      5.   Laboratory Blanks                                                       Yes              B
      6.   Field/Equipment Blanks                                                  Yes
      7.   ICP Interference Check Sample (ICS)                                     Yes
      8.   Laboratory Control Sample (LCS)                                         Yes
      9.   Duplicate Sample Analysis                                               No               C
     10.   Spike Sample Analysis                                                   Yes
     11.   ICP Serial Dilution                                                     No              D
     12.   ICP-MS Internal Standards                                               Yes
     13.   Analyte Quantitation and CRQL                                           Yes             A
     14.   Field Duplicate Sample Analysis                                         No              E
     15.   Overall Assessment of Data                                              Yes

III. VALIDITY AND COMMENTS

      A.    Results above the method detection limit (MDL) but below the contract required
            quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
            qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
            precision near the quantitation limit.
      B.    The following results are qualified as non-detected (U) due to low level initial calibration
            blank (ICB) and continuing calibration blank (CCB) contamination.




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            •   Antimony in samples MYAMD5, MYAMD7, MYAMD9, MYAME1, MYAME3,
                MYAME7, and MYAME9.
            •   Thallium in all samples and preparation blank PBS01.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.

                        Analyte                       Blank                      Concentration, µg/L
                       Antimony                   ICB01/CCB04                         0.29/0.10
                                                      ICB01                              0.35
                       Thallium                ICB01/CCB04/CCB05                   0.056/0.51/0.54
                                               ICB01/CCB03/CCB04                  0.080/0.080/0.080

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.
      C.    The following results are estimated and flagged “J” because a laboratory duplicate result is
            outside method QC limit.
            •   Nickel in all samples.
            Results for laboratory duplicates MYAME4D do not meet the 20% relative percent
            difference (RPD) criterion as presented below.

                                             Analyte           RPD, %
                                             Nickel              23
            This result may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Results for nickel are considered quantitatively uncertain.
      D.    The following results are estimated and flagged “J” because serial dilution results are
            outside method QC limit.
            •   Copper, nickel, and zinc in all samples.
            Percent differences for serial dilution analysis of MYAME4L do not meet the 10%
            difference criterion for the analytes presented below.

                                         Analyte       % Difference
                                         Copper            21
                                         Nickel            34
                                          Zinc            119

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Results for analytes listed above are considered quantitatively uncertain.
            Chemical and physical interferences may exist due to sample matrix effects. Since results
            for the diluted sample are higher than the original, the reported results may be biased low.
      E.    Results for the following field duplicate pair do not meet the relative percent difference
            (RPD) criterion or the absolute difference criterion provided in the National Functional
            Guidelines (NFG) for laboratory duplicate, as presented below.

                                   MYAME9,             MYAMH5,
                   Analyte          mg/kg               mg/kg              RPD, %        QC Limit, %
                   Barium            175                 134                26.5             20
                  Chromium           23.8                17.5               30.5             20
                    Lead             30.6                11.1               93.5             20
                  Vanadium           55.1                41.8               27.5             20




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                   Analyte         MYAME9,            MYAMH5,            Difference,       QC Limit,
                                    mg/kg              mg/kg               mg/kg            mg/kg
                   Arsenic           3.2                2.3                  0.9             0.5

            This uncertainty should be evaluated in the context of project data quality objectives to
            determine data usability.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMD5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable      Validation Level
   Copper             Spike              4.2                            mg/kg        4.2                          1            YES               S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMD5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: LCS01                   Method: Metals by ICP-MS                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable      Validation Level
  Antimony            Spike              2.0                            mg/kg         2.0                         1            YES               S3VEM
   Arsenic            Spike              1.1                            mg/kg         1.1                         1            YES               S3VEM
   Barium             Spike             10.2                            mg/kg        10.2                         1            YES               S3VEM
  Beryllium           Spike             0.95                            mg/kg        0.95                         1            YES               S3VEM
  Cadmium             Spike              1.0                            mg/kg         1.0                         1            YES               S3VEM
 Chromium             Spike              2.0                            mg/kg         2.0                         1            YES               S3VEM
   Cobalt             Spike              1.0                            mg/kg         1.0                         1            YES               S3VEM
    Lead              Spike              1.0                            mg/kg         1.0                         1            YES               S3VEM
 Manganese            Spike              1.1                            mg/kg         1.1                         1            YES               S3VEM
   Nickel             Spike             0.99                            mg/kg        0.99                         1            YES               S3VEM
  Selenium            Spike              5.2                            mg/kg         5.2                         1            YES               S3VEM
   Silver             Spike             0.98                            mg/kg        0.98                         1            YES               S3VEM
  Thallium            Spike             0.98                            mg/kg        0.98                         1            YES               S3VEM
 Vanadium             Spike              5.7                            mg/kg         5.7                         1            YES               S3VEM
    Zinc              Spike              2.1                            mg/kg         2.1                         1            YES               S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD5               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV1            pH:                                      Sample Date: 04/09/2019                Sample Time: 10:30:00

% Moisture:                                                                  % Solids: 84.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            26.9                 J          mg/kg        26.9           *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD5               Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV1            pH:                                      Sample Date: 04/09/2019                Sample Time: 10:30:00

% Moisture:                                                                  % Solids: 84.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.0               U           mg/kg       0.095           J              1            YES                S3VEM
   Arsenic         Target              3.3                           mg/kg         3.3                          1            YES                S3VEM
   Barium          Target             179                            mg/kg        179                           1            YES                S3VEM
  Beryllium        Target             0.69                J          mg/kg        0.69           JD             2            YES                S3VEM
  Cadmium          Target             0.22                J          mg/kg        0.22            J             1            YES                S3VEM
 Chromium          Target             24.2                           mg/kg        24.2                          1            YES                S3VEM
   Cobalt          Target             16.6                           mg/kg        16.6           D              2            YES                S3VEM
    Lead           Target              8.0                           mg/kg         8.0                          1            YES                S3VEM
 Manganese         Target             497                            mg/kg        497                           1            YES                S3VEM
   Nickel          Target             20.4               J           mg/kg        20.4          D*              2            YES                S3VEM
  Selenium         Target              1.0               J           mg/kg         1.0           J              1            YES                S3VEM
   Silver          Target            0.064               J           mg/kg       0.064           J              1            YES                S3VEM
  Thallium         Target             0.52               U           mg/kg        0.22           J              1            YES                S3VEM
 Vanadium          Target             59.1                           mg/kg        59.1                          1            YES                S3VEM
    Zinc           Target             103                 J          mg/kg        103            D              2            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD6               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV1            pH:                                      Sample Date: 04/09/2019                Sample Time: 10:50:00

% Moisture:                                                                  % Solids: 94.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             6.8                 J          mg/kg        6.8            *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD6               Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV1            pH:                                      Sample Date: 04/09/2019                Sample Time: 10:50:00

% Moisture:                                                                  % Solids: 94.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.89                U           mg/kg        0.89           U              1            YES                S3VEM
   Arsenic         Target            0.83                            mg/kg        0.83                          1            YES                S3VEM
   Barium          Target            69.7                            mg/kg        69.7                          1            YES                S3VEM
  Beryllium        Target            0.16                J           mg/kg        0.16           J              1            YES                S3VEM
  Cadmium          Target            0.45                U           mg/kg        0.45           U              1            YES                S3VEM
 Chromium          Target             8.6                            mg/kg         8.6                          1            YES                S3VEM
   Cobalt          Target             5.2                            mg/kg         5.2                          1            YES                S3VEM
    Lead           Target             1.6                            mg/kg         1.6                          1            YES                S3VEM
 Manganese         Target            226                             mg/kg        226                           1            YES                S3VEM
   Nickel          Target             5.8                J           mg/kg         5.8           *              1            YES                S3VEM
  Selenium         Target            0.34                J           mg/kg        0.34           J              1            YES                S3VEM
   Silver          Target            0.45                U           mg/kg        0.45           U              1            YES                S3VEM
  Thallium         Target            0.45                U           mg/kg       0.086           J              1            YES                S3VEM
 Vanadium          Target            24.4                            mg/kg        24.4                          1            YES                S3VEM
    Zinc           Target            41.1                 J          mg/kg        41.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD7               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV2            pH:                                      Sample Date: 04/08/2019                Sample Time: 13:45:00

% Moisture:                                                                  % Solids: 86.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            22.5                 J          mg/kg        22.5           *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD7               Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV2            pH:                                      Sample Date: 04/08/2019                Sample Time: 13:45:00

% Moisture:                                                                  % Solids: 86.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.95               U           mg/kg        0.17           J              1            YES                S3VEM
   Arsenic         Target              2.7                           mg/kg         2.7                          1            YES                S3VEM
   Barium          Target             156                            mg/kg        156                           1            YES                S3VEM
  Beryllium        Target             0.58                J          mg/kg        0.58           JD             2            YES                S3VEM
  Cadmium          Target             0.18                J          mg/kg        0.18            J             1            YES                S3VEM
 Chromium          Target             21.1                           mg/kg        21.1                          1            YES                S3VEM
   Cobalt          Target             13.3                           mg/kg        13.3           D              2            YES                S3VEM
    Lead           Target             13.8                           mg/kg        13.8                          1            YES                S3VEM
 Manganese         Target             430                            mg/kg        430                           1            YES                S3VEM
   Nickel          Target             30.7               J           mg/kg        30.7          D*              2            YES                S3VEM
  Selenium         Target             0.94               J           mg/kg        0.94           J              1            YES                S3VEM
   Silver          Target            0.056               J           mg/kg       0.056           J              1            YES                S3VEM
  Thallium         Target             0.47               U           mg/kg        0.18           J              1            YES                S3VEM
 Vanadium          Target             47.8                           mg/kg        47.8                          1            YES                S3VEM
    Zinc           Target             108                 J          mg/kg        108            D              2            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD8               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV2            pH:                                      Sample Date: 04/08/2019                Sample Time: 14:08:00

% Moisture:                                                                  % Solids: 94.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             5.3                 J          mg/kg        5.3            *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD8               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV2            pH:                                       Sample Date: 04/08/2019                Sample Time: 14:08:00

% Moisture:                                                                   % Solids: 94.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.98                U           mg/kg         0.98           U              1            YES                S3VEM
   Arsenic         Target            0.89                            mg/kg         0.89                          1            YES                S3VEM
   Barium          Target            56.5                            mg/kg         56.5                          1            YES                S3VEM
  Beryllium        Target            0.14                J           mg/kg         0.14           J              1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg         0.49           U              1            YES                S3VEM
 Chromium          Target             6.6                            mg/kg          6.6                          1            YES                S3VEM
   Cobalt          Target             4.1                            mg/kg          4.1                          1            YES                S3VEM
    Lead           Target             1.5                            mg/kg          1.5                          1            YES                S3VEM
 Manganese         Target            157                             mg/kg         157                           1            YES                S3VEM
   Nickel          Target             4.7                J           mg/kg          4.7           *              1            YES                S3VEM
  Selenium         Target            0.32                J           mg/kg         0.32           J              1            YES                S3VEM
   Silver          Target            0.49                U           mg/kg         0.49           U              1            YES                S3VEM
  Thallium         Target            0.49                U           mg/kg        0.053           J              1            YES                S3VEM
 Vanadium          Target            20.0                            mg/kg         20.0                          1            YES                S3VEM
    Zinc           Target            25.3                 J          mg/kg         25.3                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV3            pH:                                       Sample Date: 04/08/2019                Sample Time: 08:30:00

% Moisture:                                                                   % Solids: 87.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            17.9                 J          mg/kg         17.9           *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMD9               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV3            pH:                                       Sample Date: 04/08/2019                Sample Time: 08:30:00

% Moisture:                                                                   % Solids: 87.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.99               U           mg/kg        0.061           J              1            YES                S3VEM
   Arsenic         Target              2.5                           mg/kg          2.5                          1            YES                S3VEM
   Barium          Target             144                            mg/kg         144                           1            YES                S3VEM
  Beryllium        Target             0.46                J          mg/kg         0.46           JD             2            YES                S3VEM
  Cadmium          Target             0.13                J          mg/kg         0.13            J             1            YES                S3VEM
 Chromium          Target             18.5                           mg/kg         18.5                          1            YES                S3VEM
   Cobalt          Target             12.0                           mg/kg         12.0           D              2            YES                S3VEM
    Lead           Target              7.5                           mg/kg          7.5                          1            YES                S3VEM
 Manganese         Target             462                            mg/kg         462                           1            YES                S3VEM
   Nickel          Target             14.8               J           mg/kg         14.8          D*              2            YES                S3VEM
  Selenium         Target             0.83               J           mg/kg         0.83           J              1            YES                S3VEM
   Silver          Target            0.027               J           mg/kg        0.027           J              1            YES                S3VEM
  Thallium         Target             0.50               U           mg/kg         0.16           J              1            YES                S3VEM
 Vanadium          Target             46.4                           mg/kg         46.4                          1            YES                S3VEM
    Zinc           Target             74.0                J          mg/kg         74.0           D              2            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME0               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV3            pH:                                       Sample Date: 04/08/2019                Sample Time: 10:00:00

% Moisture:                                                                   % Solids: 94.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             6.8                 J          mg/kg         6.8            *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME0               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV3            pH:                                       Sample Date: 04/08/2019                Sample Time: 10:00:00

% Moisture:                                                                   % Solids: 94.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.89               U           mg/kg         0.89           U              1            YES                S3VEM
   Arsenic         Target             0.97                           mg/kg         0.97                          1            YES                S3VEM
   Barium          Target             60.2                           mg/kg         60.2                          1            YES                S3VEM
  Beryllium        Target             0.12                J          mg/kg         0.12           J              1            YES                S3VEM
  Cadmium          Target            0.093                J          mg/kg        0.093           J              1            YES                S3VEM
 Chromium          Target              5.5                           mg/kg          5.5                          1            YES                S3VEM
   Cobalt          Target              4.6                           mg/kg          4.6                          1            YES                S3VEM
    Lead           Target              1.3                           mg/kg          1.3                          1            YES                S3VEM
 Manganese         Target             394                            mg/kg         394                           1            YES                S3VEM
   Nickel          Target              4.4               J           mg/kg          4.4           *              1            YES                S3VEM
  Selenium         Target             0.27               J           mg/kg         0.27           J              1            YES                S3VEM
   Silver          Target             0.45               U           mg/kg         0.45           U              1            YES                S3VEM
  Thallium         Target             0.45               U           mg/kg        0.031           J              1            YES                S3VEM
 Vanadium          Target             20.8                           mg/kg         20.8                          1            YES                S3VEM
    Zinc           Target             19.5                J          mg/kg         19.5                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME1               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV4            pH:                                       Sample Date: 04/08/2019                Sample Time: 09:50:00

% Moisture:                                                                   % Solids: 88.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            18.0                 J          mg/kg         18.0           *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME1               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV4            pH:                                       Sample Date: 04/08/2019                Sample Time: 09:50:00

% Moisture:                                                                   % Solids: 88.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             1.1                U           mg/kg         0.14           J              1            YES                S3VEM
   Arsenic         Target             2.6                            mg/kg          2.6                          1            YES                S3VEM
   Barium          Target            143                             mg/kg         143                           1            YES                S3VEM
  Beryllium        Target            0.59                 J          mg/kg         0.59           JD             2            YES                S3VEM
  Cadmium          Target            0.16                 J          mg/kg         0.16            J             1            YES                S3VEM
 Chromium          Target            18.9                            mg/kg         18.9                          1            YES                S3VEM
   Cobalt          Target            13.0                            mg/kg         13.0           D              2            YES                S3VEM
    Lead           Target             5.5                            mg/kg          5.5                          1            YES                S3VEM
 Manganese         Target            444                             mg/kg         444                           1            YES                S3VEM
   Nickel          Target            15.9                J           mg/kg         15.9          D*              2            YES                S3VEM
  Selenium         Target            0.72                J           mg/kg         0.72           J              1            YES                S3VEM
   Silver          Target            0.12                J           mg/kg         0.12           J              1            YES                S3VEM
  Thallium         Target            0.55                U           mg/kg         0.15           J              1            YES                S3VEM
 Vanadium          Target            48.7                            mg/kg         48.7                          1            YES                S3VEM
    Zinc           Target            80.8                 J          mg/kg         80.8           D              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME2               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV4            pH:                                       Sample Date: 04/08/2019                Sample Time: 12:00:00

% Moisture:                                                                   % Solids: 95.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             5.3                 J          mg/kg         5.3            *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME2               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV4            pH:                                       Sample Date: 04/08/2019                Sample Time: 12:00:00

% Moisture:                                                                   % Solids: 95.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.90                U           mg/kg         0.90           U              1            YES                S3VEM
   Arsenic         Target             1.0                            mg/kg          1.0                          1            YES                S3VEM
   Barium          Target            59.4                            mg/kg         59.4                          1            YES                S3VEM
  Beryllium        Target            0.13                J           mg/kg         0.13           J              1            YES                S3VEM
  Cadmium          Target            0.45                U           mg/kg         0.45           U              1            YES                S3VEM
 Chromium          Target             7.0                            mg/kg          7.0                          1            YES                S3VEM
   Cobalt          Target             4.2                            mg/kg          4.2                          1            YES                S3VEM
    Lead           Target             1.4                            mg/kg          1.4                          1            YES                S3VEM
 Manganese         Target            154                             mg/kg         154                           1            YES                S3VEM
   Nickel          Target             5.0                J           mg/kg          5.0           *              1            YES                S3VEM
  Selenium         Target            0.40                J           mg/kg         0.40           J              1            YES                S3VEM
   Silver          Target            0.45                U           mg/kg         0.45           U              1            YES                S3VEM
  Thallium         Target            0.45                U           mg/kg        0.051           J              1            YES                S3VEM
 Vanadium          Target            20.2                            mg/kg         20.2                          1            YES                S3VEM
    Zinc           Target            26.1                 J          mg/kg         26.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME3               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV5            pH:                                       Sample Date: 04/09/2019                Sample Time: 11:47:00

% Moisture:                                                                   % Solids: 87.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            20.3                 J          mg/kg         20.3           *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME3               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV5            pH:                                       Sample Date: 04/09/2019                Sample Time: 11:47:00

% Moisture:                                                                   % Solids: 87.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             1.0                U           mg/kg         0.15           J              1            YES                S3VEM
   Arsenic         Target             3.1                            mg/kg          3.1                          1            YES                S3VEM
   Barium          Target            162                             mg/kg         162                           1            YES                S3VEM
  Beryllium        Target            0.53                 J          mg/kg         0.53           JD             2            YES                S3VEM
  Cadmium          Target            0.25                 J          mg/kg         0.25            J             1            YES                S3VEM
 Chromium          Target            21.0                            mg/kg         21.0                          1            YES                S3VEM
   Cobalt          Target            20.5                            mg/kg         20.5           D              2            YES                S3VEM
    Lead           Target             7.1                            mg/kg          7.1                          1            YES                S3VEM
 Manganese         Target            518                             mg/kg         518                           1            YES                S3VEM
   Nickel          Target            15.6                J           mg/kg         15.6          D*              2            YES                S3VEM
  Selenium         Target            0.92                J           mg/kg         0.92           J              1            YES                S3VEM
   Silver          Target            0.28                J           mg/kg         0.28           J              1            YES                S3VEM
  Thallium         Target            0.52                U           mg/kg         0.17           J              1            YES                S3VEM
 Vanadium          Target            51.9                            mg/kg         51.9                          1            YES                S3VEM
    Zinc           Target            92.1                 J          mg/kg         92.1           D              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV5            pH:                                       Sample Date: 04/09/2019                Sample Time: 12:22:00

% Moisture:                                                                   % Solids: 93.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             4.6                 J          mg/kg         4.6            *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV5            pH:                                       Sample Date: 04/09/2019                Sample Time: 12:22:00

% Moisture:                                                                   % Solids: 93.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.1               U           mg/kg          1.1           U              1            YES                S3VEM
   Arsenic         Target             0.76                           mg/kg         0.76                          1            YES                S3VEM
   Barium          Target             41.3                           mg/kg         41.3                          1            YES                S3VEM
  Beryllium        Target            0.086               J           mg/kg        0.086           J              1            YES                S3VEM
  Cadmium          Target             0.54               U           mg/kg         0.54           U              1            YES                S3VEM
 Chromium          Target              5.8                           mg/kg          5.8                          1            YES                S3VEM
   Cobalt          Target              3.2                           mg/kg          3.2                          1            YES                S3VEM
    Lead           Target              1.3                           mg/kg          1.3                          1            YES                S3VEM
 Manganese         Target             129                            mg/kg         129                           1            YES                S3VEM
   Nickel          Target              3.8               J           mg/kg          3.8           *              1            YES                S3VEM
  Selenium         Target             0.38               J           mg/kg         0.38           J              1            YES                S3VEM
   Silver          Target             0.54               U           mg/kg         0.54           U              1            YES                S3VEM
  Thallium         Target             0.54               U           mg/kg        0.025           J              1            YES                S3VEM
 Vanadium          Target             18.6                           mg/kg         18.6                          1            YES                S3VEM
    Zinc           Target             20.9                J          mg/kg         20.9                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4D                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/09/2019                Sample Time: 12:22:00

% Moisture:                                                                      % Solids: 93.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper             Target             5.3                            mg/kg         5.3                           1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4D                 Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/09/2019                Sample Time: 12:22:00

% Moisture:                                                                      % Solids: 93.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Target              1.1               U           mg/kg          1.1           U              1            YES                S3VEM
   Arsenic            Target             0.78                           mg/kg         0.78                          1            YES                S3VEM
   Barium             Target             47.8                           mg/kg         47.8                          1            YES                S3VEM
  Beryllium           Target             0.15               J           mg/kg         0.15           J              1            YES                S3VEM
  Cadmium             Target             0.54               U           mg/kg         0.54           U              1            YES                S3VEM
 Chromium             Target              6.5                           mg/kg          6.5                          1            YES                S3VEM
   Cobalt             Target              3.8                           mg/kg          3.8                          1            YES                S3VEM
    Lead              Target              1.4                           mg/kg          1.4                          1            YES                S3VEM
 Manganese            Target             140                            mg/kg         140                           1            YES                S3VEM
   Nickel             Target              4.8                           mg/kg          4.8           *              1            YES                S3VEM
  Selenium            Target             0.40               J           mg/kg         0.40           J              1            YES                S3VEM
   Silver             Target             0.54               U           mg/kg         0.54           U              1            YES                S3VEM
  Thallium            Target            0.071               J           mg/kg        0.071           J              1            YES                S3VEM
 Vanadium             Target             20.9                           mg/kg         20.9                          1            YES                S3VEM
    Zinc              Target             25.6                           mg/kg         25.6                          1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4L                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date:                           Sample Time:

% Moisture:                                                                      % Solids: 93.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable      Validation Level
   Copper             Target             3.6                 J          mg/kg         3.6            J*             5            YES               S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4L                 Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date:                           Sample Time:

% Moisture:                                                                      % Solids: 93.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable      Validation Level
  Antimony            Target             5.4                U           mg/kg          5.4           U              5            YES               S3VEM
   Arsenic            Target            0.64                 J          mg/kg         0.64           J              5            YES               S3VEM
   Barium             Target            41.4                            mg/kg         41.4                          5            YES               S3VEM
  Beryllium           Target             2.7                U           mg/kg          2.7           U              5            YES               S3VEM
  Cadmium             Target             2.7                U           mg/kg          2.7           U              5            YES               S3VEM
 Chromium             Target             5.4                            mg/kg          5.4                          5            YES               S3VEM
   Cobalt             Target             3.1                            mg/kg          3.1                          5            YES               S3VEM
    Lead              Target             1.2                 J          mg/kg          1.2           J              5            YES               S3VEM
 Manganese            Target            132                             mg/kg         132                           5            YES               S3VEM
   Nickel             Target             5.1                            mg/kg          5.1           *              5            YES               S3VEM
  Selenium            Target            13.4                U           mg/kg         13.4           U              5            YES               S3VEM
   Silver             Target             2.7                U           mg/kg          2.7           U              5            YES               S3VEM
  Thallium            Target             2.7                U           mg/kg          2.7           U              5            YES               S3VEM
 Vanadium             Target            18.1                            mg/kg         18.1                          5            YES               S3VEM
    Zinc              Target            45.8                            mg/kg         45.8                          5            YES               S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4S                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/09/2019                Sample Time: 12:22:00

% Moisture:                                                                      % Solids: 93.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper             Spike             28.2                            mg/kg         28.2                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME4S                 Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/09/2019                Sample Time: 12:22:00

% Moisture:                                                                      % Solids: 93.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              9.5                            mg/kg          9.5                          1            YES                S3VEM
   Arsenic            Spike              5.6                            mg/kg          5.6                          1            YES                S3VEM
   Barium             Spike             271                             mg/kg         271                           1            YES                S3VEM
  Beryllium           Spike              5.5                            mg/kg          5.5                          1            YES                S3VEM
  Cadmium             Spike              5.5                            mg/kg          5.5                          1            YES                S3VEM
 Chromium             Spike             29.0                            mg/kg         29.0                          1            YES                S3VEM
   Cobalt             Spike             60.9                            mg/kg         60.9                          1            YES                S3VEM
    Lead              Spike              3.3                            mg/kg          3.3                          1            YES                S3VEM
 Manganese            Spike             185                             mg/kg         185                           1            YES                S3VEM
   Nickel             Spike             59.6                            mg/kg         59.6                          1            YES                S3VEM
  Selenium            Spike             11.4                            mg/kg         11.4                          1            YES                S3VEM
   Silver             Spike              5.4                            mg/kg          5.4                          1            YES                S3VEM
  Thallium            Spike              4.9                            mg/kg          4.9                          1            YES                S3VEM
 Vanadium             Spike             80.8                            mg/kg         80.8                          1            YES                S3VEM
    Zinc              Spike             78.7                            mg/kg         78.7                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME5               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV6            pH:                                       Sample Date: 04/10/2019                Sample Time: 11:55:00

% Moisture:                                                                   % Solids: 86.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            133                  J          mg/kg         133            *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME5               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV6            pH:                                       Sample Date: 04/10/2019                Sample Time: 11:55:00

% Moisture:                                                                   % Solids: 86.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             6.5                            mg/kg          6.5                          1            YES                S3VEM
   Arsenic         Target             8.3                            mg/kg          8.3                          1            YES                S3VEM
   Barium          Target            56.2                            mg/kg         56.2                          1            YES                S3VEM
  Beryllium        Target            0.16                 J          mg/kg         0.16           J              1            YES                S3VEM
  Cadmium          Target             2.5                            mg/kg          2.5                          1            YES                S3VEM
 Chromium          Target            56.7                            mg/kg         56.7                          1            YES                S3VEM
   Cobalt          Target            61.1                            mg/kg         61.1                          1            YES                S3VEM
    Lead           Target            338                             mg/kg         338                           1            YES                S3VEM
 Manganese         Target            801                             mg/kg         801                           1            YES                S3VEM
   Nickel          Target            46.7                 J          mg/kg         46.7           *              1            YES                S3VEM
  Selenium         Target             1.2                 J          mg/kg          1.2           J              1            YES                S3VEM
   Silver          Target             5.0                            mg/kg          5.0                          1            YES                S3VEM
  Thallium         Target            0.57                U           mg/kg        0.060           J              1            YES                S3VEM
 Vanadium          Target            20.0                            mg/kg         20.0                          1            YES                S3VEM
    Zinc           Target            490                  J          mg/kg         490                           1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME7               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV7            pH:                                       Sample Date: 04/10/2019                Sample Time: 08:37:00

% Moisture:                                                                   % Solids: 87.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            25.6                 J          mg/kg         25.6           *              1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME7               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV7            pH:                                       Sample Date: 04/10/2019                Sample Time: 08:37:00

% Moisture:                                                                   % Solids: 87.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.93                U           mg/kg         0.46           J              1            YES                S3VEM
   Arsenic         Target             2.3                            mg/kg          2.3                          1            YES                S3VEM
   Barium          Target            119                             mg/kg         119                           1            YES                S3VEM
  Beryllium        Target            0.21                 J          mg/kg         0.21           JD             2            YES                S3VEM
  Cadmium          Target            0.22                 J          mg/kg         0.22            J             1            YES                S3VEM
 Chromium          Target            17.8                            mg/kg         17.8                          1            YES                S3VEM
   Cobalt          Target             6.4                            mg/kg          6.4           D              2            YES                S3VEM
    Lead           Target            26.6                            mg/kg         26.6                          1            YES                S3VEM
 Manganese         Target            413                             mg/kg         413                           1            YES                S3VEM
   Nickel          Target             7.1                J           mg/kg          7.1          D*              2            YES                S3VEM
  Selenium         Target            0.70                J           mg/kg         0.70           J              1            YES                S3VEM
   Silver          Target            0.11                J           mg/kg         0.11           J              1            YES                S3VEM
  Thallium         Target            0.47                U           mg/kg         0.12           J              1            YES                S3VEM
 Vanadium          Target            42.3                            mg/kg         42.3                          1            YES                S3VEM
    Zinc           Target            41.4                 J          mg/kg         41.4           D              2            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME8               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV7            pH:                                       Sample Date: 04/10/2019                Sample Time: 09:03:00

% Moisture:                                                                   % Solids: 94.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             6.2                 J          mg/kg         6.2            *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME8               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV7            pH:                                       Sample Date: 04/10/2019                Sample Time: 09:03:00

% Moisture:                                                                   % Solids: 94.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.88               U           mg/kg         0.88           U              1            YES                S3VEM
   Arsenic         Target              1.1                           mg/kg          1.1                          1            YES                S3VEM
   Barium          Target             65.1                           mg/kg         65.1                          1            YES                S3VEM
  Beryllium        Target             0.14               J           mg/kg         0.14           J              1            YES                S3VEM
  Cadmium          Target             0.44               U           mg/kg         0.44           U              1            YES                S3VEM
 Chromium          Target              7.3                           mg/kg          7.3                          1            YES                S3VEM
   Cobalt          Target              4.9                           mg/kg          4.9                          1            YES                S3VEM
    Lead           Target              6.5                           mg/kg          6.5                          1            YES                S3VEM
 Manganese         Target             229                            mg/kg         229                           1            YES                S3VEM
   Nickel          Target              5.2               J           mg/kg          5.2           *              1            YES                S3VEM
  Selenium         Target             0.41               J           mg/kg         0.41           J              1            YES                S3VEM
   Silver          Target            0.028               J           mg/kg        0.028           J              1            YES                S3VEM
  Thallium         Target             0.44               U           mg/kg        0.054           J              1            YES                S3VEM
 Vanadium          Target             23.0                           mg/kg         23.0                          1            YES                S3VEM
    Zinc           Target             30.7                J          mg/kg         30.7                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMD5                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV8            pH:                                       Sample Date: 04/09/2019                Sample Time: 13:45:00

% Moisture:                                                                   % Solids: 87.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            19.0                 J          mg/kg         19.0           *              1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAME9               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV8            pH:                                       Sample Date: 04/09/2019                Sample Time: 13:45:00

% Moisture:                                                                   % Solids: 87.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.1               U           mg/kg         0.21           J              1            YES                S3VEM
   Arsenic         Target              3.2                           mg/kg          3.2                          1            YES                S3VEM
   Barium          Target             175                            mg/kg         175                           1            YES                S3VEM
  Beryllium        Target             0.56                J          mg/kg         0.56           J              1            YES                S3VEM
  Cadmium          Target             0.20                J          mg/kg         0.20           J              1            YES                S3VEM
 Chromium          Target             23.8                           mg/kg         23.8                          1            YES                S3VEM
   Cobalt          Target             14.2                           mg/kg         14.2                          1            YES                S3VEM
    Lead           Target             30.6                           mg/kg         30.6                          1            YES                S3VEM
 Manganese         Target             566                            mg/kg         566                           1            YES                S3VEM
   Nickel          Target             18.2               J           mg/kg         18.2           *              1            YES                S3VEM
  Selenium         Target              1.1               J           mg/kg          1.1           J              1            YES                S3VEM
   Silver          Target            0.047               J           mg/kg        0.047           J              1            YES                S3VEM
  Thallium         Target             0.57               U           mg/kg         0.17           J              1            YES                S3VEM
 Vanadium          Target             55.1                           mg/kg         55.1                          1            YES                S3VEM
    Zinc           Target             90.8                J          mg/kg         90.8                          1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-AES                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable      Validation Level
   Copper             Target             2.5                U           mg/kg        -0.085         J              1            YES               S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-MS                  Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable      Validation Level
  Antimony            Target             1.0                U           mg/kg           1.0         U              1            YES               S3VEM
   Arsenic            Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
   Barium             Target             5.0                U           mg/kg           5.0         U              1            YES               S3VEM
  Beryllium           Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
  Cadmium             Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
 Chromium             Target             1.0                U           mg/kg        -0.065         J              1            YES               S3VEM
   Cobalt             Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
    Lead              Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
 Manganese            Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
   Nickel             Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
  Selenium            Target             2.5                U           mg/kg           2.5         U              1            YES               S3VEM
   Silver             Target            0.50                U           mg/kg          0.50         U              1            YES               S3VEM
  Thallium            Target            0.50                U           mg/kg         0.030         J              1            YES               S3VEM
 Vanadium             Target             2.5                U           mg/kg        -0.095         J              1            YES               S3VEM
    Zinc              Target             1.0                U           mg/kg           1.0         U              1            YES               S3VEM




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Project Name: DAMILLE METAL SERVICE SITE      GroupID: 48197/EPW14029/MYAMD5   Lab Name: Bonner Analytical Testing Co.
    INVESTIGATION STAGE 1 SAMPLING




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:           Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106218

 Date:           July 17, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48197
                 SDG No.:                        MYAMF1
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES
                 Samples:                        10 Soil Samples
                 Collection Dates:               April 9 and 10, 2019
                 Reviewer:                       Santiago Lee, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.

Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [X] FYI [ ] Action
SAMPLING ISSUES: [ ] Yes [X] No




10106218-21682/48197/MYAMF1 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48197
SDG No.: MYAMF1
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES
Reviewer: Santiago Lee, ESAT
Date:       July 17, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB):    None.
                  Equipment Blanks (EB):     None.
                Background Samples (BG):     None.
                         Field Duplicates:   MYAMF5/MYAMH6 (in SDG MYAMG1).
CLP PO Action
        None.
Sampling Issues
        None.
Additional Comments

        Due to inconsistencies in the Inductively Coupled Plasma-Mass Spectrometry (ICP-MS) results
        for sample MYAMF7, laboratory duplicate MYAMF7D, and laboratory spike MYAMF7S, the
        laboratory re-analyzed the ICP-AES digestates for samples in SDG MYAMF0 and reported all
        target analytes as SDG MYAMF1 (see Comment D). Results for SDG MYAMF1 were reviewed
        and designated as “reportable” in the EXS Data Manager; results for SDG MYAMF0 were
        designated as “not reportable.”
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES).

        The field sample select for laboratory matrix quality control (duplicate and spike) is not
        representative of the soil samples in the SDG. The laboratory digested and analyzed the samples
        twice with only the MYAMF7 results indicating unusual sample heterogeneity. Therefore, sample
        results have not been qualified based on the matrix QC results.
        Chain of custody records (COCs) indicate that the samples were collected on April 9 and 10,
        2019 and shipped on April 12, 2019. The reviewer presumed that the samples were stored
        properly from the time of collection to the time of shipping. The laboratory documentation
        indicates that they were received on ice and at a temperature of 6.0oC.
        All standards and spiking solutions were analyzed before the expiration date.




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       This report was prepared in accordance with the following documents:
       • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
           (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
       • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
       For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
       Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
       Concentration), ISM02.4.

II. VALIDATION SUMMARY

       The data were evaluated based on the following parameters:
            Parameter                                                            Acceptable     Comment
      1.    Data Completeness                                                       Yes
      2.    Preservation and Holding Times                                          Yes
      3.    ICP-MS Tune Analysis                                                   N/A
      4.    Calibration                                                             Yes
            a. Initial                                                              Yes
            b. Initial and Continuing Calibration Verification                      Yes
      5.    Laboratory Blanks                                                       Yes              B
      6.    Field/Equipment Blanks                                                 N/A
      7.    ICP Interference Check Sample (ICS)                                     No               C
      8.    Laboratory Control Sample (LCS)                                         Yes
      9.    Duplicate Sample Analysis                                              N/A
     10.    Spike Sample Analysis                                                  N/A
     11.    ICP Serial Dilution                                                    N/A
     12.    ICP-MS Internal Standards                                              N/A
     13.    Analyte Quantitation and CRQL                                           No             A, D
     14.    Field Duplicate Sample Analysis                                         No              E
     15.    Overall Assessment of Data                                              Yes

             N/A = Not Applicable.
III. VALIDITY AND COMMENTS
       A.    Results above the method detection limit (MDL) but below the contract required
             quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
             qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
             precision near the quantitation limit.

       B.    The following results are qualified as non-detected (U) due to low level initial calibration
             blank (ICB), continuing calibration blank (CCB), equipment blank (EB), and field blank
             (FB) contamination.
             •   Antimony and selenium in all samples and preparation blank PBS01.
             •   Cadmium in all samples except MYAMF1.
             •   Chromium, manganese, and zinc in preparation blank PBS01.
             Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
             the following blanks at the concentrations presented below.

                      Analyte                       Blank                         Concentration, µg/L
                     Antimony                ICB01/CCB02/CCB03                        1.4/1.5/2.8
                     Cadmium                       CCB03                                 0.086
                     Chromium                      CCB03                                  0.46
                     Manganese                  CCB02/CCB03                           0.70/0/1.2
                     Selenium                       ICB01                                 4.1
                       Zinc                     CCB02/CCB03                             1.1/1.8



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            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.

       C.   The following detected results are estimated and flagged “J” due to high concentrations of
            interferents.

            •   Arsenic and silver in samples MYAMF1, MYAMF3, MYAMF5, MYAMF7,
                MYAMF8, and MYAMF9.
            •   Cadmium in sample MYAMF1.
            •   Copper in sample MYAMF9.
            Iron (for arsenic, cadmium, copper, and silver interference) is present in samples listed
            above at concentrations greater than the concentrations in the ICS; the interference
            corrections calculated from the interferent concentrations may impact quantitation of
            detected results. These results are considered quantitatively uncertain.
       D.   The following results are qualified as estimated and flagged “J” or “UJ” due to unusually
            heterogeneous nature of the sample.
            •   All results for sample MYAMF7.
            Samples in SDG MYAMF0 were digested in the laboratory in April 2019; copper was
            reported from the digestate for ICP-AES; other analytes were reported from the digestate
            for ICP-MS. The laboratory re-analyzed the ICP-AES digestates on April 26, 2019 and
            reported all target analytes as SDG MYAMF1 (i.e. this SDG). The reviewer compared the
            laboratory results from the two SDGs; significant outliers were found for sample
            MYAMF7, laboratory duplicate MYAMF7D, and laboratory spike MYAMF7S indicating
            that sample MYAMF7 is not homogenous while results for the two techniques for other
            samples were comparable. Due to the heterogenous nature of sample MYAMF7, results are
            considered quantitatively uncertain.
            This uncertainty should be evaluated in the context of project data quality objectives to
            determine data usability.
       E.   Results for the following field duplicate pair do not meet the relative percent difference
            (RPD) criterion provided in the National Functional Guidelines (NFG) for laboratory
            duplicate, as presented below.

                                   MYAMF5,             MYAMH6,
                   Analyte          mg/kg               mg/kg              RPD, %        QC Limit, %
                  Chromium           25.0                18.8               28.3             20

            For sample MYAMH6, results for aluminum, calcium, iron, magnesium, potassium, and
            sodium are not reported; copper result is reported from the ICP-AES analysis and results
            for other analytes are reported from the ICP-MS analysis. This uncertainty should be
            evaluated in the context of project data quality objectives to determine data usability.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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     INVESTIGATION STAGE 1 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Spike             42.7                            mg/kg        42.7                         1            YES              S3VEM
  Antimony            Spike             12.1                            mg/kg        12.1                         1            YES              S3VEM
   Arsenic            Spike              1.8                            mg/kg         1.8                         1            YES              S3VEM
   Barium             Spike             42.7                            mg/kg        42.7                         1            YES              S3VEM
  Beryllium           Spike             0.98                            mg/kg        0.98                         1            YES              S3VEM
  Cadmium             Spike              1.0                            mg/kg         1.0                         1            YES              S3VEM
   Calcium            Spike             1050                            mg/kg       1050                          1            YES              S3VEM
 Chromium             Spike              2.1                            mg/kg         2.1                         1            YES              S3VEM
    Cobalt            Spike             10.2                            mg/kg        10.2                         1            YES              S3VEM
   Copper             Spike              5.2                            mg/kg         5.2                         1            YES              S3VEM
     Iron             Spike             20.7                            mg/kg        20.7                         1            YES              S3VEM
     Lead             Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
 Magnesium            Spike             1060                            mg/kg       1060                          1            YES              S3VEM
 Manganese            Spike              3.3                            mg/kg         3.3                         1            YES              S3VEM
    Nickel            Spike              8.2                            mg/kg         8.2                         1            YES              S3VEM
 Potassium            Spike             1020                            mg/kg       1020                          1            YES              S3VEM
  Selenium            Spike              6.7                            mg/kg         6.7                         1            YES              S3VEM
    Silver            Spike              1.8                            mg/kg         1.8                         1            YES              S3VEM
   Sodium             Spike             1030                            mg/kg       1030                          1            YES              S3VEM
  Thallium            Spike              5.1                            mg/kg         5.1                         1            YES              S3VEM
 Vanadium             Spike             10.2                            mg/kg        10.2                         1            YES              S3VEM
     Zinc             Spike             12.4                            mg/kg        12.4                         1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF0               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV8            pH:                                      Sample Date: 04/09/2019                Sample Time: 14:13:00

% Moisture:                                                                  % Solids: 97.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5170                            mg/kg       5170                           1            YES                S3VEM
  Antimony         Target              5.7               U           mg/kg        0.42           J*             1            YES                S3VEM
   Arsenic         Target              2.9                           mg/kg         2.9            *             1            YES                S3VEM
   Barium          Target             35.3                           mg/kg        35.3                          1            YES                S3VEM
  Beryllium        Target             0.47               U           mg/kg        0.47           U              1            YES                S3VEM
  Cadmium          Target             0.47               U           mg/kg       0.051           J              1            YES                S3VEM
   Calcium         Target            3860                            mg/kg       3860                           1            YES                S3VEM
 Chromium          Target              5.5                           mg/kg         5.5           *              1            YES                S3VEM
    Cobalt         Target              3.5                J          mg/kg         3.5           J              1            YES                S3VEM
   Copper          Target              5.3                           mg/kg         5.3           *              1            YES                S3VEM
     Iron          Target            8230                            mg/kg       8230                           1            YES                S3VEM
     Lead          Target              1.8                           mg/kg         1.8           *              1            YES                S3VEM
 Magnesium         Target            2180                            mg/kg       2180                           1            YES                S3VEM
 Manganese         Target             114                            mg/kg        114                           1            YES                S3VEM
    Nickel         Target              2.9                J          mg/kg         2.9           J*             1            YES                S3VEM
 Potassium         Target            1030                            mg/kg       1030                           1            YES                S3VEM
  Selenium         Target              3.3               U           mg/kg        0.54           J              1            YES                S3VEM
    Silver         Target            0.069               J           mg/kg       0.069           J              1            YES                S3VEM
   Sodium          Target             267                J           mg/kg        267            J              1            YES                S3VEM
  Thallium         Target              2.4               U           mg/kg         2.4           U              1            YES                S3VEM
 Vanadium          Target             17.3                           mg/kg        17.3           *              1            YES                S3VEM
     Zinc          Target             18.7                           mg/kg        18.7                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF1               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV9            pH:                                      Sample Date: 04/10/2019                Sample Time: 13:08:00

% Moisture:                                                                  % Solids: 89.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5940                            mg/kg        5940                          1            YES                S3VEM
  Antimony         Target             6.1                U           mg/kg         2.1           J*             1            YES                S3VEM
   Arsenic         Target             7.9                J           mg/kg         7.9            *             1            YES                S3VEM
   Barium          Target            57.7                            mg/kg        57.7                          1            YES                S3VEM
  Beryllium        Target            0.51                U           mg/kg        0.51           U              1            YES                S3VEM
  Cadmium          Target             1.3                J           mg/kg         1.3                          1            YES                S3VEM
   Calcium         Target            3510                            mg/kg        3510                          1            YES                S3VEM
 Chromium          Target            21.3                            mg/kg        21.3           *              1            YES                S3VEM
    Cobalt         Target            90.7                            mg/kg        90.7                          1            YES                S3VEM
   Copper          Target             114                            mg/kg         114           *              1            YES                S3VEM
     Iron          Target           81300                            mg/kg       81300           D              3            YES                S3VEM
     Lead          Target             170                            mg/kg         170           *              1            YES                S3VEM
 Magnesium         Target            1560                            mg/kg        1560                          1            YES                S3VEM
 Manganese         Target             521                            mg/kg         521                          1            YES                S3VEM
    Nickel         Target            36.8                            mg/kg        36.8           *              1            YES                S3VEM
 Potassium         Target            1150                            mg/kg        1150                          1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg         3.4           J              1            YES                S3VEM
    Silver         Target             4.3                J           mg/kg         4.3                          1            YES                S3VEM
   Sodium          Target             424                J           mg/kg         424           J              1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg         2.5           U              1            YES                S3VEM
 Vanadium          Target            44.0                            mg/kg        44.0           *              1            YES                S3VEM
     Zinc          Target             190                            mg/kg         190                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF2               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV9            pH:                                      Sample Date: 04/10/2019                Sample Time: 13:40:00

% Moisture:                                                                  % Solids: 92.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6540                            mg/kg        6540                          1            YES                S3VEM
  Antimony         Target             6.3                U           mg/kg        0.81           J*             1            YES                S3VEM
   Arsenic         Target             1.3                            mg/kg         1.3            *             1            YES                S3VEM
   Barium          Target            52.1                            mg/kg        52.1                          1            YES                S3VEM
  Beryllium        Target            0.53                U           mg/kg        0.53           U              1            YES                S3VEM
  Cadmium          Target            0.53                U           mg/kg       0.043           J              1            YES                S3VEM
   Calcium         Target            4470                            mg/kg        4470                          1            YES                S3VEM
 Chromium          Target             8.2                            mg/kg         8.2           *              1            YES                S3VEM
    Cobalt         Target             4.6                 J          mg/kg         4.6           J              1            YES                S3VEM
   Copper          Target            32.3                            mg/kg        32.3           *              1            YES                S3VEM
     Iron          Target           11700                            mg/kg       11700                          1            YES                S3VEM
     Lead          Target             1.7                            mg/kg         1.7           *              1            YES                S3VEM
 Magnesium         Target            3010                            mg/kg        3010                          1            YES                S3VEM
 Manganese         Target             150                            mg/kg         150                          1            YES                S3VEM
    Nickel         Target            35.8                            mg/kg        35.8           *              1            YES                S3VEM
 Potassium         Target            1670                            mg/kg        1670                          1            YES                S3VEM
  Selenium         Target             3.7                U           mg/kg        0.96           J              1            YES                S3VEM
    Silver         Target            0.26                J           mg/kg        0.26           J              1            YES                S3VEM
   Sodium          Target             252                J           mg/kg         252           J              1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg         2.6           U              1            YES                S3VEM
 Vanadium          Target            23.3                            mg/kg        23.3           *              1            YES                S3VEM
     Zinc          Target            25.1                            mg/kg        25.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF3               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV10           pH:                                      Sample Date: 04/09/2019                Sample Time: 14:37:00

% Moisture:                                                                  % Solids: 85.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           16800                            mg/kg       16800                          1            YES                S3VEM
  Antimony         Target             6.8                U           mg/kg        0.86           J*             1            YES                S3VEM
   Arsenic         Target             2.7                J           mg/kg         2.7            *             1            YES                S3VEM
   Barium          Target             129                            mg/kg         129                          1            YES                S3VEM
  Beryllium        Target            0.56                U           mg/kg        0.56           U              1            YES                S3VEM
  Cadmium          Target            0.56                U           mg/kg        0.15           J              1            YES                S3VEM
   Calcium         Target           13200                            mg/kg       13200                          1            YES                S3VEM
 Chromium          Target            20.2                            mg/kg        20.2           *              1            YES                S3VEM
    Cobalt         Target            10.5                            mg/kg        10.5                          1            YES                S3VEM
   Copper          Target            19.7                            mg/kg        19.7           *              1            YES                S3VEM
     Iron          Target           21700                            mg/kg       21700                          1            YES                S3VEM
     Lead          Target             4.5                            mg/kg         4.5           *              1            YES                S3VEM
 Magnesium         Target            7240                            mg/kg        7240                          1            YES                S3VEM
 Manganese         Target             342                            mg/kg         342                          1            YES                S3VEM
    Nickel         Target            12.3                            mg/kg        12.3           *              1            YES                S3VEM
 Potassium         Target            3370                            mg/kg        3370                          1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg         1.2           J              1            YES                S3VEM
    Silver         Target            0.40                J           mg/kg        0.40           J              1            YES                S3VEM
   Sodium          Target             550                J           mg/kg         550           J              1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            43.7                            mg/kg        43.7           *              1            YES                S3VEM
     Zinc          Target            62.0                            mg/kg        62.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF4               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV10           pH:                                      Sample Date: 04/09/2019                Sample Time: 15:00:00

% Moisture:                                                                  % Solids: 92.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            7030                            mg/kg        7030                          1            YES                S3VEM
  Antimony         Target             6.2                U           mg/kg        0.49           J*             1            YES                S3VEM
   Arsenic         Target             1.6                            mg/kg         1.6            *             1            YES                S3VEM
   Barium          Target            59.7                            mg/kg        59.7                          1            YES                S3VEM
  Beryllium        Target            0.51                U           mg/kg        0.51           U              1            YES                S3VEM
  Cadmium          Target            0.51                U           mg/kg       0.035           J              1            YES                S3VEM
   Calcium         Target            4130                            mg/kg        4130                          1            YES                S3VEM
 Chromium          Target             8.0                            mg/kg         8.0           *              1            YES                S3VEM
    Cobalt         Target             5.2                            mg/kg         5.2                          1            YES                S3VEM
   Copper          Target             6.8                            mg/kg         6.8           *              1            YES                S3VEM
     Iron          Target           11200                            mg/kg       11200                          1            YES                S3VEM
     Lead          Target             1.8                            mg/kg         1.8           *              1            YES                S3VEM
 Magnesium         Target            3270                            mg/kg        3270                          1            YES                S3VEM
 Manganese         Target             153                            mg/kg         153                          1            YES                S3VEM
    Nickel         Target             4.3                            mg/kg         4.3           *              1            YES                S3VEM
 Potassium         Target            1840                            mg/kg        1840                          1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg        0.77           J              1            YES                S3VEM
    Silver         Target            0.24                J           mg/kg        0.24           J              1            YES                S3VEM
   Sodium          Target             238                J           mg/kg         238           J              1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg         2.6           U              1            YES                S3VEM
 Vanadium          Target            22.9                            mg/kg        22.9           *              1            YES                S3VEM
     Zinc          Target            26.6                            mg/kg        26.6                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF5               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV11           pH:                                      Sample Date: 04/09/2019                Sample Time: 15:45:00

% Moisture:                                                                  % Solids: 84.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           20900                            mg/kg       20900                          1            YES                S3VEM
  Antimony         Target             6.7                U           mg/kg         1.1           J*             1            YES                S3VEM
   Arsenic         Target             3.6                J           mg/kg         3.6            *             1            YES                S3VEM
   Barium          Target             141                            mg/kg         141                          1            YES                S3VEM
  Beryllium        Target            0.56                U           mg/kg        0.56           U              1            YES                S3VEM
  Cadmium          Target            0.56                U           mg/kg        0.14           J              1            YES                S3VEM
   Calcium         Target           12500                            mg/kg       12500                          1            YES                S3VEM
 Chromium          Target            25.0                            mg/kg        25.0           *              1            YES                S3VEM
    Cobalt         Target            13.0                            mg/kg        13.0                          1            YES                S3VEM
   Copper          Target            26.5                            mg/kg        26.5           *              1            YES                S3VEM
     Iron          Target           26900                            mg/kg       26900                          1            YES                S3VEM
     Lead          Target            13.1                            mg/kg        13.1           *              1            YES                S3VEM
 Magnesium         Target            8990                            mg/kg        8990                          1            YES                S3VEM
 Manganese         Target             434                            mg/kg         434                          1            YES                S3VEM
    Nickel         Target            16.0                            mg/kg        16.0           *              1            YES                S3VEM
 Potassium         Target            3930                            mg/kg        3930                          1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg         1.5           J              1            YES                S3VEM
    Silver         Target            0.43                J           mg/kg        0.43           J              1            YES                S3VEM
   Sodium          Target             745                            mg/kg         745                          1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            53.4                            mg/kg        53.4           *              1            YES                S3VEM
     Zinc          Target            83.7                            mg/kg        83.7                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF6               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV11           pH:                                      Sample Date: 04/09/2019                Sample Time: 16:07:00

% Moisture:                                                                  % Solids: 96.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5490                            mg/kg       5490                           1            YES                S3VEM
  Antimony         Target             6.0                U           mg/kg        0.48           J*             1            YES                S3VEM
   Arsenic         Target            0.93                J           mg/kg        0.93           J*             1            YES                S3VEM
   Barium          Target            44.4                            mg/kg        44.4                          1            YES                S3VEM
  Beryllium        Target            0.50                U           mg/kg        0.50           U              1            YES                S3VEM
  Cadmium          Target            0.50                U           mg/kg       0.036           J              1            YES                S3VEM
   Calcium         Target            3800                            mg/kg       3800                           1            YES                S3VEM
 Chromium          Target             5.5                            mg/kg         5.5           *              1            YES                S3VEM
    Cobalt         Target             4.1                 J          mg/kg         4.1           J              1            YES                S3VEM
   Copper          Target             5.1                            mg/kg         5.1           *              1            YES                S3VEM
     Iron          Target            8210                            mg/kg       8210                           1            YES                S3VEM
     Lead          Target             1.2                            mg/kg         1.2           *              1            YES                S3VEM
 Magnesium         Target            2320                            mg/kg       2320                           1            YES                S3VEM
 Manganese         Target             139                            mg/kg        139                           1            YES                S3VEM
    Nickel         Target             3.2                 J          mg/kg         3.2           J*             1            YES                S3VEM
 Potassium         Target            1180                            mg/kg       1180                           1            YES                S3VEM
  Selenium         Target             3.5                U           mg/kg        0.94           J              1            YES                S3VEM
    Silver         Target            0.14                J           mg/kg        0.14           J              1            YES                S3VEM
   Sodium          Target             332                J           mg/kg        332            J              1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg         2.5           U              1            YES                S3VEM
 Vanadium          Target            17.1                            mg/kg        17.1           *              1            YES                S3VEM
     Zinc          Target            19.6                            mg/kg        19.6                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF7               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV12           pH:                                      Sample Date: 04/10/2019                Sample Time: 14:09:00

% Moisture:                                                                  % Solids: 75.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           10700                 J          mg/kg       10700                          1            YES                S3VEM
  Antimony         Target             7.9                UJ          mg/kg         1.9           J*             1            YES                S3VEM
   Arsenic         Target            21.5                 J          mg/kg        21.5            *             1            YES                S3VEM
   Barium          Target            78.9                 J          mg/kg        78.9                          1            YES                S3VEM
  Beryllium        Target            0.66                UJ          mg/kg        0.66           U              1            YES                S3VEM
  Cadmium          Target            0.66                UJ          mg/kg        0.22           J              1            YES                S3VEM
   Calcium         Target            7380                 J          mg/kg        7380                          1            YES                S3VEM
 Chromium          Target            62.3                 J          mg/kg        62.3           *              1            YES                S3VEM
    Cobalt         Target            38.2                 J          mg/kg        38.2                          1            YES                S3VEM
   Copper          Target             165                 J          mg/kg         165           *              1            YES                S3VEM
     Iron          Target           60500                 J          mg/kg       60500           D              2            YES                S3VEM
     Lead          Target            33.4                 J          mg/kg        33.4           *              1            YES                S3VEM
 Magnesium         Target            4400                 J          mg/kg        4400                          1            YES                S3VEM
 Manganese         Target             854                 J          mg/kg         854                          1            YES                S3VEM
    Nickel         Target            66.1                 J          mg/kg        66.1           *              1            YES                S3VEM
 Potassium         Target            2860                 J          mg/kg        2860                          1            YES                S3VEM
  Selenium         Target             4.6                UJ          mg/kg         3.2           J              1            YES                S3VEM
    Silver         Target             2.4                 J          mg/kg         2.4                          1            YES                S3VEM
   Sodium          Target             496                UJ          mg/kg         496           J              1            YES                S3VEM
  Thallium         Target             3.3                UJ          mg/kg         3.3           U              1            YES                S3VEM
 Vanadium          Target             109                 J          mg/kg         109           *              1            YES                S3VEM
     Zinc          Target            64.6                 J          mg/kg        64.6                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMF1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF7A                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/10/2019                Sample Time: 14:09:00

% Moisture:                                                                      % Solids: 75.8



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike             16.7                            mg/kg         16.7                          1             NO                S3VEM
 Chromium             Spike             168                             mg/kg         168                           1             NO                S3VEM
   Nickel             Spike             184                             mg/kg         184                           1             NO                S3VEM
 Vanadium             Spike             279                             mg/kg         279                           1             NO                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMF1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF7D                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/10/2019                Sample Time: 14:09:00

% Moisture:                                                                      % Solids: 75.8



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target           11900                            mg/kg        11900                          1             NO                S3VEM
  Antimony            Target             1.5                 J          mg/kg          1.5           J              1             NO                S3VEM
   Arsenic            Target            13.2                            mg/kg         13.2           *              1             NO                S3VEM
   Barium             Target            94.4                            mg/kg         94.4                          1             NO                S3VEM
  Beryllium           Target            0.66                U           mg/kg         0.66           U              1             NO                S3VEM
  Cadmium             Target            0.22                J           mg/kg         0.22           J              1             NO                S3VEM
   Calcium            Target            8180                            mg/kg         8180                          1             NO                S3VEM
 Chromium             Target            71.2                            mg/kg         71.2                          1             NO                S3VEM
    Cobalt            Target            42.0                            mg/kg         42.0                          1             NO                S3VEM
   Copper             Target            70.6                            mg/kg         70.6           *              1             NO                S3VEM
     Iron             Target           64400                            mg/kg        64400           D              2             NO                S3VEM
     Lead             Target             269                            mg/kg          269           *              1             NO                S3VEM
 Magnesium            Target            4670                            mg/kg         4670                          1             NO                S3VEM
 Manganese            Target             748                            mg/kg          748                          1             NO                S3VEM
    Nickel            Target             127                            mg/kg          127           *              1             NO                S3VEM
 Potassium            Target            3030                            mg/kg         3030                          1             NO                S3VEM
  Selenium            Target             3.0                 J          mg/kg          3.0           J              1             NO                S3VEM
    Silver            Target             2.3                            mg/kg          2.3                          1             NO                S3VEM
   Sodium             Target             559                J           mg/kg          559           J              1             NO                S3VEM
  Thallium            Target             3.3                U           mg/kg          3.3           U              1             NO                S3VEM
 Vanadium             Target            55.4                            mg/kg         55.4           *              1             NO                S3VEM
     Zinc             Target            72.5                            mg/kg         72.5                          1             NO                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF7L                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date:                           Sample Time:

% Moisture:                                                                      % Solids: 75.8



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target           10900                            mg/kg        10900                           5            NO              S3VEM
  Antimony            Target             1.7                 J          mg/kg          1.7           J               5            NO              S3VEM
   Arsenic            Target            19.7                            mg/kg         19.7                           5            NO              S3VEM
   Barium             Target            80.6                J           mg/kg         80.6           J               5            NO              S3VEM
  Beryllium           Target             3.3                U           mg/kg          3.3           U               5            NO              S3VEM
  Cadmium             Target            0.23                J           mg/kg         0.23           J               5            NO              S3VEM
   Calcium            Target            7600                            mg/kg         7600                           5            NO              S3VEM
 Chromium             Target            59.4                            mg/kg         59.4                           5            NO              S3VEM
    Cobalt            Target            40.2                            mg/kg         40.2                           5            NO              S3VEM
   Copper             Target             155                            mg/kg          155                           5            NO              S3VEM
     Iron             Target           62500                            mg/kg        62500           D              10            NO              S3VEM
     Lead             Target            30.7                            mg/kg         30.7                           5            NO              S3VEM
 Magnesium            Target            4560                            mg/kg         4560                           5            NO              S3VEM
 Manganese            Target             884                            mg/kg          884                           5            NO              S3VEM
    Nickel            Target            59.1                            mg/kg         59.1           *               5            NO              S3VEM
 Potassium            Target            2910                J           mg/kg         2910           J               5            NO              S3VEM
  Selenium            Target             5.4                J           mg/kg          5.4           J               5            NO              S3VEM
    Silver            Target             2.2                J           mg/kg          2.2           J               5            NO              S3VEM
   Sodium             Target             467                J           mg/kg          467           J               5            NO              S3VEM
  Thallium            Target            16.5                U           mg/kg         16.5           U               5            NO              S3VEM
 Vanadium             Target             110                            mg/kg          110                           5            NO              S3VEM
     Zinc             Target            59.7                            mg/kg         59.7                           5            NO              S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF7S                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/10/2019                Sample Time: 14:09:00

% Moisture:                                                                      % Solids: 75.8



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              4.7                 J          mg/kg          4.7           J*             1             NO                S3VEM
   Arsenic            Spike             27.1                            mg/kg         27.1                          1             NO                S3VEM
   Barium             Spike             364                             mg/kg         364                           1             NO                S3VEM
  Beryllium           Spike              5.8                            mg/kg          5.8                          1             NO                S3VEM
  Cadmium             Spike              6.4                            mg/kg          6.4                          1             NO                S3VEM
 Chromium             Spike             153                             mg/kg         153            *              1             NO                S3VEM
   Cobalt             Spike             102                             mg/kg         102                           1             NO                S3VEM
   Copper             Spike             131                             mg/kg         131                           1             NO                S3VEM
    Lead              Spike             57.0                            mg/kg         57.0                          1             NO                S3VEM
 Manganese            Spike             686                             mg/kg         686                           1             NO                S3VEM
   Nickel             Spike             168                             mg/kg         168            *              1             NO                S3VEM
  Selenium            Spike             14.9                            mg/kg         14.9                          1             NO                S3VEM
   Silver             Spike              9.1                            mg/kg          9.1                          1             NO                S3VEM
  Thallium            Spike              5.8                            mg/kg          5.8                          1             NO                S3VEM
 Vanadium             Spike             157                             mg/kg         157            *              1             NO                S3VEM
    Zinc              Spike             139                             mg/kg         139                           1             NO                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF8               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV12           pH:                                       Sample Date: 04/10/2019                Sample Time: 14:37:00

% Moisture:                                                                   % Solids: 89.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           12900                            mg/kg        12900                          1            YES                S3VEM
  Antimony         Target             6.5                U           mg/kg         0.83           J*             1            YES                S3VEM
   Arsenic         Target             2.6                J           mg/kg          2.6            *             1            YES                S3VEM
   Barium          Target             110                            mg/kg          110                          1            YES                S3VEM
  Beryllium        Target            0.54                U           mg/kg         0.54           U              1            YES                S3VEM
  Cadmium          Target            0.54                U           mg/kg        0.051           J              1            YES                S3VEM
   Calcium         Target            7090                            mg/kg         7090                          1            YES                S3VEM
 Chromium          Target            17.3                            mg/kg         17.3           *              1            YES                S3VEM
    Cobalt         Target             9.9                            mg/kg          9.9                          1            YES                S3VEM
   Copper          Target            13.7                            mg/kg         13.7           *              1            YES                S3VEM
     Iron          Target           20200                            mg/kg        20200                          1            YES                S3VEM
     Lead          Target             3.6                            mg/kg          3.6           *              1            YES                S3VEM
 Magnesium         Target            6750                            mg/kg         6750                          1            YES                S3VEM
 Manganese         Target             363                            mg/kg          363                          1            YES                S3VEM
    Nickel         Target            10.4                            mg/kg         10.4           *              1            YES                S3VEM
 Potassium         Target            3800                            mg/kg         3800                          1            YES                S3VEM
  Selenium         Target             3.8                U           mg/kg          1.1           J              1            YES                S3VEM
    Silver         Target            0.35                J           mg/kg         0.35           J              1            YES                S3VEM
   Sodium          Target             452                J           mg/kg          452           J              1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg          2.7           U              1            YES                S3VEM
 Vanadium          Target            43.3                            mg/kg         43.3           *              1            YES                S3VEM
     Zinc          Target            57.8                            mg/kg         57.8                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMF1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMF9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV13           pH:                                       Sample Date: 04/11/2019                Sample Time: 08:32:00

% Moisture:                                                                   % Solids: 84.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5710                            mg/kg         5710                          1            YES                S3VEM
  Antimony         Target             7.0                U           mg/kg          1.0           J*             1            YES                S3VEM
   Arsenic         Target            16.4                J           mg/kg         16.4            *             1            YES                S3VEM
   Barium          Target            37.8                            mg/kg         37.8                          1            YES                S3VEM
  Beryllium        Target            0.58                U           mg/kg         0.58           U              1            YES                S3VEM
  Cadmium          Target            0.58                U           mg/kg         0.25           J              1            YES                S3VEM
   Calcium         Target            5290                            mg/kg         5290                          1            YES                S3VEM
 Chromium          Target            22.8                            mg/kg         22.8           *              1            YES                S3VEM
    Cobalt         Target            10.0                            mg/kg         10.0                          1            YES                S3VEM
   Copper          Target            53.6                 J          mg/kg         53.6           *              1            YES                S3VEM
     Iron          Target           58900                            mg/kg        58900           D              2            YES                S3VEM
     Lead          Target            11.7                            mg/kg         11.7           *              1            YES                S3VEM
 Magnesium         Target            2250                            mg/kg         2250                          1            YES                S3VEM
 Manganese         Target             834                            mg/kg          834                          1            YES                S3VEM
    Nickel         Target            22.6                            mg/kg         22.6           *              1            YES                S3VEM
 Potassium         Target            1080                            mg/kg         1080                          1            YES                S3VEM
  Selenium         Target             4.1                U           mg/kg          3.0           J              1            YES                S3VEM
    Silver         Target             1.4                J           mg/kg          1.4                          1            YES                S3VEM
   Sodium          Target             829                            mg/kg          829                          1            YES                S3VEM
  Thallium         Target             2.9                U           mg/kg          2.9           U              1            YES                S3VEM
 Vanadium          Target            84.5                            mg/kg         84.5           *              1            YES                S3VEM
     Zinc          Target            86.2                            mg/kg         86.2                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMF1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-AES                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target            0.98                 J          mg/kg          0.98         J              1            YES              S3VEM
  Antimony            Target             6.0                U           mg/kg          0.36         J              1            YES              S3VEM
   Arsenic            Target             1.0                U           mg/kg         -0.22         J              1            YES              S3VEM
   Barium             Target            20.0                U           mg/kg          20.0         U              1            YES              S3VEM
  Beryllium           Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
  Cadmium             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
   Calcium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Chromium             Target             1.0                U           mg/kg         0.042         J              1            YES              S3VEM
    Cobalt            Target             5.0                U           mg/kg           5.0         U              1            YES              S3VEM
   Copper             Target             2.5                U           mg/kg        -0.080         J              1            YES              S3VEM
     Iron             Target            10.0                U           mg/kg          10.0         U              1            YES              S3VEM
     Lead             Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
 Magnesium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Manganese            Target             1.5                U           mg/kg         0.083         J              1            YES              S3VEM
    Nickel            Target             4.0                U           mg/kg        -0.082         J              1            YES              S3VEM
 Potassium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Selenium            Target             3.5                U           mg/kg          0.58         J              1            YES              S3VEM
    Silver            Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
   Sodium             Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Thallium            Target             2.5                U           mg/kg           2.5         U              1            YES              S3VEM
 Vanadium             Target             5.0                U           mg/kg           5.0         U              1            YES              S3VEM
     Zinc             Target             6.0                U           mg/kg         0.085         J              1            YES              S3VEM




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    INVESTIGATION STAGE 1 SAMPLING




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:           Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106218
 Date:           June 26, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48197
                 SDG No.:                        MYAMG1
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES and ICP-MS
                 Samples:                        18 Soil Samples
                 Collection Dates:               April 8, 9, 10, and 11, 2019
                 Reviewer:                       Anna Pajarillo, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [] FYI [X] Action
SAMPLING ISSUES: [ ] Yes [X] No




10106218-21617/48197/MYAMG1 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48197
SDG No.: MYAMG1
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES and ICP-MS
Reviewer: Anna Pajarillo, ESAT
Date:       June 26, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB):    MYAMJ4 (in SDG MYAMH9).
                  Equipment Blanks (EB):     MYAMH0, MYAMJ0, and MYAMJ1 (in SDG MYAMH9).
                Background Samples (BG):     None.
                         Field Duplicates:   MYAMH5/MYAME9 (in SDG MYAMD5).
                                             MYAMH6/MYAMF5 (in SDG MYAMF0).
                                             MYAMH7/MYAMG1.
                                             MYAMH8/MYAMG7.
CLP PO Action
        The laboratory analyzed the matrix spike for copper with a concentration of 26.7 mg/kg instead of
        50.0 mg/kg as stated in Table 2. See CLP SOW ISM02.4, Exhibit D, ICP-AES Pages D-24,
        Section 12.3.3.2 and D-31, Table 2.
        The laboratory analyzed the post digestion spike for zinc with an added concentration of 56.6
        mg/kg instead of 115.2 mg/kg (2 times the sample concentration). See CLP SOW ISM02.4,
        Exhibit D, ICP-MS Page D-25, Section 12.3.3.3.
Sampling Issues
        None.

Additional Comments
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Copper was analyzed
        by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES). Antimony, arsenic,
        barium, beryllium, cadmium, chromium, cobalt, lead, manganese, nickel, selenium, silver,
        thallium, vanadium, and zinc were analyzed by Inductively Coupled Plasma-Mass Spectroscopy
        (ICP-MS).
        Chain of custody records (COCs) indicate that the samples were collected on April 8, 9, 10, and
        11, 2019 and shipped on April 12, 2019. The reviewer presumed that the samples were stored
        properly from the time of collection to the time of shipping. The laboratory documentation
        indicates that they were received on ice and at a temperature of 6.0oC.
        Samples listed below did not meet the internal standard QC limit of 60-125% relative intensity
        (RI) in the initial analysis. The samples were diluted and reanalyzed as required by the statement
        of work (SOW). Results for beryllium, cobalt, nickel, and zinc in these samples are reported from
        the 2-fold dilution because the RIs are within the QC limit.




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                                                 % Relative Intensity   % Relative Intensity
               Sample Internal Standard           from Undiluted        from 2-Fold Dilution
              MYAMG3     Scandium-45                    145                     115
              MYAMG5     Scandium-45                    136                     111
              MYAMG7     Scandium-45                    130                     108
              MYAMG9     Scandium-45                    132                     111
              MYAMH1     Scandium-45                    131                     114
              MYAMH3     Scandium-45                    127                     107
              MYAMH5     Scandium-45                    134                     109
              MYAMH6     Scandium-45                    132                     110
              MYAMH7     Scandium-45                    129                     106
              MYAMH8     Scandium-45                    135                     110

      Although the undiluted analysis of sample MYAMG1 was within acceptance criteria for internal
      standard RI, beryllium, cobalt, nickel, and zinc were reported from a two-fold dilution. This
      sample was the designated lab QC sample. The scandium-45 RIs were outside QC limits for the
      associated matrix spike and duplicate samples. The matrix spike and duplicate samples were re-
      analyzed at a two-fold dilution as required by the SOW and the laboratory diluted and reanalyzed
      the parent sample (MYAMG1) as well. The reviewer compared the undiluted and two-fold
      dilution results for MYAMG1 and they are similar.
      Preparation logbook pages for some solutions are missing from the data package. Data quality is
      not likely to be affected; all other standards and spiking solutions were analyzed before the
      expiration date.
      This report was prepared in accordance with the following documents:
      • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
          (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
      • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
      For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
      Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
      Concentration), ISM02.4.

II. VALIDATION SUMMARY

      The data were evaluated based on the following parameters:
           Parameter                                                        Acceptable     Comment
      1.   Data Completeness                                                   Yes
      2.   Preservation and Holding Times                                      Yes
      3.   ICP-MS Tune Analysis                                                Yes
      4.   Calibration                                                         Yes
           a. Initial                                                          Yes
           b. Initial and Continuing Calibration Verification                  Yes
      5.   Laboratory Blanks                                                   Yes             B
      6.   Field/Equipment Blanks                                              Yes
      7.   ICP Interference Check Sample (ICS)                                 Yes
      8.   Laboratory Control Sample (LCS)                                     Yes
      9.   Duplicate Sample Analysis                                           Yes
     10.   Spike Sample Analysis                                               No              C
     11.   ICP Serial Dilution                                                 No              D
     12.   ICP-MS Internal Standards                                           Yes
     13.   Analyte Quantitation and CRQL                                       Yes             A
     14.   Field Duplicate Sample Analysis                                     No              E
     15.   Overall Assessment of Data                                          Yes




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III. VALIDITY AND COMMENTS
      A.    Results above the method detection limit (MDL) but below the contract required
            quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
            qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
            precision near the quantitation limit.

      B.    The following results are qualified as non-detected (U) due to low level initial calibration
            blank (ICB) and continuing calibration blank (CCB) contamination.

            •   Antimony in samples MYAMG3, MYAMG5, MYAMH1, MYAMH3, and MYAMH5
                through MYAMH8.
            •   Thallium in all samples and preparation blank PBS01.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.

                        Analyte                     Blank                        Concentration, µg/L
                       Antimony                  ICB01/CCB04                          0.29/0.10
                       Thallium            ICB01/CCB02/CCB03/CCB04               0.056/0.43/0.48/0.51

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.
      C.    The following results are estimated and flagged “J+”, “J-”, or “UJ” because matrix spike
            recoveries are outside method QC limits.
            •   Antimony, lead, vanadium, and zinc in all samples.
            Matrix spike recoveries for the analytes listed below in QC sample MYAMG1S does not
            meet the 75-125% criterion for accuracy as presented below.

                                     Analyte              % Recovery
                                    Antimony                  64
                                      Lead                   137
                                    Vanadium                 128
                                      Zinc                   135

            The detected results for antimony are considered quantitatively uncertain and may be
            biased low. The detected results for lead, vanadium, and zinc are considered quantitatively
            uncertain and may be biased high. Since qualified results for antimony are nondetect in
            many samples, false negatives may exist.
            The following post-digestion spike recoveries were reported in QC sample MYAMG1A.
            The post-digestion spike recoveries do not reflect the entire sample preparation and
            analysis; the impact on reported results cannot be determined. Qualification is based on the
            matrix spike recovery only.

                          Analyte             Post-Digestion Spike, % Recovery
                         Antimony                            119
                           Lead                               70
                         Vanadium                            124
                           Zinc                              111

            Since the pre-/post-digestion spikes do not meet the QC criteria, the unacceptable pre/post-
            digestion spike recoveries may indicate poor laboratory technique or matrix effects which
            may interfere with the analysis.



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            The post-digestion spike for zinc in QC sample MYAMG1A does not comply with the
            SOW guidelines for post-digestion spike concentration and is invalid (see CLP PO Action).
            The spiking error has no impact on data usability.
      D.    The following results are estimated and flagged “J” because serial dilution results are
            outside method QC limit.
            •   Cobalt, nickel, and zinc in all samples.
            Percent differences for serial dilution analysis of MYAMG1L do not meet the 10%
            difference criterion for the analytes presented below.

                                       Analyte         % Difference
                                       Cobalt              14
                                       Nickel              13
                                        Zinc               12

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Results for analytes listed above are considered quantitatively uncertain.
            Chemical and physical interferences may exist due to sample matrix effects. Since results
            for the diluted sample are lower than the original, the reported results may be biased high.
      E.    Results for the following field duplicate pair do not meet the relative percent difference
            (RPD) criterion or the absolute difference criterion provided in the National Functional
            Guidelines (NFG) for laboratory duplicate, as presented below.

                                   MYAME9,             MYAMH5,
                   Analyte          mg/kg               mg/kg              RPD, %        QC Limit, %
                   Barium            175                 134                26.5             20
                  Chromium           23.8                17.5               30.5             20
                    Lead             30.6                11.1               93.5             20
                  Vanadium           55.1                41.8               27.5             20

                   Analyte         MYAME9,             MYAMH5,            Difference,      QC Limit,
                                    mg/kg               mg/kg               mg/kg           mg/kg
                   Arsenic           3.2                 2.3                  0.9            0.5

                                   MYAMF5,             MYAMH6,
                   Analyte          mg/kg               mg/kg              RPD, %        QC Limit, %
                   Cobalt             9.3                13.3               35.4             20
                   Nickel            11.4                16.2               34.8             20
                    Zinc             62.2                84.8               30.7             20

                                   MYAMG7,             MYAMH8,
                   Analyte          mg/kg               mg/kg              RPD, %        QC Limit, %
                   Copper            139                 25.9               137              20
                    Lead             301                 199                40.8             20
                    Zinc             778                 464                50.6             20

            This uncertainty should be evaluated in the context of project data quality objectives to
            determine data usability.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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     INVESTIGATION STAGE 1 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
   Copper             Spike              4.6                            mg/kg        4.6                          1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: LCS01                   Method: Metals by ICP-MS                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
  Antimony            Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
   Arsenic            Spike              1.1                            mg/kg         1.1                         1            YES              S3VEM
   Barium             Spike             10.4                            mg/kg        10.4                         1            YES              S3VEM
  Beryllium           Spike             0.95                            mg/kg        0.95                         1            YES              S3VEM
  Cadmium             Spike              1.0                            mg/kg         1.0                         1            YES              S3VEM
 Chromium             Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
   Cobalt             Spike              1.0                            mg/kg         1.0                         1            YES              S3VEM
    Lead              Spike              1.0                            mg/kg         1.0                         1            YES              S3VEM
 Manganese            Spike              1.1                            mg/kg         1.1                         1            YES              S3VEM
   Nickel             Spike             0.98                            mg/kg        0.98                         1            YES              S3VEM
  Selenium            Spike              5.1                            mg/kg         5.1                         1            YES              S3VEM
   Silver             Spike              1.0                            mg/kg         1.0                         1            YES              S3VEM
  Thallium            Spike             0.98                            mg/kg        0.98                         1            YES              S3VEM
 Vanadium             Spike              5.7                            mg/kg         5.7                         1            YES              S3VEM
    Zinc              Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-SV14           pH:                                      Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                  % Solids: 88.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            19.3                            mg/kg        19.3                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1               Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV14           pH:                                      Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                  % Solids: 88.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             1.1                UJ          mg/kg         1.1          U*              1            YES                S3VEM
   Arsenic         Target             2.2                            mg/kg         2.2                          1            YES                S3VEM
   Barium          Target            118                             mg/kg        118                           1            YES                S3VEM
  Beryllium        Target            0.44                 J          mg/kg        0.44           JD             2            YES                S3VEM
  Cadmium          Target            0.11                 J          mg/kg        0.11            J             1            YES                S3VEM
 Chromium          Target            16.2                            mg/kg        16.2                          1            YES                S3VEM
   Cobalt          Target             9.7                 J          mg/kg         9.7          D*              2            YES                S3VEM
    Lead           Target             4.0                J+          mg/kg         4.0           *              1            YES                S3VEM
 Manganese         Target            381                             mg/kg        381                           1            YES                S3VEM
   Nickel          Target            12.3                 J          mg/kg        12.3          D*              2            YES                S3VEM
  Selenium         Target            0.78                 J          mg/kg        0.78           J              1            YES                S3VEM
   Silver          Target            0.57                U           mg/kg        0.57          U               1            YES                S3VEM
  Thallium         Target            0.57                U           mg/kg        0.14           J              1            YES                S3VEM
 Vanadium          Target            40.5                J+          mg/kg        40.5           *              1            YES                S3VEM
    Zinc           Target            57.6                J+          mg/kg        57.6          D*              2            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1A                 Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                     % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              2.8                            mg/kg        2.8                           1            YES                S3VEM
    Lead              Spike              9.5                            mg/kg        9.5            *              1            YES                S3VEM
 Manganese            Spike             1140                            mg/kg       1140                           1            YES                S3VEM
 Vanadium             Spike              140                            mg/kg        140                           1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1D                 Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                     % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper             Target            19.3                            mg/kg        19.3                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1D                 Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                     % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Target            0.084                J          mg/kg       0.084           J              1            YES                S3VEM
   Arsenic            Target              2.2                           mg/kg         2.2                          1            YES                S3VEM
   Barium             Target             124                            mg/kg        124                           1            YES                S3VEM
  Beryllium           Target             0.46                J          mg/kg        0.46           JD             2            YES                S3VEM
  Cadmium             Target             0.11                J          mg/kg        0.11            J             1            YES                S3VEM
 Chromium             Target             16.7                           mg/kg        16.7                          1            YES                S3VEM
   Cobalt             Target             10.7                J          mg/kg        10.7           D              2            YES                S3VEM
    Lead              Target              4.2                           mg/kg         4.2                          1            YES                S3VEM
 Manganese            Target             410                            mg/kg        410                           1            YES                S3VEM
   Nickel             Target             13.3                J          mg/kg        13.3           D              2            YES                S3VEM
  Selenium            Target             0.89                J          mg/kg        0.89           J              1            YES                S3VEM
   Silver             Target            0.034                J          mg/kg       0.034           J              1            YES                S3VEM
  Thallium            Target             0.18                J          mg/kg        0.18           J              1            YES                S3VEM
 Vanadium             Target             43.0                           mg/kg        43.0                          1            YES                S3VEM
    Zinc              Target             62.7                J          mg/kg        62.7           D              2            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1L                 Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date:                           Sample Time:

% Moisture:                                                                     % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable     Validation Level
   Copper             Target            17.4                            mg/kg        17.4                          5            YES              S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1L                 Method: Metals by ICP-MS                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date:                           Sample Time:

% Moisture:                                                                     % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable     Validation Level
  Antimony            Target             5.7                U           mg/kg         5.7           U               5           YES              S3VEM
   Arsenic            Target             2.3                 J          mg/kg         2.3           J               5           YES              S3VEM
   Barium             Target            113                             mg/kg        113                            5           YES              S3VEM
  Beryllium           Target            0.51                J           mg/kg        0.51          JD              10           YES              S3VEM
  Cadmium             Target             2.8                U           mg/kg         2.8           U               5           YES              S3VEM
 Chromium             Target            15.1                            mg/kg        15.1                           5           YES              S3VEM
   Cobalt             Target             8.3                            mg/kg         8.3          D*              10           YES              S3VEM
    Lead              Target             3.7                            mg/kg         3.7                           5           YES              S3VEM
 Manganese            Target            366                             mg/kg        366                            5           YES              S3VEM
   Nickel             Target            10.7                            mg/kg        10.7          D*              10           YES              S3VEM
  Selenium            Target            14.2                U           mg/kg        14.2          U                5           YES              S3VEM
   Silver             Target             2.8                U           mg/kg         2.8          U                5           YES              S3VEM
  Thallium            Target             2.8                U           mg/kg         2.8          U                5           YES              S3VEM
 Vanadium             Target            38.1                            mg/kg        38.1                           5           YES              S3VEM
    Zinc              Target            50.8                            mg/kg        50.8          D*              10           YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1S                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                      % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper             Spike             44.6                            mg/kg         44.6                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG1S                 Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 04/10/2019                Sample Time: 10:08:00

% Moisture:                                                                      % Solids: 88.3



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              7.3                            mg/kg          7.3           *              1            YES                S3VEM
   Arsenic            Spike              7.6                            mg/kg          7.6                          1            YES                S3VEM
   Barium             Spike             388                             mg/kg         388                           1            YES                S3VEM
  Beryllium           Spike              7.0                 J          mg/kg          7.0           D              2            YES                S3VEM
  Cadmium             Spike              5.8                            mg/kg          5.8                          1            YES                S3VEM
 Chromium             Spike             43.4                            mg/kg         43.4                          1            YES                S3VEM
   Cobalt             Spike             78.6                 J          mg/kg         78.6           D              2            YES                S3VEM
    Lead              Spike              7.1                            mg/kg          7.1           *              1            YES                S3VEM
 Manganese            Spike             521                             mg/kg         521                           1            YES                S3VEM
   Nickel             Spike             78.4                 J          mg/kg         78.4           D              2            YES                S3VEM
  Selenium            Spike             13.1                            mg/kg         13.1                          1            YES                S3VEM
   Silver             Spike              6.0                            mg/kg          6.0                          1            YES                S3VEM
  Thallium            Spike              6.0                            mg/kg          6.0                          1            YES                S3VEM
 Vanadium             Spike             113                             mg/kg         113            *              1            YES                S3VEM
    Zinc              Spike             134                  J          mg/kg         134           D*              2            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG2               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV14           pH:                                       Sample Date: 04/10/2019                Sample Time: 10:37:00

% Moisture:                                                                   % Solids: 97.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             5.1                            mg/kg         5.1                           1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG2               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV14           pH:                                       Sample Date: 04/10/2019                Sample Time: 10:37:00

% Moisture:                                                                   % Solids: 97.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.0               UJ          mg/kg          1.0          U*              1            YES                S3VEM
   Arsenic         Target             0.75                           mg/kg         0.75                          1            YES                S3VEM
   Barium          Target             34.6                           mg/kg         34.6                          1            YES                S3VEM
  Beryllium        Target            0.097               J           mg/kg        0.097           J              1            YES                S3VEM
  Cadmium          Target             0.51               U           mg/kg         0.51           U              1            YES                S3VEM
 Chromium          Target              4.5                           mg/kg          4.5                          1            YES                S3VEM
   Cobalt          Target              2.8                J          mg/kg          2.8           *              1            YES                S3VEM
    Lead           Target              1.0               J+          mg/kg          1.0           *              1            YES                S3VEM
 Manganese         Target             115                            mg/kg         115                           1            YES                S3VEM
   Nickel          Target              3.1                J          mg/kg          3.1           *              1            YES                S3VEM
  Selenium         Target             0.33                J          mg/kg         0.33           J              1            YES                S3VEM
   Silver          Target             0.51               U           mg/kg         0.51           U              1            YES                S3VEM
  Thallium         Target             0.51               U           mg/kg        0.026           J              1            YES                S3VEM
 Vanadium          Target             14.9               J+          mg/kg         14.9           *              1            YES                S3VEM
    Zinc           Target             17.9               J+          mg/kg         17.9           *              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG3               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV15           pH:                                       Sample Date: 04/10/2019                Sample Time: 10:58:00

% Moisture:                                                                   % Solids: 82.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            44.5                            mg/kg         44.5                          1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG3               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV15           pH:                                       Sample Date: 04/10/2019                Sample Time: 10:58:00

% Moisture:                                                                   % Solids: 82.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.2               UJ          mg/kg         0.18           J*             1            YES                S3VEM
   Arsenic         Target              3.8                           mg/kg          3.8                          1            YES                S3VEM
   Barium          Target             212                            mg/kg         212                           1            YES                S3VEM
  Beryllium        Target             0.84                J          mg/kg         0.84           JD             2            YES                S3VEM
  Cadmium          Target             0.25                J          mg/kg         0.25            J             1            YES                S3VEM
 Chromium          Target             24.3                           mg/kg         24.3                          1            YES                S3VEM
   Cobalt          Target             17.4                J          mg/kg         17.4          D*              2            YES                S3VEM
    Lead           Target              6.1               J+          mg/kg          6.1           *              1            YES                S3VEM
 Manganese         Target             562                            mg/kg         562                           1            YES                S3VEM
   Nickel          Target             21.9                J          mg/kg         21.9          D*              2            YES                S3VEM
  Selenium         Target              1.0                J          mg/kg          1.0           J              1            YES                S3VEM
   Silver          Target            0.055                J          mg/kg        0.055           J              1            YES                S3VEM
  Thallium         Target             0.60               U           mg/kg         0.16           J              1            YES                S3VEM
 Vanadium          Target             56.2               J+          mg/kg         56.2           *              1            YES                S3VEM
    Zinc           Target             89.6               J+          mg/kg         89.6          D*              2            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG4               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV15           pH:                                       Sample Date: 04/10/2019                Sample Time: 11:21:00

% Moisture:                                                                   % Solids: 97.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             6.1                            mg/kg         6.1                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG4               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV15           pH:                                       Sample Date: 04/10/2019                Sample Time: 11:21:00

% Moisture:                                                                   % Solids: 97.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             1.0                UJ          mg/kg          1.0          U*              1            YES                S3VEM
   Arsenic         Target             1.3                            mg/kg          1.3                          1            YES                S3VEM
   Barium          Target            58.8                            mg/kg         58.8                          1            YES                S3VEM
  Beryllium        Target            0.14                J           mg/kg         0.14           J              1            YES                S3VEM
  Cadmium          Target            0.50                U           mg/kg         0.50           U              1            YES                S3VEM
 Chromium          Target             6.8                            mg/kg          6.8                          1            YES                S3VEM
   Cobalt          Target             4.2                 J          mg/kg          4.2           *              1            YES                S3VEM
    Lead           Target             1.5                J+          mg/kg          1.5           *              1            YES                S3VEM
 Manganese         Target            152                             mg/kg         152                           1            YES                S3VEM
   Nickel          Target             4.8                 J          mg/kg          4.8           *              1            YES                S3VEM
  Selenium         Target            0.32                 J          mg/kg         0.32           J              1            YES                S3VEM
   Silver          Target            0.50                U           mg/kg         0.50           U              1            YES                S3VEM
  Thallium         Target            0.50                U           mg/kg        0.049           J              1            YES                S3VEM
 Vanadium          Target            21.0                J+          mg/kg         21.0           *              1            YES                S3VEM
    Zinc           Target            26.2                J+          mg/kg         26.2           *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG5               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV16           pH:                                       Sample Date: 04/09/2019                Sample Time: 09:05:00

% Moisture:                                                                   % Solids: 86.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            20.9                            mg/kg         20.9                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG5               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV16           pH:                                       Sample Date: 04/09/2019                Sample Time: 09:05:00

% Moisture:                                                                   % Solids: 86.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.1               UJ          mg/kg        0.078           J*             1            YES                S3VEM
   Arsenic         Target              2.6                           mg/kg          2.6                          1            YES                S3VEM
   Barium          Target             138                            mg/kg         138                           1            YES                S3VEM
  Beryllium        Target             0.50                J          mg/kg         0.50           JD             2            YES                S3VEM
  Cadmium          Target             0.12                J          mg/kg         0.12            J             1            YES                S3VEM
 Chromium          Target             18.5                           mg/kg         18.5                          1            YES                S3VEM
   Cobalt          Target             12.7                J          mg/kg         12.7          D*              2            YES                S3VEM
    Lead           Target              4.3               J+          mg/kg          4.3           *              1            YES                S3VEM
 Manganese         Target             402                            mg/kg         402                           1            YES                S3VEM
   Nickel          Target             16.0                J          mg/kg         16.0          D*              2            YES                S3VEM
  Selenium         Target             0.75                J          mg/kg         0.75           J              1            YES                S3VEM
   Silver          Target            0.040                J          mg/kg        0.040           J              1            YES                S3VEM
  Thallium         Target             0.55               U           mg/kg         0.14           J              1            YES                S3VEM
 Vanadium          Target             45.3               J+          mg/kg         45.3           *              1            YES                S3VEM
    Zinc           Target             75.5               J+          mg/kg         75.5          D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG6               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV16           pH:                                       Sample Date: 04/09/2019                Sample Time: 09:46:00

% Moisture:                                                                   % Solids: 96.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             5.1                            mg/kg         5.1                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG6               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV16           pH:                                       Sample Date: 04/09/2019                Sample Time: 09:46:00

% Moisture:                                                                   % Solids: 96.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.89               UJ          mg/kg         0.89          U*              1            YES                S3VEM
   Arsenic         Target             0.64                           mg/kg         0.64                          1            YES                S3VEM
   Barium          Target             49.9                           mg/kg         49.9                          1            YES                S3VEM
  Beryllium        Target            0.094               J           mg/kg        0.094           J              1            YES                S3VEM
  Cadmium          Target             0.44               U           mg/kg         0.44           U              1            YES                S3VEM
 Chromium          Target              5.9                           mg/kg          5.9                          1            YES                S3VEM
   Cobalt          Target              3.3                J          mg/kg          3.3           *              1            YES                S3VEM
    Lead           Target              1.3               J+          mg/kg          1.3           *              1            YES                S3VEM
 Manganese         Target             242                            mg/kg         242                           1            YES                S3VEM
   Nickel          Target              3.8                J          mg/kg          3.8           *              1            YES                S3VEM
  Selenium         Target             0.57                J          mg/kg         0.57           J              1            YES                S3VEM
   Silver          Target             0.44               U           mg/kg         0.44           U              1            YES                S3VEM
  Thallium         Target             0.44               U           mg/kg        0.034           J              1            YES                S3VEM
 Vanadium          Target             18.7               J+          mg/kg         18.7           *              1            YES                S3VEM
    Zinc           Target             21.3               J+          mg/kg         21.3           *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG7               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV17           pH:                                       Sample Date: 04/11/2019                Sample Time: 09:54:00

% Moisture:                                                                   % Solids: 88.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            139                             mg/kg         139                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG7               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV17           pH:                                       Sample Date: 04/11/2019                Sample Time: 09:54:00

% Moisture:                                                                   % Solids: 88.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.6               J-          mg/kg          1.6           *              1            YES                S3VEM
   Arsenic         Target              5.5                           mg/kg          5.5                          1            YES                S3VEM
   Barium          Target             143                            mg/kg         143                           1            YES                S3VEM
  Beryllium        Target             0.44                J          mg/kg         0.44           JD             2            YES                S3VEM
  Cadmium          Target              1.4                           mg/kg          1.4                          1            YES                S3VEM
 Chromium          Target             22.1                           mg/kg         22.1                          1            YES                S3VEM
   Cobalt          Target             13.1                J          mg/kg         13.1          D*              2            YES                S3VEM
    Lead           Target             301                J+          mg/kg         301            *              1            YES                S3VEM
 Manganese         Target             455                            mg/kg         455                           1            YES                S3VEM
   Nickel          Target             23.0                J          mg/kg         23.0          D*              2            YES                S3VEM
  Selenium         Target             0.65                J          mg/kg         0.65           J              1            YES                S3VEM
   Silver          Target            0.095                J          mg/kg        0.095           J              1            YES                S3VEM
  Thallium         Target             0.57               U           mg/kg         0.10           J              1            YES                S3VEM
 Vanadium          Target             34.9               J+          mg/kg         34.9           *              1            YES                S3VEM
    Zinc           Target             778                J+          mg/kg         778           D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG8               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV17           pH:                                       Sample Date: 04/11/2019                Sample Time: 10:20:00

% Moisture:                                                                   % Solids: 95.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             5.7                            mg/kg         5.7                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG8               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV17           pH:                                       Sample Date: 04/11/2019                Sample Time: 10:20:00

% Moisture:                                                                   % Solids: 95.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             1.0                UJ          mg/kg          1.0          U*              1            YES                S3VEM
   Arsenic         Target            0.96                            mg/kg         0.96                          1            YES                S3VEM
   Barium          Target            55.6                            mg/kg         55.6                          1            YES                S3VEM
  Beryllium        Target            0.16                J           mg/kg         0.16           J              1            YES                S3VEM
  Cadmium          Target            0.50                U           mg/kg         0.50           U              1            YES                S3VEM
 Chromium          Target             6.4                            mg/kg          6.4                          1            YES                S3VEM
   Cobalt          Target             4.2                 J          mg/kg          4.2           *              1            YES                S3VEM
    Lead           Target             2.0                J+          mg/kg          2.0           *              1            YES                S3VEM
 Manganese         Target            193                             mg/kg         193                           1            YES                S3VEM
   Nickel          Target             4.8                 J          mg/kg          4.8           *              1            YES                S3VEM
  Selenium         Target            0.34                 J          mg/kg         0.34           J              1            YES                S3VEM
   Silver          Target            0.50                U           mg/kg         0.50           U              1            YES                S3VEM
  Thallium         Target            0.50                U           mg/kg        0.053           J              1            YES                S3VEM
 Vanadium          Target            19.7                J+          mg/kg         19.7           *              1            YES                S3VEM
    Zinc           Target            28.1                J+          mg/kg         28.1           *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV18           pH:                                       Sample Date: 04/08/2019                Sample Time: 15:20:00

% Moisture:                                                                   % Solids: 88.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            15.3                            mg/kg         15.3                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMG9               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV18           pH:                                       Sample Date: 04/08/2019                Sample Time: 15:20:00

% Moisture:                                                                   % Solids: 88.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.1               J-          mg/kg          1.1           *              1            YES                S3VEM
   Arsenic         Target              3.0                           mg/kg          3.0                          1            YES                S3VEM
   Barium          Target             87.5                           mg/kg         87.5                          1            YES                S3VEM
  Beryllium        Target             0.35                J          mg/kg         0.35           JD             2            YES                S3VEM
  Cadmium          Target             0.63                           mg/kg         0.63                          1            YES                S3VEM
 Chromium          Target             16.7                           mg/kg         16.7                          1            YES                S3VEM
   Cobalt          Target              8.9                J          mg/kg          8.9          D*              2            YES                S3VEM
    Lead           Target             170                J+          mg/kg         170            *              1            YES                S3VEM
 Manganese         Target             315                            mg/kg         315                           1            YES                S3VEM
   Nickel          Target             17.5                J          mg/kg         17.5          D*              2            YES                S3VEM
  Selenium         Target             0.72                J          mg/kg         0.72           J              1            YES                S3VEM
   Silver          Target            0.068                J          mg/kg        0.068           J              1            YES                S3VEM
  Thallium         Target             0.48               U           mg/kg        0.062           J              1            YES                S3VEM
 Vanadium          Target             27.5               J+          mg/kg         27.5           *              1            YES                S3VEM
    Zinc           Target             367                J+          mg/kg         367           D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH0               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV18           pH:                                       Sample Date: 04/08/2019                Sample Time: 15:53:00

% Moisture:                                                                   % Solids: 97.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             7.7                            mg/kg         7.7                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH0               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV18           pH:                                       Sample Date: 04/08/2019                Sample Time: 15:53:00

% Moisture:                                                                   % Solids: 97.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.96                UJ          mg/kg         0.96          U*              1            YES                S3VEM
   Arsenic         Target             1.2                            mg/kg          1.2                          1            YES                S3VEM
   Barium          Target            66.8                            mg/kg         66.8                          1            YES                S3VEM
  Beryllium        Target            0.15                J           mg/kg         0.15           J              1            YES                S3VEM
  Cadmium          Target            0.48                U           mg/kg         0.48           U              1            YES                S3VEM
 Chromium          Target             7.4                            mg/kg          7.4                          1            YES                S3VEM
   Cobalt          Target             5.1                 J          mg/kg          5.1           *              1            YES                S3VEM
    Lead           Target             2.2                J+          mg/kg          2.2           *              1            YES                S3VEM
 Manganese         Target            184                             mg/kg         184                           1            YES                S3VEM
   Nickel          Target             5.6                 J          mg/kg          5.6           *              1            YES                S3VEM
  Selenium         Target            0.51                 J          mg/kg         0.51           J              1            YES                S3VEM
   Silver          Target            0.48                U           mg/kg         0.48           U              1            YES                S3VEM
  Thallium         Target            0.48                U           mg/kg        0.059           J              1            YES                S3VEM
 Vanadium          Target            22.0                J+          mg/kg         22.0           *              1            YES                S3VEM
    Zinc           Target            31.0                J+          mg/kg         31.0           *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH1               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV19           pH:                                       Sample Date: 04/11/2019                Sample Time: 12:08:00

% Moisture:                                                                   % Solids: 89.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            42.6                            mg/kg         42.6                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH1               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV19           pH:                                       Sample Date: 04/11/2019                Sample Time: 12:08:00

% Moisture:                                                                   % Solids: 89.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.99                UJ          mg/kg         0.52           J*             1            YES                S3VEM
   Arsenic         Target             5.4                            mg/kg          5.4                          1            YES                S3VEM
   Barium          Target            173                             mg/kg         173                           1            YES                S3VEM
  Beryllium        Target            0.62                 J          mg/kg         0.62           JD             2            YES                S3VEM
  Cadmium          Target             1.1                            mg/kg          1.1                          1            YES                S3VEM
 Chromium          Target            21.0                            mg/kg         21.0                          1            YES                S3VEM
   Cobalt          Target            15.5                 J          mg/kg         15.5          D*              2            YES                S3VEM
    Lead           Target            90.2                J+          mg/kg         90.2           *              1            YES                S3VEM
 Manganese         Target            508                             mg/kg         508                           1            YES                S3VEM
   Nickel          Target            24.1                 J          mg/kg         24.1          D*              2            YES                S3VEM
  Selenium         Target            0.75                 J          mg/kg         0.75           J              1            YES                S3VEM
   Silver          Target            0.14                 J          mg/kg         0.14           J              1            YES                S3VEM
  Thallium         Target            0.50                U           mg/kg         0.19           J              1            YES                S3VEM
 Vanadium          Target            47.6                J+          mg/kg         47.6           *              1            YES                S3VEM
    Zinc           Target            612                 J+          mg/kg         612           D*              2            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH2               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV19           pH:                                       Sample Date: 04/11/2019                Sample Time: 12:28:00

% Moisture:                                                                   % Solids: 96.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             8.0                            mg/kg         8.0                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH2               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV19           pH:                                       Sample Date: 04/11/2019                Sample Time: 12:28:00

% Moisture:                                                                   % Solids: 96.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.94                UJ          mg/kg         0.94          U*              1            YES                S3VEM
   Arsenic         Target            0.74                            mg/kg         0.74                          1            YES                S3VEM
   Barium          Target            68.4                            mg/kg         68.4                          1            YES                S3VEM
  Beryllium        Target            0.14                J           mg/kg         0.14           J              1            YES                S3VEM
  Cadmium          Target            0.47                U           mg/kg         0.47           U              1            YES                S3VEM
 Chromium          Target             8.4                            mg/kg          8.4                          1            YES                S3VEM
   Cobalt          Target             4.9                 J          mg/kg          4.9           *              1            YES                S3VEM
    Lead           Target             2.0                J+          mg/kg          2.0           *              1            YES                S3VEM
 Manganese         Target            219                             mg/kg         219                           1            YES                S3VEM
   Nickel          Target             5.8                 J          mg/kg          5.8           *              1            YES                S3VEM
  Selenium         Target            0.47                 J          mg/kg         0.47           J              1            YES                S3VEM
   Silver          Target            0.47                U           mg/kg         0.47           U              1            YES                S3VEM
  Thallium         Target            0.47                U           mg/kg        0.091           J              1            YES                S3VEM
 Vanadium          Target            23.6                J+          mg/kg         23.6           *              1            YES                S3VEM
    Zinc           Target            32.7                J+          mg/kg         32.7           *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH3               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV20           pH:                                       Sample Date: 04/11/2019                Sample Time: 11:11:00

% Moisture:                                                                   % Solids: 88.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            20.8                            mg/kg         20.8                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH3               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV20           pH:                                       Sample Date: 04/11/2019                Sample Time: 11:11:00

% Moisture:                                                                   % Solids: 88.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.88               UJ          mg/kg        0.072           J*             1            YES                S3VEM
   Arsenic         Target              2.0                           mg/kg          2.0                          1            YES                S3VEM
   Barium          Target             101                            mg/kg         101                           1            YES                S3VEM
  Beryllium        Target             0.36                J          mg/kg         0.36           JD             2            YES                S3VEM
  Cadmium          Target             0.13                J          mg/kg         0.13            J             1            YES                S3VEM
 Chromium          Target             14.1                           mg/kg         14.1                          1            YES                S3VEM
   Cobalt          Target              9.8                J          mg/kg          9.8          D*              2            YES                S3VEM
    Lead           Target              6.3               J+          mg/kg          6.3           *              1            YES                S3VEM
 Manganese         Target             323                            mg/kg         323                           1            YES                S3VEM
   Nickel          Target             12.1                J          mg/kg         12.1          D*              2            YES                S3VEM
  Selenium         Target             0.66                J          mg/kg         0.66           J              1            YES                S3VEM
   Silver          Target            0.030                J          mg/kg        0.030           J              1            YES                S3VEM
  Thallium         Target             0.44               U           mg/kg         0.12           J              1            YES                S3VEM
 Vanadium          Target             35.1               J+          mg/kg         35.1           *              1            YES                S3VEM
    Zinc           Target             64.9               J+          mg/kg         64.9          D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH4               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV20           pH:                                       Sample Date: 04/11/2019                Sample Time: 11:32:00

% Moisture:                                                                   % Solids: 91.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target             5.0                            mg/kg         5.0                           1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH4               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV20           pH:                                       Sample Date: 04/11/2019                Sample Time: 11:32:00

% Moisture:                                                                   % Solids: 91.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target            0.95                UJ          mg/kg         0.95          U*              1            YES                S3VEM
   Arsenic         Target             1.2                            mg/kg          1.2                          1            YES                S3VEM
   Barium          Target            46.9                            mg/kg         46.9                          1            YES                S3VEM
  Beryllium        Target            0.15                J           mg/kg         0.15           J              1            YES                S3VEM
  Cadmium          Target            0.48                U           mg/kg         0.48           U              1            YES                S3VEM
 Chromium          Target             5.4                            mg/kg          5.4                          1            YES                S3VEM
   Cobalt          Target             3.9                 J          mg/kg          3.9           *              1            YES                S3VEM
    Lead           Target             1.4                J+          mg/kg          1.4           *              1            YES                S3VEM
 Manganese         Target            156                             mg/kg         156                           1            YES                S3VEM
   Nickel          Target             4.1                 J          mg/kg          4.1           *              1            YES                S3VEM
  Selenium         Target            0.48                 J          mg/kg         0.48           J              1            YES                S3VEM
   Silver          Target            0.48                U           mg/kg         0.48           U              1            YES                S3VEM
  Thallium         Target            0.48                U           mg/kg        0.048           J              1            YES                S3VEM
 Vanadium          Target            18.1                J+          mg/kg         18.1           *              1            YES                S3VEM
    Zinc           Target            23.4                J+          mg/kg         23.4           *              1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH5               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV8            pH:                                       Sample Date: 04/09/2019                Sample Time: 13:50:00

% Moisture:                                                                   % Solids: 86.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            20.3                            mg/kg         20.3                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH5               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV8            pH:                                       Sample Date: 04/09/2019                Sample Time: 13:50:00

% Moisture:                                                                   % Solids: 86.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.94               UJ          mg/kg        0.060           J*             1            YES                S3VEM
   Arsenic         Target              2.3                           mg/kg          2.3                          1            YES                S3VEM
   Barium          Target             134                            mg/kg         134                           1            YES                S3VEM
  Beryllium        Target             0.53                J          mg/kg         0.53           JD             2            YES                S3VEM
  Cadmium          Target             0.14                J          mg/kg         0.14            J             1            YES                S3VEM
 Chromium          Target             17.5                           mg/kg         17.5                          1            YES                S3VEM
   Cobalt          Target             12.7                J          mg/kg         12.7          D*              2            YES                S3VEM
    Lead           Target             11.1               J+          mg/kg         11.1           *              1            YES                S3VEM
 Manganese         Target             465                            mg/kg         465                           1            YES                S3VEM
   Nickel          Target             15.3                J          mg/kg         15.3          D*              2            YES                S3VEM
  Selenium         Target             0.76                J          mg/kg         0.76           J              1            YES                S3VEM
   Silver          Target            0.034                J          mg/kg        0.034           J              1            YES                S3VEM
  Thallium         Target             0.47               U           mg/kg         0.15           J              1            YES                S3VEM
 Vanadium          Target             41.8               J+          mg/kg         41.8           *              1            YES                S3VEM
    Zinc           Target             80.3               J+          mg/kg         80.3          D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH6               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV11           pH:                                       Sample Date: 04/09/2019                Sample Time: 15:50:00

% Moisture:                                                                   % Solids: 85.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            23.4                            mg/kg         23.4                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH6               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV11           pH:                                       Sample Date: 04/09/2019                Sample Time: 15:50:00

% Moisture:                                                                   % Solids: 85.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target              1.1               UJ          mg/kg        0.069           J*             1            YES                S3VEM
   Arsenic         Target              2.7                           mg/kg          2.7                          1            YES                S3VEM
   Barium          Target             140                            mg/kg         140                           1            YES                S3VEM
  Beryllium        Target             0.61                J          mg/kg         0.61           JD             2            YES                S3VEM
  Cadmium          Target             0.13                J          mg/kg         0.13            J             1            YES                S3VEM
 Chromium          Target             18.8                           mg/kg         18.8                          1            YES                S3VEM
   Cobalt          Target             13.3                J          mg/kg         13.3          D*              2            YES                S3VEM
    Lead           Target             12.8               J+          mg/kg         12.8           *              1            YES                S3VEM
 Manganese         Target             450                            mg/kg         450                           1            YES                S3VEM
   Nickel          Target             16.2                J          mg/kg         16.2          D*              2            YES                S3VEM
  Selenium         Target             0.89                J          mg/kg         0.89           J              1            YES                S3VEM
   Silver          Target            0.033                J          mg/kg        0.033           J              1            YES                S3VEM
  Thallium         Target             0.56               U           mg/kg         0.14           J              1            YES                S3VEM
 Vanadium          Target             46.9               J+          mg/kg         46.9           *              1            YES                S3VEM
    Zinc           Target             84.8               J+          mg/kg         84.8          D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH7               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV14           pH:                                       Sample Date: 04/10/2019                Sample Time: 10:10:00

% Moisture:                                                                   % Solids: 88.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            18.8                            mg/kg         18.8                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH7               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV14           pH:                                       Sample Date: 04/10/2019                Sample Time: 10:10:00

% Moisture:                                                                   % Solids: 88.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             1.1                UJ          mg/kg        0.073           J*             1            YES                S3VEM
   Arsenic         Target             2.3                            mg/kg          2.3                          1            YES                S3VEM
   Barium          Target            127                             mg/kg         127                           1            YES                S3VEM
  Beryllium        Target            0.47                 J          mg/kg         0.47           JD             2            YES                S3VEM
  Cadmium          Target            0.12                 J          mg/kg         0.12            J             1            YES                S3VEM
 Chromium          Target            16.8                            mg/kg         16.8                          1            YES                S3VEM
   Cobalt          Target            10.6                 J          mg/kg         10.6          D*              2            YES                S3VEM
    Lead           Target             4.6                J+          mg/kg          4.6           *              1            YES                S3VEM
 Manganese         Target            406                             mg/kg         406                           1            YES                S3VEM
   Nickel          Target            13.3                 J          mg/kg         13.3          D*              2            YES                S3VEM
  Selenium         Target            0.64                 J          mg/kg         0.64           J              1            YES                S3VEM
   Silver          Target            0.57                U           mg/kg         0.57          U               1            YES                S3VEM
  Thallium         Target            0.57                U           mg/kg         0.13           J              1            YES                S3VEM
 Vanadium          Target            41.3                J+          mg/kg         41.3           *              1            YES                S3VEM
    Zinc           Target            64.0                J+          mg/kg         64.0          D*              2            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH8               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-SV17           pH:                                       Sample Date: 04/11/2019                Sample Time: 10:00:00

% Moisture:                                                                   % Solids: 89.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
   Copper          Target            25.9                            mg/kg         25.9                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48197/EPW14029/MYAMG1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH8               Method: Metals by ICP-MS                  Matrix: Soil                           MA Number:

Sample Location: DMS-SV17           pH:                                       Sample Date: 04/11/2019                Sample Time: 10:00:00

% Moisture:                                                                   % Solids: 89.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony         Target             0.86               UJ          mg/kg         0.73           J*             1            YES                S3VEM
   Arsenic         Target              5.0                           mg/kg          5.0                          1            YES                S3VEM
   Barium          Target             136                            mg/kg         136                           1            YES                S3VEM
  Beryllium        Target             0.45                J          mg/kg         0.45           JD             2            YES                S3VEM
  Cadmium          Target              1.4                           mg/kg          1.4                          1            YES                S3VEM
 Chromium          Target             20.9                           mg/kg         20.9                          1            YES                S3VEM
   Cobalt          Target             12.7                J          mg/kg         12.7          D*              2            YES                S3VEM
    Lead           Target             199                J+          mg/kg         199            *              1            YES                S3VEM
 Manganese         Target             451                            mg/kg         451                           1            YES                S3VEM
   Nickel          Target             20.2                J          mg/kg         20.2          D*              2            YES                S3VEM
  Selenium         Target             0.59                J          mg/kg         0.59           J              1            YES                S3VEM
   Silver          Target            0.094                J          mg/kg        0.094           J              1            YES                S3VEM
  Thallium         Target             0.43               U           mg/kg         0.11           J              1            YES                S3VEM
 Vanadium          Target             36.1               J+          mg/kg         36.1           *              1            YES                S3VEM
    Zinc           Target             464                J+          mg/kg         464           D*              2            YES                S3VEM




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                   Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-AES                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
   Copper             Target             2.5                U           mg/kg         2.5           U              1            YES              S3VEM




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                   Case 2:20-bk-17433-VZ                Sample
                                                      Doc      Summary
                                                          197 Filed       Report
                                                                    02/02/21 Entered 02/02/21 19:31:36                                  Desc
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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48197/EPW14029/MYAMG1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-MS                  Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
  Antimony            Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
   Arsenic            Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
   Barium             Target             5.0                U           mg/kg           5.0         U              1            YES              S3VEM
  Beryllium           Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
  Cadmium             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
 Chromium             Target             1.0                U           mg/kg        -0.053         J              1            YES              S3VEM
   Cobalt             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
    Lead              Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
 Manganese            Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
   Nickel             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
  Selenium            Target             2.5                U           mg/kg           2.5         U              1            YES              S3VEM
   Silver             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
  Thallium            Target             0.5                U           mg/kg         0.019         J              1            YES              S3VEM
 Vanadium             Target             2.5                U           mg/kg        -0.078         J              1            YES              S3VEM
    Zinc              Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM




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Project Name: DAMILLE METAL SERVICE SITE      GroupID: 48197/EPW14029/MYAMG1   Lab Name: Bonner Analytical Testing Co.
    INVESTIGATION STAGE 1 SAMPLING




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:           Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106218
 Date:           June 13, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48197
                 SDG No.:                        MYAMH9
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-MS
                 Samples:                        Six Water Samples
                 Collection Dates:               April 9, 10, and 11, 2019
                 Reviewer:                       Anna Pajarillo, ESAT

EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.

If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [X] FYI [] Action

SAMPLING ISSUES: [ ] Yes [X] No




10106218-21618/48197/MYAMH9 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48197
SDG No.: MYAMH9
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-MS
Reviewer: Anna Pajarillo, ESAT
Date:       June 13, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB): MYAMJ4.
                  Equipment Blanks (EB): MYAMH9, MYAMJ0, MYAMJ1, MYAMJ2, and
                                           MYAMJ3.
                Background Samples (BG): None.
                         Field Duplicates: None.

CLP PO Action
        None.
Sampling Issues

        None.
Additional Comments
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Mass Spectroscopy (ICP-MS).
        Chain of custody records (COCs) indicate that the samples were collected on April 9, 10, and 11,
        2019 and shipped on April 12, 2019. The reviewer presumed that the samples were stored
        properly from the time of collection to the time of shipping. The laboratory documentation
        indicates that they were received on ice and at a temperature of 6.0oC.
        Matrix spike, duplicate, and serial dilution samples were not analyzed with the samples (batch
        TD15014). All samples in the batch are equipment and field blanks. The associated laboratory
        control sample (LCS) met quality control criteria.

        Preparation logbook pages for some solutions are missing from the data package. Data quality is
        not likely to be affected; all other standards and spiking solutions were analyzed before the
        expiration date.
        This report was prepared in accordance with the following documents:
        • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
            (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
        • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.




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      For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
      Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
      Concentration), ISM02.4.

II. VALIDATION SUMMARY
      The data were evaluated based on the following parameters:

           Parameter                                                            Acceptable     Comment
      1.   Data Completeness                                                       Yes
      2.   Preservation and Holding Times                                          Yes
      3.   ICP-MS Tune Analysis                                                    Yes
      4.   Calibration                                                             Yes
           a. Initial                                                              Yes
           b. Initial and Continuing Calibration Verification                      Yes
      5.   Laboratory Blanks                                                       Yes              B
      6.   Field/Equipment Blanks                                                 N/A
      7.   ICP Interference Check Sample (ICS)                                     Yes
      8.   Laboratory Control Sample (LCS)                                         Yes
      9.   Duplicate Sample Analysis                                              N/A
     10.   Spike Sample Analysis                                                  N/A
     11.   ICP Serial Dilution                                                    N/A
     12.   ICP-MS Internal Standards                                               Yes
     13.   Analyte Quantitation and CRQL                                           Yes             A
     14.   Field Duplicate Sample Analysis                                        N/A
     15.   Overall Assessment of Data                                              Yes
            N/A = Not Applicable.

III. VALIDITY AND COMMENTS
      A.    Results above the method detection limit (MDL) but below the contract required
            quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
            qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
            precision near the quantitation limit.
      B.    The following results are qualified as non-detected (U) due to low level initial calibration
            blank (ICB) and continuing calibration blank (CCB) contamination.
            •   Antimony in samples MYAMJ3 and MYAMJ4.
            •   Nickel and sodium in all samples and preparation blank PBW01.
            •   Potassium in samples MYAMH9 and MYAMJ0.
            •   Thallium in preparation blank PBW01.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.

                        Analyte                       Blank                      Concentration, µg/L
                       Antimony                       ICB01                              0.18
                        Nickel                 ICB01/CCB01/CCB02                  0.093/0.12/0.074
                       Potassium                     CCB01                               13.6
                        Sodium                 ICB01/CCB01/CCB02                   20.5/39.0/20.7
                       Thallium                   CCB01/CCB02                         0.37/0.38

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.
J-      The result is an estimated quantity, but the result may be biased low.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48197/EPW14029/MYAMH9                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable      Validation Level
 Aluminum             Spike             41.5                            ug/L         41.5                         1            YES               S3VEM
  Antimony            Spike              3.7                            ug/L          3.7                         1            YES               S3VEM
   Arsenic            Spike              1.6                            ug/L          1.6                         1            YES               S3VEM
   Barium             Spike             19.9                            ug/L         19.9                         1            YES               S3VEM
  Beryllium           Spike              2.1                            ug/L          2.1                         1            YES               S3VEM
  Cadmium             Spike              2.1                            ug/L          2.1                         1            YES               S3VEM
   Calcium            Spike             1020                            ug/L        1020                          1            YES               S3VEM
 Chromium             Spike              4.0                            ug/L          4.0                         1            YES               S3VEM
    Cobalt            Spike              2.0                            ug/L          2.0                         1            YES               S3VEM
   Copper             Spike              4.0                            ug/L          4.0                         1            YES               S3VEM
     Iron             Spike              387                            ug/L         387                          1            YES               S3VEM
     Lead             Spike              2.0                            ug/L          2.0                         1            YES               S3VEM
 Magnesium            Spike              942                            ug/L         942                          1            YES               S3VEM
 Manganese            Spike              2.0                            ug/L          2.0                         1            YES               S3VEM
    Nickel            Spike              2.0                            ug/L          2.0                         1            YES               S3VEM
 Potassium            Spike             1000                            ug/L        1000                          1            YES               S3VEM
  Selenium            Spike              9.5                            ug/L          9.5                         1            YES               S3VEM
    Silver            Spike              2.0                            ug/L          2.0                         1            YES               S3VEM
   Sodium             Spike              970                            ug/L         970                          1            YES               S3VEM
  Thallium            Spike              2.1                            ug/L          2.1                         1            YES               S3VEM
 Vanadium             Spike              9.5                            ug/L          9.5                         1            YES               S3VEM
     Zinc             Spike              3.8                            ug/L          3.8                         1            YES               S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                 GroupID: 48197/EPW14029/MYAMH9                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMH9                 Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 04/09/2019               Sample Time: 08:40:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target            20.0                U           ug/L         20.0          U              1            YES                S3VEM
  Antimony           Target             2.0                U           ug/L          2.0          U              1            YES                S3VEM
   Arsenic           Target            0.14                 J          ug/L         0.14          J              1            YES                S3VEM
   Barium            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
  Beryllium          Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
  Cadmium            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Calcium           Target            26.1                 J          ug/L         26.1          J              1            YES                S3VEM
 Chromium            Target             2.0                U           ug/L          2.0          U              1            YES                S3VEM
    Cobalt           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Copper            Target            0.71                 J          ug/L         0.71          J              1            YES                S3VEM
     Iron            Target             9.2                 J          ug/L          9.2          J              1            YES                S3VEM
     Lead            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
 Magnesium           Target             2.8                 J          ug/L          2.8          J              1            YES                S3VEM
 Manganese           Target            0.15                 J          ug/L         0.15          J              1            YES                S3VEM
    Nickel           Target             1.0                U           ug/L         0.30          J              1            YES                S3VEM
 Potassium           Target            500                 U           ug/L         54.0          J              1            YES                S3VEM
  Selenium           Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
    Silver           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Sodium            Target            500                 U           ug/L         71.1          J              1            YES                S3VEM
  Thallium           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
 Vanadium            Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
     Zinc            Target            0.76                 J          ug/L         0.76          J              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                 GroupID: 48197/EPW14029/MYAMH9                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMJ0                 Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 04/10/2019               Sample Time: 07:45:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target             20.0               U           ug/L         20.0          U              1            YES                S3VEM
  Antimony           Target              2.0               U           ug/L          2.0          U              1            YES                S3VEM
   Arsenic           Target             0.21                J          ug/L         0.21          J              1            YES                S3VEM
   Barium            Target             10.0               U           ug/L         10.0          U              1            YES                S3VEM
  Beryllium          Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
  Cadmium            Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Calcium           Target             24.8                J          ug/L         24.8          J              1            YES                S3VEM
 Chromium            Target            0.057                J          ug/L        0.057          J              1            YES                S3VEM
    Cobalt           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Copper            Target             0.48                J          ug/L         0.48          J              1            YES                S3VEM
     Iron            Target             10.9                J          ug/L         10.9          J              1            YES                S3VEM
     Lead            Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
 Magnesium           Target              3.5                J          ug/L          3.5          J              1            YES                S3VEM
 Manganese           Target             0.14                J          ug/L         0.14          J              1            YES                S3VEM
    Nickel           Target              1.0               U           ug/L         0.17          J              1            YES                S3VEM
 Potassium           Target             500                U           ug/L          4.4          J              1            YES                S3VEM
  Selenium           Target              5.0               U           ug/L          5.0          U              1            YES                S3VEM
    Silver           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Sodium            Target             500                U           ug/L         46.0          J              1            YES                S3VEM
  Thallium           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
 Vanadium            Target              5.0               U           ug/L          5.0          U              1            YES                S3VEM
     Zinc            Target             0.92                J          ug/L         0.92          J              1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMJ1                 Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 04/10/2019               Sample Time: 15:20:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target            20.0                U           ug/L         20.0          U              1            YES                S3VEM
  Antimony           Target             2.0                U           ug/L          2.0          U              1            YES                S3VEM
   Arsenic           Target            0.19                 J          ug/L         0.19          J              1            YES                S3VEM
   Barium            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
  Beryllium          Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
  Cadmium            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Calcium           Target            27.6                 J          ug/L         27.6          J              1            YES                S3VEM
 Chromium            Target             2.0                U           ug/L          2.0          U              1            YES                S3VEM
    Cobalt           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Copper            Target            0.42                 J          ug/L         0.42          J              1            YES                S3VEM
     Iron            Target            200                 U           ug/L         200           U              1            YES                S3VEM
     Lead            Target            0.10                 J          ug/L         0.10          J              1            YES                S3VEM
 Magnesium           Target             4.0                 J          ug/L          4.0          J              1            YES                S3VEM
 Manganese           Target            0.12                 J          ug/L         0.12          J              1            YES                S3VEM
    Nickel           Target             1.0                U           ug/L         0.19          J              1            YES                S3VEM
 Potassium           Target            500                 U           ug/L         500           U              1            YES                S3VEM
  Selenium           Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
    Silver           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Sodium            Target            500                 U           ug/L         28.5          J              1            YES                S3VEM
  Thallium           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
 Vanadium            Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
     Zinc            Target             2.0                U           ug/L          2.0          U              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                 GroupID: 48197/EPW14029/MYAMH9                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMJ2                 Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 04/11/2019               Sample Time: 13:07:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target             20.0               U           ug/L         20.0          U              1            YES                S3VEM
  Antimony           Target              2.0               U           ug/L          2.0          U              1            YES                S3VEM
   Arsenic           Target             0.13                J          ug/L         0.13          J              1            YES                S3VEM
   Barium            Target             10.0               U           ug/L         10.0          U              1            YES                S3VEM
  Beryllium          Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
  Cadmium            Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Calcium           Target             20.7                J          ug/L         20.7          J              1            YES                S3VEM
 Chromium            Target              2.0               U           ug/L          2.0          U              1            YES                S3VEM
    Cobalt           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Copper            Target             0.59                J          ug/L         0.59          J              1            YES                S3VEM
     Iron            Target             17.5                J          ug/L         17.5          J              1            YES                S3VEM
     Lead            Target            0.070                J          ug/L        0.070          J              1            YES                S3VEM
 Magnesium           Target              2.4                J          ug/L          2.4          J              1            YES                S3VEM
 Manganese           Target             0.25                J          ug/L         0.25          J              1            YES                S3VEM
    Nickel           Target              1.0               U           ug/L         0.18          J              1            YES                S3VEM
 Potassium           Target             500                U           ug/L         500           U              1            YES                S3VEM
  Selenium           Target              5.0               U           ug/L          5.0          U              1            YES                S3VEM
    Silver           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Sodium            Target             500                U           ug/L         28.4          J              1            YES                S3VEM
  Thallium           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
 Vanadium            Target              5.0               U           ug/L          5.0          U              1            YES                S3VEM
     Zinc            Target              1.2                J          ug/L          1.2          J              1            YES                S3VEM




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     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMJ3                 Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 04/11/2019               Sample Time: 13:08:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target             20.0               U           ug/L         20.0          U              1            YES                S3VEM
  Antimony           Target              2.0               U           ug/L        0.094          J              1            YES                S3VEM
   Arsenic           Target             0.48                J          ug/L         0.48          J              1            YES                S3VEM
   Barium            Target             10.0               U           ug/L         10.0          U              1            YES                S3VEM
  Beryllium          Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
  Cadmium            Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Calcium           Target             30.1                J          ug/L         30.1          J              1            YES                S3VEM
 Chromium            Target             0.22                J          ug/L         0.22          J              1            YES                S3VEM
    Cobalt           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Copper            Target             0.44                J          ug/L         0.44          J              1            YES                S3VEM
     Iron            Target             22.4                J          ug/L         22.4          J              1            YES                S3VEM
     Lead            Target            0.075                J          ug/L        0.075          J              1            YES                S3VEM
 Magnesium           Target              5.0                J          ug/L          5.0          J              1            YES                S3VEM
 Manganese           Target             0.41                J          ug/L         0.41          J              1            YES                S3VEM
    Nickel           Target              1.0               U           ug/L         0.16          J              1            YES                S3VEM
 Potassium           Target             500                U           ug/L         500           U              1            YES                S3VEM
  Selenium           Target              5.0               U           ug/L          5.0          U              1            YES                S3VEM
    Silver           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
   Sodium            Target             500                U           ug/L         41.2          J              1            YES                S3VEM
  Thallium           Target              1.0               U           ug/L          1.0          U              1            YES                S3VEM
 Vanadium            Target             0.84                J          ug/L         0.84          J              1            YES                S3VEM
     Zinc            Target             0.89                J          ug/L         0.89          J              1            YES                S3VEM




                                                                               Page 6                                             Wed, 12 Jun 2019 13:18:17
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48197/EPW14029/MYAMH9                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: MYAMJ4                  Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location: Field Blank           pH: 1.                                   Sample Date: 04/09/2019               Sample Time: 08:45:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target            20.0                U           ug/L         20.0          U              1            YES                S3VEM
  Antimony            Target             2.0                U           ug/L        0.099          J              1            YES                S3VEM
   Arsenic            Target            0.68                 J          ug/L         0.68          J              1            YES                S3VEM
   Barium             Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
  Beryllium           Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
  Cadmium             Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Calcium            Target            500                 U           ug/L         500           U              1            YES                S3VEM
 Chromium             Target            0.13                 J          ug/L         0.13          J              1            YES                S3VEM
    Cobalt            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Copper             Target            0.39                 J          ug/L         0.39          J              1            YES                S3VEM
     Iron             Target            200                 U           ug/L         200           U              1            YES                S3VEM
     Lead             Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
 Magnesium            Target            500                 U           ug/L         500           U              1            YES                S3VEM
 Manganese            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
    Nickel            Target             1.0                U           ug/L         0.16          J              1            YES                S3VEM
 Potassium            Target            500                 U           ug/L         500           U              1            YES                S3VEM
  Selenium            Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
    Silver            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
   Sodium             Target            500                 U           ug/L         20.0          J              1            YES                S3VEM
  Thallium            Target             1.0                U           ug/L          1.0          U              1            YES                S3VEM
 Vanadium             Target             1.2                 J          ug/L          1.2          J              1            YES                S3VEM
     Zinc             Target             2.0                U           ug/L          2.0          U              1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48197/EPW14029/MYAMH9                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 1 SAMPLING



Sample Number: PBW01                   Method: Metals by ICP-MS                 Matrix: Water                         MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable      Validation Level
 Aluminum             Target            20.0                U           ug/L         20.0          U              1            YES               S3VEM
  Antimony            Target             2.0                U           ug/L          2.0          U              1            YES               S3VEM
   Arsenic            Target             1.0                U           ug/L         -1.0          J              1            YES               S3VEM
   Barium             Target            10.0                U           ug/L         10.0          U              1            YES               S3VEM
  Beryllium           Target             1.0                U           ug/L          1.0          U              1            YES               S3VEM
  Cadmium             Target             1.0                U           ug/L          1.0          U              1            YES               S3VEM
   Calcium            Target            500                 U           ug/L         500           U              1            YES               S3VEM
 Chromium             Target             2.0                U           ug/L        -0.31          J              1            YES               S3VEM
    Cobalt            Target             1.0                U           ug/L          1.0          U              1            YES               S3VEM
   Copper             Target             2.0                U           ug/L          2.0          U              1            YES               S3VEM
     Iron             Target            200                 U           ug/L         -10           J              1            YES               S3VEM
     Lead             Target             1.0                U           ug/L          1.0          U              1            YES               S3VEM
 Magnesium            Target            500                 U           ug/L         500           U              1            YES               S3VEM
 Manganese            Target             1.0                U           ug/L          1.0          U              1            YES               S3VEM
    Nickel            Target             1.0                U           ug/L        0.061          J              1            YES               S3VEM
 Potassium            Target            500                 U           ug/L         500           U              1            YES               S3VEM
  Selenium            Target             5.0                U           ug/L        -0.83          J              1            YES               S3VEM
    Silver            Target             1.0                U           ug/L          1.0          U              1            YES               S3VEM
   Sodium             Target            500                 U           ug/L         38.0          J              1            YES               S3VEM
  Thallium            Target             1.0                U           ug/L        0.095          J              1            YES               S3VEM
 Vanadium             Target             5.0                U           ug/L         -2.1          J              1            YES               S3VEM
     Zinc             Target             2.0                U           ug/L          2.0          U              1            YES               S3VEM




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Project Name: DAMILLE METAL SERVICE SITE      GroupID: 48197/EPW14029/MYAMH9   Lab Name: Bonner Analytical Testing Co.
    INVESTIGATION STAGE 1 SAMPLING




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Central Metal - Site Inspection – Interim Sampling Report                       May 2020




                        Attachment C:
               Stage 2 VOC Laboratory Reports




CAN000903324
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Memorandum
 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:              for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9

                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106227

 Date:           July 29, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        YANT0
                 Laboratory:                     Chemtech Consulting Group (CHM)
                 Analysis:                       CLP Low Volatiles
                 Samples:                        20 Soil Samples
                 Collection Date:                June 17 and 18, 2019
                 Reviewer:                       Estrellita Manuel, ESAT

EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.

If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Richard Freitas, CLP PO USEPA Region 9
       Kim Brandon-Bazile, CLP PO USEPA Region 2
CLP PO: [X] FYI [ ] Action

SAMPLING ISSUES: [ ] Yes [X] No




10106227-21719/48315/YANT0-LV Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                      Data Validation Report - Tier 3
Case No.: 48315
SDG No.: YANT0
Site:       Damille Metal Service
Laboratory: Chemtech Consulting Group (CHM)
Analysis:   CLP Low Volatiles
Reviewer: Estrellita Manuel, ESAT
Date:       July 29, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Organic Analytic Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in pages 6 and 7 of the National Functional Guidelines, are attached to
this report.
Field QC
                       Field Blanks (FB):     None.
                  Equipment Blanks (EB):      None.
                        Trip Blanks (TB):     None.
                Background Samples (BG):      None.
                         Field Duplicates:    YANY6 and YANY2 (in SDG YANX1).
                                              YANY7 and YANZ0 (in SDG YANZ0).
CLP PO Action
        None.
Sampling Issues
        None.

Additional Comments
        The COCs indicate that samples YANT0, YANT2 through YANT4, YANT9, YANW0 through
        YANW9, and YANX0 were collected on June 17, 2019 and shipped on June 19, 2019. The
        reviewer presumed that the samples were stored properly from the time of collection to the time
        of shipping.
        Some peaks in samples YANW1, YANY7, and YANZ2 (tentatively identified compounds) were
        not reported. The laboratory provided revised data (Form 1B-OR and mass spectra) upon request
        on July 22, 2019. The updated electronic data deliverable (EDD) was uploaded to SMO portal on
        July 23, 2019.

        All standards and spiking solutions were analyzed before the expiration date.
        In addition to laboratory and field artifacts (retention times of 10.0, 10.6, 11.1, and 13.7 minutes),
        tentatively identified compounds (TICs) were found in samples YANT0, YANT4, YANW1,
        YANY7, and YANZ2 (see attached Form 1Bs).

        The laboratory performed manual peak integration for some calibration and sample
        chromatograms. Manual integrations were reviewed and found to be in compliance with CLP
        Statement of Work (SOW) requirements.
        This report was prepared in accordance with the following documents:

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        •    USEPA Contract Laboratory Program Statement of Work for Organics Superfund Methods,
             Multi-Media, Multi-Concentration, SOM02.4, October 2016 and
        •    USEPA National Functional Guidelines for Superfund Organic Methods Data Review,
             January 2017.
        For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
        Program Statement of Work for Organics Superfund Methods, Multi-Media, Multi-
        Concentration, SOM02.4.

II.     VALIDATION SUMMARY

        The data were evaluated based on the following parameters:
             Parameter                                                             Acceptable     Comment
        1.   Data Completeness                                                        Yes
        2.   Preservation and Holding Times                                           Yes
        3.   GC/MS Instrument Performance Check                                       Yes
        4.   Initial Calibration                                                      Yes
        5.   Continuing Calibration Verification (CCV)                                Yes
        6.   Laboratory Blanks                                                        Yes             B
        7.   Field/Equipment/Trip Blanks                                             N/A
        8.   Deuterated Monitoring Compound (DMC)                                     No              C
        9.   Matrix Spike/Matrix Spike Duplicate (MS/MSD)                             Yes
       10.   Internal Standard                                                        No              D
       11.   Analyte Identification                                                   Yes
       12.   Analyte Quantitation and Reported CRQL                                   Yes             A
       13.   Field Duplicate Sample Analysis                                          Yes
       14.   System Performance                                                       Yes
       15.   Overall Assessment of Data                                               Yes
              N/A = Not Applicable.

III.    VALIDITY AND COMMENTS

        A.    Results above the method detection limit (MDL) but below the contract required
              quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
              qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
              precision near the quantitation limit.
        B.    The following results are qualified as nondetected due to method blank and storage blank
              contamination and are flagged “U.”
             •   Acetone in samples YANT2 through YANT4, YANT9, YANW0, YANW1, YANW3
                 through YANW5, YANW7, YANW8, YANY9, and YANZ2.
              Acetone is present in method blanks VBLK28 and VBLK29 at 9.7 µg/kg and 7.9 µg/kg,
              respectively, and in storage blank VHBLK01 at 7.7 µg/kg. Results for acetone that are less
              than or equal to the CRQL are qualified as non-detected at the CRQL. Acetone results
              above two times the associated blank concentration are not qualified.
        C.    Results for the following analytes are qualified as estimated due to DMC recoveries outside
              QC limits and are flagged “J+.”
              {2-Butanone-d5}
              • Acetone and 2-butanone in sample YANT0.
              • Acetone in laboratory QC sample YANZ2MSD.


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            The DMC recoveries for the qualifications listed above are shown below.
                  Sample                   DMC                    % Recovery      QC Limit
                  YANT0                2-Butanone-d5                 151           20-135
                YANZ2MSD               2-Butanone-d5                 137           20-135

            For DMC recoveries that exceed QC limits, only detected results for associated analytes are
            qualified; qualified results may be biased high. The samples listed above were not re-
            analyzed.
            Recoveries for DMCs 2-hexanone-d5 (150%) and 1,1,2,2-tetrachloroethane-d2 (127%)
            exceed QC limits in sample YANT0, indicating potential high bias in detected results;
            qualification is not necessary because the associated target analytes are not detected.
       D.   Results for the following analytes are qualified as estimated due to low internal standard
            (IS) areas and are flagged “J+” or “UJ.”
            •    Bromoform, 1,3-dichlorobenzene, 1,4-dichlorobenzene, 1,2-dichlorobenzene, 1,2-
                 dibromo-3-chloropropane, 1,2,4-trichlorobenzene, and 1,2,3-trichlorobenzene in sample
                 YANT4.
            •    All analytes in laboratory QC sample YANZ2MSD.
            The IS areas outside QC limits are shown below.
                  Sample               Internal Standard              Area         QC Limit
                  YANT4            1,4-Dichlorobenzene-d4            77,050     78,008-312,032
                YANZ2MSD             1,4-Difluorobenzene            128,838     169,697-678,786
                YANZ2MSD              Chlorobenzene-d5              126,673     157,807-631,228
                YANZ2MSD           1,4-Dichlorobenzene-d4            60,624     78,008-312,032
            Detected results for the affected analytes may be biased high. Where qualified results are
            nondetected, false negatives may exist. Sample YANT4 was re-analyzed and the areas for all
            three ISs for the re-analysis were outside the QC limits. The reviewer reported results from
            the original analysis of sample YANT4 in the EXES Data Manager.




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              DATA QUALIFIER DEFINITIONS FOR ORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Superfund Organic Methods Data Review,” January 2017 (Table 1, pages 6 and 7).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation Limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
NJ      The analyte has been "tentatively identified" or “presumptively” as present and the associated
        numerical value is the estimated concentration in the sample.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting QC
        criteria. The analyte may or may not be present in the sample.
C       The target Pesticide or Aroclor analyte identification has been confirmed by Gas
        Chromatograph/Mass Spectrometer (GC/MS).
X       The target Pesticide or Aroclor analyte identification was not confirmed when GC/MS analysis
        was performed.




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                                                   Doc      Summary
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING


Sample Number: VBLK25               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                 Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK26               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                 Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK27               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                 Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK28               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            9.7               J          ug/kg          9.7      J          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                 Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK29               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            7.9               J          ug/kg          7.9      J          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                 Desc
                                                   Main Document   Page 719 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VHBLK01              Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
          Chloromethane          Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
           Vinyl chloride        Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
          Bromomethane           Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
            Chloroethane         Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          4.9                U          ug/kg          4.9      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            7.7               J          ug/kg          7.7     JB          1.0             YES          S3VEM
          Carbon disulfide      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
          Methyl Acetate        Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
        Methylene chloride      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
        1,1-Dichloroethane      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
             2-Butanone         Target            9.9               U          ug/kg          9.9     U           1.0             YES          S3VEM
       Bromochloromethane       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
             Chloroform         Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
            Cyclohexane         Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       Carbon tetrachloride     Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
               Benzene          Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
        1,2-Dichloroethane      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
          Trichloroethene       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
        Methylcyclohexane       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       1,2-Dichloropropane      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
     Bromodichloromethane       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            9.9               U          ug/kg          9.9     U           1.0             YES          S3VEM
               Toluene          Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
         Tetrachloroethene      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
             2-Hexanone         Target            9.9               U          ug/kg          9.9     U           1.0             YES          S3VEM
     Dibromochloromethane       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
        1,2-Dibromoethane       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
           Chlorobenzene        Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
            Ethylbenzene        Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
               o-xylene         Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
             m,p-Xylene         Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
                Styrene         Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
             Bromoform          Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
         Isopropylbenzene       Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            4.9               U          ug/kg          4.9     U           1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                  N           1.0             YES          S3VEM




                                                                             Page 6                                               Thu, 25 Jul 2019 14:18:29
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 720 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT0                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                      Sample Date: 06/17/2019                Sample Time: 10:10:00

% Moisture:                                                                  % Solids: 92.4



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
          Chloromethane          Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
          Bromomethane           Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
            Chloroethane         Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.4                U          ug/kg         5.4        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            93               J+          ug/kg          93                   1.0            YES          S3VEM
          Carbon disulfide      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
             2-Butanone         Target            21               J+          ug/kg          21                   1.0            YES          S3VEM
       Bromochloromethane       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
             Chloroform         Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
               Benzene          Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
               o-xylene         Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
                Styrene         Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
             Bromoform          Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.4               U          ug/kg          5.4       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              5.0              JN          ug/kg          5.0      JN          1.0            NO           S3VEM




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               Case 2:20-bk-17433-VZ             Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                         Desc
                                               Main Document   Page 721 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0              Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation     Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                 Result   Flag      Factor                        Level
       Total Alkanes         TIC                                 N         ug/kg              N         1.0          YES           S3VEM
   Benzene, 1,3-bis(1,1-     TIC              3.4               JN         ug/kg    3.4      JN         1.0          YES           S3VEM
       dimethylethyl
   .alpha.-Methylstyrene     TIC              2.8               JN         ug/kg    2.8     JN          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 722 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT2                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                      Sample Date: 06/17/2019                Sample Time: 10:25:00

% Moisture:                                                                  % Solids: 86.8



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
          Chloromethane          Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
          Bromomethane           Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
            Chloroethane         Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          8.0                U          ug/kg         8.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            16                U          ug/kg          14       JB          1.0            YES          S3VEM
          Carbon disulfide      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
          Methyl Acetate        Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
        Methylene chloride      Target            7.3               J          ug/kg          7.3       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
        1,1-Dichloroethane      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
             2-Butanone         Target            16                U          ug/kg          16       U           1.0            YES          S3VEM
       Bromochloromethane       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
             Chloroform         Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
            Cyclohexane         Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       Carbon tetrachloride     Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
               Benzene          Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
        1,2-Dichloroethane      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
          Trichloroethene       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
        Methylcyclohexane       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       1,2-Dichloropropane      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
     Bromodichloromethane       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            16                U          ug/kg          16       U           1.0            YES          S3VEM
               Toluene          Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
         Tetrachloroethene      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
             2-Hexanone         Target            16                U          ug/kg          16       U           1.0            YES          S3VEM
     Dibromochloromethane       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
        1,2-Dibromoethane       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
           Chlorobenzene        Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
            Ethylbenzene        Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
               o-xylene         Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
             m,p-Xylene         Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
                Styrene         Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
             Bromoform          Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
         Isopropylbenzene       Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            8.0               U          ug/kg          8.0      U           1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N           1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT3                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                       Sample Date: 06/17/2019                Sample Time: 10:30:00

% Moisture:                                                                   % Solids: 92.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
          Chloromethane          Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
          Bromomethane           Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
            Chloroethane         Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U           ug/kg          7.7       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             Chloroform         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
               Benzene          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
               o-xylene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
                Styrene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             Bromoform          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              4.4               JN          ug/kg    4.4      JN         1.0           NO           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT4                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                       Sample Date: 06/17/2019                Sample Time: 10:40:00

% Moisture:                                                                   % Solids: 81.6



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
          Chloromethane          Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
          Bromomethane           Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
            Chloroethane         Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11               U            ug/kg          7.8       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.4               J           ug/kg          5.4       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
             2-Butanone         Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
             Chloroform         Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
               Benzene          Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
             2-Hexanone         Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
               o-xylene         Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
                Styrene         Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
             Bromoform          Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.6              U            ug/kg          5.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N            ug/kg                    N          1.0            YES          S3VEM




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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              5.9               JN          ug/kg    5.9      JN         1.0           NO           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT9                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 12:24:00

% Moisture:                                                                   % Solids: 88.4



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
          Chloromethane          Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
          Bromomethane           Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
            Chloroethane         Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.9                U           ug/kg         6.9        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            14                U           ug/kg          6.3       J          1.0            YES          S3VEM
          Carbon disulfide      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
             2-Butanone         Target            14                U           ug/kg          14        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
             Chloroform         Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
               Benzene          Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            14                U           ug/kg          14        U          1.0            YES          S3VEM
               Toluene          Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
             2-Hexanone         Target            14                U           ug/kg          14        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
               o-xylene         Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
                Styrene         Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
             Bromoform          Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.9               U           ug/kg          6.9       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW0                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 12:58:00

% Moisture:                                                                   % Solids: 85.4



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
          Chloromethane          Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
          Bromomethane           Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
            Chloroethane         Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          7.5                U           ug/kg         7.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            15                U           ug/kg          5.1       J          1.0            YES          S3VEM
          Carbon disulfide      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
             2-Butanone         Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
       Bromochloromethane       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
             Chloroform         Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
               Benzene          Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
          Trichloroethene       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
               Toluene          Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
           Chlorobenzene        Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
            Ethylbenzene        Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
               o-xylene         Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
                Styrene         Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
             Bromoform          Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            7.5               U           ug/kg          7.5       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              9.0              JN           ug/kg          9.0      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW1                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 13:06:00

% Moisture:                                                                   % Solids: 95.5



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
          Chloromethane          Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
          Bromomethane           Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
            Chloroethane         Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U           ug/kg          9.0       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             Chloroform         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
               Benzene          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
               o-xylene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
                Styrene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             Bromoform          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            unknown-02           TIC              14                J           ug/kg          14        J          1.0            YES          S3VEM




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    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
       unknown-01            TIC              3.2                J          ug/kg    3.2       J         1.0          YES           S3VEM
    1-Hexanol, 2-ethyl-      TIC              5.0               JN          ug/kg    5.0      JN         1.0          NO            S3VEM
      Total Alkanes          TIC                                 N          ug/kg              N         1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW2                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 13:19:00

% Moisture:                                                                   % Solids: 77.8



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
          Chloromethane          Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
          Bromomethane           Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
            Chloroethane         Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
          Carbon disulfide      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             Chloroform         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
               Benzene          Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
               o-xylene         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
                Styrene         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             Bromoform          Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC               11               JN          ug/kg     11      JN         1.0           NO           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW3                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                       Sample Date: 06/17/2019                Sample Time: 15:08:00

% Moisture:                                                                   % Solids: 94.7



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
          Chloromethane          Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
           Vinyl chloride        Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
          Bromomethane           Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
            Chloroethane         Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            15                U           ug/kg          8.2       J          1.0            YES          S3VEM
          Carbon disulfide      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
          Methyl Acetate        Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.3               J           ug/kg          6.3       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             2-Butanone         Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
       Bromochloromethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             Chloroform         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
            Cyclohexane         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
               Benzene          Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
          Trichloroethene       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
               Toluene          Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             2-Hexanone         Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
           Chlorobenzene        Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
            Ethylbenzene        Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
               o-xylene         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             m,p-Xylene         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
                Styrene         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             Bromoform          Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 735 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW4                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                       Sample Date: 06/17/2019                Sample Time: 15:36:00

% Moisture:                                                                   % Solids: 86.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
          Chloromethane          Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
           Vinyl chloride        Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
          Bromomethane           Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
            Chloroethane         Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          7.3                U           ug/kg         7.3        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            15                U           ug/kg          8.3       J          1.0            YES          S3VEM
          Carbon disulfide      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
          Methyl Acetate        Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.6               J           ug/kg          6.6       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             2-Butanone         Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
       Bromochloromethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             Chloroform         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
            Cyclohexane         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
               Benzene          Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
          Trichloroethene       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
               Toluene          Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             2-Hexanone         Target            15                U           ug/kg          15        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
           Chlorobenzene        Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
            Ethylbenzene        Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
               o-xylene         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             m,p-Xylene         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
                Styrene         Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
             Bromoform          Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            7.3               U           ug/kg          7.3       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 736 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW5                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                       Sample Date: 06/17/2019                Sample Time: 15:43:00

% Moisture:                                                                   % Solids: 96.1



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
          Chloromethane          Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
          Bromomethane           Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
            Chloroethane         Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            13                U           ug/kg          6.3       J          1.0            YES          S3VEM
          Carbon disulfide      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             Chloroform         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
               Benzene          Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
               o-xylene         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
                Styrene         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             Bromoform          Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              8.3              JN           ug/kg          8.3      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 737 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 738 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW6                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                       Sample Date: 06/17/2019                Sample Time: 16:02:00

% Moisture:                                                                   % Solids: 96.4



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
          Chloromethane          Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
          Bromomethane           Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
            Chloroethane         Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.4                U           ug/kg         6.4        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
          Carbon disulfide      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             Chloroform         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
               Benzene          Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
               o-xylene         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
                Styrene         Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
             Bromoform          Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.4               U           ug/kg          6.4       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
                                               Doc      Summary
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              8.1               JN          ug/kg    8.1      JN         1.0           NO           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW7                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                       Sample Date: 06/17/2019                Sample Time: 16:35:00

% Moisture:                                                                   % Solids: 91.5



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
          Chloromethane          Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
          Bromomethane           Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
            Chloroethane         Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            13                U           ug/kg          9.0       J          1.0            YES          S3VEM
          Carbon disulfide      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             Chloroform         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
               Benzene          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
               o-xylene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
                Styrene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             Bromoform          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              4.1              JN           ug/kg          4.1      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW8                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                       Sample Date: 06/17/2019                Sample Time: 16:40:00

% Moisture:                                                                   % Solids: 87.5



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
          Chloromethane          Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
          Bromomethane           Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
            Chloroethane         Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U           ug/kg          7.9       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             Chloroform         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
               Benzene          Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
               o-xylene         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
                Styrene         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             Bromoform          Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              4.8              JN           ug/kg          4.8      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANW9                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                       Sample Date: 06/17/2019                Sample Time: 17:00:00

% Moisture:                                                                   % Solids: 95.9



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
          Chloromethane          Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
          Bromomethane           Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
            Chloroethane         Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.2                U           ug/kg         5.2        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U           ug/kg          3.2       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
             2-Butanone         Target            10                U           ug/kg          10        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
             Chloroform         Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
               Benzene          Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U           ug/kg          10        U          1.0            YES          S3VEM
               Toluene          Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
             2-Hexanone         Target            10                U           ug/kg          10        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
               o-xylene         Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
                Styrene         Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
             Bromoform          Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.2               U           ug/kg          5.2       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              4.1              JN           ug/kg          4.1      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX0                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                       Sample Date: 06/17/2019                Sample Time: 17:06:00

% Moisture:                                                                   % Solids: 96.2



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
          Chloromethane          Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
          Bromomethane           Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
            Chloroethane         Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
          Carbon disulfide      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             Chloroform         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
               Benzene          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
               o-xylene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
                Styrene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             Bromoform          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              3.9              JN           ug/kg          3.9      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 747 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 748 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY6                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:58:00

% Moisture:                                                                   % Solids: 96.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
          Chloromethane          Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
           Vinyl chloride        Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
          Bromomethane           Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
            Chloroethane         Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          7.8                U           ug/kg         7.8        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            16                U           ug/kg          16        U          1.0            YES          S3VEM
          Carbon disulfide      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
          Methyl Acetate        Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
        Methylene chloride      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
             2-Butanone         Target            16                U           ug/kg          16        U          1.0            YES          S3VEM
       Bromochloromethane       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
             Chloroform         Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
            Cyclohexane         Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
               Benzene          Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
          Trichloroethene       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            16                U           ug/kg          16        U          1.0            YES          S3VEM
               Toluene          Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
             2-Hexanone         Target            16                U           ug/kg          16        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
           Chlorobenzene        Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
            Ethylbenzene        Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
               o-xylene         Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
             m,p-Xylene         Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
                Styrene         Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
             Bromoform          Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            7.8               U           ug/kg          7.8       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 749 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY7                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:40:00

% Moisture:                                                                   % Solids: 95.1



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
          Chloromethane          Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
          Bromomethane           Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
            Chloroethane         Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.3                U           ug/kg         5.3        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U           ug/kg          7.1       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
             Chloroform         Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
               Benzene          Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
               o-xylene         Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
                Styrene         Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
             Bromoform          Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.3               U           ug/kg          5.3       U          1.0            YES          S3VEM
            unknown-01           TIC              7.8               J           ug/kg          7.8       J          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 750 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
       unknown-02            TIC              9.9                J          ug/kg    9.9       J         1.0          YES           S3VEM
    1-Hexanol, 2-ethyl-      TIC              6.3               JN          ug/kg    6.3      JN         1.0          NO            S3VEM
      Total Alkanes          TIC                                 N          ug/kg              N         1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 751 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY9                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 15:04:00

% Moisture:                                                                   % Solids: 86.0



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
          Chloromethane          Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
          Bromomethane           Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
            Chloroethane         Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          7.0                U           ug/kg         7.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            14                U           ug/kg          7.3       J          1.0            YES          S3VEM
          Carbon disulfide      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
          Methyl Acetate        Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
        Methylene chloride      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
             2-Butanone         Target            14                U           ug/kg          14        U          1.0            YES          S3VEM
       Bromochloromethane       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
             Chloroform         Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
            Cyclohexane         Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
               Benzene          Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
          Trichloroethene       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            14                U           ug/kg          14        U          1.0            YES          S3VEM
               Toluene          Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
             2-Hexanone         Target            14                U           ug/kg          14        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
           Chlorobenzene        Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
            Ethylbenzene        Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
               o-xylene         Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
             m,p-Xylene         Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
                Styrene         Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
             Bromoform          Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            7.0               U           ug/kg          7.0       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              6.1              JN           ug/kg          6.1      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 752 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 753 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ2                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                       Sample Date: 06/18/2019                Sample Time: 15:45:00

% Moisture:                                                                   % Solids: 95.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
          Chloromethane          Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
          Bromomethane           Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
            Chloroethane         Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U           ug/kg         5.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U           ug/kg          9.7       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
             2-Butanone         Target            10                U           ug/kg          10        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
             Chloroform         Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
               Benzene          Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U           ug/kg          10        U          1.0            YES          S3VEM
               Toluene          Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
             2-Hexanone         Target            10                U           ug/kg          10        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
               o-xylene         Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
                Styrene         Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
             Bromoform          Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U           ug/kg          5.0       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ            Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANT0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


       Analyte Name              Analyte   Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                                  Type      Result            Flag                  Result   Flag      Factor                        Level
Heptanoic acid, 7,7-dimethoxy-    TIC         3.9               JN          ug/kg    3.9      JN         1.0          YES           S3VEM
        unknown-02                TIC          30                J          ug/kg     30       J         1.0          YES           S3VEM
     1-Hexanol, 2-ethyl-          TIC         6.7               JN          ug/kg    6.7      JN         1.0          NO            S3VEM
        unknown-01                TIC         3.2                J          ug/kg    3.2       J         1.0          YES           S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ2MS              Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location:                    pH:                                       Sample Date: 06/18/2019                Sample Time: 15:45:00

% Moisture:                                                                   % Solids: 95.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
          Chloromethane          Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
          Bromomethane           Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
            Chloroethane         Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike            47                            ug/kg          47                   1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.9                U           ug/kg         5.9        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            14                            ug/kg          14                   1.0            YES          S3VEM
          Carbon disulfide      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             Chloroform         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
               Benzene          Spike             54                            ug/kg          54                   1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
          Trichloroethene       Spike             53                            ug/kg          53                   1.0            YES          S3VEM
        Methylcyclohexane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Spike             54                            ug/kg          54                   1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
           Chlorobenzene        Spike             54                            ug/kg          54                   1.0            YES          S3VEM
            Ethylbenzene        Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
               o-xylene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
                Styrene         Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
             Bromoform          Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.9               U           ug/kg          5.9       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 756 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANT0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ2MSD             Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location:                    pH:                                       Sample Date: 06/18/2019                Sample Time: 15:45:00

% Moisture:                                                                   % Solids: 95.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
          Chloromethane          Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
          Bromomethane           Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
            Chloroethane         Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike            46                J+          ug/kg          46                   1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.6                UJ          ug/kg         5.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            20               J+           ug/kg          20                   1.0            YES          S3VEM
          Carbon disulfide      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
             2-Butanone         Target            11               UJ           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
             Chloroform         Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
               Benzene          Spike             55               J+           ug/kg          55                   1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
          Trichloroethene       Spike             52               J+           ug/kg          52                   1.0            YES          S3VEM
        Methylcyclohexane       Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11               UJ           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Spike             54               J+           ug/kg          54                   1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
             2-Hexanone         Target            11               UJ           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
           Chlorobenzene        Spike             58               J+           ug/kg          58                   1.0            YES          S3VEM
            Ethylbenzene        Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
               o-xylene         Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
                Styrene         Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
             Bromoform          Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.6              UJ           ug/kg          5.6       U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N            ug/kg                    N          1.0            YES          S3VEM




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Project Name: DAMILLE METAL SERVICE SITE       GroupID: 48315/EPW14030/YANT0   Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING




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Memorandum
 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:              for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9

                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106227

 Date:           July 29, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        YANX1
                 Laboratory:                     Chemtech Consulting Group (CHM)
                 Analysis:                       CLP Low Volatiles
                 Samples:                        20 Soil Samples
                 Collection Date:                June 17 and 18, 2019
                 Reviewer:                       Santiago Lee, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment

cc:    Richard Freitas, CLP PO USEPA Region 9
       Kim Brandon-Bazile, CLP PO USEPA Region 2

CLP PO: [X] FYI [ ] Action
SAMPLING ISSUES: [ ] Yes [X] No




10106227-21703/48315/YANX1-LV Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                      Data Validation Report - Tier 3
Case No.: 48315
SDG No.: YANX1
Site:       Damille Metal Service
Laboratory: Chemtech Consulting Group (CHM)
Analysis:   CLP Low Volatiles
Reviewer: Santiago Lee, ESAT
Date:       July 29, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Organic Analytic Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in pages 6 and 7 of the National Functional Guidelines, are attached to
this report.
Field QC
                       Field Blanks (FB):     None.
                  Equipment Blanks (EB):      None.
                        Trip Blanks (TB):     None.
                Background Samples (BG):      None.
                         Field Duplicates:    YANX6/YANX9.
                                              YANY1/YANY5.
                                              YANY2/YANY6 (in SDG YANT0).
CLP PO Action
        None.

Sampling Issues
        None.
Additional Comments

        The COCs indicate that samples YANT5 through YANT8 were collected on June 17, 2019 and
        shipped on June 19, 2019. The reviewer presumed that the samples were stored properly from the
        time of collection to the time of shipping.
        For sample YANY3, recoveries for deuterated monitoring compounds (DMCs) 2-butanone-d5
        (147%) and 2-hexanone-d5 (143%) exceeded the QC limit of 20-135%. The associated target
        analytes are nondetected in the sample and are not qualified, in accordance with the National
        Functional Guidelines.

        All standards and spiking solutions were analyzed before the expiration date.
        Other than laboratory and field artifacts (retention times of 10.0, 11.1, and 13.7 minutes),
        tentatively identified compounds (TICs) were not found in the samples.
        The laboratory performed manual peak integration for some calibration chromatograms. Manual
        integrations were reviewed and found to be in compliance with CLP Statement of Work (SOW)
        requirements.
        This report was prepared in accordance with the following documents:


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        •    USEPA Contract Laboratory Program Statement of Work for Organics Superfund Methods,
             Multi-Media, Multi-Concentration, SOM02.4, October 2016 and
        •    USEPA National Functional Guidelines for Superfund Organic Methods Data Review,
             January 2017.
        For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
        Program Statement of Work for Organics Superfund Methods, Multi-Media, Multi-
        Concentration, SOM02.4.

II.     VALIDATION SUMMARY

        The data were evaluated based on the following parameters:
             Parameter                                                             Acceptable     Comment
        1.   Data Completeness                                                        Yes
        2.   Preservation and Holding Times                                           Yes
        3.   GC/MS Instrument Performance Check                                       Yes
        4.   Initial Calibration                                                      No              B
        5.   Continuing Calibration Verification (CCV)                                Yes
        6.   Laboratory Blanks                                                        Yes             C
        7.   Field/Equipment/Trip Blanks                                             N/A
        8.   Deuterated Monitoring Compound (DMC)                                     Yes
        9.   Matrix Spike/Matrix Spike Duplicate (MS/MSD)                             Yes
       10.   Internal Standard                                                        No              D
       11.   Analyte Identification                                                   Yes
       12.   Analyte Quantitation and Reported CRQL                                   Yes             A
       13.   Field Duplicate Sample Analysis                                          No              E
       14.   System Performance                                                       Yes
       15.   Overall Assessment of Data                                               Yes
              N/A = Not Applicable.

III.    VALIDITY AND COMMENTS

        A.    Results above the method detection limit (MDL) but below the contract required
              quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
              qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
              precision near the quantitation limit.
        B.    Results for the following analyte are qualified as estimated due to a large percent relative
              standard deviation (%RSD) in the initial calibration and are flagged “UJ.”
              •   Carbon disulfide in samples YANX1, YANX2, and YANX3 and method blank
                  VBLK23.
              The %RSD of 20.9% reported for carbon disulfide in the June 21, 2019 initial calibration
              exceeds the 20.0% validation criterion. In addition, the relative response factor (RRF) of
              0.607 for the 2.5 µg/L CRQL standard is below the average RRF of 0.874, indicating low
              sensitivity and increased uncertainty at the CRQL.
        C.    The following results are qualified as nondetected due to method blank and storage blank
              contamination and are flagged “U.”
             •    Acetone in samples YANT5 through YANT8, YANX2, YANX3, YANX5, YANX7
                  through YANX9, and YANY1 through YANY5.



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            Acetone is present in method blanks VBLK28 and VBLK29 at 9.7 µg/kg and 7.9 µg/kg,
            respectively, and in storage blank VHBLK01 at 5.4 µg/kg. Results for acetone that are less
            than or equal to the CRQL are qualified as non-detected at the CRQL. Acetone results
            above two times the associated blank concentration are not qualified.
       D.   Results for the following analytes are qualified as estimated due to low internal standard
            (IS) areas and are flagged “J+” or “UJ.”
            •   All analytes in sample YANX6.
            The IS areas outside QC limits are shown below.

                 Sample                Internal Standard                Area          QC Limit
                 YANX6               1,4-Difluorobenzene              143,449      201,080-804,320
                 YANX6                Chlorobenzene-d5                166,043      182,409-729,634
                 YANX6             1,4-Dichlorobenzene-d4              69,435      90,992-363,968
                YANX6RE              1,4-Difluorobenzene              132,438      178,781-715,124
                YANX6RE               Chlorobenzene-d5                119,676      158,559-634,234
                YANX6RE            1,4-Dichlorobenzene-d4              50,666      77,145-308,580
            Detected results for the affected analytes may be biased high. Where qualified results are
            nondetected, false negatives may exist. Sample YANX6 was re-analyzed and the re-analysis
            results are similar. Results from the re-analysis are reported in the EXES Data Manager
            because the DMC recoveries are within QC limit (five DMC recoveries are outside QC limit
            for original analysis).
            Data users should note that results for the original analysis and the re-analysis are not
            consistent, as shown below. There are no additional Encore samplers left for further
            analysis.
                                                    YANX6                   YANX6RE
                         Analyte             Concentration, μg/kg Concentration, μg/kg
                        Acetone                        75                        35
                    Methyl Acetate                     9.2                  Non-detect
                  Methylene Chloride               Non-detect                    14
                        Toluene                        6.5                  Non-detect

            This uncertainty should be evaluated in the context of project data quality objectives to
            determine data usability.
       E.   In the analysis of the field duplicate pairs, the following outliers (relative percent difference
            greater than 25%) are reported.
                                                 YANX6                        YANX9
                     Analyte               Concentration, μg/kg         Concentration, μg/kg RPD
                     Acetone                        35                       Non-detect            ---
               Methylene Chloride                   14                            5.7              84

            This uncertainty should be evaluated in the context of project data quality objectives to
            determine data usability.




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              DATA QUALIFIER DEFINITIONS FOR ORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Superfund Organic Methods Data Review,” January 2017 (Table 1, pages 6 and 7).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation Limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
NJ      The analyte has been "tentatively identified" or “presumptively” as present and the associated
        numerical value is the estimated concentration in the sample.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting QC
        criteria. The analyte may or may not be present in the sample.
C       The target Pesticide or Aroclor analyte identification has been confirmed by Gas
        Chromatograph/Mass Spectrometer (GC/MS).
X       The target Pesticide or Aroclor analyte identification was not confirmed when GC/MS analysis
        was performed.




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING


Sample Number: VBLK23               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            10               U           ug/kg          10       U          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0              UJ          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10               U           ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10               U           ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10               U           ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0              U           ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                               N           ug/kg                   N          1.0             YES          S3VEM




                                                                             Page 1                                               Mon, 22 Jul 2019 18:05:03
                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK25               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 765 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK26               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 766 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK28               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            9.7               J          ug/kg          9.7      J          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 767 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK29               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            7.9               J          ug/kg          7.9      J          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 768 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VHBLK01              Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            5.4               J          ug/kg          5.4     JB          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10      U           1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10      U           1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10      U           1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                  N           1.0             YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 769 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT5                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                      Sample Date: 06/17/2019                Sample Time: 11:25:00

% Moisture:                                                                  % Solids: 88.8



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
          Chloromethane          Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
          Bromomethane           Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
            Chloroethane         Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.7                U          ug/kg         5.7        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U          ug/kg          9.5       J          1.0            YES          S3VEM
          Carbon disulfide      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
             Chloroform         Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
               Benzene          Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
               o-xylene         Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
                Styrene         Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
             Bromoform          Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.7               U          ug/kg          5.7       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                    N          1.0            YES          S3VEM




                                                                             Page 7                                               Mon, 22 Jul 2019 18:05:03
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 770 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT6                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                      Sample Date: 06/17/2019                Sample Time: 11:42:00

% Moisture:                                                                  % Solids: 92.8



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
          Chloromethane          Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
           Vinyl chloride        Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
          Bromomethane           Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
            Chloroethane         Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          7.8                U          ug/kg         7.8        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            16                U          ug/kg          5.8       J          1.0            YES          S3VEM
          Carbon disulfide      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
          Methyl Acetate        Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
        Methylene chloride      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
             2-Butanone         Target            16                U          ug/kg          16        U          1.0            YES          S3VEM
       Bromochloromethane       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
             Chloroform         Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
            Cyclohexane         Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
               Benzene          Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
          Trichloroethene       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            16                U          ug/kg          16        U          1.0            YES          S3VEM
               Toluene          Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
             2-Hexanone         Target            16                U          ug/kg          16        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
           Chlorobenzene        Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
            Ethylbenzene        Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
               o-xylene         Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
             m,p-Xylene         Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
                Styrene         Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
             Bromoform          Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            7.8               U          ug/kg          7.8       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                    N          1.0            YES          S3VEM




                                                                             Page 8                                               Mon, 22 Jul 2019 18:05:03
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 771 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT7                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                      Sample Date: 06/17/2019                Sample Time: 11:52:00

% Moisture:                                                                  % Solids: 95.2



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
          Chloromethane          Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
          Bromomethane           Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
            Chloroethane         Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.2                U          ug/kg         6.2        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U          ug/kg          6.4       J          1.0            YES          S3VEM
          Carbon disulfide      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U          ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
             Chloroform         Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
               Benzene          Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U          ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U          ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
               o-xylene         Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
                Styrene         Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
             Bromoform          Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.2               U          ug/kg          6.2       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANT8                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                       Sample Date: 06/17/2019                Sample Time: 12:02:00

% Moisture:                                                                   % Solids: 84.4



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
          Chloromethane          Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
          Bromomethane           Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
            Chloroethane         Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          9.0                U           ug/kg         9.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            18                U           ug/kg          8.1       J          1.0            YES          S3VEM
          Carbon disulfide      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
          Methyl Acetate        Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
        Methylene chloride      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
             2-Butanone         Target            18                U           ug/kg          18        U          1.0            YES          S3VEM
       Bromochloromethane       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
             Chloroform         Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
            Cyclohexane         Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
               Benzene          Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
          Trichloroethene       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            18                U           ug/kg          18        U          1.0            YES          S3VEM
               Toluene          Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
             2-Hexanone         Target            18                U           ug/kg          18        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
           Chlorobenzene        Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
            Ethylbenzene        Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
               o-xylene         Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
             m,p-Xylene         Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
                Styrene         Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
             Bromoform          Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            9.0               U           ug/kg          9.0       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                            Desc
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANX1                Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation        Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result             Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              7.5                JN          ug/kg    7.5      JN         1.0           NO           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX1                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                       Sample Date: 06/18/2019                Sample Time: 08:36:00

% Moisture:                                                                   % Solids: 77.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
          Chloromethane          Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
           Vinyl chloride        Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
          Bromomethane           Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
            Chloroethane         Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            30                            ug/kg          30                   1.0            YES          S3VEM
          Carbon disulfide      Target            11               UJ           ug/kg          11        U          1.0            YES          S3VEM
          Methyl Acetate        Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
        Methylene chloride      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
             2-Butanone         Target            22               U            ug/kg          22        U          1.0            YES          S3VEM
       Bromochloromethane       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
             Chloroform         Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
            Cyclohexane         Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
               Benzene          Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
          Trichloroethene       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
        Methylcyclohexane       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
     Bromodichloromethane       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            22               U            ug/kg          22        U          1.0            YES          S3VEM
               Toluene          Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
         Tetrachloroethene      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
             2-Hexanone         Target            22               U            ug/kg          22        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
           Chlorobenzene        Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
            Ethylbenzene        Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
               o-xylene         Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
             m,p-Xylene         Target            3.5               J           ug/kg          3.5       J          1.0            YES          S3VEM
                Styrene         Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
             Bromoform          Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
         Isopropylbenzene       Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            11               U            ug/kg          11        U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N            ug/kg                    N          1.0            YES          S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX2                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                       Sample Date: 06/18/2019                Sample Time: 08:51:00

% Moisture:                                                                   % Solids: 86.8



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
          Chloromethane          Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
           Vinyl chloride        Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
          Bromomethane           Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
            Chloroethane         Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          8.7                U           ug/kg         8.7        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            17               U            ug/kg          16        J          1.0            YES          S3VEM
          Carbon disulfide      Target            8.7              UJ           ug/kg          8.7       U          1.0            YES          S3VEM
          Methyl Acetate        Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
        Methylene chloride      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
             2-Butanone         Target            17               U            ug/kg          17        U          1.0            YES          S3VEM
       Bromochloromethane       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
             Chloroform         Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
            Cyclohexane         Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
               Benzene          Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
          Trichloroethene       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            17               U            ug/kg          17        U          1.0            YES          S3VEM
               Toluene          Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
             2-Hexanone         Target            17               U            ug/kg          17        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
           Chlorobenzene        Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
            Ethylbenzene        Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
               o-xylene         Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
             m,p-Xylene         Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
                Styrene         Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
             Bromoform          Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            8.7              U            ug/kg          8.7       U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N            ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX3                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                       Sample Date: 06/18/2019                Sample Time: 09:00:00

% Moisture:                                                                   % Solids: 86.6



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
          Chloromethane          Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
          Bromomethane           Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
            Chloroethane         Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          9.5                U           ug/kg         9.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            19               U            ug/kg          10        J          1.0            YES          S3VEM
          Carbon disulfide      Target            9.5              UJ           ug/kg          9.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
             2-Butanone         Target            19               U            ug/kg          19        U          1.0            YES          S3VEM
       Bromochloromethane       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
             Chloroform         Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
               Benzene          Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
          Trichloroethene       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            19               U            ug/kg          19        U          1.0            YES          S3VEM
               Toluene          Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            19               U            ug/kg          19        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
           Chlorobenzene        Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
            Ethylbenzene        Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
               o-xylene         Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
                Styrene         Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
             Bromoform          Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            9.5              U            ug/kg          9.5       U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N            ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX4                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                       Sample Date: 06/18/2019                Sample Time: 09:11:00

% Moisture:                                                                   % Solids: 92.9



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
          Chloromethane          Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
           Vinyl chloride        Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
          Bromomethane           Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
            Chloroethane         Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           14                U           ug/kg          14        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             28               U           ug/kg          28        U          1.0            YES          S3VEM
          Carbon disulfide      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
          Methyl Acetate        Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
        Methylene chloride      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
             2-Butanone         Target             28               U           ug/kg          28        U          1.0            YES          S3VEM
       Bromochloromethane       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
             Chloroform         Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
            Cyclohexane         Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       Carbon tetrachloride     Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
               Benzene          Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
          Trichloroethene       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
        Methylcyclohexane       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
     Bromodichloromethane       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             28               U           ug/kg          28        U          1.0            YES          S3VEM
               Toluene          Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
         Tetrachloroethene      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
             2-Hexanone         Target             28               U           ug/kg          28        U          1.0            YES          S3VEM
     Dibromochloromethane       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
           Chlorobenzene        Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
            Ethylbenzene        Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
               o-xylene         Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
             m,p-Xylene         Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
                Styrene         Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
             Bromoform          Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
         Isopropylbenzene       Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target             14               U           ug/kg          14        U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX5                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                       Sample Date: 06/18/2019                Sample Time: 09:46:00

% Moisture:                                                                   % Solids: 87.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
          Chloromethane          Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
           Vinyl chloride        Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
          Bromomethane           Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
            Chloroethane         Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           11                U           ug/kg          11        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            23                U           ug/kg          22        J          1.0            YES          S3VEM
          Carbon disulfide      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
          Methyl Acetate        Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
        Methylene chloride      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
             2-Butanone         Target            23                U           ug/kg          23        U          1.0            YES          S3VEM
       Bromochloromethane       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
             Chloroform         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
            Cyclohexane         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Benzene          Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
          Trichloroethene       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
        Methylcyclohexane       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Bromodichloromethane       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            23                U           ug/kg          23        U          1.0            YES          S3VEM
               Toluene          Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
         Tetrachloroethene      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
             2-Hexanone         Target            23                U           ug/kg          23        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
           Chlorobenzene        Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
            Ethylbenzene        Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               o-xylene         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
             m,p-Xylene         Target            2.8               J           ug/kg          2.8       J          1.0            YES          S3VEM
                Styrene         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
             Bromoform          Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
         Isopropylbenzene       Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX6                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                       Sample Date: 06/18/2019                Sample Time: 10:36:00

% Moisture:                                                                   % Solids: 76.8



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
          Chloromethane          Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
           Vinyl chloride        Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
          Bromomethane           Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
            Chloroethane         Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           16                UJ          ug/kg          16        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             35              J+           ug/kg          35                   1.0            YES          S3VEM
          Carbon disulfide      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
          Methyl Acetate        Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
        Methylene chloride      Target             14              J+           ug/kg          14        J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
             2-Butanone         Target             31              UJ           ug/kg          31        U          1.0            YES          S3VEM
       Bromochloromethane       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
             Chloroform         Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
            Cyclohexane         Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       Carbon tetrachloride     Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
               Benzene          Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
          Trichloroethene       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
        Methylcyclohexane       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
     Bromodichloromethane       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             31              UJ           ug/kg          31        U          1.0            YES          S3VEM
               Toluene          Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
         Tetrachloroethene      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
             2-Hexanone         Target             31              UJ           ug/kg          31        U          1.0            YES          S3VEM
     Dibromochloromethane       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
           Chlorobenzene        Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
            Ethylbenzene        Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
               o-xylene         Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
             m,p-Xylene         Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
                Styrene         Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
             Bromoform          Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
         Isopropylbenzene       Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target             16              UJ           ug/kg          16        U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N            ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX7                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                       Sample Date: 06/18/2019                Sample Time: 10:51:00

% Moisture:                                                                   % Solids: 93.8



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
          Chloromethane          Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
          Bromomethane           Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
            Chloroethane         Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          9.6                U           ug/kg         9.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            19                U           ug/kg          7.2       J          1.0            YES          S3VEM
          Carbon disulfide      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
          Methyl Acetate        Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
        Methylene chloride      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
             2-Butanone         Target            19                U           ug/kg          19        U          1.0            YES          S3VEM
       Bromochloromethane       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
             Chloroform         Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
            Cyclohexane         Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
               Benzene          Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
          Trichloroethene       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            19                U           ug/kg          19        U          1.0            YES          S3VEM
               Toluene          Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
             2-Hexanone         Target            19                U           ug/kg          19        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
           Chlorobenzene        Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
            Ethylbenzene        Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
               o-xylene         Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
                Styrene         Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
             Bromoform          Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            9.6               U           ug/kg          9.6       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 781 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX8                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                       Sample Date: 06/18/2019                Sample Time: 11:02:00

% Moisture:                                                                   % Solids: 86.9



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
          Chloromethane          Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
           Vinyl chloride        Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
          Bromomethane           Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
            Chloroethane         Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           13                U           ug/kg          13        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             25               U           ug/kg          12        J          1.0            YES          S3VEM
          Carbon disulfide      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
          Methyl Acetate        Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
        Methylene chloride      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
             2-Butanone         Target             25               U           ug/kg          25        U          1.0            YES          S3VEM
       Bromochloromethane       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
             Chloroform         Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
            Cyclohexane         Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       Carbon tetrachloride     Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
               Benzene          Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
          Trichloroethene       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
        Methylcyclohexane       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
     Bromodichloromethane       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             25               U           ug/kg          25        U          1.0            YES          S3VEM
               Toluene          Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
         Tetrachloroethene      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
             2-Hexanone         Target             25               U           ug/kg          25        U          1.0            YES          S3VEM
     Dibromochloromethane       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
           Chlorobenzene        Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
            Ethylbenzene        Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
               o-xylene         Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
             m,p-Xylene         Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
                Styrene         Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
             Bromoform          Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
         Isopropylbenzene       Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target             13               U           ug/kg          13        U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 782 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANX9                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                       Sample Date: 06/18/2019                Sample Time: 10:41:00

% Moisture:                                                                   % Solids: 74.8



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
          Chloromethane          Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
          Bromomethane           Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
            Chloroethane         Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.5                U           ug/kg         6.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            13                U           ug/kg          12        J          1.0            YES          S3VEM
          Carbon disulfide      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.7               J           ug/kg          5.7       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             Chloroform         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
               Benzene          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
               o-xylene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
                Styrene         Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
             Bromoform          Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.5               U           ug/kg          6.5       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 783 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY0                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:08:00

% Moisture:                                                                   % Solids: 87.6



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Chloromethane          Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Bromomethane           Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
            Chloroethane         Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            17                            ug/kg          17                   1.0            YES          S3VEM
          Carbon disulfide      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        Methylene chloride      Target            4.5               J           ug/kg          4.5       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             Chloroform         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
               Benzene          Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
               o-xylene         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
                Styrene         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             Bromoform          Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 784 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY1                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:34:00

% Moisture:                                                                   % Solids: 95.3



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Chloromethane          Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Bromomethane           Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
            Chloroethane         Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U           ug/kg          4.4      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
          Methyl Acetate        Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        Methylene chloride      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
       Bromochloromethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             Chloroform         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
            Cyclohexane         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
               Benzene          Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
          Trichloroethene       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        Methylcyclohexane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
     Bromodichloromethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
               Toluene          Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
         Tetrachloroethene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
     Dibromochloromethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
           Chlorobenzene        Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
            Ethylbenzene        Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
               o-xylene         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             m,p-Xylene         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
                Styrene         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             Bromoform          Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
         Isopropylbenzene       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                   N           1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY2                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:53:00

% Moisture:                                                                   % Solids: 96.4



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Chloromethane          Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Bromomethane           Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
            Chloroethane         Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U           ug/kg          7.5      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
          Methyl Acetate        Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        Methylene chloride      Target            4.5               J           ug/kg          4.5       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
       Bromochloromethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             Chloroform         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
            Cyclohexane         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
               Benzene          Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
          Trichloroethene       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        Methylcyclohexane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
     Bromodichloromethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
               Toluene          Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
         Tetrachloroethene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
     Dibromochloromethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
           Chlorobenzene        Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
            Ethylbenzene        Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
               o-xylene         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             m,p-Xylene         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
                Styrene         Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
             Bromoform          Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
         Isopropylbenzene       Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.0               U           ug/kg          6.0      U           1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                   N           1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY3                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:04:00

% Moisture:                                                                   % Solids: 86.9



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
          Chloromethane          Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
          Bromomethane           Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
            Chloroethane         Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U           ug/kg          10       JB          1.0            YES          S3VEM
          Carbon disulfide      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.0               J           ug/kg          5.0       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             Chloroform         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
               Benzene          Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
               o-xylene         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
                Styrene         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             Bromoform          Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              7.1              JN           ug/kg          7.1      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
                                               Doc      Summary
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                                                             02/02/21 Entered 02/02/21 19:31:36                            Desc
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANX1                Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation        Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result             Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                 N           ug/kg             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY4                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:28:00

% Moisture:                                                                   % Solids: 87.8



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
          Chloromethane          Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
          Bromomethane           Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
            Chloroethane         Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.6                U           ug/kg         6.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            17                U           ug/kg          17        B          1.0            YES          S3VEM
          Carbon disulfide      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.5               J           ug/kg          5.5       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             2-Butanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             Chloroform         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
               Benzene          Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
               Toluene          Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            2.2               J           ug/kg          2.2       J          1.0            YES          S3VEM
             2-Hexanone         Target            13                U           ug/kg          13        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
               o-xylene         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
                Styrene         Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
             Bromoform          Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.6               U           ug/kg          6.6       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 789 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY5                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:44:00

% Moisture:                                                                   % Solids: 95.1



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
          Chloromethane          Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
          Bromomethane           Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
            Chloroethane         Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.2                U           ug/kg         6.2        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U           ug/kg          7.2      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
          Methyl Acetate        Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
        Methylene chloride      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
       Bromochloromethane       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
             Chloroform         Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
            Cyclohexane         Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
               Benzene          Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
          Trichloroethene       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
        Methylcyclohexane       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
     Bromodichloromethane       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
               Toluene          Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
         Tetrachloroethene      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12       U           1.0            YES          S3VEM
     Dibromochloromethane       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
           Chlorobenzene        Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
            Ethylbenzene        Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
               o-xylene         Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
             m,p-Xylene         Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
                Styrene         Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
             Bromoform          Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
         Isopropylbenzene       Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.2               U           ug/kg          6.2      U           1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                   N           1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                            Desc
                                               Main Document   Page 790 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANX1                Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation        Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result             Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              5.0                JN          ug/kg    5.0      JN         1.0           NO           S3VEM




                                                                          Page 28                                       Mon, 22 Jul 2019 18:05:03
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 791 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY8                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                   % Solids: 97.2



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
          Chloromethane          Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
          Bromomethane           Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
            Chloroethane         Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.7                U           ug/kg         5.7        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
          Carbon disulfide      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             Chloroform         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
               Benzene          Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
               o-xylene         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
                Styrene         Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
             Bromoform          Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.7               U           ug/kg          5.7       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 792 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANX1                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY8MS              Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location:                    pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                   % Solids: 97.2



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
          Chloromethane          Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
          Bromomethane           Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
            Chloroethane         Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike            51                            ug/kg          51                   1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.6                U           ug/kg         5.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
          Carbon disulfide      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
             Chloroform         Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
               Benzene          Spike             58                            ug/kg          58                   1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
          Trichloroethene       Spike             57                            ug/kg          57                   1.0            YES          S3VEM
        Methylcyclohexane       Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Spike             58                            ug/kg          58                   1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
           Chlorobenzene        Spike             58                            ug/kg          58                   1.0            YES          S3VEM
            Ethylbenzene        Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
               o-xylene         Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
                Styrene         Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
             Bromoform          Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.6               U           ug/kg          5.6       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANY8MSD             Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location:                    pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                   % Solids: 97.2



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
          Chloromethane          Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
          Bromomethane           Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
            Chloroethane         Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike            47                            ug/kg          47                   1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.5                U           ug/kg         5.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
          Carbon disulfide      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             2-Butanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             Chloroform         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
               Benzene          Spike             54                            ug/kg          54                   1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
          Trichloroethene       Spike             52                            ug/kg          52                   1.0            YES          S3VEM
        Methylcyclohexane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Spike             54                            ug/kg          54                   1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
           Chlorobenzene        Spike             53                            ug/kg          53                   1.0            YES          S3VEM
            Ethylbenzene        Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
               o-xylene         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
                Styrene         Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
             Bromoform          Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.5               U           ug/kg          5.5       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N           ug/kg                    N          1.0            YES          S3VEM




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Memorandum
 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:               for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9

                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106232 (reissue of 10106227)
 Date:           August 1, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        YANZ0
                 Laboratory:                     Chemtech Consulting Group (CHM)
                 Analysis:                       CLP Low Volatiles
                 Samples:                        Four Soil Samples
                 Collection Date:                June 18, 2019
                 Reviewer:                       Estrellita Manuel, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Richard Freitas, CLP PO USEPA Region 9
       Kim Brandon-Bazile, CLP PO USEPA Region 2
CLP PO: [X] FYI [ ] Action
SAMPLING ISSUES: [ ] Yes [X] No




10106232-21722/48315/YANZ0-LV Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                      Data Validation Report - Tier 3
Case No.: 48315
SDG No.: YANZ0
Site:       Damille Metal Service
Laboratory: Chemtech Consulting Group (CHM)
Analysis:   CLP Low Volatiles
Reviewer: Estrellita Manuel, ESAT
Date:       August 1, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Organic Analytic Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in pages 6 and 7 of the National Functional Guidelines, are attached to
this report.
Field QC
                       Field Blanks (FB):     None.
                  Equipment Blanks (EB):      None.
                        Trip Blanks (TB):     None.
                Background Samples (BG):      None.
                         Field Duplicates:    YANZ0 and YANY7 (in SDG YANT0).
CLP PO Action
        None.
Sampling Issues

        None.
Additional Comments
        A peak in sample YANZ0 (tentatively identified compound) was not reported. The laboratory
        provided revised data (Form 1B-OR and mass spectra) upon request on July 22, 2019. The
        updated electronic data deliverable (EDD) was uploaded to SMO portal on July 23, 2019.
        Nondetected results for all analytes in laboratory QC sample YANZ3MS were flagged by the
        EXES Data Manager as rejected (R) due to very low internal standard (IS) areas (see Comment
        C).

        Recoveries for deuterated monitoring compounds (DMCs) 2-hexanone-d5 (137%) and 1,1,2,2-
        tetrachloroethane-d2 (121%) exceed QC limits in sample YANZ1, indicating potential high bias
        in detected results; qualification is not necessary because the associated target analytes are not
        detected.
        All standards and spiking solutions were analyzed before the expiration date.
        In addition to laboratory and field artifacts (retention times of 10.0, 10.6, 11.1, and 13.7 minutes),
        a tentatively identified compound (TIC) was found in sample YANZ0 (see attached Form 1B).
        The laboratory performed manual peak integration for some calibration and sample
        chromatograms. Manual integrations were reviewed and found to be in compliance with CLP
        Statement of Work (SOW) requirements.


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        This report was prepared in accordance with the following documents:
        • USEPA Contract Laboratory Program Statement of Work for Organics Superfund Methods,
            Multi-Media, Multi-Concentration, SOM02.4, October 2016 and
        • USEPA National Functional Guidelines for Superfund Organic Methods Data Review,
            January 2017.

        For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
        Program Statement of Work for Organics Superfund Methods, Multi-Media, Multi-
        Concentration, SOM02.4.

II.     VALIDATION SUMMARY
        The data were evaluated based on the following parameters:

             Parameter                                                             Acceptable     Comment
        1.   Data Completeness                                                        Yes
        2.   Preservation and Holding Times                                           Yes
        3.   GC/MS Instrument Performance Check                                       Yes
        4.   Initial Calibration                                                      Yes
        5.   Continuing Calibration Verification (CCV)                                Yes
        6.   Laboratory Blanks                                                        Yes             B
        7.   Field/Equipment/Trip Blanks                                             N/A
        8.   Deuterated Monitoring Compound (DMC)                                     Yes
        9.   Matrix Spike/Matrix Spike Duplicate (MS/MSD)                             No              C
       10.   Internal Standard                                                        No              C
       11.   Analyte Identification                                                   Yes
       12.   Analyte Quantitation and Reported CRQL                                   Yes             A
       13.   Field Duplicate Sample Analysis                                          Yes
       14.   System Performance                                                       Yes
       15.   Overall Assessment of Data                                               Yes
              N/A = Not Applicable.

III.    VALIDITY AND COMMENTS
        A.    Results above the method detection limit (MDL) but below the contract required
              quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
              qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
              precision near the quantitation limit.

        B.    The following results are qualified as nondetected due to method blank and storage blank
              contamination and are flagged “U.”

             •   Acetone in all samples.
              Acetone is present in method blanks VBLK28 and VBLK29 at 9.7 µg/kg and 7.9 µg/kg,
              respectively, and in storage blank VHBLK01 at 7.5 µg/kg. Results for acetone that are less
              than or equal to the CRQL are qualified as non-detected at the CRQL.

        C.    Relative percent differences (RPDs) for 1,1-dichloroethene, benzene, toluene, and
              chlorobenzene in laboratory QC samples YANZ3MS and YANZ3MSD do not meet the
              criteria for precision specified in the SOW, as shown below.
                             Analyte                RPD, %       QC Limit, %
                        1,1-Dichloroethene            23             22
                             Benzene                  23             21
                             Toluene                  30             21

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                          Analyte              RPD, %        QC Limit, %
                       Chlorobenzene             23              21

           These results may indicate poor laboratory technique or matrix effects which may interfere
           with analysis. This uncertainty should be evaluated in the context of project data quality
           objectives to determine data usability.
           In addition, the EXES Data Manager flagged nondetected results for the QC sample
           YANZ3MS as “R” and detected results as “J+” due to very low internal standard (IS) areas
           (<20%).
           The IS areas outside QC limits are shown below.
               Sample                 Internal Standard            Area          QC Limit
              YANZ3MS               1,4-Difluorobenzene           50,912      180,869-723,476
              YANZ3MS                Chlorobenzene-d5             50,022      160,987-643,948
              YANZ3MS             1,4-Dichlorobenzene-d4          21,323      78,971-315,884

           Detected results for the affected analytes may be biased high. Nondetected results are
           considered unusable (R) according to the National Functional Guidelines. There are no
           additional Encore samplers left for further analysis.




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              DATA QUALIFIER DEFINITIONS FOR ORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Superfund Organic Methods Data Review,” January 2017 (Table 1, pages 6 and 7).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation Limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
NJ      The analyte has been "tentatively identified" or “presumptively” as present and the associated
        numerical value is the estimated concentration in the sample.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting QC
        criteria. The analyte may or may not be present in the sample.
C       The target Pesticide or Aroclor analyte identification has been confirmed by Gas
        Chromatograph/Mass Spectrometer (GC/MS).
X       The target Pesticide or Aroclor analyte identification was not confirmed when GC/MS analysis
        was performed.




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     INVESTIGATION STAGE 2 SAMPLING


Sample Number: VBLK28               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            9.7               J          ug/kg          9.7      J          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK29               Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            7.9               J          ug/kg          7.9      J          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10       U          1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0      U          1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N          1.0             YES          S3VEM




                                                                             Page 2                                               Mon, 29 Jul 2019 15:37:45
                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 803 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VHBLK01              Method: Volatile Organics                Matrix: Soil                          MA Number:

Sample Location:                    pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                  % Solids: 100



        Analyte Name            Analyte       Validation        Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type          Result             Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Chloromethane          Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           Vinyl chloride        Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
          Bromomethane           Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
            Chloroethane         Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.0                U          ug/kg          5.0      U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target            7.5               J          ug/kg          7.5     JB          1.0             YES          S3VEM
          Carbon disulfide      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
          Methyl Acetate        Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        Methylene chloride      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        1,1-Dichloroethane      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10      U           1.0             YES          S3VEM
       Bromochloromethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             Chloroform         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
            Cyclohexane         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       Carbon tetrachloride     Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
               Benzene          Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        1,2-Dichloroethane      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
          Trichloroethene       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        Methylcyclohexane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,2-Dichloropropane      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
     Bromodichloromethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10      U           1.0             YES          S3VEM
               Toluene          Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
         Tetrachloroethene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10      U           1.0             YES          S3VEM
     Dibromochloromethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
        1,2-Dibromoethane       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
           Chlorobenzene        Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
            Ethylbenzene        Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
               o-xylene         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             m,p-Xylene         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
                Styrene         Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
             Bromoform          Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
         Isopropylbenzene       Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.0               U          ug/kg          5.0     U           1.0             YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                  N           1.0             YES          S3VEM




                                                                             Page 3                                               Mon, 29 Jul 2019 15:37:45
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 804 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ0                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                      Sample Date: 06/18/2019                Sample Time: 14:45:00

% Moisture:                                                                  % Solids: 91.9



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
          Chloromethane          Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
          Bromomethane           Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
            Chloroethane         Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.0                U          ug/kg         6.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U          ug/kg          9.1      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.8               J          ug/kg          5.8       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U          ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
             Chloroform         Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
               Benzene          Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U          ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U          ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
               o-xylene         Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
                Styrene         Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
             Bromoform          Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.0               U          ug/kg          6.0       U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              5.2              JN          ug/kg          5.2      JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 805 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ0              Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation     Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                 Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N          ug/kg             N          1.0          YES           S3VEM
      unknown-01             TIC              12                J          ug/kg    12       J          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 806 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ1                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                      Sample Date: 06/18/2019                Sample Time: 15:30:00

% Moisture:                                                                  % Solids: 86.8



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
          Chloromethane          Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
          Bromomethane           Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
            Chloroethane         Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.1                U          ug/kg         5.1        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            10                U          ug/kg          9.5      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            5.1               U          ug/kg          5.1      U           1.0            YES          S3VEM
          Methyl Acetate        Target            5.1               U          ug/kg          5.1      U           1.0            YES          S3VEM
        Methylene chloride      Target            5.4                          ug/kg          5.4                  1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
             2-Butanone         Target            10                U          ug/kg          10        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
             Chloroform         Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
               Benzene          Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
          Trichloroethene       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            10                U          ug/kg          10        U          1.0            YES          S3VEM
               Toluene          Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
             2-Hexanone         Target            10                U          ug/kg          10        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
           Chlorobenzene        Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
            Ethylbenzene        Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
               o-xylene         Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
                Styrene         Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
             Bromoform          Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.1               U          ug/kg          5.1       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                    N          1.0            YES          S3VEM




                                                                             Page 6                                               Mon, 29 Jul 2019 15:37:45
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 807 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ3                Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                      Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                  % Solids: 96.4



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
          Chloromethane          Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
          Bromomethane           Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
            Chloroethane         Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.9                U          ug/kg         5.9        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U          ug/kg          4.6      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
          Methyl Acetate        Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
        Methylene chloride      Target            4.8               J          ug/kg          4.8       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
             2-Butanone         Target            12                U          ug/kg          12       U           1.0            YES          S3VEM
       Bromochloromethane       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
             Chloroform         Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
            Cyclohexane         Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
               Benzene          Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
          Trichloroethene       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
        Methylcyclohexane       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
     Bromodichloromethane       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U          ug/kg          12       U           1.0            YES          S3VEM
               Toluene          Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
         Tetrachloroethene      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
             2-Hexanone         Target            12                U          ug/kg          12       U           1.0            YES          S3VEM
     Dibromochloromethane       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
           Chlorobenzene        Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
            Ethylbenzene        Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
               o-xylene         Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
             m,p-Xylene         Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
                Styrene         Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
             Bromoform          Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
         Isopropylbenzene       Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.9               U          ug/kg          5.9      U           1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                   N           1.0            YES          S3VEM




                                                                             Page 7                                               Mon, 29 Jul 2019 15:37:45
                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 808 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ3MS              Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location:                    pH:                                      Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                  % Solids: 96.4



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
          Chloromethane          Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
          Bromomethane           Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
            Chloroethane         Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike            40                J+         ug/kg          40                   1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.5                R          ug/kg         5.5        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            17               J+          ug/kg          17        B          1.0            YES          S3VEM
          Carbon disulfide      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
          Methyl Acetate        Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
        Methylene chloride      Target            6.3              J+          ug/kg          6.3                  1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
             2-Butanone         Target            11               R           ug/kg          11        U          1.0            YES          S3VEM
       Bromochloromethane       Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
             Chloroform         Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
            Cyclohexane         Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
               Benzene          Spike             44               J+          ug/kg          44                   1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
          Trichloroethene       Spike             42               J+          ug/kg          42                   1.0            YES          S3VEM
        Methylcyclohexane       Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11               R           ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Spike             41               J+          ug/kg          41                   1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
             2-Hexanone         Target            11               R           ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
           Chlorobenzene        Spike             44               J+          ug/kg          44                   1.0            YES          S3VEM
            Ethylbenzene        Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
               o-xylene         Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
                Styrene         Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
             Bromoform          Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.5              R           ug/kg          5.5       U          1.0            YES          S3VEM
            Total Alkanes        TIC                               N           ug/kg                    N          1.0            YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                  Desc
                                                   Main Document   Page 809 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ3MSD             Method: Volatile Organics                Matrix: Soil                           MA Number:

Sample Location:                    pH:                                      Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                  % Solids: 96.4



        Analyte Name            Analyte       Validation        Validation     Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                      Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
          Chloromethane          Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
           Vinyl chloride        Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
          Bromomethane           Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
            Chloroethane         Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike            51                           ug/kg          51                   1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          5.6                U          ug/kg         5.6        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            11                U          ug/kg          7.5      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
          Methyl Acetate        Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
        Methylene chloride      Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
        1,1-Dichloroethane      Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
             2-Butanone         Target            11                U          ug/kg          11       U           1.0            YES          S3VEM
       Bromochloromethane       Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
             Chloroform         Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
            Cyclohexane         Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
       Carbon tetrachloride     Target            5.6               U          ug/kg          5.6      U           1.0            YES          S3VEM
               Benzene          Spike             56                           ug/kg          56                   1.0            YES          S3VEM
        1,2-Dichloroethane      Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
          Trichloroethene       Spike             54                           ug/kg          54                   1.0            YES          S3VEM
        Methylcyclohexane       Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
               Toluene          Spike             56                           ug/kg          56                   1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
             2-Hexanone         Target            11                U          ug/kg          11        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
           Chlorobenzene        Spike             56                           ug/kg          56                   1.0            YES          S3VEM
            Ethylbenzene        Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
               o-xylene         Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
             m,p-Xylene         Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
                Styrene         Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
             Bromoform          Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            5.6               U          ug/kg          5.6       U          1.0            YES          S3VEM
            Total Alkanes        TIC                                N          ug/kg                    N          1.0            YES          S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                   Desc
                                                   Main Document   Page 810 of 991
 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14030/YANZ0                       Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ4                Method: Volatile Organics                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                       Sample Date: 06/18/2019                Sample Time: 16:12:00

% Moisture:                                                                   % Solids: 96.6



        Analyte Name            Analyte       Validation        Validation      Units         Lab       Lab       Dilution     Reportable      Validation
                                 Type          Result             Flag                       Result     Flag      Factor                         Level
    Dichlorodifluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Chloromethane          Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           Vinyl chloride        Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
          Bromomethane           Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
            Chloroethane         Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target          6.0                U           ug/kg         6.0        U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target            12                U           ug/kg          8.3      JB          1.0            YES          S3VEM
          Carbon disulfide      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
          Methyl Acetate        Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        Methylene chloride      Target            5.9               J           ug/kg          5.9       J          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             2-Butanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
       Bromochloromethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             Chloroform         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
            Cyclohexane         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
               Benzene          Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
          Trichloroethene       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        Methylcyclohexane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
     Bromodichloromethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
               Toluene          Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
         Tetrachloroethene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             2-Hexanone         Target            12                U           ug/kg          12        U          1.0            YES          S3VEM
     Dibromochloromethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
           Chlorobenzene        Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
            Ethylbenzene        Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
               o-xylene         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             m,p-Xylene         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
                Styrene         Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
             Bromoform          Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
         Isopropylbenzene       Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            6.0               U           ug/kg          6.0       U          1.0            YES          S3VEM
    Benzene, 1,1-(oxydi-2,1-     TIC              3.4              JN           ug/kg          3.4      JN          1.0            YES          S3VEM




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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ0               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
        ethanediy
      Total Alkanes          TIC                                 N          ug/kg             N          1.0          YES           S3VEM
    1-Hexanol, 2-ethyl-      TIC              3.0               JN          ug/kg    3.0     JN          1.0          NO            S3VEM




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Project Name: DAMILLE METAL SERVICE SITE       GroupID: 48315/EPW14030/YANZ0   Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING




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Memorandum
 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:               for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9

                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106232 (reissue of 10106227)
 Date:           August 01, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        YANZ5
                 Laboratory:                     Chemtech Consulting Group (CHM)
                 Analysis:                       CLP Trace Volatiles
                 Samples:                        10 Water Samples
                 Collection Date:                June 17 through 19, 2019
                 Reviewer:                       Estrellita Manuel, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Richard Freitas, CLP PO USEPA Region 9
       Kim Brandon-Bazile, CLP PO USEPA Region 2
CLP PO: [X] FYI [ ] Action
SAMPLING ISSUES: [X] Yes [ ] No




10106232-21720/48315/YANZ5-TV Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                      Data Validation Report - Tier 3
Case No.: 48315
SDG No.: YANZ5
Site:       Damille Metal Service
Laboratory: Chemtech Consulting Group (CHM)
Analysis:   CLP Trace Volatiles
Reviewer: Estrellita Manuel, ESAT
Date:       August 01, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Organic Analytic Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in pages 6 and 7 of the National Functional Guidelines, are attached to
this report.
Field QC
                       Field Blanks (FB):     YAP04.
                  Equipment Blanks (EB):      YANZ5, YAP02, and YAP03.
                        Trip Blanks (TB):     None.
                Background Samples (BG):      None.
                         Field Duplicates:    YAP01 and YAP05.
CLP PO Action
        None.
Sampling Issues

        Field and equipment blanks were not submitted “blind” to the laboratory because “Equipment
        Blank” and “Field Blank” were used as location on chain of custody records (COCs).

Additional Comments
        The COCs indicate that samples YANZ9, YAP00, YAP01, and YAP05, field blank YAP04, and
        equipment blank YANZ5 were collected on June 17 and 18, 2019 and shipped on June 20, 2019.
        The reviewer presumed that the samples were stored properly from the time of collection to the
        time of shipping.
        All standards and spiking solutions were analyzed before the expiration date.

        In addition to laboratory and field artifacts (retention times of 7.0 and 11.6 minutes), tentatively
        identified compounds (TICs) were found in the samples YANZ9, YAP01, YAP03, and YAP05
        through YAP07 (see attached Form 1Bs).
        The laboratory performed manual peak integration for some calibration chromatograms. Manual
        integrations were reviewed and found to be in compliance with CLP Statement of Work (SOW)
        requirements.
        This report was prepared in accordance with the following documents:
        • USEPA Contract Laboratory Program Statement of Work for Organics Superfund Methods,
            Multi-Media, Multi-Concentration, SOM02.4, October 2016 and
        • USEPA National Functional Guidelines for Superfund Organic Methods Data Review,
            January 2017.


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        For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
        Program Statement of Work for Organics Superfund Methods, Multi-Media, Multi-
        Concentration, SOM02.4.

II.     VALIDATION SUMMARY
        The data were evaluated based on the following parameters:

             Parameter                                                             Acceptable     Comment
        1.   Data Completeness                                                        Yes
        2.   Preservation and Holding Times                                           Yes
        3.   GC/MS Instrument Performance Check                                       Yes
        4.   Initial Calibration                                                      Yes
        5.   Continuing Calibration Verification (CCV)                                Yes
        6.   Laboratory Blanks                                                        Yes
        7.   Field/Equipment/Trip Blanks                                              Yes
        8.   Deuterated Monitoring Compound (DMC)                                     No              B
        9.   Matrix Spike/Matrix Spike Duplicate (MS/MSD)                             Yes
       10.   Internal Standard                                                        Yes
       11.   Analyte Identification                                                   Yes
       12.   Analyte Quantitation and Reported CRQL                                   Yes             A
       13.   Field Duplicate Sample Analysis                                          Yes
       14.   System Performance                                                       Yes
       15.   Overall Assessment of Data                                               Yes

III.    VALIDITY AND COMMENTS
        A.    Results above the method detection limit (MDL) but below the contract required
              quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
              qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
              precision near the quantitation limit.
        B.    Results for the following analytes are qualified as estimated due to a low DMC recovery and
              are flagged “UJ.”
              {1,1-Dichloroethene-d2}
              • 1,1-Dichloroethene, trans-1,2-dichloroethene, and cis-1,2-dichloroethene in equipment
                  blank YANZ5.
              The DMC recovery for the qualification listed above is shown below.
                  Sample                     DMC                     % Recovery       QC Limit
                  YANZ5              1,1-Dichloroethene-d2              55             60-125
              Since qualified results are nondetected, false negatives may exist. Equipment blank YANZ5
              was not re-analyzed.
              Recoveries for DMCs 2-butanone-d5 (138%), 2-hexanone-d5 (136%), and 1,1,2,2-
              tetrachloroethane-d2 (124%) exceed QC limits in equipment blank, indicating potential high
              bias in detected results; qualification is not necessary because the associated target analytes
              are not detected.




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              DATA QUALIFIER DEFINITIONS FOR ORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Superfund Organic Methods Data Review,” January 2017 (Table 1, pages 6 and 7).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation Limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.

J-      The result is an estimated quantity, but the result may be biased low.
NJ      The analyte has been "tentatively identified" or “presumptively” as present and the associated
        numerical value is the estimated concentration in the sample.
UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting QC
        criteria. The analyte may or may not be present in the sample.
C       The target Pesticide or Aroclor analyte identification has been confirmed by Gas
        Chromatograph/Mass Spectrometer (GC/MS).
X       The target Pesticide or Aroclor analyte identification was not confirmed when GC/MS analysis
        was performed.




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                    Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING


Sample Number: VBLK41               Method: Trace Volatiles                    Matrix: Water                         MA Number:

Sample Location:                    pH:                                        Sample Date:                          Sample Time:

% Moisture:                                                                    % Solids: 0



        Analyte Name            Analyte        Validation         Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type           Result              Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Chloromethane          Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           Vinyl chloride        Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Bromomethane           Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Chloroethane         Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
          Carbon disulfide      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Methyl Acetate        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        Methylene chloride      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             2-Butanone         Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
       Bromochloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             Chloroform         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Cyclohexane         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
               Benzene          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Trichloroethene       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        Methylcyclohexane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     Bromodichloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
               Toluene          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
         Tetrachloroethene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             2-Hexanone         Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
     Dibromochloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           Chlorobenzene        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Ethylbenzene        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
               o-xylene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             m,p-xylene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
                Styrene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             Bromoform          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
         Isopropylbenzene       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Total Alkanes        TIC                                  N           ug/L                   N          1.0             YES          S3VEM




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                                                   Doc      Summary
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                    Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VBLK42               Method: Trace Volatiles                    Matrix: Water                         MA Number:

Sample Location:                    pH:                                        Sample Date:                          Sample Time:

% Moisture:                                                                    % Solids: 0



        Analyte Name            Analyte        Validation         Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type           Result              Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Chloromethane          Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           Vinyl chloride        Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Bromomethane           Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Chloroethane         Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
          Carbon disulfide      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Methyl Acetate        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        Methylene chloride      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             2-Butanone         Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
       Bromochloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             Chloroform         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Cyclohexane         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
               Benzene          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Trichloroethene       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        Methylcyclohexane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     Bromodichloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
               Toluene          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
         Tetrachloroethene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             2-Hexanone         Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
     Dibromochloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           Chlorobenzene        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Ethylbenzene        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
               o-xylene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             m,p-xylene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
                Styrene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             Bromoform          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
         Isopropylbenzene       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Total Alkanes        TIC                                  N           ug/L                   N          1.0             YES          S3VEM




                                                                               Page 2                                               Mon, 29 Jul 2019 13:43:17
             Case 2:20-bk-17433-VZ               Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 825 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5              Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation     Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                 Result   Flag      Factor                        Level
       unknown-01            TIC              1.4               J           ug/L    1.4      J          1.0          YES           S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                    Desc
                                                   Main Document   Page 826 of 991
 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                    Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: VHBLK01              Method: Trace Volatiles                    Matrix: Water                         MA Number:

Sample Location:                    pH: 1.0                                    Sample Date:                          Sample Time:

% Moisture:                                                                    % Solids: 0



        Analyte Name            Analyte        Validation         Validation     Units          Lab     Lab       Dilution     Reportable       Validation
                                 Type           Result              Flag                       Result   Flag      Factor                          Level
    Dichlorodifluoromethane      Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Chloromethane          Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           Vinyl chloride        Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Bromomethane           Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Chloroethane         Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
          Carbon disulfide      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Methyl Acetate        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        Methylene chloride      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             2-Butanone         Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
       Bromochloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             Chloroform         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Cyclohexane         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       Carbon tetrachloride     Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
               Benzene          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
          Trichloroethene       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        Methylcyclohexane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     Bromodichloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
               Toluene          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
         Tetrachloroethene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             2-Hexanone         Target             5.0                U           ug/L           5.0     U          1.0             YES          S3VEM
     Dibromochloromethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
           Chlorobenzene        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Ethylbenzene        Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
               o-xylene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             m,p-xylene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
                Styrene         Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
             Bromoform          Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
         Isopropylbenzene       Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U           ug/L          0.50     U          1.0             YES          S3VEM
            Total Alkanes        TIC                                  N           ug/L                   N          1.0             YES          S3VEM




                                                                               Page 4                                               Mon, 29 Jul 2019 13:43:17
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                    Desc
                                                   Main Document   Page 827 of 991
 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ5                Method: Trace Volatiles                    Matrix: Water                          MA Number:

Sample Location: Equp Blank         pH: 1.0                                    Sample Date: 06/18/0019                Sample Time: 13:20:00

% Moisture:                                                                    % Solids: 0



        Analyte Name            Analyte        Validation         Validation     Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                       Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                UJ          ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                UJ          ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                UJ          ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              0.65                JN          ug/L          0.65     JN          1.0            YES          S3VEM




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              Case 2:20-bk-17433-VZ              Sample
                                               Doc      Summary
                                                   197 Filed       Report
                                                             02/02/21 Entered 02/02/21 19:31:36                          Desc
                                               Main Document   Page 828 of 991
Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5              Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation     Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                 Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N           ug/L             N          1.0          YES           S3VEM




                                                                         Page 6                                       Mon, 29 Jul 2019 13:43:17
                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                    Desc
                                                   Main Document   Page 829 of 991
 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YANZ9                Method: Trace Volatiles                    Matrix: Water                          MA Number:

Sample Location: DMS-CPT1           pH: 1.0                                    Sample Date: 06/17/0019                Sample Time: 12:00:00

% Moisture:                                                                    % Solids: 0



        Analyte Name            Analyte        Validation         Validation     Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                       Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             3.1                J           ug/L           3.1      J          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                U           ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.15                J           ug/L          0.15      J          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
            Total Alkanes        TIC              0.58               BN           ug/L          0.58     BN          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5              Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation     Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                 Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              1.1               JN          ug/L    1.1      JN         1.0           NO           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                     Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP00                Method: Trace Volatiles                    Matrix: Water                          MA Number:

Sample Location: DMS-CPT2           pH: 1.0                                    Sample Date: 06/18/0019                Sample Time: 13:30:00

% Moisture:                                                                    % Solids: 0



        Analyte Name            Analyte        Validation         Validation     Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                       Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U           ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             4.6                 J          ug/L           4.6      J          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.12                 J          ug/L          0.12      J          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.21                 J          ug/L          0.21      J          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.11                 J          ug/L          0.11      J          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U          ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U          ug/L          0.50      U          1.0            YES          S3VEM
          3-Butenoic acid        TIC               1.1                JN          ug/L           1.1     JN          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
    1-Hexanol, 2-ethyl-      TIC              0.98              JN           ug/L    0.98     JN         1.0          NO            S3VEM
      Total Alkanes          TIC                                 N           ug/L              N         1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP01                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: DMS-CPT3           pH: 1.0                                     Sample Date: 06/18/0019                Sample Time: 08:30:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.13                J            ug/L          0.13      J          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Total Alkanes        TIC                                  N            ug/L                    N          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      2-Butenal, (E)-        TIC              0.60              JN           ug/L    0.60     JN         1.0          YES           S3VEM
    1-Hexanol, 2-ethyl-      TIC               1.1              JN           ug/L     1.1     JN         1.0          NO            S3VEM
    2-Methyl-2-decanol       TIC              0.54              JN           ug/L    0.54     JN         1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP02                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: Equp Blank         pH: 1.0                                     Sample Date: 06/19/0019                Sample Time: 08:23:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              0.52                JN           ug/L          0.52     JN          1.0            YES          S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N            ug/L             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                     Desc
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP03                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: Equp Blank         pH: 1.0                                     Sample Date: 06/19/0019                Sample Time: 15:30:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              0.79                JN           ug/L          0.79     JN          1.0            YES          S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
        Nonanal              TIC              0.73              JN           ug/L    0.73     JN         1.0          YES           S3VEM
      Total Alkanes          TIC                                 N           ug/L              N         1.0          YES           S3VEM




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                 Case 2:20-bk-17433-VZ               Sample
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP04                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: Field Blank        pH: 1.0                                     Sample Date: 06/18/0019                Sample Time: 13:25:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              0.56                JN           ug/L          0.56     JN          1.0            YES          S3VEM




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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                N            ug/L             N          1.0          YES           S3VEM




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                Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP05                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: DMS-CPT3           pH: 1.0                                     Sample Date: 06/18/0019                Sample Time: 08:35:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             3.6                 J           ug/L           3.6      J          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.13                 J           ug/L          0.13      J          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        2-Methyl-2-decanol       TIC              0.50                JN           ug/L          0.50     JN          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC              0.56             BN            ug/L    0.56    BN          1.0          YES           S3VEM
    1-Hexanol, 2-ethyl-      TIC              0.98              JN           ug/L    0.98     JN         1.0          NO            S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                     Desc
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP06                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: DMS-CPT4           pH: 1.0                                     Sample Date: 06/19/0019                Sample Time: 08:40:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             14                              ug/L           14                  1.0            YES          S3VEM
          Carbon disulfide      Target            0.38                 J           ug/L          0.38      J          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.15                 J           ug/L          0.15      J          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             2.4                 J           ug/L           2.4      J          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
                Styrene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           2-Butenal, (E)-       TIC              0.79                JN           ug/L          0.79     JN          1.0            YES          S3VEM




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               Case 2:20-bk-17433-VZ             Sample
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                                                             02/02/21 Entered 02/02/21 19:31:36                           Desc
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC                                 N           ug/L              N         1.0          YES           S3VEM
    1-Hexanol, 2-ethyl-      TIC              1.9               JN           ug/L    1.9      JN         1.0          NO            S3VEM




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                Case 2:20-bk-17433-VZ                Sample
                                                   Doc      Summary
                                                       197 Filed       Report
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP07                Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location: DMS-CPT5           pH: 1.0                                     Sample Date: 06/19/0019                Sample Time: 14:00:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             5.1                             ug/L           5.1                 1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Target            0.15                 J           ug/L          0.15      J          1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Target            0.24                 J           ug/L          0.24      J          1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                 U           ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.13                 J           ug/L          0.13      J          1.0            YES          S3VEM
                Styrene         Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                 U           ug/L          0.50      U          1.0            YES          S3VEM
        1-Hexanol, 2-ethyl-      TIC              0.84                JN           ug/L          0.84     JN          1.0            NO           S3VEM




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              Case 2:20-bk-17433-VZ              Sample
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Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14030/YANZ5               Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING


      Analyte Name          Analyte        Validation       Validation      Units    Lab     Lab       Dilution    Reportable      Validation
                             Type           Result            Flag                  Result   Flag      Factor                        Level
      Total Alkanes          TIC              0.75             BN            ug/L    0.75    BN          1.0          YES           S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP07MS              Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location:                    pH: 1.0                                     Sample Date: 06/19/2019                Sample Time: 14:00:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike             4.4                             ug/L           4.4                 1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             4.4                J            ug/L           4.4      J          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Spike              4.9                             ug/L           4.9                 1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Spike              4.4                             ug/L           4.4                 1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Spike              4.8                             ug/L           4.8                 1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Spike              4.7                             ug/L           4.7                 1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.13                J            ug/L          0.13      J          1.0            YES          S3VEM
                Styrene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Total Alkanes        TIC                                  N            ug/L                    N          1.0            YES          S3VEM




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                   Case 2:20-bk-17433-VZ             Sample
                                                   Doc      Summary
                                                       197 Filed       Report
                                                                 02/02/21 Entered 02/02/21 19:31:36                                     Desc
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 Project Name: DAMILLE METAL SERVICE SITE                     GroupID: 48315/EPW14030/YANZ5                      Lab Name: Chemtech Consulting Group
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: YAP07MSD             Method: Trace Volatiles                     Matrix: Water                          MA Number:

Sample Location:                    pH: 1.0                                     Sample Date: 06/19/2019                Sample Time: 14:00:00

% Moisture:                                                                     % Solids: 0



        Analyte Name            Analyte        Validation         Validation      Units          Lab      Lab       Dilution     Reportable      Validation
                                 Type           Result              Flag                        Result    Flag      Factor                         Level
    Dichlorodifluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Chloromethane          Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Vinyl chloride        Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Bromomethane           Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Chloroethane         Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Trichlorofluoromethane      Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethene       Spike             4.5                             ug/L           4.5                 1.0            YES          S3VEM
      1,1,2-Trichloro-1,2,2-     Target           0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           trifluoroethane
               Acetone          Target             3.4                J            ug/L           3.4      J          1.0            YES          S3VEM
          Carbon disulfide      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Methyl Acetate        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        Methylene chloride      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
    trans-1,2-Dichloroethene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      Methyl tert-butyl Ether   Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,1-Dichloroethane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      cis-1,2-Dichloroethene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             2-Butanone         Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
       Bromochloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             Chloroform         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,1,1-Trichloroethane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Cyclohexane         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       Carbon tetrachloride     Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
               Benzene          Spike              5.0                             ug/L           5.0                 1.0            YES          S3VEM
        1,2-Dichloroethane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
          Trichloroethene       Spike              4.4                             ug/L           4.4                 1.0            YES          S3VEM
        Methylcyclohexane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichloropropane      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     Bromodichloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     cis-1,3-Dichloropropene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      4-Methyl-2-pentanone      Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
               Toluene          Spike              4.9                             ug/L           4.9                 1.0            YES          S3VEM
   trans-1,3-Dichloropropene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,1,2-Trichloroethane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
         Tetrachloroethene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             2-Hexanone         Target             5.0                U            ug/L           5.0      U          1.0            YES          S3VEM
     Dibromochloromethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
        1,2-Dibromoethane       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
           Chlorobenzene        Spike              4.8                             ug/L           4.8                 1.0            YES          S3VEM
            Ethylbenzene        Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
               o-xylene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             m,p-xylene         Target            0.14                J            ug/L          0.14      J          1.0            YES          S3VEM
                Styrene         Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
             Bromoform          Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
         Isopropylbenzene       Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
    1,1,2,2-Tetrachloroethane   Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,3-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,4-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
       1,2-Dichlorobenzene      Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
 1,2-Dibromo-3-chloropropane    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
      1,2,4-trichlorobenzene    Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
     1,2,3-Trichlorobenzene     Target            0.50                U            ug/L          0.50      U          1.0            YES          S3VEM
            Total Alkanes        TIC                                  N            ug/L                    N          1.0            YES          S3VEM




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            Case 2:20-bk-17433-VZ            Sample
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                                                         02/02/21 Entered 02/02/21 19:31:36          Desc
                                           Main Document   Page 849 of 991
Project Name: DAMILLE METAL SERVICE SITE       GroupID: 48315/EPW14030/YANZ5   Lab Name: Chemtech Consulting Group
    INVESTIGATION STAGE 2 SAMPLING




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Central Metal - Site Inspection – Interim Sampling Report                       May 2020




                        Attachment D:
               Stage 2 Metals Laboratory Reports




CAN000903324
Case 2:20-bk-17433-VZ               Doc 197 Filed 02/02/21 Entered 02/02/21 19:31:36                                  Desc
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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:              for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106232 (reissue of 10106227)
 Date:           August 5, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        MYANT0
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES
                 Samples:                        12 Soil Samples
                 Collection Dates:               June 17, 2019
                 Reviewer:                       Santiago Lee, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment

cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9

CLP PO: [ ] FYI [X] Action
SAMPLING ISSUES: [X] Yes [ ] No




10106232-21727/48315/MYANT0 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
Case 2:20-bk-17433-VZ          Doc 197 Filed 02/02/21 Entered 02/02/21 19:31:36                      Desc
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                                     Data Validation Report – Tier 3
Case No.: 48315
SDG No.: MYANT0
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES
Reviewer: Santiago Lee, ESAT
Date:       August 5, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                      Field Blanks (FB):     None.
                 Equipment Blanks (EB):      None.
               Background Samples (BG):      None.
                        Field Duplicates:    None.
CLP PO Action
        Nondetected results for antimony in all samples are qualified as rejected (R) due to a matrix spike
        recovery below 30% (see Comment A).
Sampling Issues

        Samples were shipped to the laboratory on June 20, 2019 and received at the laboratory on June
        21, 2019, four days after collection on June 17, 2019.

Additional Comments
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES).
        Contract required quantitation limit (CRQL) values recorded on Form 3-IN Blanks for the
        preparation blank are reported at the water CRQL rather than the soil CRQL. For example,
        antimony is reported as nondetected at 60.0 µg/L (water CRQL); however, the CRQL for soil is
        6.0 mg/kg. The CRQLs for the preparation blank are correctly reported in the EXES Data
        Manager. This is a reporting issue in the data package only.
        All standards and spiking solutions were analyzed before the expiration date.

        This report was prepared in accordance with the following documents:
        • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
            (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
        • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
        For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
        Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
        Concentration), ISM02.4.


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II. VALIDATION SUMMARY
       The data were evaluated based on the following parameters:
            Parameter                                                            Acceptable     Comment
       1.   Data Completeness                                                       Yes
       2.   Preservation and Holding Times                                          Yes
       3.   ICP-MS Tune Analysis                                                   N/A
       4.   Calibration                                                             Yes
            a. Initial                                                              Yes
            b. Initial and Continuing Calibration Verification                      Yes
      5.    Laboratory Blanks                                                       Yes              C
      6.    Field/Equipment Blanks                                                 N/A
      7.    ICP Interference Check Sample (ICS)                                     No               D
      8.    Laboratory Control Sample (LCS)                                         Yes
      9.    Duplicate Sample Analysis                                               No               E
     10.    Spike Sample Analysis                                                   No               A
     11.    ICP Serial Dilution                                                     No               F
     12.    ICP-MS Internal Standards                                              N/A
     13.    Analyte Quantitation and CRQL                                           Yes              B
     14.    Field Duplicate Sample Analysis                                        N/A
     15.    Overall Assessment of Data                                              Yes
             N/A = Not Applicable.

III. VALIDITY AND COMMENTS
       A.    The following nondetected results are rejected and flagged “R” due to a matrix spike
             recovery below 30%.
             • Antimony in all samples.

             The matrix spike recovery is less than 30% for antimony in QC sample MYANT0S as
             presented below.

                                             % Recovery            Post-Digestion Spike,
                        Analyte                (%R)                        %R
                       Antimony                 21                          76

             These results may indicate poor laboratory technique or matrix effects which may interfere
             with analysis. The post-digestion spike recovery does not reflect the entire sample
             preparation and analysis; the impact on reported results cannot be determined. Qualification
             is based on the matrix spike recoveries only. Nondetected results for antimony in the
             samples listed above are unusable.
       B.    Results above the method detection limit (MDL) but below the contract required
             quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
             qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
             precision near the quantitation limit.
       C.    The following results are qualified as non-detected (U) due to low level initial calibration
             blank (ICB) and continuing calibration blank (CCB) contamination.
             •   Aluminum, chromium, and zinc in preparation blank PBS01.
             •   Antimony and cadmium in all samples.
             •   Beryllium in all samples except MYANW2.
             •   Cobalt and nickel in samples MYANT7 and MYANW1.



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            •   Selenium in all samples and preparation blank PBS01.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.

                        Analyte                       Blank                      Concentration, µg/L
                       Aluminum                      CCB04                              41.3
                       Antimony                ICB01/CCB03/CCB04                     1.4/2.8/4.1
                       Beryllium                     CCB04                              0.16
                       Cadmium                    CCB03/CCB04                        0.086/0.39
                       Chromium                   CCB03/CCB04                         0.46/3.9
                        Cobalt                       CCB04                               1.0
                        Nickel                       CCB04                               1.6
                       Selenium                   ICB01/CCB04                          4.1/5.3
                         Zinc                     CCB03/CCB04                          1.8/6.5

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.
       D.   The following detected results are estimated and flagged “J” because high concentrations of
            interferences in the samples may significantly impact quantitation.
            •   Arsenic in samples MYANT2, MYANT4, MYANT5, MYANT8, MYANT9, and
                MYANW2.
            •   Silver in samples MYANT2, MYANT4, MYANT5, MYANT6, MYANT8, MYANT9,
                and MYANW2.
            Iron (for arsenic and silver interference) is present in samples listed above at concentrations
            greater than the concentrations in ICS; the interference corrections calculated from iron
            concentrations may impact quantitation of arsenic and silver. Detected results in the
            samples listed above are considered quantitatively uncertain.
       E.   The following results are estimated and flagged “J” because a laboratory duplicate result is
            outside method QC limit.
            •   Lead in all samples.

            The result for laboratory duplicate MYANT0D does not meet the 20% relative percent
            difference (RPD) criterion as presented below.

                                             Analyte           RPD, %
                                              Lead               27
            This result may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Results for lead are considered quantitatively uncertain.

       F.   The following results are estimated and flagged “J” or “UJ” because serial dilution results
            are outside method QC limit.

            •   Aluminum, arsenic, barium, beryllium, calcium, cobalt, iron, magnesium, manganese,
                and potassium in all samples.

            Percent differences for serial dilution analysis of MYANT0L do not meet the 10%
            difference criterion for the analytes presented below.




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                                      Analyte          % Difference
                                     Aluminum              12
                                      Arsenic              12
                                      Barium               12
                                     Beryllium             14
                                      Calcium              12
                                       Cobalt              17
                                        Iron               13
                                     Magnesium             14
                                     Manganese             13
                                     Potassium             11

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Results are considered quantitatively uncertain. Chemical and physical
            interferences may exist due to sample matrix effects. Since beryllium result for the diluted
            sample are lower than the original, the reported results may be biased high. For other
            analytes listed above, the reported results may be biased low because results for the diluted
            sample are higher than the original.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.
J-      The result is an estimated quantity, but the result may be biased low.

UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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                                                      Doc      Summary
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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANT0                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Spike             44.8                            mg/kg        44.8                         1            YES              S3VEM
  Antimony            Spike             12.3                            mg/kg        12.3                         1            YES              S3VEM
   Arsenic            Spike              1.8                            mg/kg         1.8                         1            YES              S3VEM
   Barium             Spike             44.4                            mg/kg        44.4                         1            YES              S3VEM
  Beryllium           Spike             0.99                            mg/kg        0.99                         1            YES              S3VEM
  Cadmium             Spike              1.0                            mg/kg         1.0                         1            YES              S3VEM
   Calcium            Spike             1050                            mg/kg       1050                          1            YES              S3VEM
 Chromium             Spike              2.1                            mg/kg         2.1                         1            YES              S3VEM
    Cobalt            Spike             10.5                            mg/kg        10.5                         1            YES              S3VEM
   Copper             Spike              5.0                            mg/kg         5.0                         1            YES              S3VEM
     Iron             Spike             26.0                            mg/kg        26.0                         1            YES              S3VEM
     Lead             Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
 Magnesium            Spike             1100                            mg/kg       1100                          1            YES              S3VEM
 Manganese            Spike              3.3                            mg/kg         3.3                         1            YES              S3VEM
    Nickel            Spike              8.5                            mg/kg         8.5                         1            YES              S3VEM
 Potassium            Spike             1060                            mg/kg       1060                          1            YES              S3VEM
  Selenium            Spike              7.1                            mg/kg         7.1                         1            YES              S3VEM
    Silver            Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
   Sodium             Spike             1010                            mg/kg       1010                          1            YES              S3VEM
  Thallium            Spike              5.0                            mg/kg         5.0                         1            YES              S3VEM
 Vanadium             Spike             10.7                            mg/kg        10.7                         1            YES              S3VEM
     Zinc             Spike             12.9                            mg/kg        12.9                         1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT0               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                      Sample Date: 06/17/2019                Sample Time: 10:10:00

% Moisture:                                                                  % Solids: 90.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           12700                 J          mg/kg       12700            *             1            YES                S3VEM
  Antimony         Target             6.5                R           mg/kg        0.97           J*             1            YES                S3VEM
   Arsenic         Target             3.4                 J          mg/kg         3.4            *             1            YES                S3VEM
   Barium          Target            96.2                 J          mg/kg        96.2            *             1            YES                S3VEM
  Beryllium        Target            0.54                UJ          mg/kg        0.37           J*             1            YES                S3VEM
  Cadmium          Target            0.54                U           mg/kg        0.26            J             1            YES                S3VEM
   Calcium         Target            5230                 J          mg/kg        5230            *             1            YES                S3VEM
 Chromium          Target            17.5                            mg/kg        17.5                          1            YES                S3VEM
    Cobalt         Target            10.7                 J          mg/kg        10.7           *              1            YES                S3VEM
   Copper          Target            26.3                            mg/kg        26.3                          1            YES                S3VEM
     Iron          Target           16900                 J          mg/kg       16900           *              1            YES                S3VEM
     Lead          Target            29.1                 J          mg/kg        29.1           *              1            YES                S3VEM
 Magnesium         Target            3950                 J          mg/kg        3950           *              1            YES                S3VEM
 Manganese         Target             230                 J          mg/kg         230           *              1            YES                S3VEM
    Nickel         Target            12.7                            mg/kg        12.7                          1            YES                S3VEM
 Potassium         Target            2710                J           mg/kg        2710           *              1            YES                S3VEM
  Selenium         Target             3.8                U           mg/kg        0.95           J              1            YES                S3VEM
    Silver         Target            0.41                J           mg/kg        0.41           J              1            YES                S3VEM
   Sodium          Target             370                J           mg/kg         370           J              1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg         2.7           U              1            YES                S3VEM
 Vanadium          Target            34.6                            mg/kg        34.6                          1            YES                S3VEM
     Zinc          Target            90.0                            mg/kg        90.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT0A                 Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date: 06/17/2019                Sample Time: 10:10:00

% Moisture:                                                                     % Solids: 90.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike             10.8                            mg/kg        10.8                          1            YES                S3VEM




                                                                                Page 3                                               Mon, 5 Aug 2019 13:12:34
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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT0D                 Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date: 06/17/2019                Sample Time: 10:10:00

% Moisture:                                                                     % Solids: 90.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target           13700                            mg/kg       13700                          1            YES                S3VEM
  Antimony            Target             1.1                 J          mg/kg         1.1           J              1            YES                S3VEM
   Arsenic            Target             3.5                            mg/kg         3.5                          1            YES                S3VEM
   Barium             Target             102                            mg/kg         102                          1            YES                S3VEM
  Beryllium           Target            0.42                 J          mg/kg        0.42           J              1            YES                S3VEM
  Cadmium             Target            0.26                 J          mg/kg        0.26           J              1            YES                S3VEM
   Calcium            Target            5920                            mg/kg        5920                          1            YES                S3VEM
 Chromium             Target            18.6                            mg/kg        18.6                          1            YES                S3VEM
    Cobalt            Target             8.5                            mg/kg         8.5                          1            YES                S3VEM
   Copper             Target            25.7                            mg/kg        25.7                          1            YES                S3VEM
     Iron             Target           17900                            mg/kg       17900                          1            YES                S3VEM
     Lead             Target            22.1                            mg/kg        22.1           *              1            YES                S3VEM
 Magnesium            Target            4410                            mg/kg        4410                          1            YES                S3VEM
 Manganese            Target             241                            mg/kg         241                          1            YES                S3VEM
    Nickel            Target            13.5                            mg/kg        13.5                          1            YES                S3VEM
 Potassium            Target            2980                            mg/kg        2980                          1            YES                S3VEM
  Selenium            Target             1.0                J           mg/kg         1.0           J              1            YES                S3VEM
    Silver            Target            0.36                J           mg/kg        0.36           J              1            YES                S3VEM
   Sodium             Target             377                J           mg/kg         377           J              1            YES                S3VEM
  Thallium            Target             2.7                U           mg/kg         2.7           U              1            YES                S3VEM
 Vanadium             Target            36.7                            mg/kg        36.7                          1            YES                S3VEM
     Zinc             Target            88.4                            mg/kg        88.4                          1            YES                S3VEM




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                   Case 2:20-bk-17433-VZ                Sample
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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT0L                 Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date:                           Sample Time:

% Moisture:                                                                     % Solids: 90.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target           14200                            mg/kg       14200            *             5            YES              S3VEM
  Antimony            Target            32.4                U           mg/kg        32.4           U              5            YES              S3VEM
   Arsenic            Target             3.8                J           mg/kg         3.8           J*             5            YES              S3VEM
   Barium             Target             107                            mg/kg         107           J*             5            YES              S3VEM
  Beryllium           Target            0.32                 J          mg/kg        0.32           J*             5            YES              S3VEM
  Cadmium             Target            0.29                 J          mg/kg        0.29            J             5            YES              S3VEM
   Calcium            Target            5880                            mg/kg        5880            *             5            YES              S3VEM
 Chromium             Target            18.0                            mg/kg        18.0                          5            YES              S3VEM
    Cobalt            Target            12.5                 J          mg/kg        12.5           J*             5            YES              S3VEM
   Copper             Target            25.9                            mg/kg        25.9                          5            YES              S3VEM
     Iron             Target           19200                            mg/kg       19200           *              5            YES              S3VEM
     Lead             Target            28.6                            mg/kg        28.6                          5            YES              S3VEM
 Magnesium            Target            4490                            mg/kg        4490           *              5            YES              S3VEM
 Manganese            Target             261                            mg/kg         261           *              5            YES              S3VEM
    Nickel            Target            12.4                 J          mg/kg        12.4           J              5            YES              S3VEM
 Potassium            Target            3010                            mg/kg        3010           *              5            YES              S3VEM
  Selenium            Target             1.8                J           mg/kg         1.8           J              5            YES              S3VEM
    Silver            Target            0.48                J           mg/kg        0.48           J              5            YES              S3VEM
   Sodium             Target             373                J           mg/kg         373           J              5            YES              S3VEM
  Thallium            Target            13.5                U           mg/kg        13.5           U              5            YES              S3VEM
 Vanadium             Target            38.1                            mg/kg        38.1                          5            YES              S3VEM
     Zinc             Target            89.3                            mg/kg        89.3                          5            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT0S                 Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location:                       pH:                                      Sample Date: 06/17/2019                Sample Time: 10:10:00

% Moisture:                                                                     % Solids: 90.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              5.5                 J          mg/kg         5.5           J*             1            YES                S3VEM
   Arsenic            Spike             12.2                            mg/kg        12.2                          1            YES                S3VEM
   Barium             Spike             498                             mg/kg        498                           1            YES                S3VEM
  Beryllium           Spike             10.9                            mg/kg        10.9                          1            YES                S3VEM
  Cadmium             Spike              9.0                            mg/kg         9.0                          1            YES                S3VEM
 Chromium             Spike             62.9                            mg/kg        62.9                          1            YES                S3VEM
   Cobalt             Spike             98.0                            mg/kg        98.0                          1            YES                S3VEM
   Copper             Spike             79.6                            mg/kg        79.6                          1            YES                S3VEM
    Lead              Spike             27.1                            mg/kg        27.1                          1            YES                S3VEM
 Manganese            Spike             344                             mg/kg        344                           1            YES                S3VEM
   Nickel             Spike             127                             mg/kg        127                           1            YES                S3VEM
  Selenium            Spike             17.5                            mg/kg        17.5                          1            YES                S3VEM
   Silver             Spike              9.4                            mg/kg         9.4                          1            YES                S3VEM
  Thallium            Spike              9.9                            mg/kg         9.9                          1            YES                S3VEM
 Vanadium             Spike             133                             mg/kg        133                           1            YES                S3VEM
    Zinc              Spike             203                             mg/kg        203                           1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT2               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                      Sample Date: 06/17/2019                Sample Time: 10:25:00

% Moisture:                                                                  % Solids: 89.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           15100                 J          mg/kg       15100            *             1            YES                S3VEM
  Antimony         Target             6.5                R           mg/kg        0.82           J*             1            YES                S3VEM
   Arsenic         Target             2.5                 J          mg/kg         2.5            *             1            YES                S3VEM
   Barium          Target             122                 J          mg/kg         122            *             1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg        0.39           J*             1            YES                S3VEM
  Cadmium          Target            0.55                U           mg/kg        0.17            J             1            YES                S3VEM
   Calcium         Target            8220                 J          mg/kg        8220            *             1            YES                S3VEM
 Chromium          Target            18.8                            mg/kg        18.8                          1            YES                S3VEM
    Cobalt         Target            21.9                 J          mg/kg        21.9           *              1            YES                S3VEM
   Copper          Target            21.7                            mg/kg        21.7                          1            YES                S3VEM
     Iron          Target           20600                 J          mg/kg       20600           *              1            YES                S3VEM
     Lead          Target             6.2                 J          mg/kg         6.2           *              1            YES                S3VEM
 Magnesium         Target            7140                 J          mg/kg        7140           *              1            YES                S3VEM
 Manganese         Target             330                 J          mg/kg         330           *              1            YES                S3VEM
    Nickel         Target            12.2                            mg/kg        12.2                          1            YES                S3VEM
 Potassium         Target            3680                J           mg/kg        3680           *              1            YES                S3VEM
  Selenium         Target             3.8                U           mg/kg         1.0           J              1            YES                S3VEM
    Silver         Target            0.90                J           mg/kg        0.90           J              1            YES                S3VEM
   Sodium          Target             497                J           mg/kg         497           J              1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg         2.7           U              1            YES                S3VEM
 Vanadium          Target            41.5                            mg/kg        41.5                          1            YES                S3VEM
     Zinc          Target            68.9                            mg/kg        68.9                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT3               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                      Sample Date: 06/17/2019                Sample Time: 10:30:00

% Moisture:                                                                  % Solids: 92.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            7370                 J          mg/kg        7370            *             1            YES                S3VEM
  Antimony         Target             6.2                R           mg/kg        0.59           J*             1            YES                S3VEM
   Arsenic         Target             1.6                 J          mg/kg         1.6            *             1            YES                S3VEM
   Barium          Target            61.5                 J          mg/kg        61.5            *             1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg        0.18           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg       0.071            J             1            YES                S3VEM
   Calcium         Target            4430                 J          mg/kg        4430            *             1            YES                S3VEM
 Chromium          Target             9.5                            mg/kg         9.5                          1            YES                S3VEM
    Cobalt         Target             5.8                 J          mg/kg         5.8           *              1            YES                S3VEM
   Copper          Target             7.4                            mg/kg         7.4                          1            YES                S3VEM
     Iron          Target           12900                 J          mg/kg       12900           *              1            YES                S3VEM
     Lead          Target             2.3                 J          mg/kg         2.3           *              1            YES                S3VEM
 Magnesium         Target            3760                 J          mg/kg        3760           *              1            YES                S3VEM
 Manganese         Target             195                 J          mg/kg         195           *              1            YES                S3VEM
    Nickel         Target             5.0                            mg/kg         5.0                          1            YES                S3VEM
 Potassium         Target            1980                J           mg/kg        1980           *              1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg        0.73           J              1            YES                S3VEM
    Silver         Target            0.25                J           mg/kg        0.25           J              1            YES                S3VEM
   Sodium          Target             260                J           mg/kg         260           J              1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg         2.6           U              1            YES                S3VEM
 Vanadium          Target            27.2                            mg/kg        27.2                          1            YES                S3VEM
     Zinc          Target            31.2                            mg/kg        31.2                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT4               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP3            pH:                                      Sample Date: 06/17/2019                Sample Time: 10:40:00

% Moisture:                                                                  % Solids: 85.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           17000                 J          mg/kg       17000            *             1            YES                S3VEM
  Antimony         Target             6.7                R           mg/kg         1.1           J*             1            YES                S3VEM
   Arsenic         Target             3.6                 J          mg/kg         3.6            *             1            YES                S3VEM
   Barium          Target             150                 J          mg/kg         150            *             1            YES                S3VEM
  Beryllium        Target            0.56                UJ          mg/kg        0.45           J*             1            YES                S3VEM
  Cadmium          Target            0.56                U           mg/kg        0.14            J             1            YES                S3VEM
   Calcium         Target            8420                 J          mg/kg        8420            *             1            YES                S3VEM
 Chromium          Target            23.1                            mg/kg        23.1                          1            YES                S3VEM
    Cobalt         Target            12.9                 J          mg/kg        12.9           *              1            YES                S3VEM
   Copper          Target            18.3                            mg/kg        18.3                          1            YES                S3VEM
     Iron          Target           24000                 J          mg/kg       24000           *              1            YES                S3VEM
     Lead          Target             4.6                 J          mg/kg         4.6           *              1            YES                S3VEM
 Magnesium         Target            9270                 J          mg/kg        9270           *              1            YES                S3VEM
 Manganese         Target             379                 J          mg/kg         379           *              1            YES                S3VEM
    Nickel         Target            14.6                            mg/kg        14.6                          1            YES                S3VEM
 Potassium         Target            4840                J           mg/kg        4840           *              1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg         1.2           J              1            YES                S3VEM
    Silver         Target            0.46                J           mg/kg        0.46           J              1            YES                S3VEM
   Sodium          Target             435                J           mg/kg         435           J              1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            52.0                            mg/kg        52.0                          1            YES                S3VEM
     Zinc          Target            78.0                            mg/kg        78.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT5               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                       Sample Date: 06/17/2019                Sample Time: 11:25:00

% Moisture:                                                                   % Solids: 89.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           14400                 J          mg/kg        14400            *             1            YES                S3VEM
  Antimony         Target             6.4                R           mg/kg          1.0           J*             1            YES                S3VEM
   Arsenic         Target             2.6                 J          mg/kg          2.6            *             1            YES                S3VEM
   Barium          Target             103                 J          mg/kg          103            *             1            YES                S3VEM
  Beryllium        Target            0.53                UJ          mg/kg         0.39           J*             1            YES                S3VEM
  Cadmium          Target            0.53                U           mg/kg         0.18            J             1            YES                S3VEM
   Calcium         Target            6610                 J          mg/kg         6610            *             1            YES                S3VEM
 Chromium          Target            17.6                            mg/kg         17.6                          1            YES                S3VEM
    Cobalt         Target            11.4                 J          mg/kg         11.4           *              1            YES                S3VEM
   Copper          Target            17.8                            mg/kg         17.8                          1            YES                S3VEM
     Iron          Target           19200                 J          mg/kg        19200           *              1            YES                S3VEM
     Lead          Target             8.5                 J          mg/kg          8.5           *              1            YES                S3VEM
 Magnesium         Target            6410                 J          mg/kg         6410           *              1            YES                S3VEM
 Manganese         Target             306                 J          mg/kg          306           *              1            YES                S3VEM
    Nickel         Target            11.5                            mg/kg         11.5                          1            YES                S3VEM
 Potassium         Target            4230                J           mg/kg         4230           *              1            YES                S3VEM
  Selenium         Target             3.7                U           mg/kg         0.89           J              1            YES                S3VEM
    Silver         Target            0.50                J           mg/kg         0.50           J              1            YES                S3VEM
   Sodium          Target             468                J           mg/kg          468           J              1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg          2.7           U              1            YES                S3VEM
 Vanadium          Target            38.3                            mg/kg         38.3                          1            YES                S3VEM
     Zinc          Target            65.0                            mg/kg         65.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT6               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                       Sample Date: 06/17/2019                Sample Time: 11:42:00

% Moisture:                                                                   % Solids: 88.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           12200                 J          mg/kg        12200            *             1            YES                S3VEM
  Antimony         Target             6.6                R           mg/kg         0.86           J*             1            YES                S3VEM
   Arsenic         Target             2.1                 J          mg/kg          2.1            *             1            YES                S3VEM
   Barium          Target             110                 J          mg/kg          110            *             1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg         0.31           J*             1            YES                S3VEM
  Cadmium          Target            0.55                U           mg/kg         0.14            J             1            YES                S3VEM
   Calcium         Target            8560                 J          mg/kg         8560            *             1            YES                S3VEM
 Chromium          Target            15.0                            mg/kg         15.0                          1            YES                S3VEM
    Cobalt         Target             8.5                 J          mg/kg          8.5           *              1            YES                S3VEM
   Copper          Target            13.7                            mg/kg         13.7                          1            YES                S3VEM
     Iron          Target           17100                 J          mg/kg        17100           *              1            YES                S3VEM
     Lead          Target             3.2                 J          mg/kg          3.2           *              1            YES                S3VEM
 Magnesium         Target            6080                 J          mg/kg         6080           *              1            YES                S3VEM
 Manganese         Target             257                 J          mg/kg          257           *              1            YES                S3VEM
    Nickel         Target             9.2                            mg/kg          9.2                          1            YES                S3VEM
 Potassium         Target            2490                J           mg/kg         2490           *              1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg          1.1           J              1            YES                S3VEM
    Silver         Target            0.38                J           mg/kg         0.38           J              1            YES                S3VEM
   Sodium          Target             414                J           mg/kg          414           J              1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg          2.8           U              1            YES                S3VEM
 Vanadium          Target            34.8                            mg/kg         34.8                          1            YES                S3VEM
     Zinc          Target            47.0                            mg/kg         47.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT7               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                       Sample Date: 06/17/2019                Sample Time: 11:52:00

% Moisture:                                                                   % Solids: 96.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5740                 J          mg/kg        5740             *             1            YES                S3VEM
  Antimony         Target             5.8                R           mg/kg         0.62           J*             1            YES                S3VEM
   Arsenic         Target            0.74                 J          mg/kg         0.74           J*             1            YES                S3VEM
   Barium          Target            44.1                 J          mg/kg         44.1            *             1            YES                S3VEM
  Beryllium        Target            0.49                UJ          mg/kg         0.14           J*             1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg        0.069            J             1            YES                S3VEM
   Calcium         Target            3450                 J          mg/kg        3450             *             1            YES                S3VEM
 Chromium          Target             5.7                            mg/kg          5.7                          1            YES                S3VEM
    Cobalt         Target             4.9                UJ          mg/kg          4.0           J*             1            YES                S3VEM
   Copper          Target             4.9                            mg/kg          4.9                          1            YES                S3VEM
     Iron          Target            8600                J           mg/kg        8600            *              1            YES                S3VEM
     Lead          Target             1.3                J           mg/kg          1.3           *              1            YES                S3VEM
 Magnesium         Target            2550                J           mg/kg        2550            *              1            YES                S3VEM
 Manganese         Target             197                J           mg/kg         197            *              1            YES                S3VEM
    Nickel         Target             3.9                U           mg/kg          3.2           J              1            YES                S3VEM
 Potassium         Target            1350                J           mg/kg        1350            *              1            YES                S3VEM
  Selenium         Target             3.4                U           mg/kg         0.66           J              1            YES                S3VEM
    Silver         Target            0.22                J           mg/kg         0.22           J              1            YES                S3VEM
   Sodium          Target             220                J           mg/kg         220            J              1            YES                S3VEM
  Thallium         Target             2.4                U           mg/kg          2.4           U              1            YES                S3VEM
 Vanadium          Target            18.5                            mg/kg         18.5                          1            YES                S3VEM
     Zinc          Target            21.1                            mg/kg         21.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT8               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP10           pH:                                       Sample Date: 06/17/2019                Sample Time: 12:02:00

% Moisture:                                                                   % Solids: 83.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           20300                 J          mg/kg        20300            *             1            YES                S3VEM
  Antimony         Target             7.2                R           mg/kg          1.5           J*             1            YES                S3VEM
   Arsenic         Target             3.4                 J          mg/kg          3.4            *             1            YES                S3VEM
   Barium          Target             187                 J          mg/kg          187            *             1            YES                S3VEM
  Beryllium        Target            0.60                UJ          mg/kg         0.54           J*             1            YES                S3VEM
  Cadmium          Target            0.60                U           mg/kg         0.21            J             1            YES                S3VEM
   Calcium         Target            9750                 J          mg/kg         9750            *             1            YES                S3VEM
 Chromium          Target            27.5                            mg/kg         27.5                          1            YES                S3VEM
    Cobalt         Target            15.9                 J          mg/kg         15.9           *              1            YES                S3VEM
   Copper          Target            22.4                            mg/kg         22.4                          1            YES                S3VEM
     Iron          Target           27600                 J          mg/kg        27600           *              1            YES                S3VEM
     Lead          Target             5.1                 J          mg/kg          5.1           *              1            YES                S3VEM
 Magnesium         Target           11200                 J          mg/kg        11200           *              1            YES                S3VEM
 Manganese         Target             523                 J          mg/kg          523           *              1            YES                S3VEM
    Nickel         Target            18.5                            mg/kg         18.5                          1            YES                S3VEM
 Potassium         Target            6250                J           mg/kg         6250           *              1            YES                S3VEM
  Selenium         Target             4.2                U           mg/kg          1.1           J              1            YES                S3VEM
    Silver         Target            0.56                J           mg/kg         0.56           J              1            YES                S3VEM
   Sodium          Target             948                            mg/kg          948                          1            YES                S3VEM
  Thallium         Target             3.0                U           mg/kg          3.0           U              1            YES                S3VEM
 Vanadium          Target            59.0                            mg/kg         59.0                          1            YES                S3VEM
     Zinc          Target            94.9                            mg/kg         94.9                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANT9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 12:24:00

% Moisture:                                                                   % Solids: 88.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           17000                 J          mg/kg        17000            *             1            YES                S3VEM
  Antimony         Target             6.6                R           mg/kg          1.1           J*             1            YES                S3VEM
   Arsenic         Target             3.1                 J          mg/kg          3.1            *             1            YES                S3VEM
   Barium          Target             120                 J          mg/kg          120            *             1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg         0.47           J*             1            YES                S3VEM
  Cadmium          Target            0.55                U           mg/kg         0.18            J             1            YES                S3VEM
   Calcium         Target            9980                 J          mg/kg         9980            *             1            YES                S3VEM
 Chromium          Target            20.4                            mg/kg         20.4                          1            YES                S3VEM
    Cobalt         Target            11.2                 J          mg/kg         11.2           *              1            YES                S3VEM
   Copper          Target            19.4                            mg/kg         19.4                          1            YES                S3VEM
     Iron          Target           21100                 J          mg/kg        21100           *              1            YES                S3VEM
     Lead          Target             4.9                 J          mg/kg          4.9           *              1            YES                S3VEM
 Magnesium         Target            7590                 J          mg/kg         7590           *              1            YES                S3VEM
 Manganese         Target             336                 J          mg/kg          336           *              1            YES                S3VEM
    Nickel         Target            12.8                            mg/kg         12.8                          1            YES                S3VEM
 Potassium         Target            3250                J           mg/kg         3250           *              1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg          1.1           J              1            YES                S3VEM
    Silver         Target            0.46                J           mg/kg         0.46           J              1            YES                S3VEM
   Sodium          Target             563                            mg/kg          563                          1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg          2.8           U              1            YES                S3VEM
 Vanadium          Target            44.3                            mg/kg         44.3                          1            YES                S3VEM
     Zinc          Target            64.1                            mg/kg         64.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW0               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 12:58:00

% Moisture:                                                                   % Solids: 93.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            8330                 J          mg/kg         8330            *             1            YES                S3VEM
  Antimony         Target             5.7                R           mg/kg         0.83           J*             1            YES                S3VEM
   Arsenic         Target             1.4                 J          mg/kg          1.4            *             1            YES                S3VEM
   Barium          Target            71.2                 J          mg/kg         71.2            *             1            YES                S3VEM
  Beryllium        Target            0.47                UJ          mg/kg         0.21           J*             1            YES                S3VEM
  Cadmium          Target            0.47                U           mg/kg        0.095            J             1            YES                S3VEM
   Calcium         Target            5850                 J          mg/kg         5850            *             1            YES                S3VEM
 Chromium          Target            12.0                            mg/kg         12.0                          1            YES                S3VEM
    Cobalt         Target             6.8                 J          mg/kg          6.8           *              1            YES                S3VEM
   Copper          Target             8.7                            mg/kg          8.7                          1            YES                S3VEM
     Iron          Target           14000                 J          mg/kg        14000           *              1            YES                S3VEM
     Lead          Target             2.4                 J          mg/kg          2.4           *              1            YES                S3VEM
 Magnesium         Target            4460                 J          mg/kg         4460           *              1            YES                S3VEM
 Manganese         Target             196                 J          mg/kg          196           *              1            YES                S3VEM
    Nickel         Target             6.4                            mg/kg          6.4                          1            YES                S3VEM
 Potassium         Target            2220                J           mg/kg         2220           *              1            YES                S3VEM
  Selenium         Target             3.3                U           mg/kg         0.54           J              1            YES                S3VEM
    Silver         Target            0.32                J           mg/kg         0.32           J              1            YES                S3VEM
   Sodium          Target             308                J           mg/kg          308           J              1            YES                S3VEM
  Thallium         Target             2.4                U           mg/kg          2.4           U              1            YES                S3VEM
 Vanadium          Target            29.0                            mg/kg         29.0                          1            YES                S3VEM
     Zinc          Target            37.1                            mg/kg         37.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW1               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 13:06:00

% Moisture:                                                                   % Solids: 95.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5340                 J          mg/kg        5340             *             1            YES                S3VEM
  Antimony         Target             5.9                R           mg/kg         0.54           J*             1            YES                S3VEM
   Arsenic         Target             2.2                 J          mg/kg          2.2            *             1            YES                S3VEM
   Barium          Target            38.3                 J          mg/kg         38.3            *             1            YES                S3VEM
  Beryllium        Target            0.49                UJ          mg/kg         0.15           J*             1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg        0.082            J             1            YES                S3VEM
   Calcium         Target            3290                 J          mg/kg        3290             *             1            YES                S3VEM
 Chromium          Target             6.2                            mg/kg          6.2                          1            YES                S3VEM
    Cobalt         Target             4.9                UJ          mg/kg          4.1           J*             1            YES                S3VEM
   Copper          Target             4.8                            mg/kg          4.8                          1            YES                S3VEM
     Iron          Target            9100                J           mg/kg        9100            *              1            YES                S3VEM
     Lead          Target             1.4                J           mg/kg          1.4           *              1            YES                S3VEM
 Magnesium         Target            2450                J           mg/kg        2450            *              1            YES                S3VEM
 Manganese         Target             133                J           mg/kg         133            *              1            YES                S3VEM
    Nickel         Target             4.0                U           mg/kg          3.1           J              1            YES                S3VEM
 Potassium         Target            1270                J           mg/kg        1270            *              1            YES                S3VEM
  Selenium         Target             3.5                U           mg/kg         0.48           J              1            YES                S3VEM
    Silver         Target            0.15                J           mg/kg         0.15           J              1            YES                S3VEM
   Sodium          Target             182                J           mg/kg         182            J              1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg          2.5           U              1            YES                S3VEM
 Vanadium          Target            19.1                            mg/kg         19.1                          1            YES                S3VEM
     Zinc          Target            20.3                            mg/kg         20.3                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANT0                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW2               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP5            pH:                                       Sample Date: 06/17/2019                Sample Time: 13:19:00

% Moisture:                                                                   % Solids: 78.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           21400                 J          mg/kg        21400            *             1            YES                S3VEM
  Antimony         Target             7.3                R           mg/kg          1.4           J*             1            YES                S3VEM
   Arsenic         Target             4.7                 J          mg/kg          4.7            *             1            YES                S3VEM
   Barium          Target             158                 J          mg/kg          158            *             1            YES                S3VEM
  Beryllium        Target            0.62                 J          mg/kg         0.62            *             1            YES                S3VEM
  Cadmium          Target            0.61                U           mg/kg         0.24            J             1            YES                S3VEM
   Calcium         Target           11900                 J          mg/kg        11900            *             1            YES                S3VEM
 Chromium          Target            31.0                            mg/kg         31.0                          1            YES                S3VEM
    Cobalt         Target            14.8                 J          mg/kg         14.8           *              1            YES                S3VEM
   Copper          Target            25.4                            mg/kg         25.4                          1            YES                S3VEM
     Iron          Target           27200                 J          mg/kg        27200           *              1            YES                S3VEM
     Lead          Target             6.6                 J          mg/kg          6.6           *              1            YES                S3VEM
 Magnesium         Target           10400                 J          mg/kg        10400           *              1            YES                S3VEM
 Manganese         Target             476                 J          mg/kg          476           *              1            YES                S3VEM
    Nickel         Target            19.5                            mg/kg         19.5                          1            YES                S3VEM
 Potassium         Target            4750                J           mg/kg         4750           *              1            YES                S3VEM
  Selenium         Target             4.3                U           mg/kg         0.81           J              1            YES                S3VEM
    Silver         Target            0.68                J           mg/kg         0.68           J              1            YES                S3VEM
   Sodium          Target             535                J           mg/kg          535           J              1            YES                S3VEM
  Thallium         Target             3.0                U           mg/kg          3.0           U              1            YES                S3VEM
 Vanadium          Target            57.2                            mg/kg         57.2                          1            YES                S3VEM
     Zinc          Target            91.1                            mg/kg         91.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANT0                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-AES                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target            20.0                U           mg/kg          0.94         J              1            YES              S3VEM
  Antimony            Target             6.0                U           mg/kg           6.0         U              1            YES              S3VEM
   Arsenic            Target             1.0                U           mg/kg         -0.18         J              1            YES              S3VEM
   Barium             Target            20.0                U           mg/kg          20.0         U              1            YES              S3VEM
  Beryllium           Target            0.50                U           mg/kg        -0.016         J              1            YES              S3VEM
  Cadmium             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
   Calcium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Chromium             Target             1.0                U           mg/kg         0.051         J              1            YES              S3VEM
    Cobalt            Target             5.0                U           mg/kg        -0.021         J              1            YES              S3VEM
   Copper             Target             2.5                U           mg/kg         -0.18         J              1            YES              S3VEM
     Iron             Target            10.0                U           mg/kg          10.0         U              1            YES              S3VEM
     Lead             Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
 Magnesium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Manganese            Target             1.5                U           mg/kg           1.5         U              1            YES              S3VEM
    Nickel            Target             4.0                U           mg/kg         -0.11         J              1            YES              S3VEM
 Potassium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Selenium            Target             3.5                U           mg/kg          0.46         J              1            YES              S3VEM
    Silver            Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
   Sodium             Target            500                 U           mg/kg          -8.0         J              1            YES              S3VEM
  Thallium            Target             2.5                U           mg/kg           2.5         U              1            YES              S3VEM
 Vanadium             Target             5.0                U           mg/kg           5.0         U              1            YES              S3VEM
     Zinc             Target             6.0                U           mg/kg          0.15         J              1            YES              S3VEM




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Project Name: DAMILLE METAL SERVICE SITE      GroupID: 48315/EPW14029/MYANT0   Lab Name: Bonner Analytical Testing Co.
    INVESTIGATION STAGE 2 SAMPLING




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:               for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106232 (reissue of 10106227)
 Date:           August 7, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        MYANW3
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES
                 Samples:                        16 Soil Samples
                 Collection Dates:               June 17 and 18, 2019
                 Reviewer:                       Santiago Lee, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.

Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [X] FYI [ ] Action
SAMPLING ISSUES: [X] Yes [ ] No




10106232-21734/48315/MYANW3 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48315
SDG No.: MYANW3
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES
Reviewer: Santiago Lee, ESAT
Date:       August 7, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB):    None.
                  Equipment Blanks (EB):     None.
                Background Samples (BG):     None.
                         Field Duplicates:   None.
CLP PO Action
        None.
Sampling Issues
    1. The samples were received by the laboratory with a cooler temperature of 28oC which is above
       the < 6oC sample preservation criterion (see Additional Comments).
    2. Samples were shipped to the laboratory on June 20, 2019 and received at the laboratory on June
       24, 2019, 6-7 days after collection on June 17 and 18, 2019.
Additional Comments

        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES).
        As noted in Sampling Issues above, the samples were not adequately maintained at < 6oC as
        specified in the SOW. Technical judgment indicates no adverse effect is expected on metal
        results; this is substantiated by the recommended preservation criteria for metals in Table 3-2 of
        EPA publication SW-846, Update V, Revision 5, July 2014 (preservation criteria for metals does
        not require chilling).
        Sample MYANW5 was received with standing water; as Region 9 instructed, the sample was
        decanted prior to analysis.
        Contract required quantitation limit (CRQL) values recorded on Form 3-IN Blanks for the
        preparation blank are reported at the water CRQL rather than the soil CRQL. For example,
        antimony is reported as nondetected at 60.0 µg/L (water CRQL); however, the CRQL for soil is
        6.0 mg/kg. The CRQLs for the preparation blank are correctly reported in the EXES Data
        Manager. This is a reporting issue in the data package only.



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      All standards and spiking solutions were analyzed before the expiration date.
      This report was prepared in accordance with the following documents:
      • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
          (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
      • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
      For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
      Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
      Concentration), ISM02.4.

II. VALIDATION SUMMARY
      The data were evaluated based on the following parameters:
           Parameter                                                            Acceptable     Comment
      1.   Data Completeness                                                       Yes
      2.   Preservation and Holding Times                                          Yes
      3.   ICP-MS Tune Analysis                                                   N/A
      4.   Calibration                                                             Yes
           a. Initial                                                              Yes
           b. Initial and Continuing Calibration Verification                      Yes
      5.   Laboratory Blanks                                                       Yes              B
      6.   Field/Equipment Blanks                                                 N/A
      7.   ICP Interference Check Sample (ICS)                                     No               C
      8.   Laboratory Control Sample (LCS)                                         Yes
      9.   Duplicate Sample Analysis                                               Yes
     10.   Spike Sample Analysis                                                   No               D
     11.   ICP Serial Dilution                                                     No               E
     12.   ICP-MS Internal Standards                                              N/A
     13.   Analyte Quantitation and CRQL                                           Yes              A
     14.   Field Duplicate Sample Analysis                                        N/A
     15.   Overall Assessment of Data                                              Yes
            N/A = Not Applicable.

III. VALIDITY AND COMMENTS
      A.    Results above the method detection limit (MDL) but below the contract required
            quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
            qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
            precision near the quantitation limit.

      B.    The following results are qualified as non-detected (U) due to low level initial calibration
            blank (ICB), continuing calibration blank (CCB), and preparation blank (PB)
            contamination.
            •   Aluminum and zinc in preparation blank PBS01.
            •   Antimony and beryllium in all samples.
            •   Cadmium in samples MYANW4 through MYANW6, MYANW9, MYANX0,
                MYANY1 through MYANY3, and MYANZ2 through MYANZ4.
            •   Cobalt and nickel in samples MYANW5, MYANW9, and MYANZ3.
            •   Selenium in all samples except MYANW8.
            •   Sodium in all samples except MYANY0 and MYANY3.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.


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                       Analyte                       Blank                       Concentration, µg/L
                      Aluminum                      CCB02                                21.0
                      Antimony                   CCB01/CCB02                           1.8/1.3
                      Beryllium               ICB01/CCB01/CCB02                   0.019/0.028/0.094
                      Cadmium                       CCB02                               0.096
                       Cobalt                       CCB02                                0.20
                       Nickel                       CCB02                                0.38
                      Selenium                      PBS01                                0.17
                       Sodium                    CCB01/CCB02                          36.3/41.1
                        Zinc                        CCB02                                2.4

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.
      C.    The following detected results are estimated and flagged “J” because high concentrations of
            interferences in the samples may significantly impact quantitation.
            •   Arsenic and silver in samples MYANW4, MYANW7, MYANW8, MYANY0,
                MYANY3, and MYANZ1.
            •   Cadmium in samples MYANW3, MYANW7, MYANW8, MYANY0, and MYANZ1.
            Iron (for arsenic, cadmium, and silver interference) is present in samples listed above at
            concentrations greater than the concentrations in ICS; the interference corrections
            calculated from iron concentrations may impact quantitation of the associated metals.
            Detected results in the samples listed above are considered quantitatively uncertain.
      D.    The following results are estimated and flagged “UJ” because a matrix spike recovery is
            outside method QC limit.
            • Antimony in all samples.
            The matrix spike recovery for antimony in QC sample MYANZ3S does not meet the 75-
            125% criterion for accuracy as presented below.

                                           % Recovery            Post-Digestion Spike,
                       Analyte               (%R)                        %R
                      Antimony                42                          91

            This result may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. The post-digestion spike recovery does not reflect the entire sample
            preparation and analysis; the impact on reported results cannot be determined. Qualification
            is based on the matrix spike recovery only.
      E.    The following results are estimated and flagged “J” or “UJ” because serial dilution results
            are outside method QC limit.
            •   Aluminum, barium, beryllium, calcium, chromium, cobalt, copper, iron, magnesium,
                manganese, potassium, sodium, and vanadium in all samples.
            Percent differences for serial dilution analysis of MYANW3L do not meet the 10%
            difference criterion for the analytes presented below.




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                                     Analyte         % Difference
                                    Aluminum             15
                                     Barium              15
                                    Beryllium            12
                                     Calcium             16
                                    Chromium             19
                                      Cobalt             26
                                     Copper              11
                                       Iron              17
                                    Magnesium            16
                                    Manganese            17
                                    Potassium            14
                                     Sodium              12
                                    Vanadium             19

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Results are considered quantitatively uncertain. Chemical and physical
            interferences may exist due to sample matrix effects. Since results for the diluted sample
            are higher than the original, the reported results may be biased low.




10106232-21734/48315/MYANW3 Rpt              4
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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.
J-      The result is an estimated quantity, but the result may be biased low.

UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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     INVESTIGATION STAGE 2 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Spike             40.9                            mg/kg        40.9                         1            YES              S3VEM
  Antimony            Spike             12.3                            mg/kg        12.3                         1            YES              S3VEM
   Arsenic            Spike              1.7                            mg/kg         1.7                         1            YES              S3VEM
   Barium             Spike             41.3                            mg/kg        41.3                         1            YES              S3VEM
  Beryllium           Spike             0.94                            mg/kg        0.94                         1            YES              S3VEM
  Cadmium             Spike             0.99                            mg/kg        0.99                         1            YES              S3VEM
   Calcium            Spike             1040                            mg/kg       1040                          1            YES              S3VEM
 Chromium             Spike              2.1                            mg/kg         2.1                         1            YES              S3VEM
    Cobalt            Spike             10.2                            mg/kg        10.2                         1            YES              S3VEM
   Copper             Spike              5.0                            mg/kg         5.0                         1            YES              S3VEM
     Iron             Spike             21.8                            mg/kg        21.8                         1            YES              S3VEM
     Lead             Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
 Magnesium            Spike             1010                            mg/kg       1010                          1            YES              S3VEM
 Manganese            Spike              3.2                            mg/kg         3.2                         1            YES              S3VEM
    Nickel            Spike              7.7                            mg/kg         7.7                         1            YES              S3VEM
 Potassium            Spike             1000                            mg/kg       1000                          1            YES              S3VEM
  Selenium            Spike              6.4                            mg/kg         6.4                         1            YES              S3VEM
    Silver            Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
   Sodium             Spike             1010                            mg/kg       1010                          1            YES              S3VEM
  Thallium            Spike              4.9                            mg/kg         4.9                         1            YES              S3VEM
 Vanadium             Spike              9.9                            mg/kg         9.9                         1            YES              S3VEM
     Zinc             Spike             11.7                            mg/kg        11.7                         1            YES              S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW3               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                      Sample Date: 06/17/2019                Sample Time: 15:08:00

% Moisture:                                                                  % Solids: 92.1



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            7480                 J          mg/kg        7480            *             1            YES                S3VEM
  Antimony         Target             6.3                UJ          mg/kg        0.67           J*             1            YES                S3VEM
   Arsenic         Target             3.5                            mg/kg         3.5                          1            YES                S3VEM
   Barium          Target            92.6                 J          mg/kg        92.6            *             1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg        0.18           J*             1            YES                S3VEM
  Cadmium          Target            0.65                 J          mg/kg        0.65                          1            YES                S3VEM
   Calcium         Target            4290                 J          mg/kg        4290           *              1            YES                S3VEM
 Chromium          Target            22.0                 J          mg/kg        22.0           *              1            YES                S3VEM
    Cobalt         Target             6.2                 J          mg/kg         6.2           *              1            YES                S3VEM
   Copper          Target            22.0                 J          mg/kg        22.0           *              1            YES                S3VEM
     Iron          Target           15000                 J          mg/kg       15000           *              1            YES                S3VEM
     Lead          Target             138                            mg/kg         138                          1            YES                S3VEM
 Magnesium         Target            3080                 J          mg/kg        3080           *              1            YES                S3VEM
 Manganese         Target             195                 J          mg/kg         195           *              1            YES                S3VEM
    Nickel         Target             8.7                            mg/kg         8.7                          1            YES                S3VEM
 Potassium         Target            2120                 J          mg/kg        2120            *             1            YES                S3VEM
  Selenium         Target             3.7                U           mg/kg        0.72            J             1            YES                S3VEM
    Silver         Target            0.68                 J          mg/kg        0.68            J             1            YES                S3VEM
   Sodium          Target             522                UJ          mg/kg         323           J*             1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg         2.6           U              1            YES                S3VEM
 Vanadium          Target            19.9                 J          mg/kg        19.9            *             1            YES                S3VEM
     Zinc          Target             263                            mg/kg         263                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW4               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                      Sample Date: 06/17/2019                Sample Time: 15:36:00

% Moisture:                                                                  % Solids: 86.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           15400                 J          mg/kg       15400            *             1            YES                S3VEM
  Antimony         Target             6.8                UJ          mg/kg         1.1           J*             1            YES                S3VEM
   Arsenic         Target             4.9                 J          mg/kg         4.9                          1            YES                S3VEM
   Barium          Target             107                 J          mg/kg         107            *             1            YES                S3VEM
  Beryllium        Target            0.57                UJ          mg/kg        0.38           J*             1            YES                S3VEM
  Cadmium          Target            0.57                U           mg/kg        0.35            J             1            YES                S3VEM
   Calcium         Target            9420                 J          mg/kg        9420            *             1            YES                S3VEM
 Chromium          Target            17.5                 J          mg/kg        17.5            *             1            YES                S3VEM
    Cobalt         Target            10.8                 J          mg/kg        10.8            *             1            YES                S3VEM
   Copper          Target            22.1                 J          mg/kg        22.1            *             1            YES                S3VEM
     Iron          Target           21600                 J          mg/kg       21600            *             1            YES                S3VEM
     Lead          Target            12.6                            mg/kg        12.6                          1            YES                S3VEM
 Magnesium         Target            6730                 J          mg/kg        6730           *              1            YES                S3VEM
 Manganese         Target             313                 J          mg/kg         313           *              1            YES                S3VEM
    Nickel         Target            12.0                            mg/kg        12.0                          1            YES                S3VEM
 Potassium         Target            3530                 J          mg/kg        3530            *             1            YES                S3VEM
  Selenium         Target             4.0                U           mg/kg        0.69            J             1            YES                S3VEM
    Silver         Target            0.89                 J          mg/kg        0.89            J             1            YES                S3VEM
   Sodium          Target             567                UJ          mg/kg         565           J*             1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            40.1                 J          mg/kg        40.1            *             1            YES                S3VEM
     Zinc          Target             104                            mg/kg         104                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW5               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                      Sample Date: 06/17/2019                Sample Time: 15:43:00

% Moisture:                                                                  % Solids: 82.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5560                 J          mg/kg        5560            *             1            YES                S3VEM
  Antimony         Target             7.1                UJ          mg/kg        0.66           J*             1            YES                S3VEM
   Arsenic         Target             2.3                            mg/kg         2.3                          1            YES                S3VEM
   Barium          Target            50.5                 J          mg/kg        50.5            *             1            YES                S3VEM
  Beryllium        Target            0.60                UJ          mg/kg        0.14           J*             1            YES                S3VEM
  Cadmium          Target            0.60                U           mg/kg        0.18            J             1            YES                S3VEM
   Calcium         Target            4570                 J          mg/kg        4570            *             1            YES                S3VEM
 Chromium          Target             8.3                 J          mg/kg         8.3            *             1            YES                S3VEM
    Cobalt         Target             6.0                UJ          mg/kg         5.4           J*             1            YES                S3VEM
   Copper          Target             6.6                 J          mg/kg         6.6            *             1            YES                S3VEM
     Iron          Target           12000                 J          mg/kg       12000            *             1            YES                S3VEM
     Lead          Target             1.7                            mg/kg         1.7                          1            YES                S3VEM
 Magnesium         Target            2690                 J          mg/kg        2690            *             1            YES                S3VEM
 Manganese         Target             171                 J          mg/kg         171            *             1            YES                S3VEM
    Nickel         Target             4.8                U           mg/kg         3.7            J             1            YES                S3VEM
 Potassium         Target            1540                 J          mg/kg        1540            *             1            YES                S3VEM
  Selenium         Target             4.2                U           mg/kg        0.45            J             1            YES                S3VEM
    Silver         Target            0.45                 J          mg/kg        0.45            J             1            YES                S3VEM
   Sodium          Target             596                UJ          mg/kg         242           J*             1            YES                S3VEM
  Thallium         Target             3.0                U           mg/kg         3.0           U              1            YES                S3VEM
 Vanadium          Target            24.6                 J          mg/kg        24.6            *             1            YES                S3VEM
     Zinc          Target            23.6                            mg/kg        23.6                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW6               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP2            pH:                                      Sample Date: 06/17/2019                Sample Time: 16:02:00

% Moisture:                                                                  % Solids: 97.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6290                 J          mg/kg        6290            *             1            YES                S3VEM
  Antimony         Target             5.8                UJ          mg/kg        0.59           J*             1            YES                S3VEM
   Arsenic         Target             2.2                            mg/kg         2.2                          1            YES                S3VEM
   Barium          Target            57.7                 J          mg/kg        57.7            *             1            YES                S3VEM
  Beryllium        Target            0.48                UJ          mg/kg        0.16           J*             1            YES                S3VEM
  Cadmium          Target            0.48                U           mg/kg        0.16            J             1            YES                S3VEM
   Calcium         Target            3640                 J          mg/kg        3640            *             1            YES                S3VEM
 Chromium          Target             7.6                 J          mg/kg         7.6            *             1            YES                S3VEM
    Cobalt         Target             5.9                 J          mg/kg         5.9            *             1            YES                S3VEM
   Copper          Target             7.1                 J          mg/kg         7.1            *             1            YES                S3VEM
     Iron          Target           11300                 J          mg/kg       11300            *             1            YES                S3VEM
     Lead          Target             1.9                            mg/kg         1.9                          1            YES                S3VEM
 Magnesium         Target            3100                 J          mg/kg        3100           *              1            YES                S3VEM
 Manganese         Target             143                 J          mg/kg         143           *              1            YES                S3VEM
    Nickel         Target             4.5                            mg/kg         4.5                          1            YES                S3VEM
 Potassium         Target            1630                 J          mg/kg        1630            *             1            YES                S3VEM
  Selenium         Target             3.4                U           mg/kg        0.59            J             1            YES                S3VEM
    Silver         Target            0.40                 J          mg/kg        0.40            J             1            YES                S3VEM
   Sodium          Target             481                UJ          mg/kg         193           J*             1            YES                S3VEM
  Thallium         Target             2.4                U           mg/kg         2.4           U              1            YES                S3VEM
 Vanadium          Target            23.4                 J          mg/kg        23.4            *             1            YES                S3VEM
     Zinc          Target            26.8                            mg/kg        26.8                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW7               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                      Sample Date: 06/17/2019                Sample Time: 16:35:00

% Moisture:                                                                  % Solids: 89.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           15800                 J          mg/kg       15800            *             1            YES                S3VEM
  Antimony         Target             6.6                UJ          mg/kg         1.6           J*             1            YES                S3VEM
   Arsenic         Target            13.5                 J          mg/kg        13.5                          1            YES                S3VEM
   Barium          Target             139                 J          mg/kg         139            *             1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg        0.44           J*             1            YES                S3VEM
  Cadmium          Target             2.4                 J          mg/kg         2.4                          1            YES                S3VEM
   Calcium         Target            7740                 J          mg/kg        7740           *              1            YES                S3VEM
 Chromium          Target            20.3                 J          mg/kg        20.3           *              1            YES                S3VEM
    Cobalt         Target            11.3                 J          mg/kg        11.3           *              1            YES                S3VEM
   Copper          Target             102                 J          mg/kg         102           *              1            YES                S3VEM
     Iron          Target           23700                 J          mg/kg       23700           *              1            YES                S3VEM
     Lead          Target             152                            mg/kg         152                          1            YES                S3VEM
 Magnesium         Target            6790                 J          mg/kg        6790           *              1            YES                S3VEM
 Manganese         Target             368                 J          mg/kg         368           *              1            YES                S3VEM
    Nickel         Target            19.3                            mg/kg        19.3                          1            YES                S3VEM
 Potassium         Target            4260                 J          mg/kg        4260           *              1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg        0.82           J              1            YES                S3VEM
    Silver         Target             1.1                 J          mg/kg         1.1                          1            YES                S3VEM
   Sodium          Target             551                UJ          mg/kg         438           J*             1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            41.4                 J          mg/kg        41.4            *             1            YES                S3VEM
     Zinc          Target             661                            mg/kg         661                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW8               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                      Sample Date: 06/17/2019                Sample Time: 16:40:00

% Moisture:                                                                  % Solids: 85.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           17300                 J          mg/kg       17300            *             1            YES                S3VEM
  Antimony         Target             6.9                UJ          mg/kg         1.7           J*             1            YES                S3VEM
   Arsenic         Target             6.4                 J          mg/kg         6.4                          1            YES                S3VEM
   Barium          Target             139                 J          mg/kg         139            *             1            YES                S3VEM
  Beryllium        Target            0.58                UJ          mg/kg        0.43           J*             1            YES                S3VEM
  Cadmium          Target            0.74                 J          mg/kg        0.74                          1            YES                S3VEM
   Calcium         Target            9300                 J          mg/kg        9300           *              1            YES                S3VEM
 Chromium          Target            17.7                 J          mg/kg        17.7           *              1            YES                S3VEM
    Cobalt         Target            18.8                 J          mg/kg        18.8           *              1            YES                S3VEM
   Copper          Target            23.5                 J          mg/kg        23.5           *              1            YES                S3VEM
     Iron          Target           22200                 J          mg/kg       22200           *              1            YES                S3VEM
     Lead          Target            15.0                            mg/kg        15.0                          1            YES                S3VEM
 Magnesium         Target            7240                 J          mg/kg        7240           *              1            YES                S3VEM
 Manganese         Target             279                 J          mg/kg         279           *              1            YES                S3VEM
    Nickel         Target            25.4                            mg/kg        25.4                          1            YES                S3VEM
 Potassium         Target            3440                 J          mg/kg        3440            *             1            YES                S3VEM
  Selenium         Target             4.0                U           mg/kg         4.0           U              1            YES                S3VEM
    Silver         Target            0.99                 J          mg/kg        0.99            J             1            YES                S3VEM
   Sodium          Target             578                UJ          mg/kg         428           J*             1            YES                S3VEM
  Thallium         Target             2.9                U           mg/kg         2.9           U              1            YES                S3VEM
 Vanadium          Target            40.8                 J          mg/kg        40.8            *             1            YES                S3VEM
     Zinc          Target             120                            mg/kg         120                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANW9               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                      Sample Date: 06/17/2019                Sample Time: 17:00:00

% Moisture:                                                                  % Solids: 96.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5680                 J          mg/kg        5680            *             1            YES                S3VEM
  Antimony         Target             6.1                UJ          mg/kg        0.63           J*             1            YES                S3VEM
   Arsenic         Target             2.1                            mg/kg         2.1                          1            YES                S3VEM
   Barium          Target            44.1                 J          mg/kg        44.1            *             1            YES                S3VEM
  Beryllium        Target            0.51                UJ          mg/kg        0.15           J*             1            YES                S3VEM
  Cadmium          Target            0.51                U           mg/kg        0.13            J             1            YES                S3VEM
   Calcium         Target            3570                 J          mg/kg        3570            *             1            YES                S3VEM
 Chromium          Target             6.7                 J          mg/kg         6.7            *             1            YES                S3VEM
    Cobalt         Target             5.1                UJ          mg/kg         4.8           J*             1            YES                S3VEM
   Copper          Target             6.4                 J          mg/kg         6.4            *             1            YES                S3VEM
     Iron          Target           10400                 J          mg/kg       10400            *             1            YES                S3VEM
     Lead          Target             1.6                            mg/kg         1.6                          1            YES                S3VEM
 Magnesium         Target            2610                 J          mg/kg        2610            *             1            YES                S3VEM
 Manganese         Target             144                 J          mg/kg         144            *             1            YES                S3VEM
    Nickel         Target             4.0                U           mg/kg         3.7            J             1            YES                S3VEM
 Potassium         Target            1530                 J          mg/kg        1530            *             1            YES                S3VEM
  Selenium         Target             3.5                U           mg/kg        0.72            J             1            YES                S3VEM
    Silver         Target            0.39                 J          mg/kg        0.39            J             1            YES                S3VEM
   Sodium          Target             506                UJ          mg/kg         180           J*             1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg         2.5           U              1            YES                S3VEM
 Vanadium          Target            21.1                 J          mg/kg        21.1            *             1            YES                S3VEM
     Zinc          Target            22.6                            mg/kg        22.6                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX0               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP9            pH:                                      Sample Date: 06/17/2019                Sample Time: 17:06:00

% Moisture:                                                                  % Solids: 95.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6630                 J          mg/kg        6630            *             1            YES                S3VEM
  Antimony         Target             6.1                UJ          mg/kg        0.64           J*             1            YES                S3VEM
   Arsenic         Target             2.4                            mg/kg         2.4                          1            YES                S3VEM
   Barium          Target            46.7                 J          mg/kg        46.7            *             1            YES                S3VEM
  Beryllium        Target            0.51                UJ          mg/kg        0.17           J*             1            YES                S3VEM
  Cadmium          Target            0.51                U           mg/kg        0.16            J             1            YES                S3VEM
   Calcium         Target            3890                 J          mg/kg        3890            *             1            YES                S3VEM
 Chromium          Target             8.0                 J          mg/kg         8.0            *             1            YES                S3VEM
    Cobalt         Target             5.8                 J          mg/kg         5.8            *             1            YES                S3VEM
   Copper          Target             7.1                 J          mg/kg         7.1            *             1            YES                S3VEM
     Iron          Target           11900                 J          mg/kg       11900            *             1            YES                S3VEM
     Lead          Target             2.2                            mg/kg         2.2                          1            YES                S3VEM
 Magnesium         Target            3080                 J          mg/kg        3080           *              1            YES                S3VEM
 Manganese         Target             151                 J          mg/kg         151           *              1            YES                S3VEM
    Nickel         Target             4.4                            mg/kg         4.4                          1            YES                S3VEM
 Potassium         Target            1890                 J          mg/kg        1890            *             1            YES                S3VEM
  Selenium         Target             3.5                U           mg/kg        0.66            J             1            YES                S3VEM
    Silver         Target            0.48                 J          mg/kg        0.48            J             1            YES                S3VEM
   Sodium          Target             506                UJ          mg/kg         204           J*             1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg         2.5           U              1            YES                S3VEM
 Vanadium          Target            23.7                 J          mg/kg        23.7            *             1            YES                S3VEM
     Zinc          Target            27.6                            mg/kg        27.6                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY0               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:08:00

% Moisture:                                                                   % Solids: 88.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           11300                 J          mg/kg        11300            *             1            YES                S3VEM
  Antimony         Target             6.5                UJ          mg/kg          1.5           J*             1            YES                S3VEM
   Arsenic         Target             9.6                 J          mg/kg          9.6                          1            YES                S3VEM
   Barium          Target             112                 J          mg/kg          112            *             1            YES                S3VEM
  Beryllium        Target            0.54                UJ          mg/kg         0.30           J*             1            YES                S3VEM
  Cadmium          Target             1.1                 J          mg/kg          1.1                          1            YES                S3VEM
   Calcium         Target           22200                 J          mg/kg        22200           *              1            YES                S3VEM
 Chromium          Target            22.7                 J          mg/kg         22.7           *              1            YES                S3VEM
    Cobalt         Target            11.9                 J          mg/kg         11.9           *              1            YES                S3VEM
   Copper          Target            70.7                 J          mg/kg         70.7           *              1            YES                S3VEM
     Iron          Target           50800                 J          mg/kg        50800          D*              2            YES                S3VEM
     Lead          Target             138                            mg/kg          138                          1            YES                S3VEM
 Magnesium         Target            4790                 J          mg/kg         4790           *              1            YES                S3VEM
 Manganese         Target             495                 J          mg/kg          495           *              1            YES                S3VEM
    Nickel         Target            16.3                            mg/kg         16.3                          1            YES                S3VEM
 Potassium         Target            3050                J           mg/kg         3050           *              1            YES                S3VEM
  Selenium         Target             3.8                U           mg/kg         0.27           J              1            YES                S3VEM
    Silver         Target             1.7                J           mg/kg          1.7                          1            YES                S3VEM
   Sodium          Target             833                J           mg/kg          833           *              1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg          2.7           U              1            YES                S3VEM
 Vanadium          Target            31.7                J           mg/kg         31.7           *              1            YES                S3VEM
     Zinc          Target             183                            mg/kg          183                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY1               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:34:00

% Moisture:                                                                   % Solids: 94.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            7420                 J          mg/kg         7420            *             1            YES                S3VEM
  Antimony         Target             6.2                UJ          mg/kg         0.75           J*             1            YES                S3VEM
   Arsenic         Target             2.0                            mg/kg          2.0                          1            YES                S3VEM
   Barium          Target            60.8                 J          mg/kg         60.8            *             1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg         0.18           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg         0.15            J             1            YES                S3VEM
   Calcium         Target            5150                 J          mg/kg         5150            *             1            YES                S3VEM
 Chromium          Target             9.1                 J          mg/kg          9.1            *             1            YES                S3VEM
    Cobalt         Target             6.4                 J          mg/kg          6.4            *             1            YES                S3VEM
   Copper          Target             8.4                 J          mg/kg          8.4            *             1            YES                S3VEM
     Iron          Target           12700                 J          mg/kg        12700            *             1            YES                S3VEM
     Lead          Target             2.0                            mg/kg          2.0                          1            YES                S3VEM
 Magnesium         Target            3830                 J          mg/kg         3830           *              1            YES                S3VEM
 Manganese         Target             199                 J          mg/kg          199           *              1            YES                S3VEM
    Nickel         Target             5.2                            mg/kg          5.2                          1            YES                S3VEM
 Potassium         Target            2170                 J          mg/kg         2170            *             1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg         0.46            J             1            YES                S3VEM
    Silver         Target            0.50                 J          mg/kg         0.50            J             1            YES                S3VEM
   Sodium          Target             518                UJ          mg/kg          497           J*             1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg          2.6           U              1            YES                S3VEM
 Vanadium          Target            24.7                 J          mg/kg         24.7            *             1            YES                S3VEM
     Zinc          Target            33.0                            mg/kg         33.0                          1            YES                S3VEM




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               Case 2:20-bk-17433-VZ                 Sample
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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY2               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:53:00

% Moisture:                                                                   % Solids: 94.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            7180                 J          mg/kg         7180            *             1            YES                S3VEM
  Antimony         Target             6.3                UJ          mg/kg         0.73           J*             1            YES                S3VEM
   Arsenic         Target             2.4                            mg/kg          2.4                          1            YES                S3VEM
   Barium          Target            59.8                 J          mg/kg         59.8            *             1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg         0.19           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg         0.21            J             1            YES                S3VEM
   Calcium         Target            9080                 J          mg/kg         9080            *             1            YES                S3VEM
 Chromium          Target             8.1                 J          mg/kg          8.1            *             1            YES                S3VEM
    Cobalt         Target             5.9                 J          mg/kg          5.9            *             1            YES                S3VEM
   Copper          Target             8.1                 J          mg/kg          8.1            *             1            YES                S3VEM
     Iron          Target           11800                 J          mg/kg        11800            *             1            YES                S3VEM
     Lead          Target             1.9                            mg/kg          1.9                          1            YES                S3VEM
 Magnesium         Target            3380                 J          mg/kg         3380           *              1            YES                S3VEM
 Manganese         Target             250                 J          mg/kg          250           *              1            YES                S3VEM
    Nickel         Target             4.9                            mg/kg          4.9                          1            YES                S3VEM
 Potassium         Target            2000                 J          mg/kg         2000            *             1            YES                S3VEM
  Selenium         Target             3.7                U           mg/kg         0.40            J             1            YES                S3VEM
    Silver         Target            0.42                 J          mg/kg         0.42            J             1            YES                S3VEM
   Sodium          Target             523                UJ          mg/kg          448           J*             1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg          2.6           U              1            YES                S3VEM
 Vanadium          Target            23.8                 J          mg/kg         23.8            *             1            YES                S3VEM
     Zinc          Target            28.6                            mg/kg         28.6                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY3               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:04:00

% Moisture:                                                                   % Solids: 83.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           16100                 J          mg/kg        16100            *             1            YES                S3VEM
  Antimony         Target             7.2                UJ          mg/kg          1.1           J*             1            YES                S3VEM
   Arsenic         Target             4.9                 J          mg/kg          4.9                          1            YES                S3VEM
   Barium          Target             126                 J          mg/kg          126            *             1            YES                S3VEM
  Beryllium        Target            0.60                UJ          mg/kg         0.45           J*             1            YES                S3VEM
  Cadmium          Target            0.60                U           mg/kg         0.33            J             1            YES                S3VEM
   Calcium         Target           13800                 J          mg/kg        13800            *             1            YES                S3VEM
 Chromium          Target            20.9                 J          mg/kg         20.9            *             1            YES                S3VEM
    Cobalt         Target            12.3                 J          mg/kg         12.3            *             1            YES                S3VEM
   Copper          Target            23.1                 J          mg/kg         23.1            *             1            YES                S3VEM
     Iron          Target           22400                 J          mg/kg        22400            *             1            YES                S3VEM
     Lead          Target             7.7                            mg/kg          7.7                          1            YES                S3VEM
 Magnesium         Target            7590                 J          mg/kg         7590           *              1            YES                S3VEM
 Manganese         Target             401                 J          mg/kg          401           *              1            YES                S3VEM
    Nickel         Target            14.2                            mg/kg         14.2                          1            YES                S3VEM
 Potassium         Target            3790                J           mg/kg         3790           *              1            YES                S3VEM
  Selenium         Target             4.2                U           mg/kg         0.72           J              1            YES                S3VEM
    Silver         Target            0.67                J           mg/kg         0.67           J              1            YES                S3VEM
   Sodium          Target             825                J           mg/kg          825           *              1            YES                S3VEM
  Thallium         Target             3.0                U           mg/kg          3.0           U              1            YES                S3VEM
 Vanadium          Target            45.5                J           mg/kg         45.5           *              1            YES                S3VEM
     Zinc          Target            72.1                            mg/kg         72.1                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ1               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                       Sample Date: 06/18/2019                Sample Time: 15:30:00

% Moisture:                                                                   % Solids: 88.8



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           15000                 J          mg/kg        15000            *             1            YES                S3VEM
  Antimony         Target             6.6                UJ          mg/kg         0.68           J*             1            YES                S3VEM
   Arsenic         Target             8.3                 J          mg/kg          8.3                          1            YES                S3VEM
   Barium          Target             145                 J          mg/kg          145            *             1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg         0.39           J*             1            YES                S3VEM
  Cadmium          Target             7.6                 J          mg/kg          7.6                          1            YES                S3VEM
   Calcium         Target            7780                 J          mg/kg         7780           *              1            YES                S3VEM
 Chromium          Target            25.2                 J          mg/kg         25.2           *              1            YES                S3VEM
    Cobalt         Target            13.4                 J          mg/kg         13.4           *              1            YES                S3VEM
   Copper          Target             245                 J          mg/kg          245           *              1            YES                S3VEM
     Iron          Target           44800                 J          mg/kg        44800          D*              2            YES                S3VEM
     Lead          Target             612                            mg/kg          612                          1            YES                S3VEM
 Magnesium         Target            6280                 J          mg/kg         6280           *              1            YES                S3VEM
 Manganese         Target             458                 J          mg/kg          458           *              1            YES                S3VEM
    Nickel         Target            21.1                            mg/kg         21.1                          1            YES                S3VEM
 Potassium         Target            4060                 J          mg/kg         4060           *              1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg         0.67           J              1            YES                S3VEM
    Silver         Target             1.9                 J          mg/kg          1.9                          1            YES                S3VEM
   Sodium          Target             552                UJ          mg/kg          448           J*             1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg          2.8           U              1            YES                S3VEM
 Vanadium          Target            40.0                 J          mg/kg         40.0            *             1            YES                S3VEM
     Zinc          Target            3160                            mg/kg         3160                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ2               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                       Sample Date: 06/18/2019                Sample Time: 15:45:00

% Moisture:                                                                   % Solids: 94.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6570                 J          mg/kg         6570            *             1            YES                S3VEM
  Antimony         Target             6.2                UJ          mg/kg         0.67           J*             1            YES                S3VEM
   Arsenic         Target             2.6                            mg/kg          2.6                          1            YES                S3VEM
   Barium          Target            51.7                 J          mg/kg         51.7            *             1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg         0.16           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg         0.15            J             1            YES                S3VEM
   Calcium         Target            6490                 J          mg/kg         6490            *             1            YES                S3VEM
 Chromium          Target             8.0                 J          mg/kg          8.0            *             1            YES                S3VEM
    Cobalt         Target             5.7                 J          mg/kg          5.7            *             1            YES                S3VEM
   Copper          Target             8.0                 J          mg/kg          8.0            *             1            YES                S3VEM
     Iron          Target           12000                 J          mg/kg        12000            *             1            YES                S3VEM
     Lead          Target             2.1                            mg/kg          2.1                          1            YES                S3VEM
 Magnesium         Target            3300                 J          mg/kg         3300           *              1            YES                S3VEM
 Manganese         Target             156                 J          mg/kg          156           *              1            YES                S3VEM
    Nickel         Target             4.5                            mg/kg          4.5                          1            YES                S3VEM
 Potassium         Target            1830                 J          mg/kg         1830            *             1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg         0.42            J             1            YES                S3VEM
    Silver         Target            0.31                 J          mg/kg         0.31            J             1            YES                S3VEM
   Sodium          Target             518                UJ          mg/kg          240           J*             1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg          2.6           U              1            YES                S3VEM
 Vanadium          Target            23.6                 J          mg/kg         23.6            *             1            YES                S3VEM
     Zinc          Target            28.4                            mg/kg         28.4                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ3               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                       Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                   % Solids: 95.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            5430                 J          mg/kg        5430             *             1            YES                S3VEM
  Antimony         Target             5.8                UJ          mg/kg         0.58           J*             1            YES                S3VEM
   Arsenic         Target             2.2                            mg/kg          2.2                          1            YES                S3VEM
   Barium          Target            41.0                 J          mg/kg         41.0            *             1            YES                S3VEM
  Beryllium        Target            0.49                UJ          mg/kg         0.15           J*             1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg         0.11            J             1            YES                S3VEM
   Calcium         Target            3540                 J          mg/kg        3540             *             1            YES                S3VEM
 Chromium          Target             5.8                 J          mg/kg          5.8            *             1            YES                S3VEM
    Cobalt         Target             4.9                UJ          mg/kg          4.5           J*             1            YES                S3VEM
   Copper          Target             5.6                 J          mg/kg          5.6            *             1            YES                S3VEM
     Iron          Target            9820                 J          mg/kg        9820             *             1            YES                S3VEM
     Lead          Target             1.6                            mg/kg          1.6                          1            YES                S3VEM
 Magnesium         Target            2500                 J          mg/kg        2500             *             1            YES                S3VEM
 Manganese         Target             135                 J          mg/kg         135             *             1            YES                S3VEM
    Nickel         Target             3.9                U           mg/kg          3.4            J             1            YES                S3VEM
 Potassium         Target            1360                 J          mg/kg        1360             *             1            YES                S3VEM
  Selenium         Target             3.4                U           mg/kg         0.40            J             1            YES                S3VEM
    Silver         Target            0.35                 J          mg/kg         0.35            J             1            YES                S3VEM
   Sodium          Target             487                UJ          mg/kg         192            J*             1            YES                S3VEM
  Thallium         Target             2.4                U           mg/kg          2.4           U              1            YES                S3VEM
 Vanadium          Target            18.9                 J          mg/kg         18.9            *             1            YES                S3VEM
     Zinc          Target            20.8                            mg/kg         20.8                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ3A                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                      % Solids: 95.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike             11.2                            mg/kg         11.2                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ3D                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                      % Solids: 95.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target            5670                            mg/kg         5670                          1            YES                S3VEM
  Antimony            Target            0.61                 J          mg/kg         0.61           J              1            YES                S3VEM
   Arsenic            Target             2.3                            mg/kg          2.3                          1            YES                S3VEM
   Barium             Target            43.0                            mg/kg         43.0                          1            YES                S3VEM
  Beryllium           Target            0.17                 J          mg/kg         0.17           J              1            YES                S3VEM
  Cadmium             Target            0.12                 J          mg/kg         0.12           J              1            YES                S3VEM
   Calcium            Target            3420                            mg/kg         3420                          1            YES                S3VEM
 Chromium             Target             6.5                            mg/kg          6.5                          1            YES                S3VEM
    Cobalt            Target             4.9                            mg/kg          4.9                          1            YES                S3VEM
   Copper             Target             6.2                            mg/kg          6.2                          1            YES                S3VEM
     Iron             Target           10300                            mg/kg        10300                          1            YES                S3VEM
     Lead             Target             1.6                            mg/kg          1.6                          1            YES                S3VEM
 Magnesium            Target            2670                            mg/kg         2670                          1            YES                S3VEM
 Manganese            Target             144                            mg/kg          144                          1            YES                S3VEM
    Nickel            Target             3.7                 J          mg/kg          3.7           J              1            YES                S3VEM
 Potassium            Target            1500                            mg/kg         1500                          1            YES                S3VEM
  Selenium            Target            0.71                J           mg/kg         0.71           J              1            YES                S3VEM
    Silver            Target            0.35                J           mg/kg         0.35           J              1            YES                S3VEM
   Sodium             Target             211                J           mg/kg          211           J              1            YES                S3VEM
  Thallium            Target             2.4                U           mg/kg          2.4           U              1            YES                S3VEM
 Vanadium             Target            19.9                            mg/kg         19.9                          1            YES                S3VEM
     Zinc             Target            24.0                            mg/kg         24.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANW3                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ3L                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date:                           Sample Time:

% Moisture:                                                                      % Solids: 95.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target            6260                            mg/kg         6260            *             5            YES              S3VEM
  Antimony            Target            29.2                U           mg/kg         29.2           U              5            YES              S3VEM
   Arsenic            Target             2.4                J           mg/kg          2.4            J             5            YES              S3VEM
   Barium             Target            47.2                J           mg/kg         47.2           J*             5            YES              S3VEM
  Beryllium           Target            0.17                J           mg/kg         0.17           J*             5            YES              S3VEM
  Cadmium             Target            0.12                J           mg/kg         0.12            J             5            YES              S3VEM
   Calcium            Target            4090                            mg/kg         4090            *             5            YES              S3VEM
 Chromium             Target             7.0                            mg/kg          7.0            *             5            YES              S3VEM
    Cobalt            Target             5.6                 J          mg/kg          5.6           J*             5            YES              S3VEM
   Copper             Target             6.2                 J          mg/kg          6.2           J*             5            YES              S3VEM
     Iron             Target           11500                            mg/kg        11500            *             5            YES              S3VEM
     Lead             Target             1.7                 J          mg/kg          1.7            J             5            YES              S3VEM
 Magnesium            Target            2900                            mg/kg         2900            *             5            YES              S3VEM
 Manganese            Target             157                            mg/kg          157            *             5            YES              S3VEM
    Nickel            Target             3.6                J           mg/kg          3.6            J             5            YES              S3VEM
 Potassium            Target            1560                J           mg/kg         1560           J*             5            YES              S3VEM
  Selenium            Target             1.5                J           mg/kg          1.5            J             5            YES              S3VEM
    Silver            Target            0.33                J           mg/kg         0.33            J             5            YES              S3VEM
   Sodium             Target             215                J           mg/kg          215           J*             5            YES              S3VEM
  Thallium            Target            12.2                U           mg/kg         12.2           U              5            YES              S3VEM
 Vanadium             Target            22.5                J           mg/kg         22.5           J*             5            YES              S3VEM
     Zinc             Target            22.7                J           mg/kg         22.7            J             5            YES              S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ3S                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 06/18/2019                Sample Time: 15:55:00

% Moisture:                                                                      % Solids: 95.0



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              8.7                            mg/kg          8.7           *              1            YES                S3VEM
   Arsenic            Spike             10.1                            mg/kg         10.1                          1            YES                S3VEM
   Barium             Spike             424                             mg/kg         424                           1            YES                S3VEM
  Beryllium           Spike              9.8                            mg/kg          9.8                          1            YES                S3VEM
  Cadmium             Spike              8.9                            mg/kg          8.9                          1            YES                S3VEM
 Chromium             Spike             45.0                            mg/kg         45.0                          1            YES                S3VEM
   Cobalt             Spike             94.9                            mg/kg         94.9                          1            YES                S3VEM
   Copper             Spike             56.7                            mg/kg         56.7                          1            YES                S3VEM
    Lead              Spike              6.3                            mg/kg          6.3                          1            YES                S3VEM
 Manganese            Spike             252                             mg/kg         252                           1            YES                S3VEM
   Nickel             Spike             107                             mg/kg         107                           1            YES                S3VEM
  Selenium            Spike             18.9                            mg/kg         18.9                          1            YES                S3VEM
   Silver             Spike              9.0                            mg/kg          9.0                          1            YES                S3VEM
  Thallium            Spike              9.1                            mg/kg          9.1                          1            YES                S3VEM
 Vanadium             Spike             112                             mg/kg         112                           1            YES                S3VEM
    Zinc              Spike             131                             mg/kg         131                           1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ4               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP7            pH:                                       Sample Date: 06/18/2019                Sample Time: 16:12:00

% Moisture:                                                                   % Solids: 94.2



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            8860                 J          mg/kg         8860            *             1            YES                S3VEM
  Antimony         Target             6.0                UJ          mg/kg         0.69           J*             1            YES                S3VEM
   Arsenic         Target             2.8                            mg/kg          2.8                          1            YES                S3VEM
   Barium          Target            67.8                 J          mg/kg         67.8            *             1            YES                S3VEM
  Beryllium        Target            0.50                UJ          mg/kg         0.23           J*             1            YES                S3VEM
  Cadmium          Target            0.50                U           mg/kg         0.11            J             1            YES                S3VEM
   Calcium         Target            5260                 J          mg/kg         5260            *             1            YES                S3VEM
 Chromium          Target            10.7                 J          mg/kg         10.7            *             1            YES                S3VEM
    Cobalt         Target             7.0                 J          mg/kg          7.0            *             1            YES                S3VEM
   Copper          Target             9.8                 J          mg/kg          9.8            *             1            YES                S3VEM
     Iron          Target           14500                 J          mg/kg        14500            *             1            YES                S3VEM
     Lead          Target             2.6                            mg/kg          2.6                          1            YES                S3VEM
 Magnesium         Target            4310                 J          mg/kg         4310           *              1            YES                S3VEM
 Manganese         Target             207                 J          mg/kg          207           *              1            YES                S3VEM
    Nickel         Target             6.1                            mg/kg          6.1                          1            YES                S3VEM
 Potassium         Target            2500                 J          mg/kg         2500            *             1            YES                S3VEM
  Selenium         Target             3.5                U           mg/kg         0.79            J             1            YES                S3VEM
    Silver         Target            0.54                 J          mg/kg         0.54            J             1            YES                S3VEM
   Sodium          Target             501                UJ          mg/kg          319           J*             1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg          2.5           U              1            YES                S3VEM
 Vanadium          Target            28.8                 J          mg/kg         28.8            *             1            YES                S3VEM
     Zinc          Target            36.2                            mg/kg         36.2                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-AES                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target            20.0                U           mg/kg          0.84         J              1            YES              S3VEM
  Antimony            Target             6.0                U           mg/kg           6.0         U              1            YES              S3VEM
   Arsenic            Target             1.0                U           mg/kg         -0.11         J              1            YES              S3VEM
   Barium             Target            20.0                U           mg/kg          20.0         U              1            YES              S3VEM
  Beryllium           Target            0.50                U           mg/kg       -0.0041         J              1            YES              S3VEM
  Cadmium             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
   Calcium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Chromium             Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
    Cobalt            Target             5.0                U           mg/kg        -0.026         J              1            YES              S3VEM
   Copper             Target             2.5                U           mg/kg           2.5         U              1            YES              S3VEM
     Iron             Target            10.0                U           mg/kg          10.0         U              1            YES              S3VEM
     Lead             Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
 Magnesium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Manganese            Target             1.5                U           mg/kg           1.5         U              1            YES              S3VEM
    Nickel            Target             4.0                U           mg/kg           4.0         U              1            YES              S3VEM
 Potassium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Selenium            Target            0.17                 J          mg/kg          0.17         J              1            YES              S3VEM
    Silver            Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
   Sodium             Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Thallium            Target             2.5                U           mg/kg         -0.22         J              1            YES              S3VEM
 Vanadium             Target             5.0                U           mg/kg           5.0         U              1            YES              S3VEM
     Zinc             Target             6.0                U           mg/kg          0.13         J              1            YES              S3VEM




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    INVESTIGATION STAGE 2 SAMPLING




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:               for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106227

 Date:           July 29, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        MYANX1
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES
                 Samples:                        16 Soil Samples
                 Collection Dates:               June 18, 2019
                 Reviewer:                       Anna Pajarillo, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.

If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [X] FYI [ ] Action

SAMPLING ISSUES: [X] Yes [ ] No




10106227-21708/48315/MYANX1 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48315
SDG No.: MYANX1
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES
Reviewer: Anna Pajarillo, ESAT
Date:       July 29, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB):    None.
                  Equipment Blanks (EB):     None.
                Background Samples (BG):     None.
                         Field Duplicates:   MYANX6 and MYANX9.
                                             MYANY1 (in SDG MYANW3) and MYANY5.
                                             MYANY2 (in SDG MYANW3) and MYANY6.
                                             MYANY7 and MYANZ0.
CLP PO Action
        None.

Sampling Issues
        1. The samples were received by the laboratory with a cooler temperature of 27oC which is
           above the < 6oC sample preservation criterion (see Additional Comments).
        2. Samples were shipped to the laboratory on June 20, 2019 and received at the laboratory on
           June 24, 2019, six days after collection on June 18, 2019.
Additional Comments

        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES).
        As noted in Sampling Issues above, the samples were not adequately maintained at < 6oC as
        specified in the SOW. Technical judgment indicates no adverse effect is expected on metal
        results; this is substantiated by the recommended preservation criteria for metals in Table 3-2 of
        EPA publication SW-846, Update V, Revision 5, July 2014 (preservation criteria for metals does
        not require chilling).
        Contract required quantitation limit (CRQL) values recorded on Form 3-In Blanks for the
        preparation blank are reported at the water CRQL rather than the soil CRQL. For example,
        antimony is reported as nondetected at 60.0U (water CRQL); however, the CRQL for soil is 6.0
        mg/kg. The CRQLs for the preparation blank are correctly reported in the EXES Data Manager.
        This is a reporting issue in the data package only.



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      All standards and spiking solutions were analyzed before the expiration date.
      This report was prepared in accordance with the following documents:
      • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
          (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
      • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
      For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
      Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
      Concentration), ISM02.4.

II. VALIDATION SUMMARY
      The data were evaluated based on the following parameters:
           Parameter                                                            Acceptable     Comment
      1.   Data Completeness                                                       Yes
      2.   Preservation and Holding Times                                          Yes
      3.   ICP-MS Tune Analysis                                                    Yes
      4.   Calibration                                                             Yes
           a. Initial                                                              Yes
           b. Initial and Continuing Calibration Verification                      Yes
      5.   Laboratory Blanks                                                       Yes              B
      6.   Field/Equipment Blanks                                                 N/A
      7.   ICP Interference Check Sample (ICS)                                     No               C
      8.   Laboratory Control Sample (LCS)                                         Yes
      9.   Duplicate Sample Analysis                                               Yes
     10.   Spike Sample Analysis                                                   No               D
     11.   ICP Serial Dilution                                                     No               E
     12.   ICP-MS Internal Standards                                               Yes
     13.   Analyte Quantitation and CRQL                                           Yes            A, G
     14.   Field Duplicate Sample Analysis                                         No              F
     15.   Overall Assessment of Data                                              Yes
            N/A = Not Applicable.

III. VALIDITY AND COMMENTS
      A.    Results above the method detection limit (MDL) but below the contract required
            quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
            qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
            precision near the quantitation limit.

      B.    The following results are qualified as non-detected (U) due to low level initial calibration
            blank (ICB) and continuing calibration blank (CCB) contamination.

            •   Beryllium in all samples except MYANX9 and in preparation blank PBS01.
            •   Cadmium in all samples except MYANX5.
            •   Cobalt in samples MYANY7 and MYANY8.
            •   Iron, magnesium, and zinc in preparation blank PBS01.
            •   Silver in all samples except MYANX5, MYANX6, and MYANX9.
            •   Sodium in samples MYANX3, MYANX4, MYANX7, MYANY6, and MYANY8.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.




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                       Analyte                       Blank                       Concentration, µg/L
                      Beryllium                 ICB/CCB01/CCB02                   0.095/0.095/0.28
                      Cadmium                        CCB02                              0.16
                       Cobalt                        CCB02                              0.37
                         Iron                        CCB02                              13.3
                      Magnesium                      CCB02                              40.5
                        Silver                       ICB01                              0.37
                       Sodium                     CCB01/CCB02                         32.4/31.1
                        Zinc                         CCB02                               2.4

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.
      C.    The following detected results are estimated and flagged “J” because high concentrations of
            interferences in the samples may significantly impact quantitation.
            •   Arsenic in samples MYANX1, MYANX2, MYANX5, MYANX6, MYANX8,
                MYANX9, MYANY4, and MYANY9.
            •   Cadmium in sample MYANX5.
            •   Lead in samples MYANX6 and MYANX9.
            •   Silver in samples MYANX5, MYANX6, and MYANX9.
            Aluminum (for lead interference) and iron (for arsenic, cadmium, and silver interference)
            are present in samples listed above at concentrations greater than the concentrations in the
            ICS; the interference corrections calculated from the aluminum and iron concentrations
            may impact quantitation of the associated metals. Detected results in the samples listed
            above are considered quantitatively uncertain.
      D.    The following results are estimated and flagged “J-” because a matrix spike recovery is
            outside method QC limit.
            •   Antimony in all samples.
            Matrix spike recovery for antimony in QC sample MYANY8S does not meet the 75-125%
            criterion for accuracy as presented below.

                                                                 Post-Digestion
                       Analyte             % Recovery          Spike, % Recovery
                      Antimony                38                       87
            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. Detected results for antimony are considered quantitatively uncertain and
            may be biased low. The post-digestion spike recoveries do not reflect the entire sample
            preparation and analysis; the impact on reported results cannot be determined. Qualification
            is based on the matrix spike recoveries only.

      E.    The following results are estimated and flagged “J” or “UJ” because serial dilution results
            are outside method QC limit.

            •   Arsenic, beryllium, cobalt, copper, and nickel in all samples.
            Percent differences for serial dilution analysis of MYANY8L do not meet the 10%
            difference criterion for the analytes presented below.




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                                       Analyte         % Difference
                                       Arsenic             25
                                      Beryllium            50
                                       Cobalt              11
                                       Copper              15
                                       Nickel              12

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. The results are considered quantitatively uncertain. Chemical and physical
            interferences may exist due to sample matrix effects. Since beryllium and cobalt results for
            the diluted sample are higher than the original, the reported results may be biased low. For
            other analytes listed above, the reported results may be biased high since results for the
            diluted sample are lower than the original.
      F.    Results for the following field duplicate pairs do not meet the relative percent difference
            (RPD) criterion or the absolute difference criterion provided in the National Functional
            Guidelines (NFG) for laboratory duplicate, as presented below.

                                    MYANX6,            MYANX9,
                  Analyte            mg/kg              mg/kg              RPD, %        QC Limit, %
                  Arsenic              6.2               7.8                22.9             20
                  Barium              246                307                22.1             20
                  Calcium            12700              16600               26.6             20
                  Copper              35.4               43.6               20.8             20
                 Manganese            493                644                26.6             20

                                    MYANY1,            MYANY5,
                  Analyte            mg/kg              mg/kg              RPD, %        QC Limit, %
                 Aluminum            7420                9330               22.8             20
                 Chromium              9.1               13.3               37.5             20
                    Iron             12700              17700               32.9             20
                 Magnesium           3830                4780               22.1             20
                 Manganese            199                 250               22.7             20
                 Vanadium             24.7               33.1               29.1             20
                    Zinc               33                41.5               22.8             20

                   Analyte          MYANY1,            MYANY5,            Difference,      QC Limit,
                                     mg/kg              mg/kg               mg/kg           mg/kg
                   Barium             60.8               83.5                22.7             20
                   Copper              8.4                11                  2.6            2.5
                  Potassium          2170               2890                  720            500

                                    MYANY2,            MYANY6,
                  Analyte            mg/kg              mg/kg              RPD, %        QC Limit, %
                  Calcium            9080               4550                66.5             20
                 Manganese            250                169                38.7             20

                                    MYANY7,            MYANZ0,
                  Analyte            mg/kg              mg/kg              RPD, %        QC Limit, %
                 Aluminum            6530                8220               22.9             20
                 Chromium             7.9                11.3               35.4             20
                    Iron             11800              15600               27.7             20
                 Magnesium           3150                3960               22.8             20




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                   Analyte         MYANY7,             MYANZ0,           Difference,       QC Limit,
                                    mg/kg               mg/kg              mg/kg            mg/kg
                  Vanadium           21.9                29.6                7.7             5.0
                    Zinc             27.8                34.7                6.9             6.0

            This uncertainty should be evaluated in the context of project data quality objectives to
            determine data usability.
      G.    Sample MYANX1 was reanalyzed at a two-fold dilution due to calcium concentration
            exceeding the calibration range. Calcium is reported from the diluted analysis.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.
J-      The result is an estimated quantity, but the result may be biased low.

UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANX1                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Soil                          MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Spike             40.0                            mg/kg        40.0                         1            YES              S3VEM
  Antimony            Spike             11.6                            mg/kg        11.6                         1            YES              S3VEM
   Arsenic            Spike              1.6                            mg/kg         1.6                         1            YES              S3VEM
   Barium             Spike             41.0                            mg/kg        41.0                         1            YES              S3VEM
  Beryllium           Spike             0.90                            mg/kg        0.90                         1            YES              S3VEM
  Cadmium             Spike             0.96                            mg/kg        0.96                         1            YES              S3VEM
   Calcium            Spike             994                             mg/kg        994                          1            YES              S3VEM
 Chromium             Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
    Cobalt            Spike              9.8                            mg/kg         9.8                         1            YES              S3VEM
   Copper             Spike              4.8                            mg/kg         4.8                         1            YES              S3VEM
     Iron             Spike             21.1                            mg/kg        21.1                         1            YES              S3VEM
     Lead             Spike              1.8                            mg/kg         1.8                         1            YES              S3VEM
 Magnesium            Spike             922                             mg/kg        922                          1            YES              S3VEM
 Manganese            Spike              3.1                            mg/kg         3.1                         1            YES              S3VEM
    Nickel            Spike              7.4                            mg/kg         7.4                         1            YES              S3VEM
 Potassium            Spike             951                             mg/kg        951                          1            YES              S3VEM
  Selenium            Spike              6.0                            mg/kg         6.0                         1            YES              S3VEM
    Silver            Spike              2.0                            mg/kg         2.0                         1            YES              S3VEM
   Sodium             Spike             956                             mg/kg        956                          1            YES              S3VEM
  Thallium            Spike              4.8                            mg/kg         4.8                         1            YES              S3VEM
 Vanadium             Spike              9.7                            mg/kg         9.7                         1            YES              S3VEM
     Zinc             Spike             11.5                            mg/kg        11.5                         1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX1               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                      Sample Date: 06/18/2019                Sample Time: 08:36:00

% Moisture:                                                                  % Solids: 88.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6470                            mg/kg        6470                          1            YES                S3VEM
  Antimony         Target            0.96                J-          mg/kg        0.96           J*             1            YES                S3VEM
   Arsenic         Target             6.0                J           mg/kg         6.0            *             1            YES                S3VEM
   Barium          Target            74.5                            mg/kg        74.5                          1            YES                S3VEM
  Beryllium        Target            0.56                UJ          mg/kg        0.18           J*             1            YES                S3VEM
  Cadmium          Target            0.56                U           mg/kg        0.50            J             1            YES                S3VEM
   Calcium         Target           59600                            mg/kg       59600           D              2            YES                S3VEM
 Chromium          Target            12.5                            mg/kg        12.5                          1            YES                S3VEM
    Cobalt         Target             5.8                 J          mg/kg         5.8           *              1            YES                S3VEM
   Copper          Target            42.0                 J          mg/kg        42.0           *              1            YES                S3VEM
     Iron          Target           19500                            mg/kg       19500                          1            YES                S3VEM
     Lead          Target             203                            mg/kg         203                          1            YES                S3VEM
 Magnesium         Target            2650                            mg/kg        2650                          1            YES                S3VEM
 Manganese         Target             352                            mg/kg         352                          1            YES                S3VEM
    Nickel         Target            11.3                 J          mg/kg        11.3           *              1            YES                S3VEM
 Potassium         Target            1660                            mg/kg        1660                          1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg         3.9           U              1            YES                S3VEM
    Silver         Target             1.1                U           mg/kg         1.0           J              1            YES                S3VEM
   Sodium          Target             702                            mg/kg         702                          1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            28.2                            mg/kg        28.2                          1            YES                S3VEM
     Zinc          Target            94.0                            mg/kg        94.0                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX2               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                      Sample Date: 06/18/2019                Sample Time: 08:51:00

% Moisture:                                                                  % Solids: 88.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           13900                            mg/kg       13900                          1            YES                S3VEM
  Antimony         Target            0.91                J-          mg/kg        0.91           J*             1            YES                S3VEM
   Arsenic         Target             4.0                J           mg/kg         4.0            *             1            YES                S3VEM
   Barium          Target             135                            mg/kg         135                          1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg        0.35           J*             1            YES                S3VEM
  Cadmium          Target            0.55                U           mg/kg        0.41            J             1            YES                S3VEM
   Calcium         Target            8170                            mg/kg        8170                          1            YES                S3VEM
 Chromium          Target            19.2                            mg/kg        19.2                          1            YES                S3VEM
    Cobalt         Target             9.9                 J          mg/kg         9.9           *              1            YES                S3VEM
   Copper          Target            18.7                 J          mg/kg        18.7           *              1            YES                S3VEM
     Iron          Target           21000                            mg/kg       21000                          1            YES                S3VEM
     Lead          Target             4.0                            mg/kg         4.0                          1            YES                S3VEM
 Magnesium         Target            6390                            mg/kg        6390                          1            YES                S3VEM
 Manganese         Target             290                            mg/kg         290                          1            YES                S3VEM
    Nickel         Target            11.6                 J          mg/kg        11.6           *              1            YES                S3VEM
 Potassium         Target            3400                            mg/kg        3400                          1            YES                S3VEM
  Selenium         Target             3.8                U           mg/kg         3.8           U              1            YES                S3VEM
    Silver         Target             1.1                U           mg/kg        0.91           J              1            YES                S3VEM
   Sodium          Target             665                            mg/kg         665                          1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg         2.7           U              1            YES                S3VEM
 Vanadium          Target            39.5                            mg/kg        39.5                          1            YES                S3VEM
     Zinc          Target            59.7                            mg/kg        59.7                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX3               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                      Sample Date: 06/18/2019                Sample Time: 09:00:00

% Moisture:                                                                  % Solids: 94.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6280                            mg/kg        6280                          1            YES                S3VEM
  Antimony         Target            0.65                J-          mg/kg        0.65           J*             1            YES                S3VEM
   Arsenic         Target             1.8                J           mg/kg         1.8            *             1            YES                S3VEM
   Barium          Target            56.1                            mg/kg        56.1                          1            YES                S3VEM
  Beryllium        Target            0.53                UJ          mg/kg        0.17           J*             1            YES                S3VEM
  Cadmium          Target            0.53                U           mg/kg        0.23            J             1            YES                S3VEM
   Calcium         Target            3720                            mg/kg        3720                          1            YES                S3VEM
 Chromium          Target             8.1                            mg/kg         8.1                          1            YES                S3VEM
    Cobalt         Target             5.7                 J          mg/kg         5.7           *              1            YES                S3VEM
   Copper          Target             7.8                 J          mg/kg         7.8           *              1            YES                S3VEM
     Iron          Target           11100                            mg/kg       11100                          1            YES                S3VEM
     Lead          Target             1.8                            mg/kg         1.8                          1            YES                S3VEM
 Magnesium         Target            2950                            mg/kg        2950                          1            YES                S3VEM
 Manganese         Target             289                            mg/kg         289                          1            YES                S3VEM
    Nickel         Target             4.2                 J          mg/kg         4.2           *              1            YES                S3VEM
 Potassium         Target            1650                            mg/kg        1650                          1            YES                S3VEM
  Selenium         Target             3.7                U           mg/kg         3.7           U              1            YES                S3VEM
    Silver         Target             1.1                U           mg/kg        0.43           J              1            YES                S3VEM
   Sodium          Target             527                U           mg/kg         402           J              1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg         2.6           U              1            YES                S3VEM
 Vanadium          Target            22.2                            mg/kg        22.2                          1            YES                S3VEM
     Zinc          Target            26.4                            mg/kg        26.4                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX4               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP4            pH:                                      Sample Date: 06/18/2019                Sample Time: 09:11:00

% Moisture:                                                                  % Solids: 92.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            8560                            mg/kg        8560                          1            YES                S3VEM
  Antimony         Target            0.77                J-          mg/kg        0.77           J*             1            YES                S3VEM
   Arsenic         Target             2.9                J           mg/kg         2.9            *             1            YES                S3VEM
   Barium          Target            74.7                            mg/kg        74.7                          1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg        0.22           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg        0.25            J             1            YES                S3VEM
   Calcium         Target            5890                            mg/kg        5890                          1            YES                S3VEM
 Chromium          Target            11.5                            mg/kg        11.5                          1            YES                S3VEM
    Cobalt         Target             6.6                 J          mg/kg         6.6           *              1            YES                S3VEM
   Copper          Target             9.9                 J          mg/kg         9.9           *              1            YES                S3VEM
     Iron          Target           14700                            mg/kg       14700                          1            YES                S3VEM
     Lead          Target             2.1                            mg/kg         2.1                          1            YES                S3VEM
 Magnesium         Target            4120                            mg/kg        4120                          1            YES                S3VEM
 Manganese         Target             196                            mg/kg         196                          1            YES                S3VEM
    Nickel         Target             6.0                 J          mg/kg         6.0           *              1            YES                S3VEM
 Potassium         Target            2420                            mg/kg        2420                          1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg         3.6           U              1            YES                S3VEM
    Silver         Target             1.0                U           mg/kg        0.62           J              1            YES                S3VEM
   Sodium          Target             519                U           mg/kg         492           J              1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg         2.6           U              1            YES                S3VEM
 Vanadium          Target            29.0                            mg/kg        29.0                          1            YES                S3VEM
     Zinc          Target            36.5                            mg/kg        36.5                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX5               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                      Sample Date: 06/18/2019                Sample Time: 09:46:00

% Moisture:                                                                  % Solids: 88.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           18500                            mg/kg       18500                          1            YES                S3VEM
  Antimony         Target             1.0                J-          mg/kg         1.0           J*             1            YES                S3VEM
   Arsenic         Target             5.3                J           mg/kg         5.3            *             1            YES                S3VEM
   Barium          Target             183                            mg/kg         183                          1            YES                S3VEM
  Beryllium        Target            0.55                UJ          mg/kg        0.47           J*             1            YES                S3VEM
  Cadmium          Target            0.56                 J          mg/kg        0.56                          1            YES                S3VEM
   Calcium         Target           10300                            mg/kg       10300                          1            YES                S3VEM
 Chromium          Target            25.7                            mg/kg        25.7                          1            YES                S3VEM
    Cobalt         Target            12.0                 J          mg/kg        12.0           *              1            YES                S3VEM
   Copper          Target            34.8                 J          mg/kg        34.8           *              1            YES                S3VEM
     Iron          Target           25600                            mg/kg       25600                          1            YES                S3VEM
     Lead          Target            48.9                            mg/kg        48.9                          1            YES                S3VEM
 Magnesium         Target            7740                            mg/kg        7740                          1            YES                S3VEM
 Manganese         Target             423                            mg/kg         423                          1            YES                S3VEM
    Nickel         Target            14.8                 J          mg/kg        14.8           *              1            YES                S3VEM
 Potassium         Target            5750                            mg/kg        5750                          1            YES                S3VEM
  Selenium         Target             3.9                U           mg/kg         3.9           U              1            YES                S3VEM
    Silver         Target             1.3                J           mg/kg         1.3                          1            YES                S3VEM
   Sodium          Target             577                            mg/kg         577                          1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            46.5                            mg/kg        46.5                          1            YES                S3VEM
     Zinc          Target             161                            mg/kg         161                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX6               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                      Sample Date: 06/18/2019                Sample Time: 10:36:00

% Moisture:                                                                  % Solids: 75.4



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           25400                            mg/kg       25400                          1            YES                S3VEM
  Antimony         Target             1.0                J-          mg/kg         1.0           J*             1            YES                S3VEM
   Arsenic         Target             6.2                J           mg/kg         6.2            *             1            YES                S3VEM
   Barium          Target             246                            mg/kg         246                          1            YES                S3VEM
  Beryllium        Target            0.64                UJ          mg/kg        0.57           J*             1            YES                S3VEM
  Cadmium          Target            0.64                U           mg/kg        0.52            J             1            YES                S3VEM
   Calcium         Target           12700                            mg/kg       12700                          1            YES                S3VEM
 Chromium          Target            32.2                            mg/kg        32.2                          1            YES                S3VEM
    Cobalt         Target            16.2                 J          mg/kg        16.2           *              1            YES                S3VEM
   Copper          Target            35.4                 J          mg/kg        35.4           *              1            YES                S3VEM
     Iron          Target           34400                            mg/kg       34400                          1            YES                S3VEM
     Lead          Target             5.9                 J          mg/kg         5.9                          1            YES                S3VEM
 Magnesium         Target           10700                            mg/kg       10700                          1            YES                S3VEM
 Manganese         Target             493                            mg/kg         493                          1            YES                S3VEM
    Nickel         Target            21.4                 J          mg/kg        21.4           *              1            YES                S3VEM
 Potassium         Target            4990                            mg/kg        4990                          1            YES                S3VEM
  Selenium         Target             4.5                U           mg/kg         4.5           U              1            YES                S3VEM
    Silver         Target             1.5                J           mg/kg         1.5                          1            YES                S3VEM
   Sodium          Target            1050                            mg/kg        1050                          1            YES                S3VEM
  Thallium         Target             3.2                U           mg/kg         3.2           U              1            YES                S3VEM
 Vanadium          Target            55.9                            mg/kg        55.9                          1            YES                S3VEM
     Zinc          Target            93.5                            mg/kg        93.5                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX7               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                      Sample Date: 06/18/2019                Sample Time: 10:51:00

% Moisture:                                                                  % Solids: 95.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            8660                            mg/kg        8660                          1            YES                S3VEM
  Antimony         Target            0.81                J-          mg/kg        0.81           J*             1            YES                S3VEM
   Arsenic         Target             2.3                J           mg/kg         2.3            *             1            YES                S3VEM
   Barium          Target            76.3                            mg/kg        76.3                          1            YES                S3VEM
  Beryllium        Target            0.48                UJ          mg/kg        0.21           J*             1            YES                S3VEM
  Cadmium          Target            0.48                U           mg/kg        0.23            J             1            YES                S3VEM
   Calcium         Target            4740                            mg/kg        4740                          1            YES                S3VEM
 Chromium          Target            11.7                            mg/kg        11.7                          1            YES                S3VEM
    Cobalt         Target             6.8                 J          mg/kg         6.8           *              1            YES                S3VEM
   Copper          Target             9.8                 J          mg/kg         9.8           *              1            YES                S3VEM
     Iron          Target           14700                            mg/kg       14700                          1            YES                S3VEM
     Lead          Target             1.9                            mg/kg         1.9                          1            YES                S3VEM
 Magnesium         Target            4180                            mg/kg        4180                          1            YES                S3VEM
 Manganese         Target             181                            mg/kg         181                          1            YES                S3VEM
    Nickel         Target             6.0                 J          mg/kg         6.0           *              1            YES                S3VEM
 Potassium         Target            2520                            mg/kg        2520                          1            YES                S3VEM
  Selenium         Target             3.4                U           mg/kg         3.4           U              1            YES                S3VEM
    Silver         Target            0.96                U           mg/kg        0.63           J              1            YES                S3VEM
   Sodium          Target             481                U           mg/kg         392           J              1            YES                S3VEM
  Thallium         Target             2.4                U           mg/kg         2.4           U              1            YES                S3VEM
 Vanadium          Target            28.2                            mg/kg        28.2                          1            YES                S3VEM
     Zinc          Target            37.8                            mg/kg        37.8                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX8               Method: Metals by ICP-AES                Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                      Sample Date: 06/18/2019                Sample Time: 11:02:00

% Moisture:                                                                  % Solids: 87.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           16700                            mg/kg       16700                          1            YES                S3VEM
  Antimony         Target             1.0                J-          mg/kg         1.0           J*             1            YES                S3VEM
   Arsenic         Target             4.1                J           mg/kg         4.1            *             1            YES                S3VEM
   Barium          Target             155                            mg/kg         155                          1            YES                S3VEM
  Beryllium        Target            0.56                UJ          mg/kg        0.41           J*             1            YES                S3VEM
  Cadmium          Target            0.56                U           mg/kg        0.40            J             1            YES                S3VEM
   Calcium         Target           28300                            mg/kg       28300                          1            YES                S3VEM
 Chromium          Target            21.9                            mg/kg        21.9                          1            YES                S3VEM
    Cobalt         Target            12.0                 J          mg/kg        12.0           *              1            YES                S3VEM
   Copper          Target            20.0                 J          mg/kg        20.0           *              1            YES                S3VEM
     Iron          Target           23100                            mg/kg       23100                          1            YES                S3VEM
     Lead          Target             3.8                            mg/kg         3.8                          1            YES                S3VEM
 Magnesium         Target            8870                            mg/kg        8870                          1            YES                S3VEM
 Manganese         Target             403                            mg/kg         403                          1            YES                S3VEM
    Nickel         Target            13.8                 J          mg/kg        13.8           *              1            YES                S3VEM
 Potassium         Target            4820                            mg/kg        4820                          1            YES                S3VEM
  Selenium         Target             4.0                U           mg/kg         4.0           U              1            YES                S3VEM
    Silver         Target             1.1                U           mg/kg        0.95           J              1            YES                S3VEM
   Sodium          Target             634                            mg/kg         634                          1            YES                S3VEM
  Thallium         Target             2.8                U           mg/kg         2.8           U              1            YES                S3VEM
 Vanadium          Target            44.4                            mg/kg        44.4                          1            YES                S3VEM
     Zinc          Target            75.4                            mg/kg        75.4                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANX9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP8            pH:                                       Sample Date: 06/18/2019                Sample Time: 10:41:00

% Moisture:                                                                   % Solids: 75.9



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           31100                            mg/kg        31100                          1            YES                S3VEM
  Antimony         Target             1.3                J-          mg/kg          1.3           J*             1            YES                S3VEM
   Arsenic         Target             7.8                J           mg/kg          7.8            *             1            YES                S3VEM
   Barium          Target             307                            mg/kg          307                          1            YES                S3VEM
  Beryllium        Target            0.69                J           mg/kg         0.69           *              1            YES                S3VEM
  Cadmium          Target            0.66                U           mg/kg         0.49           J              1            YES                S3VEM
   Calcium         Target           16600                            mg/kg        16600                          1            YES                S3VEM
 Chromium          Target            38.9                            mg/kg         38.9                          1            YES                S3VEM
    Cobalt         Target            18.7                 J          mg/kg         18.7           *              1            YES                S3VEM
   Copper          Target            43.6                 J          mg/kg         43.6           *              1            YES                S3VEM
     Iron          Target           42200                            mg/kg        42200                          1            YES                S3VEM
     Lead          Target             6.8                 J          mg/kg          6.8                          1            YES                S3VEM
 Magnesium         Target           13000                            mg/kg        13000                          1            YES                S3VEM
 Manganese         Target             644                            mg/kg          644                          1            YES                S3VEM
    Nickel         Target            24.8                 J          mg/kg         24.8           *              1            YES                S3VEM
 Potassium         Target            5950                            mg/kg         5950                          1            YES                S3VEM
  Selenium         Target             4.6                U           mg/kg          4.6           U              1            YES                S3VEM
    Silver         Target             1.9                J           mg/kg          1.9                          1            YES                S3VEM
   Sodium          Target            1240                            mg/kg         1240                          1            YES                S3VEM
  Thallium         Target             3.3                U           mg/kg          3.3           U              1            YES                S3VEM
 Vanadium          Target            66.8                            mg/kg         66.8                          1            YES                S3VEM
     Zinc          Target             109                            mg/kg          109                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY4               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:28:00

% Moisture:                                                                   % Solids: 88.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           18700                            mg/kg        18700                          1            YES                S3VEM
  Antimony         Target            0.89                J-          mg/kg         0.89           J*             1            YES                S3VEM
   Arsenic         Target             4.9                J           mg/kg          4.9            *             1            YES                S3VEM
   Barium          Target             137                            mg/kg          137                          1            YES                S3VEM
  Beryllium        Target            0.54                UJ          mg/kg         0.47           J*             1            YES                S3VEM
  Cadmium          Target            0.54                U           mg/kg         0.36            J             1            YES                S3VEM
   Calcium         Target           11400                            mg/kg        11400                          1            YES                S3VEM
 Chromium          Target            22.3                            mg/kg         22.3                          1            YES                S3VEM
    Cobalt         Target            11.5                 J          mg/kg         11.5           *              1            YES                S3VEM
   Copper          Target            24.0                 J          mg/kg         24.0           *              1            YES                S3VEM
     Iron          Target           24700                            mg/kg        24700                          1            YES                S3VEM
     Lead          Target             5.0                            mg/kg          5.0                          1            YES                S3VEM
 Magnesium         Target            7520                            mg/kg         7520                          1            YES                S3VEM
 Manganese         Target             394                            mg/kg          394                          1            YES                S3VEM
    Nickel         Target            13.4                 J          mg/kg         13.4           *              1            YES                S3VEM
 Potassium         Target            3490                            mg/kg         3490                          1            YES                S3VEM
  Selenium         Target             3.8                U           mg/kg          3.8           U              1            YES                S3VEM
    Silver         Target             1.1                U           mg/kg          1.1                          1            YES                S3VEM
   Sodium          Target            1230                            mg/kg         1230                          1            YES                S3VEM
  Thallium         Target             2.7                U           mg/kg          2.7           U              1            YES                S3VEM
 Vanadium          Target            45.9                            mg/kg         45.9                          1            YES                S3VEM
     Zinc          Target            68.6                            mg/kg         68.6                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY5               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:44:00

% Moisture:                                                                   % Solids: 94.3



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            9330                            mg/kg         9330                          1            YES                S3VEM
  Antimony         Target            0.77                J-          mg/kg         0.77           J*             1            YES                S3VEM
   Arsenic         Target             2.7                J           mg/kg          2.7            *             1            YES                S3VEM
   Barium          Target            83.5                            mg/kg         83.5                          1            YES                S3VEM
  Beryllium        Target            0.49                UJ          mg/kg         0.22           J*             1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg         0.21            J             1            YES                S3VEM
   Calcium         Target            6150                            mg/kg         6150                          1            YES                S3VEM
 Chromium          Target            13.3                            mg/kg         13.3                          1            YES                S3VEM
    Cobalt         Target             7.3                 J          mg/kg          7.3           *              1            YES                S3VEM
   Copper          Target            11.0                 J          mg/kg         11.0           *              1            YES                S3VEM
     Iron          Target           17700                            mg/kg        17700                          1            YES                S3VEM
     Lead          Target             2.0                            mg/kg          2.0                          1            YES                S3VEM
 Magnesium         Target            4780                            mg/kg         4780                          1            YES                S3VEM
 Manganese         Target             250                            mg/kg          250                          1            YES                S3VEM
    Nickel         Target             6.7                 J          mg/kg          6.7           *              1            YES                S3VEM
 Potassium         Target            2890                            mg/kg         2890                          1            YES                S3VEM
  Selenium         Target             3.4                U           mg/kg          3.4           U              1            YES                S3VEM
    Silver         Target            0.97                U           mg/kg         0.80           J              1            YES                S3VEM
   Sodium          Target             605                            mg/kg          605                          1            YES                S3VEM
  Thallium         Target             2.4                U           mg/kg          2.4           U              1            YES                S3VEM
 Vanadium          Target            33.1                            mg/kg         33.1                          1            YES                S3VEM
     Zinc          Target            41.5                            mg/kg         41.5                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY6               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP1            pH:                                       Sample Date: 06/18/2019                Sample Time: 13:58:00

% Moisture:                                                                   % Solids: 94.6



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            7570                            mg/kg         7570                          1            YES                S3VEM
  Antimony         Target            0.62                J-          mg/kg         0.62           J*             1            YES                S3VEM
   Arsenic         Target             1.9                J           mg/kg          1.9            *             1            YES                S3VEM
   Barium          Target            63.0                            mg/kg         63.0                          1            YES                S3VEM
  Beryllium        Target            0.49                UJ          mg/kg         0.18           J*             1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg         0.15            J             1            YES                S3VEM
   Calcium         Target            4550                            mg/kg         4550                          1            YES                S3VEM
 Chromium          Target             9.0                            mg/kg          9.0                          1            YES                S3VEM
    Cobalt         Target             5.4                 J          mg/kg          5.4           *              1            YES                S3VEM
   Copper          Target             7.7                 J          mg/kg          7.7           *              1            YES                S3VEM
     Iron          Target           11600                            mg/kg        11600                          1            YES                S3VEM
     Lead          Target             1.3                            mg/kg          1.3                          1            YES                S3VEM
 Magnesium         Target            3470                            mg/kg         3470                          1            YES                S3VEM
 Manganese         Target             169                            mg/kg          169                          1            YES                S3VEM
    Nickel         Target             4.8                 J          mg/kg          4.8           *              1            YES                S3VEM
 Potassium         Target            2090                            mg/kg         2090                          1            YES                S3VEM
  Selenium         Target             3.5                U           mg/kg          3.5           U              1            YES                S3VEM
    Silver         Target            0.99                U           mg/kg         0.55           J              1            YES                S3VEM
   Sodium          Target             494                U           mg/kg          424           J              1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg          2.5           U              1            YES                S3VEM
 Vanadium          Target            21.8                            mg/kg         21.8                          1            YES                S3VEM
     Zinc          Target            29.1                            mg/kg         29.1                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY7               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:40:00

% Moisture:                                                                   % Solids: 97.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6530                            mg/kg         6530                          1            YES                S3VEM
  Antimony         Target            0.62                J-          mg/kg         0.62           J*             1            YES                S3VEM
   Arsenic         Target             2.0                J           mg/kg          2.0            *             1            YES                S3VEM
   Barium          Target            56.4                            mg/kg         56.4                          1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg         0.17           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg         0.16            J             1            YES                S3VEM
   Calcium         Target            5660                            mg/kg         5660                          1            YES                S3VEM
 Chromium          Target             7.9                            mg/kg          7.9                          1            YES                S3VEM
    Cobalt         Target             5.2                UJ          mg/kg          5.2           *              1            YES                S3VEM
   Copper          Target             7.1                 J          mg/kg          7.1           *              1            YES                S3VEM
     Iron          Target           11800                            mg/kg        11800                          1            YES                S3VEM
     Lead          Target             1.5                            mg/kg          1.5                          1            YES                S3VEM
 Magnesium         Target            3150                            mg/kg         3150                          1            YES                S3VEM
 Manganese         Target             199                            mg/kg          199                          1            YES                S3VEM
    Nickel         Target             4.1                 J          mg/kg          4.1           *              1            YES                S3VEM
 Potassium         Target            1880                            mg/kg         1880                          1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg          3.6           U              1            YES                S3VEM
    Silver         Target             1.0                U           mg/kg         0.53           J              1            YES                S3VEM
   Sodium          Target             528                            mg/kg          528                          1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg          2.6           U              1            YES                S3VEM
 Vanadium          Target            21.9                            mg/kg         21.9                          1            YES                S3VEM
     Zinc          Target            27.8                            mg/kg         27.8                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANX1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY8               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                   % Solids: 97.7



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            6080                            mg/kg         6080                          1            YES                S3VEM
  Antimony         Target            0.45                J-          mg/kg         0.45           J*             1            YES                S3VEM
   Arsenic         Target             1.7                J           mg/kg          1.7            *             1            YES                S3VEM
   Barium          Target            44.6                            mg/kg         44.6                          1            YES                S3VEM
  Beryllium        Target            0.49                UJ          mg/kg         0.16           J*             1            YES                S3VEM
  Cadmium          Target            0.49                U           mg/kg         0.11            J             1            YES                S3VEM
   Calcium         Target            3670                            mg/kg         3670                          1            YES                S3VEM
 Chromium          Target             7.1                            mg/kg          7.1                          1            YES                S3VEM
    Cobalt         Target             4.9                UJ          mg/kg          4.0           J*             1            YES                S3VEM
   Copper          Target             5.7                 J          mg/kg          5.7            *             1            YES                S3VEM
     Iron          Target           10500                            mg/kg        10500                          1            YES                S3VEM
     Lead          Target             1.1                            mg/kg          1.1                          1            YES                S3VEM
 Magnesium         Target            2600                            mg/kg         2600                          1            YES                S3VEM
 Manganese         Target             134                            mg/kg          134                          1            YES                S3VEM
    Nickel         Target             3.0                 J          mg/kg          3.0           J*             1            YES                S3VEM
 Potassium         Target            1530                            mg/kg         1530                          1            YES                S3VEM
  Selenium         Target             3.4                U           mg/kg          3.4           U              1            YES                S3VEM
    Silver         Target            0.98                U           mg/kg         0.51           J              1            YES                S3VEM
   Sodium          Target             492                U           mg/kg          305           J              1            YES                S3VEM
  Thallium         Target             2.5                U           mg/kg          2.5           U              1            YES                S3VEM
 Vanadium          Target            19.8                            mg/kg         19.8                          1            YES                S3VEM
     Zinc          Target            21.6                            mg/kg         21.6                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANX1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY8A                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                      % Solids: 97.7



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike             10.7                            mg/kg         10.7                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANX1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY8D                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                      % Solids: 97.7



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target            5870                            mg/kg        5870                           1            YES                S3VEM
  Antimony            Target            0.49                 J          mg/kg         0.49           J              1            YES                S3VEM
   Arsenic            Target             1.8                            mg/kg          1.8                          1            YES                S3VEM
   Barium             Target            44.1                            mg/kg         44.1                          1            YES                S3VEM
  Beryllium           Target            0.15                 J          mg/kg         0.15           J              1            YES                S3VEM
  Cadmium             Target            0.12                 J          mg/kg         0.12           J              1            YES                S3VEM
   Calcium            Target            3500                            mg/kg        3500                           1            YES                S3VEM
 Chromium             Target             6.8                            mg/kg          6.8                          1            YES                S3VEM
    Cobalt            Target             3.9                 J          mg/kg          3.9           J              1            YES                S3VEM
   Copper             Target             5.5                            mg/kg          5.5                          1            YES                S3VEM
     Iron             Target            9860                            mg/kg        9860                           1            YES                S3VEM
     Lead             Target             1.1                            mg/kg          1.1                          1            YES                S3VEM
 Magnesium            Target            2350                            mg/kg        2350                           1            YES                S3VEM
 Manganese            Target             123                            mg/kg         123                           1            YES                S3VEM
    Nickel            Target             2.9                 J          mg/kg          2.9           J              1            YES                S3VEM
 Potassium            Target            1360                            mg/kg        1360                           1            YES                S3VEM
  Selenium            Target             3.4                U           mg/kg          3.4           U              1            YES                S3VEM
    Silver            Target            0.44                J           mg/kg         0.44           J              1            YES                S3VEM
   Sodium             Target             311                J           mg/kg         311            J              1            YES                S3VEM
  Thallium            Target             2.5                U           mg/kg          2.5           U              1            YES                S3VEM
 Vanadium             Target            19.0                            mg/kg         19.0                          1            YES                S3VEM
     Zinc             Target            20.5                            mg/kg         20.5                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANX1                       Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY8L                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date:                           Sample Time:

% Moisture:                                                                      % Solids: 97.7



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target            6030                            mg/kg         6030                          5            YES              S3VEM
  Antimony            Target            29.5                U           mg/kg         29.5           U              5            YES              S3VEM
   Arsenic            Target             1.3                J           mg/kg          1.3           J*             5            YES              S3VEM
   Barium             Target            44.2                J           mg/kg         44.2            J             5            YES              S3VEM
  Beryllium           Target            0.24                J           mg/kg         0.24           J*             5            YES              S3VEM
  Cadmium             Target            0.13                J           mg/kg         0.13            J             5            YES              S3VEM
   Calcium            Target            3670                            mg/kg         3670                          5            YES              S3VEM
 Chromium             Target             6.9                            mg/kg          6.9                          5            YES              S3VEM
    Cobalt            Target             4.4                 J          mg/kg          4.4           J*             5            YES              S3VEM
   Copper             Target             4.9                 J          mg/kg          4.9           J*             5            YES              S3VEM
     Iron             Target           10500                            mg/kg        10500                          5            YES              S3VEM
     Lead             Target            0.85                 J          mg/kg         0.85           J              5            YES              S3VEM
 Magnesium            Target            2600                            mg/kg         2600                          5            YES              S3VEM
 Manganese            Target             135                            mg/kg          135                          5            YES              S3VEM
    Nickel            Target             2.7                J           mg/kg          2.7           J*             5            YES              S3VEM
 Potassium            Target            1490                J           mg/kg         1490            J             5            YES              S3VEM
  Selenium            Target            17.2                U           mg/kg         17.2           U              5            YES              S3VEM
    Silver            Target            0.34                J           mg/kg         0.34            J             5            YES              S3VEM
   Sodium             Target             290                J           mg/kg          290            J             5            YES              S3VEM
  Thallium            Target            12.3                U           mg/kg         12.3           U              5            YES              S3VEM
 Vanadium             Target            20.0                J           mg/kg         20.0            J             5            YES              S3VEM
     Zinc             Target            20.6                J           mg/kg         20.6            J             5            YES              S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY8S                 Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location:                       pH:                                       Sample Date: 06/18/2019                Sample Time: 14:52:00

% Moisture:                                                                      % Solids: 97.7



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike              8.0                            mg/kg          8.0           *              1            YES                S3VEM
   Arsenic            Spike              8.6                            mg/kg          8.6                          1            YES                S3VEM
   Barium             Spike             430                             mg/kg         430                           1            YES                S3VEM
  Beryllium           Spike              8.2                            mg/kg          8.2                          1            YES                S3VEM
  Cadmium             Spike              8.0                            mg/kg          8.0                          1            YES                S3VEM
 Chromium             Spike             41.9                            mg/kg         41.9                          1            YES                S3VEM
   Cobalt             Spike             80.9                            mg/kg         80.9                          1            YES                S3VEM
   Copper             Spike             48.7                            mg/kg         48.7                          1            YES                S3VEM
    Lead              Spike              4.6                            mg/kg          4.6                          1            YES                S3VEM
 Manganese            Spike             228                             mg/kg         228                           1            YES                S3VEM
   Nickel             Spike             87.5                            mg/kg         87.5                          1            YES                S3VEM
  Selenium            Spike             15.5                            mg/kg         15.5                          1            YES                S3VEM
   Silver             Spike              8.7                            mg/kg          8.7                          1            YES                S3VEM
  Thallium            Spike              7.9                            mg/kg          7.9                          1            YES                S3VEM
 Vanadium             Spike             99.4                            mg/kg         99.4                          1            YES                S3VEM
    Zinc              Spike             110                             mg/kg         110                           1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANY9               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 15:04:00

% Moisture:                                                                   % Solids: 93.5



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           12800                            mg/kg        12800                          1            YES                S3VEM
  Antimony         Target            0.67                J-          mg/kg         0.67           J*             1            YES                S3VEM
   Arsenic         Target             6.8                J           mg/kg          6.8            *             1            YES                S3VEM
   Barium          Target             108                            mg/kg          108                          1            YES                S3VEM
  Beryllium        Target            0.53                UJ          mg/kg         0.32           J*             1            YES                S3VEM
  Cadmium          Target            0.53                U           mg/kg         0.23            J             1            YES                S3VEM
   Calcium         Target           10700                            mg/kg        10700                          1            YES                S3VEM
 Chromium          Target            18.7                            mg/kg         18.7                          1            YES                S3VEM
    Cobalt         Target             8.9                 J          mg/kg          8.9           *              1            YES                S3VEM
   Copper          Target            14.8                 J          mg/kg         14.8           *              1            YES                S3VEM
     Iron          Target           20900                            mg/kg        20900                          1            YES                S3VEM
     Lead          Target             3.0                            mg/kg          3.0                          1            YES                S3VEM
 Magnesium         Target            6130                            mg/kg         6130                          1            YES                S3VEM
 Manganese         Target             336                            mg/kg          336                          1            YES                S3VEM
    Nickel         Target             9.0                 J          mg/kg          9.0           *              1            YES                S3VEM
 Potassium         Target            3370                            mg/kg         3370                          1            YES                S3VEM
  Selenium         Target             3.7                U           mg/kg          3.7           U              1            YES                S3VEM
    Silver         Target             1.1                U           mg/kg         0.83           J              1            YES                S3VEM
   Sodium          Target             560                            mg/kg          560                          1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg          2.6           U              1            YES                S3VEM
 Vanadium          Target            40.4                            mg/kg         40.4                          1            YES                S3VEM
     Zinc          Target            54.1                            mg/kg         54.1                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ0               Method: Metals by ICP-AES                 Matrix: Soil                           MA Number:

Sample Location: DMS-DP6            pH:                                       Sample Date: 06/18/2019                Sample Time: 14:45:00

% Moisture:                                                                   % Solids: 96.0



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units      Lab Result     Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target            8220                            mg/kg         8220                          1            YES                S3VEM
  Antimony         Target            0.71                J-          mg/kg         0.71           J*             1            YES                S3VEM
   Arsenic         Target             2.4                J           mg/kg          2.4            *             1            YES                S3VEM
   Barium          Target            67.7                            mg/kg         67.7                          1            YES                S3VEM
  Beryllium        Target            0.52                UJ          mg/kg         0.20           J*             1            YES                S3VEM
  Cadmium          Target            0.52                U           mg/kg         0.19            J             1            YES                S3VEM
   Calcium         Target            5750                            mg/kg         5750                          1            YES                S3VEM
 Chromium          Target            11.3                            mg/kg         11.3                          1            YES                S3VEM
    Cobalt         Target             6.4                 J          mg/kg          6.4           *              1            YES                S3VEM
   Copper          Target             9.4                 J          mg/kg          9.4           *              1            YES                S3VEM
     Iron          Target           15600                            mg/kg        15600                          1            YES                S3VEM
     Lead          Target             1.9                            mg/kg          1.9                          1            YES                S3VEM
 Magnesium         Target            3960                            mg/kg         3960                          1            YES                S3VEM
 Manganese         Target             202                            mg/kg          202                          1            YES                S3VEM
    Nickel         Target             5.5                 J          mg/kg          5.5           *              1            YES                S3VEM
 Potassium         Target            2240                            mg/kg         2240                          1            YES                S3VEM
  Selenium         Target             3.6                U           mg/kg          3.6           U              1            YES                S3VEM
    Silver         Target             1.0                U           mg/kg         0.60           J              1            YES                S3VEM
   Sodium          Target             761                            mg/kg          761                          1            YES                S3VEM
  Thallium         Target             2.6                U           mg/kg          2.6           U              1            YES                S3VEM
 Vanadium          Target            29.6                            mg/kg         29.6                          1            YES                S3VEM
     Zinc          Target            34.7                            mg/kg         34.7                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: PBS01                   Method: Metals by ICP-AES                 Matrix: Soil                          MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids: 100



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target             2.0                 J          mg/kg           2.0         J              1            YES              S3VEM
  Antimony            Target             6.0                U           mg/kg           6.0         U              1            YES              S3VEM
   Arsenic            Target             1.0                U           mg/kg         -0.15         J              1            YES              S3VEM
   Barium             Target            20.0                U           mg/kg          20.0         U              1            YES              S3VEM
  Beryllium           Target             0.5                U           mg/kg        0.0064         J              1            YES              S3VEM
  Cadmium             Target            0.50                U           mg/kg          0.50         U              1            YES              S3VEM
   Calcium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
 Chromium             Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
    Cobalt            Target             5.0                U           mg/kg        -0.022         J              1            YES              S3VEM
   Copper             Target             2.5                U           mg/kg        -0.081         J              1            YES              S3VEM
     Iron             Target            10.0                U           mg/kg           1.8         J              1            YES              S3VEM
     Lead             Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
 Magnesium            Target            500                 U           mg/kg           2.0         J              1            YES              S3VEM
 Manganese            Target             1.5                U           mg/kg           1.5         U              1            YES              S3VEM
    Nickel            Target             4.0                U           mg/kg        -0.079         J              1            YES              S3VEM
 Potassium            Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Selenium            Target             3.5                U           mg/kg           3.5         U              1            YES              S3VEM
    Silver            Target             1.0                U           mg/kg           1.0         U              1            YES              S3VEM
   Sodium             Target            500                 U           mg/kg          500          U              1            YES              S3VEM
  Thallium            Target             2.5                U           mg/kg         -0.17         J              1            YES              S3VEM
 Vanadium             Target             5.0                U           mg/kg           5.0         U              1            YES              S3VEM
     Zinc             Target             6.0                U           mg/kg          0.17         J              1            YES              S3VEM




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:              for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106227

 Date:           July 29, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        MYANZ5
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES
                 Samples:                        Six Water Samples
                 Collection Dates:               June 17, 18, and 19, 2019
                 Reviewer:                       Anna Pajarillo, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.
Attachment

cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9

CLP PO: [ ] FYI [X] Action
SAMPLING ISSUES: [X] Yes [ ] No




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           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48315
SDG No.: MYANZ5
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES
Reviewer: Anna Pajarillo, ESAT
Date:       July 29, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                      Field Blanks (FB):     MYAP04.
                 Equipment Blanks (EB):      MYANZ5, MYAP02, and MYAP03.
               Background Samples (BG):      None.
                        Field Duplicates:    None.
CLP PO Action
        Nondetected results for antimony in samples MYANZ9 and MYAP07 are qualified as rejected
        (R) due to a matrix spike recovery below 30% (see Comment A).
Sampling Issues

        1. The samples were received by the laboratory with cooler temperatures of 27oC and 28oC
           which are above the < 6oC sample preservation criterion (see Additional Comments).
        2. Contamination above the contract required quantitation limit (CRQL) was found for iron in
           equipment blank MYAP03. No qualification is needed since sample results are greater than
           ten times the blank result.
        3. Samples were shipped to the laboratory on June 20, 2019 and received at the laboratory on
           June 24, 2019, 5-7 days after collection on June 17, 18, and 19, 2019.
Additional Comments
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES).

        As noted in Sampling Issues above, the samples were not adequately maintained at < 6oC as
        specified in the SOW. Technical judgment indicates no adverse effect is expected on metal
        results; this is substantiated by the recommended preservation criteria for metals in Table 3-2 of
        EPA publication SW-846, Update V, Revision 5, July 2014 (preservation criteria for metals does
        not require chilling).

        All standards and spiking solutions were analyzed before the expiration date.
        This report was prepared in accordance with the following documents:
        • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
            (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and

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       •    USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.
       For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
       Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
       Concentration), ISM02.4.

II. VALIDATION SUMMARY

       The data were evaluated based on the following parameters:
            Parameter                                                            Acceptable     Comment
       1.   Data Completeness                                                       Yes
       2.   Preservation and Holding Times                                          Yes
       3.   ICP-MS Tune Analysis                                                    Yes
       4.   Calibration                                                             Yes
            a. Initial                                                              Yes
            b. Initial and Continuing Calibration Verification                      Yes
      5.    Laboratory Blanks                                                       Yes              C
      6.    Field/Equipment Blanks                                                  Yes
      7.    ICP Interference Check Sample (ICS)                                     Yes
      8.    Laboratory Control Sample (LCS)                                         Yes
      9.    Duplicate Sample Analysis                                               Yes
     10.    Spike Sample Analysis                                                   No               A
     11.    ICP Serial Dilution                                                     No               D
     12.    ICP-MS Internal Standards                                               Yes
     13.    Analyte Quantitation and CRQL                                           Yes              B
     14.    Field Duplicate Sample Analysis                                        N/A
     15.    Overall Assessment of Data                                              Yes
             N/A = Not Applicable.

III. VALIDITY AND COMMENTS
       A.    The following nondetected results are rejected and flagged “R” due to a matrix spike
             recovery below 30%.
             • Antimony in samples MYANZ9 and MYAP07.
             The matrix spike recovery is less than 30% for antimony in QC sample MYAP07S as
             presented below.

                                             % Recovery            Post-Digestion Spike,
                        Analyte                (%R)                        %R
                       Antimony                 12                          95

             These results may indicate poor laboratory technique or matrix effects which may interfere
             with analysis. The post-digestion spike recovery does not reflect the entire sample
             preparation and analysis; the impact on reported results cannot be determined. Qualification
             is based on the matrix spike recoveries only. Nondetected results for antimony in the
             samples listed above are unusable.

       B.    Results above the method detection limit (MDL) but below the contract required
             quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
             qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
             precision near the quantitation limit.



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       C.   he following results are qualified as non-detected (U) due to low level initial calibration
            blank (ICB) and continuing calibration blank (CCB) contamination.

            •   Aluminum in equipment blank MYAP02.
            •   Antimony and cadmium in samples MYANZ9 and MYAP07.
            •   Calcium in equipment blanks MYANZ5, MYAP02, and MYAP03.
            •   Chromium in equipment blank MYAP03.
            •   Copper in equipment blanks MYAP02 and MYAP03 and preparation blank PBW01.
            •   Iron in equipment blank MYAP02.
            •   Magnesium and potassium in equipment blanks MYANZ5, MYAP02, and MYAP03
                and field blank MYAP04.
            •   Manganese in equipment blanks MYAP02 and MYAP03.
            •   Sodium in equipment blanks MYANZ5, MYAP02, and MYAP03 and preparation
                blank PBW01.
            •   Zinc in equipment blanks MYANZ5, MYAP02, and MYAP03, field blank MYAP04,
                and preparation blank PBW01.
            Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
            the following blanks at the concentrations presented below.

                       Analyte                        Blank                      Concentration, µg/L
                      Aluminum                       CCB02                              21.8
                      Antimony                       CCB02                               1.8
                      Cadmium                        CCB02                              0.20
                       Calcium                       CCB02                              56.2
                      Chromium                       CCB02                               1.3
                       Copper                        CCB02                              0.53
                         Iron                        CCB02                              19.1
                      Magnesium                      CCB02                              44.2
                      Manganese                      CCB02                               1.8
                      Potassium                    CCB01/CCB02                        81.1/128
                       Sodium                      CCB01/CCB02                       46.9/99.8
                        Zinc                         CCB02                               3.2

            Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
            are reported as non-detected (U) at the respective CRQL.

       D.   The following results are estimated and flagged “J” because serial dilution results are
            outside method QC limit.

            •   Cobalt, iron, magnesium, and manganese in samples MYANZ9 and MYAP07.
            Percent differences for serial dilution analysis of MYAP07L do not meet the 10%
            difference criterion for the analytes presented below.

                                      Analyte          % Difference
                                      Cobalt               17
                                       Iron                11
                                     Magnesium             11
                                     Manganese             12

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. The results are considered quantitatively uncertain. Chemical and physical
            interferences may exist due to sample matrix effects. Since results for the diluted sample
            are higher than the original, the reported results may be biased low.




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.
J-      The result is an estimated quantity, but the result may be biased low.

UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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     INVESTIGATION STAGE 2 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Spike             402                             ug/L         402                          1            YES              S3VEM
  Antimony            Spike             133                             ug/L         133                          1            YES              S3VEM
   Arsenic            Spike             19.9                            ug/L         19.9                         1            YES              S3VEM
   Barium             Spike             428                             ug/L         428                          1            YES              S3VEM
  Beryllium           Spike              9.9                            ug/L          9.9                         1            YES              S3VEM
  Cadmium             Spike             10.8                            ug/L         10.8                         1            YES              S3VEM
   Calcium            Spike            10800                            ug/L        10800                         1            YES              S3VEM
 Chromium             Spike             21.4                            ug/L         21.4                         1            YES              S3VEM
    Cobalt            Spike             109                             ug/L         109                          1            YES              S3VEM
   Copper             Spike             52.1                            ug/L         52.1                         1            YES              S3VEM
     Iron             Spike             215                             ug/L         215                          1            YES              S3VEM
     Lead             Spike             19.5                            ug/L         19.5                         1            YES              S3VEM
 Magnesium            Spike            10500                            ug/L        10500                         1            YES              S3VEM
 Manganese            Spike             32.6                            ug/L         32.6                         1            YES              S3VEM
    Nickel            Spike             81.0                            ug/L         81.0                         1            YES              S3VEM
 Potassium            Spike            10400                            ug/L        10400                         1            YES              S3VEM
  Selenium            Spike             79.4                            ug/L         79.4                         1            YES              S3VEM
    Silver            Spike             21.1                            ug/L         21.1                         1            YES              S3VEM
   Sodium             Spike            10400                            ug/L        10400                         1            YES              S3VEM
  Thallium            Spike             55.7                            ug/L         55.7                         1            YES              S3VEM
 Vanadium             Spike             104                             ug/L         104                          1            YES              S3VEM
     Zinc             Spike             124                             ug/L         124                          1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ5                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 06/18/2019               Sample Time: 13:20:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target             200                U           ug/L         200           U              1            YES                S3VEM
  Antimony           Target            60.0                U           ug/L         60.0         U*              1            YES                S3VEM
   Arsenic           Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Barium            Target             200                U           ug/L         200           U              1            YES                S3VEM
  Beryllium          Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
  Cadmium            Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
   Calcium           Target            5000                U           ug/L         56.9           J             1            YES                S3VEM
 Chromium            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
    Cobalt           Target            50.0                U           ug/L         50.0         U*              1            YES                S3VEM
   Copper            Target            25.0                U           ug/L         25.0          U              1            YES                S3VEM
     Iron            Target             100                U           ug/L         100          U*              1            YES                S3VEM
     Lead            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
 Magnesium           Target            5000                U           ug/L         567           J*             1            YES                S3VEM
 Manganese           Target            15.0                U           ug/L         15.0         U*              1            YES                S3VEM
    Nickel           Target            40.0                U           ug/L         40.0          U              1            YES                S3VEM
 Potassium           Target            5000                U           ug/L        3300            J             1            YES                S3VEM
  Selenium           Target            35.0                U           ug/L         35.0          U              1            YES                S3VEM
    Silver           Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Sodium            Target            5000                U           ug/L         28.4           J             1            YES                S3VEM
  Thallium           Target            25.0                U           ug/L         25.0          U              1            YES                S3VEM
 Vanadium            Target            50.0                U           ug/L         50.0          U              1            YES                S3VEM
     Zinc            Target            60.0                U           ug/L          2.1           J             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYANZ9               Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: DMS-CPT1           pH: 1.                                   Sample Date: 06/17/2019               Sample Time: 12:00:00

% Moisture:                                                                  % Solids:



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           146000                           ug/L       146000                         1            YES                S3VEM
  Antimony         Target             60.0               R           ug/L          8.8           J*            1            YES                S3VEM
   Arsenic         Target             34.7                           ug/L         34.7                         1            YES                S3VEM
   Barium          Target             1450                           ug/L         1450                         1            YES                S3VEM
  Beryllium        Target              5.0               U           ug/L          5.0           U             1            YES                S3VEM
  Cadmium          Target              5.0               U           ug/L          2.7           J             1            YES                S3VEM
   Calcium         Target           186000                           ug/L       186000                         1            YES                S3VEM
 Chromium          Target              177                           ug/L          177                         1            YES                S3VEM
    Cobalt         Target             63.7                J          ug/L         63.7           *             1            YES                S3VEM
   Copper          Target              209                           ug/L          209                         1            YES                S3VEM
     Iron          Target           145000                J          ug/L       145000           *             1            YES                S3VEM
     Lead          Target             66.2                           ug/L         66.2                         1            YES                S3VEM
 Magnesium         Target            66100                J          ug/L        66100           *             1            YES                S3VEM
 Manganese         Target             2800                J          ug/L         2800           *             1            YES                S3VEM
    Nickel         Target              127                           ug/L          127                         1            YES                S3VEM
 Potassium         Target            39900                           ug/L        39900                         1            YES                S3VEM
  Selenium         Target             13.7                J          ug/L         13.7           J             1            YES                S3VEM
    Silver         Target              6.1                J          ug/L          6.1           J             1            YES                S3VEM
   Sodium          Target           108000                           ug/L       108000                         1            YES                S3VEM
  Thallium         Target             25.0               U           ug/L         25.0           U             1            YES                S3VEM
 Vanadium          Target              252                           ug/L          252                         1            YES                S3VEM
     Zinc          Target              619                           ug/L          619                         1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP02                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 06/19/2019               Sample Time: 08:23:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target             200                U           ug/L         51.2           J             1            YES                S3VEM
  Antimony           Target            60.0                U           ug/L         60.0         U*              1            YES                S3VEM
   Arsenic           Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Barium            Target             200                U           ug/L         200           U              1            YES                S3VEM
  Beryllium          Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
  Cadmium            Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
   Calcium           Target            5000                U           ug/L         144            J             1            YES                S3VEM
 Chromium            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
    Cobalt           Target            50.0                U           ug/L         50.0         U*              1            YES                S3VEM
   Copper            Target            25.0                U           ug/L         0.67           J             1            YES                S3VEM
     Iron            Target             100                U           ug/L         68.0          J*             1            YES                S3VEM
     Lead            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
 Magnesium           Target            5000                U           ug/L         555           J*             1            YES                S3VEM
 Manganese           Target            15.0                U           ug/L          1.1          J*             1            YES                S3VEM
    Nickel           Target            40.0                U           ug/L         40.0          U              1            YES                S3VEM
 Potassium           Target            5000                U           ug/L        3200            J             1            YES                S3VEM
  Selenium           Target            35.0                U           ug/L         35.0          U              1            YES                S3VEM
    Silver           Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Sodium            Target            5000                U           ug/L         112            J             1            YES                S3VEM
  Thallium           Target            25.0                U           ug/L         25.0          U              1            YES                S3VEM
 Vanadium            Target            50.0                U           ug/L         50.0          U              1            YES                S3VEM
     Zinc            Target            60.0                U           ug/L          2.8           J             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                  GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP03                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: Equp Blank           pH: 1.                                   Sample Date: 06/19/2019               Sample Time: 15:30:00

% Moisture:                                                                    % Solids:



Analyte Name      Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum            Target             200                U           ug/L         200           U              1            YES                S3VEM
  Antimony           Target            60.0                U           ug/L         60.0         U*              1            YES                S3VEM
   Arsenic           Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Barium            Target             200                U           ug/L         200           U              1            YES                S3VEM
  Beryllium          Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
  Cadmium            Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
   Calcium           Target            5000                U           ug/L         208            J             1            YES                S3VEM
 Chromium            Target            10.0                U           ug/L         0.47           J             1            YES                S3VEM
    Cobalt           Target            50.0                U           ug/L         50.0         U*              1            YES                S3VEM
   Copper            Target            25.0                U           ug/L          1.1           J             1            YES                S3VEM
     Iron            Target             101                            ug/L         101            *             1            YES                S3VEM
     Lead            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
 Magnesium           Target            5000                U           ug/L         555           J*             1            YES                S3VEM
 Manganese           Target            15.0                U           ug/L          1.1          J*             1            YES                S3VEM
    Nickel           Target            40.0                U           ug/L         40.0          U              1            YES                S3VEM
 Potassium           Target            5000                U           ug/L        3240            J             1            YES                S3VEM
  Selenium           Target            35.0                U           ug/L         35.0          U              1            YES                S3VEM
    Silver           Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Sodium            Target            5000                U           ug/L         56.8           J             1            YES                S3VEM
  Thallium           Target            25.0                U           ug/L         25.0          U              1            YES                S3VEM
 Vanadium            Target            50.0                U           ug/L         50.0          U              1            YES                S3VEM
     Zinc            Target            60.0                U           ug/L          4.3           J             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP04                  Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: Field Blank           pH: 1.                                   Sample Date: 06/18/2019               Sample Time: 13:25:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target             200                U           ug/L         200           U              1            YES                S3VEM
  Antimony            Target            60.0                U           ug/L         60.0         U*              1            YES                S3VEM
   Arsenic            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Barium             Target             200                U           ug/L         200           U              1            YES                S3VEM
  Beryllium           Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
  Cadmium             Target             5.0                U           ug/L          5.0          U              1            YES                S3VEM
   Calcium            Target            5000                U           ug/L        5000           U              1            YES                S3VEM
 Chromium             Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
    Cobalt            Target            50.0                U           ug/L         50.0         U*              1            YES                S3VEM
   Copper             Target            25.0                U           ug/L         25.0          U              1            YES                S3VEM
     Iron             Target             100                U           ug/L         100          U*              1            YES                S3VEM
     Lead             Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
 Magnesium            Target            5000                U           ug/L         508           J*             1            YES                S3VEM
 Manganese            Target            15.0                U           ug/L         15.0         U*              1            YES                S3VEM
    Nickel            Target            40.0                U           ug/L         40.0          U              1            YES                S3VEM
 Potassium            Target            5000                U           ug/L        3070            J             1            YES                S3VEM
  Selenium            Target            35.0                U           ug/L         35.0          U              1            YES                S3VEM
    Silver            Target            10.0                U           ug/L         10.0          U              1            YES                S3VEM
   Sodium             Target            5000                U           ug/L        5000           U              1            YES                S3VEM
  Thallium            Target            25.0                U           ug/L         25.0          U              1            YES                S3VEM
 Vanadium             Target            50.0                U           ug/L         50.0          U              1            YES                S3VEM
     Zinc             Target            60.0                U           ug/L          1.6           J             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP07               Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: DMS-CPT5           pH: 1.                                   Sample Date: 06/19/2019               Sample Time: 14:00:00

% Moisture:                                                                  % Solids:



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           105000                           ug/L       105000                         1            YES                S3VEM
  Antimony         Target             60.0               R           ug/L          6.5           J*            1            YES                S3VEM
   Arsenic         Target             26.7                           ug/L         26.7                         1            YES                S3VEM
   Barium          Target             1090                           ug/L         1090                         1            YES                S3VEM
  Beryllium        Target              5.0               U           ug/L          5.0           U             1            YES                S3VEM
  Cadmium          Target              5.0               U           ug/L          2.2           J             1            YES                S3VEM
   Calcium         Target           267000                           ug/L       267000                         1            YES                S3VEM
 Chromium          Target              164                           ug/L          164                         1            YES                S3VEM
    Cobalt         Target             51.4                J          ug/L         51.4           *             1            YES                S3VEM
   Copper          Target              146                           ug/L          146                         1            YES                S3VEM
     Iron          Target           130000                J          ug/L       130000           *             1            YES                S3VEM
     Lead          Target             43.1                           ug/L         43.1                         1            YES                S3VEM
 Magnesium         Target            88500                J          ug/L        88500           *             1            YES                S3VEM
 Manganese         Target             1900                J          ug/L         1900           *             1            YES                S3VEM
    Nickel         Target              117                           ug/L          117                         1            YES                S3VEM
 Potassium         Target            40100                           ug/L        40100                         1            YES                S3VEM
  Selenium         Target             10.9                J          ug/L         10.9           J             1            YES                S3VEM
    Silver         Target              4.5                J          ug/L          4.5           J             1            YES                S3VEM
   Sodium          Target           114000                           ug/L       114000                         1            YES                S3VEM
  Thallium         Target             25.0               U           ug/L         25.0           U             1            YES                S3VEM
 Vanadium          Target              219                           ug/L          219                         1            YES                S3VEM
     Zinc          Target              476                           ug/L          476                         1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP07A                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                   Sample Date: 06/19/2019               Sample Time: 14:00:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike             121                             ug/L         121                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANZ5                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP07D                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                   Sample Date: 06/19/2019               Sample Time: 14:00:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target           101000                           ug/L       101000                         1            YES                S3VEM
  Antimony            Target              7.5                J          ug/L          7.5           J             1            YES                S3VEM
   Arsenic            Target             25.8                           ug/L         25.8                         1            YES                S3VEM
   Barium             Target             1080                           ug/L         1080                         1            YES                S3VEM
  Beryllium           Target              5.0               U           ug/L          5.0           U             1            YES                S3VEM
  Cadmium             Target              2.2               J           ug/L          2.2           J             1            YES                S3VEM
   Calcium            Target           264000                           ug/L       264000                         1            YES                S3VEM
 Chromium             Target              157                           ug/L          157                         1            YES                S3VEM
    Cobalt            Target             51.0                           ug/L         51.0                         1            YES                S3VEM
   Copper             Target              144                           ug/L          144                         1            YES                S3VEM
     Iron             Target           128000                           ug/L       128000                         1            YES                S3VEM
     Lead             Target             42.7                           ug/L         42.7                         1            YES                S3VEM
 Magnesium            Target            88400                           ug/L        88400                         1            YES                S3VEM
 Manganese            Target             1880                           ug/L         1880                         1            YES                S3VEM
    Nickel            Target              117                           ug/L          117                         1            YES                S3VEM
 Potassium            Target            39800                           ug/L        39800                         1            YES                S3VEM
  Selenium            Target             11.0                J          ug/L         11.0           J             1            YES                S3VEM
    Silver            Target              4.7                J          ug/L          4.7           J             1            YES                S3VEM
   Sodium             Target           113000                           ug/L       113000                         1            YES                S3VEM
  Thallium            Target             25.0               U           ug/L         25.0           U             1            YES                S3VEM
 Vanadium             Target              211                           ug/L          211                         1            YES                S3VEM
     Zinc             Target              475                           ug/L          475                         1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANZ5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP07L                 Method: Metals by ICP-AES                 Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                    Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target           111000                           ug/L        111000                         5            YES              S3VEM
  Antimony            Target             11.4                J          ug/L          11.4          J              5            YES              S3VEM
   Arsenic            Target             21.3                J          ug/L          21.3          J              5            YES              S3VEM
   Barium             Target             1190                           ug/L          1190                         5            YES              S3VEM
  Beryllium           Target             25.0               U           ug/L          25.0          U              5            YES              S3VEM
  Cadmium             Target              1.9               J           ug/L           1.9          J              5            YES              S3VEM
   Calcium            Target           294000                           ug/L        294000                         5            YES              S3VEM
 Chromium             Target              171                           ug/L           171                         5            YES              S3VEM
    Cobalt            Target             60.3                J          ug/L          60.3          J*             5            YES              S3VEM
   Copper             Target              146                           ug/L           146                         5            YES              S3VEM
     Iron             Target           144000                           ug/L        144000          *              5            YES              S3VEM
     Lead             Target             31.8                J          ug/L          31.8          J              5            YES              S3VEM
 Magnesium            Target            98200                           ug/L         98200          *              5            YES              S3VEM
 Manganese            Target             2130                           ug/L          2130          *              5            YES              S3VEM
    Nickel            Target              112                J          ug/L           112          J              5            YES              S3VEM
 Potassium            Target            43200                           ug/L         43200                         5            YES              S3VEM
  Selenium            Target             17.2                J          ug/L          17.2          J              5            YES              S3VEM
    Silver            Target              5.2                J          ug/L           5.2          J              5            YES              S3VEM
   Sodium             Target           123000                           ug/L        123000                         5            YES              S3VEM
  Thallium            Target              125               U           ug/L           125          U              5            YES              S3VEM
 Vanadium             Target              238               J           ug/L           238          J              5            YES              S3VEM
     Zinc             Target              458                           ug/L           458                         5            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANZ5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP07S                 Method: Metals by ICP-AES                 Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                    Sample Date: 06/19/2019               Sample Time: 14:00:00

% Moisture:                                                                      % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Spike            108000                           ug/L        108000                         1            YES                S3VEM
  Antimony            Spike             18.5                 J          ug/L          18.5           J*            1            YES                S3VEM
   Arsenic            Spike             69.6                            ug/L          69.6                         1            YES                S3VEM
   Barium             Spike             3100                            ug/L         3100                          1            YES                S3VEM
  Beryllium           Spike             45.3                            ug/L          45.3                         1            YES                S3VEM
  Cadmium             Spike             48.4                            ug/L          48.4                         1            YES                S3VEM
 Chromium             Spike              369                            ug/L          369                          1            YES                S3VEM
   Cobalt             Spike              504                            ug/L          504                          1            YES                S3VEM
   Copper             Spike              405                            ug/L          405                          1            YES                S3VEM
    Iron              Spike            131000                           ug/L        131000                         1            YES                S3VEM
    Lead              Spike             66.7                            ug/L          66.7                         1            YES                S3VEM
 Manganese            Spike             2410                            ug/L         2410                          1            YES                S3VEM
   Nickel             Spike              687                            ug/L          687                          1            YES                S3VEM
  Selenium            Spike             97.7                            ug/L          97.7                         1            YES                S3VEM
   Silver             Spike             53.6                            ug/L          53.6                         1            YES                S3VEM
  Thallium            Spike             46.2                            ug/L          46.2                         1            YES                S3VEM
 Vanadium             Spike              692                            ug/L          692                          1            YES                S3VEM
    Zinc              Spike             1050                            ug/L         1050                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYANZ5                      Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: PBW01                   Method: Metals by ICP-AES                 Matrix: Water                         MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target             200                U           ug/L           200          U              1            YES              S3VEM
  Antimony            Target            60.0                U           ug/L           60.0         U              1            YES              S3VEM
   Arsenic            Target            10.0                U           ug/L           10.0         U              1            YES              S3VEM
   Barium             Target             200                U           ug/L          -0.37         J              1            YES              S3VEM
  Beryllium           Target             5.0                U           ug/L          -0.12         J              1            YES              S3VEM
  Cadmium             Target             5.0                U           ug/L         -0.076         J              1            YES              S3VEM
   Calcium            Target            5000                U           ug/L          5000          U              1            YES              S3VEM
 Chromium             Target            10.0                U           ug/L           10.0         U              1            YES              S3VEM
    Cobalt            Target            50.0                U           ug/L           50.0         U              1            YES              S3VEM
   Copper             Target            25.0                U           ug/L           0.73         J              1            YES              S3VEM
     Iron             Target             100                U           ug/L           -11          J              1            YES              S3VEM
     Lead             Target            10.0                U           ug/L           10.0         U              1            YES              S3VEM
 Magnesium            Target            5000                U           ug/L          5000          U              1            YES              S3VEM
 Manganese            Target            15.0                U           ug/L           15.0         U              1            YES              S3VEM
    Nickel            Target            40.0                U           ug/L          -0.63         J              1            YES              S3VEM
 Potassium            Target            5000                U           ug/L          5000          U              1            YES              S3VEM
  Selenium            Target            35.0                U           ug/L           35.0         U              1            YES              S3VEM
    Silver            Target            10.0                U           ug/L           10.0         U              1            YES              S3VEM
   Sodium             Target            5000                U           ug/L           20.5         J              1            YES              S3VEM
  Thallium            Target             1.4                 J          ug/L            1.4         J              1            YES              S3VEM
 Vanadium             Target            50.0                U           ug/L           50.0         U              1            YES              S3VEM
     Zinc             Target            60.0                U           ug/L            1.7         J              1            YES              S3VEM




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Project Name: DAMILLE METAL SERVICE SITE      GroupID: 48315/EPW14029/MYANZ5   Lab Name: Bonner Analytical Testing Co.
    INVESTIGATION STAGE 2 SAMPLING




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Memorandum

 To:             Matt Mitguard, Site Assessment Manager
                 Site Cleanup Section 2, SFD-6-1
                 USEPA Region 9
 Through:        Joe Eidelberg, Chemist
                 Quality Assurance Section, EMD-3-2
                 USEPA Region 9
 From:               for Kathy O’Brien, Sr. Project Manager
                 ICF, Environmental Services Assistance Team (ESAT) Region 9
                 ESAT Contract No.: EP-W-13-029
                 Technical Direction No.: 10106232 (reissue of 10106227)
 Date:           August 8, 2019

 Re:             Review of Analytical Data, Tier 3

Attached are comments resulting from ESAT Region 9 review of the following analytical data:
                 Site:                           Damille Metal Service
                 Site Account No.:               A9 CG QA 00
                 Case No.:                       48315
                 SDG No.:                        MYAP00
                 Laboratory:                     Bonner Analytical Testing Co. (BON)
                 Analysis:                       CLP Metals by ICP-AES
                 Samples:                        Four Water Samples
                 Collection Dates:               June 18 and 19, 2019
                 Reviewer:                       Santiago Lee, ESAT
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal.
If there are any questions, please contact Joe Eidelberg (QA Program/EPA) at (415) 972-3809.

Attachment
cc:    Cindy Gurley, CLP COR USEPA Region 4
       Richard Freitas, CLP COR USEPA Region 9
CLP PO: [X] FYI [ ] Action
SAMPLING ISSUES: [X] Yes [ ] No




10106232-21735/48315/MYAP00 Rpt

           1337 South 46th Street, Building 201, Richmond, CA 94804 USA +1.510.412.2300 +1.510.412.2304 fax icf.com
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                                     Data Validation Report – Tier 3
Case No.: 48315
SDG No.: MYAP00
Site:       Damille Metal Service
Laboratory: Bonner Analytical Testing Co. (BON)
Analysis: CLP Metals by ICP-AES
Reviewer: Santiago Lee, ESAT
Date:       August 8, 2019

I. SDG SUMMARY
For Sample Information and Laboratory Quality Control (QC), refer to EXES National Functional
Guidelines (NFG) data validation reports Analytical Sample Listing and Inorganic Analytical Sequence.
EXES Data Manager has been updated with the results of this review and the validation level revised to
S3VEM; the dynamic deliverables were regenerated and are available on the SMO Portal. The data
qualifier definitions, as described in page 6 of the National Functional Guidelines, are attached to this
report.
Field QC
                       Field Blanks (FB):    MYAP04 (in SDG MYANZ5).
                  Equipment Blanks (EB):     MYANZ5, MYAP02, and MYAP03 (in SDG MYANZ5).
                Background Samples (BG):     None.
                         Field Duplicates:   MYAP01 and MYAP05.
CLP PO Action
        None.
Sampling Issues
        1. Samples MYAP00 and MYAP01 were received with pH of three. No impact on sample
           results is anticipated since the laboratory adjusted the pH to less than two upon sample
           receipt.
        2. Contamination above the contract required quantitation limit (CRQL) was found for iron in
           equipment blank MYAP03. No qualification is needed since result for the associated sample
           MYAP06 is greater than ten times the blank result.
        3. Samples were shipped to the laboratory on June 20, 2019 and received at the laboratory on
           June 21, 2019, 2-3 days after collection on June 18 and 19, 2019.
Additional Comments
        The samples were analyzed for Contract Laboratory Program (CLP) metals. Aluminum,
        antimony, arsenic, barium, beryllium, cadmium, calcium, chromium, cobalt, copper, iron, lead,
        magnesium, manganese, nickel, potassium, selenium, silver, sodium, thallium, vanadium, and
        zinc were analyzed by Inductively Coupled Plasma-Atomic Emission Spectroscopy (ICP-AES).

        Instead of the 50 mL specified in the statement of work (SOW), 25 mL of sample MYAP05 and
        10 mL of samples MYAP00, MYAP01, and MYAP06 were digested. The quantitation limits for
        these samples have been raised to account for the smaller volume used.
        All standards and spiking solutions were analyzed before the expiration date.

        This report was prepared in accordance with the following documents:
        • USEPA Contract Laboratory Program Statement of Work for Inorganic Superfund Methods
            (Multi-Media, Multi-Concentration), ISM02.4, October 2016; and
        • USEPA National Functional Guidelines for Inorganic Superfund Data Review, January 2017.


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       For technical definitions, refer to Exhibit G (Glossary of Terms), USEPA Contract Laboratory
       Program Statement of Work for Inorganic Superfund Methods (Multi-Media, Multi-
       Concentration), ISM02.4.

II. VALIDATION SUMMARY
       The data were evaluated based on the following parameters:

            Parameter                                                            Acceptable     Comment
       1.   Data Completeness                                                       Yes
       2.   Preservation and Holding Times                                          Yes
       3.   ICP-MS Tune Analysis                                                   N/A
       4.   Calibration                                                             Yes
            a. Initial                                                              Yes
            b. Initial and Continuing Calibration Verification                      Yes
       5.   Laboratory Blanks                                                       Yes              B
       6.   Field/Equipment Blanks                                                  Yes
       7.   ICP Interference Check Sample (ICS)                                     No               C
       8.   Laboratory Control Sample (LCS)                                         Yes
       9.   Duplicate Sample Analysis                                               Yes
      10.   Spike Sample Analysis                                                   No               D
      11.   ICP Serial Dilution                                                     No               E
      12.   ICP-MS Internal Standards                                              N/A
      13.   Analyte Quantitation and CRQL                                           Yes              A
      14.   Field Duplicate Sample Analysis                                         No               F
      15.   Overall Assessment of Data                                              Yes
             N/A = Not Applicable.

III. VALIDITY AND COMMENTS

       A.    Results above the method detection limit (MDL) but below the contract required
             quantitation limit (CRQL) are estimated and flagged “J.” Results are considered
             qualitatively acceptable but quantitatively unreliable due to uncertainties in analytical
             precision near the quantitation limit.
       B.    The following results are qualified as non-detected (U) due to low level initial calibration
             blank (ICB) and continuing calibration blank (CCB) contamination.
             •   Cadmium in samples MYAP01 and MYAP05.
             •   Cobalt in sample MYAP06.
             •   Copper in preparation blank PBW01.

             Analyte amounts greater than the MDL but less than or equal to the CRQL were reported in
             the following blanks at the concentrations presented below.

                        Analyte                        Blank                       Concentration, µg/L
                        Cadmium                        ICB01                             0.081
                         Cobalt                        ICB01                              0.23
                         Copper                 ICB01/CCB02/CCB03                     0.61/1.3/1.1

             Sample results that are greater than or equal to the MDL but less than or equal to the CRQL
             are reported as non-detected (U) at the respective CRQL.
       C.    The following detected results are estimated and flagged “J” because high concentrations of
             interferences in the samples may significantly impact quantitation.


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            •   Arsenic and silver in all samples.
            •   Cadmium in samples MYAP00 and MYAP06.
            •   Lead in samples MYAP00, MYAP01, and MYAP05.
            •   Selenium in samples MYAP00 and MYAP01.
            Iron (for arsenic, cadmium, selenium, and silver interference) and aluminum (for lead
            interference) are present in samples listed above at concentrations greater than the
            concentrations in ICS; the interference corrections calculated from iron and aluminum
            concentrations may impact quantitation of the associated metals. Detected results in the
            samples listed above are considered quantitatively uncertain.
       D.   The following results are estimated and flagged “J-” or “UJ” because matrix spike
            recoveries are outside method QC limit.
            • Antimony, lead, and selenium in all samples.
            Matrix spike recoveries for analytes listed above in QC sample MYAP05S do not meet the
            75-125% criterion for accuracy as presented below.

                                           % Recovery            Post-Digestion Spike,
                       Analyte               (%R)                        %R
                      Antimony                 7                          84
                        Lead                  67                         105
                      Selenium                73                          95

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. The post-digestion spike recoveries do not reflect the entire sample
            preparation and analysis; the impact on reported results cannot be determined. Qualification
            is based on the matrix spike recoveries only.
       E.   The following results are estimated and flagged “J” or “UJ” because serial dilution results
            are outside method QC limit.
            •   Beryllium, cadmium, calcium, cobalt, lead, nickel, and zinc in all samples.
            Percent differences for serial dilution analysis of MYAP05L do not meet the 10%
            difference criterion for the analytes presented below.

                                       Analyte         % Difference
                                      Beryllium            20
                                      Cadmium              12
                                      Calcium              11
                                       Cobalt              11
                                        Lead               28
                                       Nickel              12
                                        Zinc               11

            These results may indicate poor laboratory technique or matrix effects which may interfere
            with analysis. The results are considered quantitatively uncertain. Chemical and physical
            interferences may exist due to sample matrix effects. Since cadmium, calcium, and cobalt
            results for the diluted sample are higher than the original, the reported results may be
            biased low. For other analytes listed above, the reported results may be biased high because
            results for the diluted sample are lower than the original results.
       F.   Results for the following field duplicate pair do not meet the relative percent difference
            (RPD) criterion or the absolute difference criterion provided in the National Functional
            Guidelines (NFG) for laboratory duplicate, as presented below.


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                                  MYAP01,        MYAP05,
                  Analyte           µg/L            µg/L      RPD, %       QC Limit, %
                 Aluminum          596,000        363,000      48.6            20
                  Barium            4,760           3,420      32.8            20
                  Calcium          619,000        336,000      59.3            20
                 Chromium            415             289       35.8            20
                  Copper             538             331       47.6            20
                    Iron           423,000        323,000      26.8            20
                   Lead              155             125       21.4            20
                 Magnesium         190,000        152,000      22.2            20
                 Manganese          9,370           5,740      48.0            20
                   Nickel            310             217       35.3            20
                 Potassium         123,000         86,400      35.0            20
                  Sodium           186,000        135,000      31.8            20
                 Vanadium            794             579       31.3            20
                    Zinc            1,760           1,290      30.8            20

                                  MYAP01,        MYAP05,     Difference,    QC Limit,
                   Analyte         µg/L           µg/L          µg/L          µg/L
                   Arsenic         39.9           28.0          11.9           10
                  Beryllium        17.7           10.3           7.4           5.0
                   Cobalt           276            182          94.0           50




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             DATA QUALIFIER DEFINITIONS FOR INORGANIC DATA REVIEW

The definitions of the following qualifiers are prepared according to the document, "National Functional
Guidelines for Inorganic Superfund Methods Data Review,” January 2017 (Table 1, page 6).
U       The analyte was analyzed for, but was not detected above the level of the reported sample
        quantitation limit.
J       The result is an estimated quantity. The associated numerical value is the approximate
        concentration of the analyte in the sample.
J+      The result is an estimated quantity, but the result may be biased high.
J-      The result is an estimated quantity, but the result may be biased low.

UJ      The analyte was analyzed for, but was not detected. The reported quantitation limit is
        approximate and may be inaccurate or imprecise.
R       The data are unusable. The sample results are rejected due to serious deficiencies in meeting
        Quality Control (QC) criteria. The analyte may or may not be present in the sample.




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING


Sample Number: LCS01                   Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH:                                      Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Spike              407                            ug/L          407                         1            YES              S3VEM
  Antimony            Spike              127                            ug/L          127                         1            YES              S3VEM
   Arsenic            Spike             19.0                            ug/L         19.0                         1            YES              S3VEM
   Barium             Spike              408                            ug/L          408                         1            YES              S3VEM
  Beryllium           Spike              9.8                            ug/L          9.8                         1            YES              S3VEM
  Cadmium             Spike             10.4                            ug/L         10.4                         1            YES              S3VEM
   Calcium            Spike            10200                            ug/L        10200                         1            YES              S3VEM
 Chromium             Spike             21.3                            ug/L         21.3                         1            YES              S3VEM
    Cobalt            Spike              105                            ug/L          105                         1            YES              S3VEM
   Copper             Spike             51.9                            ug/L         51.9                         1            YES              S3VEM
     Iron             Spike              204                            ug/L          204                         1            YES              S3VEM
     Lead             Spike             19.3                            ug/L         19.3                         1            YES              S3VEM
 Magnesium            Spike            10100                            ug/L        10100                         1            YES              S3VEM
 Manganese            Spike             31.2                            ug/L         31.2                         1            YES              S3VEM
    Nickel            Spike             80.0                            ug/L         80.0                         1            YES              S3VEM
 Potassium            Spike             9800                            ug/L         9800                         1            YES              S3VEM
  Selenium            Spike             78.5                            ug/L         78.5                         1            YES              S3VEM
    Silver            Spike             20.5                            ug/L         20.5                         1            YES              S3VEM
   Sodium             Spike            10100                            ug/L        10100                         1            YES              S3VEM
  Thallium            Spike             53.8                            ug/L         53.8                         1            YES              S3VEM
 Vanadium             Spike              100                            ug/L          100                         1            YES              S3VEM
     Zinc             Spike              119                            ug/L          119                         1            YES              S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP00               Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: DMS-CPT2           pH: 3.                                   Sample Date: 06/18/2019               Sample Time: 13:30:00

% Moisture:                                                                  % Solids:



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target          1010000                           ug/L       1010000                        1            YES                S3VEM
  Antimony         Target             44.6               J-          ug/L          44.6          J*            1            YES                S3VEM
   Arsenic         Target             51.0               J           ug/L          51.0                        1            YES                S3VEM
   Barium          Target            15400                           ug/L         15400                        1            YES                S3VEM
  Beryllium        Target             31.4                J          ug/L          31.4          *             1            YES                S3VEM
  Cadmium          Target             49.6                J          ug/L          49.6          *             1            YES                S3VEM
   Calcium         Target           734000                J          ug/L        734000          *             1            YES                S3VEM
 Chromium          Target             1070                           ug/L          1070                        1            YES                S3VEM
    Cobalt         Target              590                J          ug/L           590          *             1            YES                S3VEM
   Copper          Target             1750                           ug/L          1750                        1            YES                S3VEM
     Iron          Target          1030000                           ug/L       1030000                        1            YES                S3VEM
     Lead          Target              455               J-          ug/L           455          *             1            YES                S3VEM
 Magnesium         Target           444000                           ug/L        444000                        1            YES                S3VEM
 Manganese         Target            66100                           ug/L         66100                        1            YES                S3VEM
    Nickel         Target             1060                J          ug/L          1060          *             1            YES                S3VEM
 Potassium         Target           205000                           ug/L        205000                        1            YES                S3VEM
  Selenium         Target             36.0               J-          ug/L          36.0          J*            1            YES                S3VEM
    Silver         Target             50.8               J           ug/L          50.8                        1            YES                S3VEM
   Sodium          Target           147000                           ug/L        147000                        1            YES                S3VEM
  Thallium         Target              125               U           ug/L           125          U             1            YES                S3VEM
 Vanadium          Target             1610                           ug/L          1610                        1            YES                S3VEM
     Zinc          Target             5080                J          ug/L          5080          *             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP01               Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: DMS-CPT3           pH: 3.                                   Sample Date: 06/18/2019               Sample Time: 08:30:00

% Moisture:                                                                  % Solids:



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           596000                           ug/L       596000                         1            YES                S3VEM
  Antimony         Target            32.0                J-          ug/L         32.0           J*            1            YES                S3VEM
   Arsenic         Target            39.9                J           ug/L         39.9            J            1            YES                S3VEM
   Barium          Target            4760                            ug/L        4760                          1            YES                S3VEM
  Beryllium        Target            17.7                 J          ug/L         17.7           J*            1            YES                S3VEM
  Cadmium          Target            25.0                UJ          ug/L         13.7           J*            1            YES                S3VEM
   Calcium         Target           619000                J          ug/L       619000            *            1            YES                S3VEM
 Chromium          Target             415                            ug/L         415                          1            YES                S3VEM
    Cobalt         Target             276                 J          ug/L         276            *             1            YES                S3VEM
   Copper          Target             538                            ug/L         538                          1            YES                S3VEM
     Iron          Target           423000                           ug/L       423000                         1            YES                S3VEM
     Lead          Target             155                J-          ug/L         155            *             1            YES                S3VEM
 Magnesium         Target           190000                           ug/L       190000                         1            YES                S3VEM
 Manganese         Target            9370                            ug/L        9370                          1            YES                S3VEM
    Nickel         Target             310                 J          ug/L         310            *             1            YES                S3VEM
 Potassium         Target           123000                           ug/L       123000                         1            YES                S3VEM
  Selenium         Target            15.2                J-          ug/L         15.2           J*            1            YES                S3VEM
    Silver         Target            19.2                J           ug/L         19.2            J            1            YES                S3VEM
   Sodium          Target           186000                           ug/L       186000                         1            YES                S3VEM
  Thallium         Target             125                U           ug/L         125            U             1            YES                S3VEM
 Vanadium          Target             794                            ug/L         794                          1            YES                S3VEM
     Zinc          Target            1760                 J          ug/L        1760            *             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP05               Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: DMS-CPT3           pH: 1.                                   Sample Date: 06/18/2019               Sample Time: 08:35:00

% Moisture:                                                                  % Solids:



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           363000                           ug/L       363000                         1            YES                S3VEM
  Antimony         Target             17.9               J-          ug/L         17.9           J*            1            YES                S3VEM
   Arsenic         Target             28.0               J           ug/L         28.0                         1            YES                S3VEM
   Barium          Target             3420                           ug/L         3420                         1            YES                S3VEM
  Beryllium        Target             10.3                J          ug/L         10.3            *            1            YES                S3VEM
  Cadmium          Target             10.0               UJ          ug/L          9.2           J*            1            YES                S3VEM
   Calcium         Target           336000                J          ug/L       336000            *            1            YES                S3VEM
 Chromium          Target              289                           ug/L          289                         1            YES                S3VEM
    Cobalt         Target              182                J          ug/L          182           *             1            YES                S3VEM
   Copper          Target              331                           ug/L          331                         1            YES                S3VEM
     Iron          Target           323000                           ug/L       323000                         1            YES                S3VEM
     Lead          Target              125               J-          ug/L          125           *             1            YES                S3VEM
 Magnesium         Target           152000                           ug/L       152000                         1            YES                S3VEM
 Manganese         Target             5740                           ug/L         5740                         1            YES                S3VEM
    Nickel         Target              217                J          ug/L          217           *             1            YES                S3VEM
 Potassium         Target            86400                           ug/L        86400                         1            YES                S3VEM
  Selenium         Target              6.6               J-          ug/L          6.6           J*            1            YES                S3VEM
    Silver         Target             13.5               J           ug/L         13.5            J            1            YES                S3VEM
   Sodium          Target           135000                           ug/L       135000                         1            YES                S3VEM
  Thallium         Target             50.0               U           ug/L         50.0           U             1            YES                S3VEM
 Vanadium          Target              579                           ug/L          579                         1            YES                S3VEM
     Zinc          Target             1290                J          ug/L         1290           *             1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP05A                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                   Sample Date: 06/18/2019               Sample Time: 08:35:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
  Antimony            Spike             219                             ug/L         219                          1            YES                S3VEM
    Lead              Spike             388                             ug/L         388                          1            YES                S3VEM
  Selenium            Spike             140                             ug/L         140                          1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP05D                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                   Sample Date: 06/18/2019               Sample Time: 08:35:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Target           343000                           ug/L       343000                         1            YES                S3VEM
  Antimony            Target             14.3                J          ug/L         14.3           J             1            YES                S3VEM
   Arsenic            Target             25.0                           ug/L         25.0                         1            YES                S3VEM
   Barium             Target             3380                           ug/L         3380                         1            YES                S3VEM
  Beryllium           Target              9.8                J          ug/L          9.8           J             1            YES                S3VEM
  Cadmium             Target              8.2                J          ug/L          8.2           J             1            YES                S3VEM
   Calcium            Target           324000                           ug/L       324000                         1            YES                S3VEM
 Chromium             Target              259                           ug/L          259                         1            YES                S3VEM
    Cobalt            Target              163                           ug/L          163                         1            YES                S3VEM
   Copper             Target              305                           ug/L          305                         1            YES                S3VEM
     Iron             Target           291000                           ug/L       291000                         1            YES                S3VEM
     Lead             Target              113                           ug/L          113                         1            YES                S3VEM
 Magnesium            Target           144000                           ug/L       144000                         1            YES                S3VEM
 Manganese            Target             5390                           ug/L         5390                         1            YES                S3VEM
    Nickel            Target              196                           ug/L          196                         1            YES                S3VEM
 Potassium            Target            83600                           ug/L        83600                         1            YES                S3VEM
  Selenium            Target              3.8                J          ug/L          3.8           J             1            YES                S3VEM
    Silver            Target             13.2                J          ug/L         13.2           J             1            YES                S3VEM
   Sodium             Target           132000                           ug/L       132000                         1            YES                S3VEM
  Thallium            Target             50.0               U           ug/L         50.0           U             1            YES                S3VEM
 Vanadium             Target              513                           ug/L          513                         1            YES                S3VEM
     Zinc             Target             1170                           ug/L         1170                         1            YES                S3VEM




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 Project Name: DAMILLE METAL SERVICE SITE                   GroupID: 48315/EPW14029/MYAP00                     Lab Name: Bonner Analytical Testing Co.
     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP05L                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                   Sample Date:                          Sample Time:

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target           374000                           ug/L       374000                         5            YES              S3VEM
  Antimony            Target             22.3                J          ug/L         22.3          J              5            YES              S3VEM
   Arsenic            Target             17.0                J          ug/L         17.0          J              5            YES              S3VEM
   Barium             Target             3700                           ug/L         3700                         5            YES              S3VEM
  Beryllium           Target              8.2                J          ug/L          8.2          J*             5            YES              S3VEM
  Cadmium             Target             10.3                J          ug/L         10.3          J*             5            YES              S3VEM
   Calcium            Target           374000                           ug/L       374000           *             5            YES              S3VEM
 Chromium             Target              267                           ug/L          267                         5            YES              S3VEM
    Cobalt            Target              201                J          ug/L          201          J*             5            YES              S3VEM
   Copper             Target              318                           ug/L          318                         5            YES              S3VEM
     Iron             Target           341000                           ug/L       341000                         5            YES              S3VEM
     Lead             Target             90.7                J          ug/L         90.7          J              5            YES              S3VEM
 Magnesium            Target           165000                           ug/L       165000                         5            YES              S3VEM
 Manganese            Target             6240                           ug/L         6240                         5            YES              S3VEM
    Nickel            Target              190                J          ug/L          190          J*             5            YES              S3VEM
 Potassium            Target            92800                           ug/L        92800                         5            YES              S3VEM
  Selenium            Target              350               U           ug/L          350          U              5            YES              S3VEM
    Silver            Target             13.7               J           ug/L         13.7          J              5            YES              S3VEM
   Sodium             Target           146000                           ug/L       146000                         5            YES              S3VEM
  Thallium            Target              250               U           ug/L          250          U              5            YES              S3VEM
 Vanadium             Target              588                           ug/L          588                         5            YES              S3VEM
     Zinc             Target             1150                           ug/L         1150          *              5            YES              S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP05S                 Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location:                       pH: 1.                                   Sample Date: 06/18/2019               Sample Time: 08:35:00

% Moisture:                                                                     % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum             Spike            374000                           ug/L       374000                         1            YES                S3VEM
  Antimony            Spike             32.4                 J          ug/L         32.4           J*            1            YES                S3VEM
   Arsenic            Spike              117                            ug/L         117                          1            YES                S3VEM
   Barium             Spike             6790                            ug/L        6790                          1            YES                S3VEM
  Beryllium           Spike              109                            ug/L         109                          1            YES                S3VEM
  Cadmium             Spike             87.8                            ug/L         87.8                         1            YES                S3VEM
 Chromium             Spike              700                            ug/L         700                          1            YES                S3VEM
   Cobalt             Spike              963                            ug/L         963                          1            YES                S3VEM
   Copper             Spike              826                            ug/L         826                          1            YES                S3VEM
    Iron              Spike            338000                           ug/L       338000                         1            YES                S3VEM
    Lead              Spike              152                            ug/L         152            *             1            YES                S3VEM
 Manganese            Spike             6590                            ug/L        6590                          1            YES                S3VEM
   Nickel             Spike             1230                            ug/L        1230                          1            YES                S3VEM
  Selenium            Spike              152                            ug/L         152            *             1            YES                S3VEM
   Silver             Spike              102                            ug/L         102                          1            YES                S3VEM
  Thallium            Spike             78.2                            ug/L         78.2                         1            YES                S3VEM
 Vanadium             Spike             1420                            ug/L        1420                          1            YES                S3VEM
    Zinc              Spike             2240                            ug/L        2240                          1            YES                S3VEM




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     INVESTIGATION STAGE 2 SAMPLING



Sample Number: MYAP06               Method: Metals by ICP-AES                Matrix: Water                         MA Number:

Sample Location: DMS-CPT4           pH: 1.                                   Sample Date: 06/19/2019               Sample Time: 08:40:00

% Moisture:                                                                  % Solids:



Analyte Name    Analyte Type   Validation Result   Validation Flag   Units     Lab Result    Lab Flag   Dilution Factor   Reportable       Validation Level
 Aluminum          Target           249000                           ug/L        249000                        1            YES                S3VEM
  Antimony         Target             15.3               J-          ug/L          15.3          J*            1            YES                S3VEM
   Arsenic         Target              100               J           ug/L           100                        1            YES                S3VEM
   Barium          Target             2450                           ug/L          2450                        1            YES                S3VEM
  Beryllium        Target              5.1                J          ug/L           5.1          J*            1            YES                S3VEM
  Cadmium          Target             31.1                J          ug/L          31.1           *            1            YES                S3VEM
   Calcium         Target           287000                J          ug/L        287000           *            1            YES                S3VEM
 Chromium          Target             4180                           ug/L          4180                        1            YES                S3VEM
    Cobalt         Target              250               UJ          ug/L           200          J*            1            YES                S3VEM
   Copper          Target             2660                           ug/L          2660                        1            YES                S3VEM
     Iron          Target          1260000                           ug/L       1260000                        1            YES                S3VEM
     Lead          Target              935               J-          ug/L           935          *             1            YES                S3VEM
 Magnesium         Target            97100                           ug/L         97100                        1            YES                S3VEM
 Manganese         Target            10300                           ug/L         10300                        1            YES                S3VEM
    Nickel         Target             2370                J          ug/L          2370          *             1            YES                S3VEM
 Potassium         Target            58000                           ug/L         58000                        1            YES                S3VEM
  Selenium         Target              175               UJ          ug/L           175         U*             1            YES                S3VEM
    Silver         Target             62.5                J          ug/L          62.5                        1            YES                S3VEM
   Sodium          Target           142000                           ug/L        142000                        1            YES                S3VEM
  Thallium         Target              125               U           ug/L           125          U             1            YES                S3VEM
 Vanadium          Target              404                           ug/L           404                        1            YES                S3VEM
     Zinc          Target            33300                J          ug/L         33300          *             1            YES                S3VEM




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Sample Number: PBW01                   Method: Metals by ICP-AES                 Matrix: Water                         MA Number:

Sample Location:                       pH:                                       Sample Date:                          Sample Time:

% Moisture:                                                                      % Solids:



Analyte Name       Analyte Type   Validation Result   Validation Flag   Units      Lab Result    Lab Flag   Dilution Factor   Reportable     Validation Level
 Aluminum             Target             200                U           ug/L          200           U              1            YES              S3VEM
  Antimony            Target            60.0                U           ug/L          -2.2          J              1            YES              S3VEM
   Arsenic            Target            10.0                U           ug/L          10.0          U              1            YES              S3VEM
   Barium             Target             200                U           ug/L         -0.57          J              1            YES              S3VEM
  Beryllium           Target             5.0                U           ug/L         -0.17          J              1            YES              S3VEM
  Cadmium             Target             5.0                U           ug/L           5.0          U              1            YES              S3VEM
   Calcium            Target            5000                U           ug/L         5000           U              1            YES              S3VEM
 Chromium             Target            10.0                U           ug/L         -0.57          J              1            YES              S3VEM
    Cobalt            Target            50.0                U           ug/L          50.0          U              1            YES              S3VEM
   Copper             Target            25.0                U           ug/L           1.1          J              1            YES              S3VEM
     Iron             Target             100                U           ug/L          100           U              1            YES              S3VEM
     Lead             Target            10.0                U           ug/L          10.0          U              1            YES              S3VEM
 Magnesium            Target            5000                U           ug/L         5000           U              1            YES              S3VEM
 Manganese            Target            15.0                U           ug/L          15.0          U              1            YES              S3VEM
    Nickel            Target            40.0                U           ug/L          40.0          U              1            YES              S3VEM
 Potassium            Target            5000                U           ug/L          -77           J              1            YES              S3VEM
  Selenium            Target            35.0                U           ug/L          35.0          U              1            YES              S3VEM
    Silver            Target            10.0                U           ug/L          10.0          U              1            YES              S3VEM
   Sodium             Target            5000                U           ug/L          -23           J              1            YES              S3VEM
  Thallium            Target            25.0                U           ug/L          25.0          U              1            YES              S3VEM
 Vanadium             Target            50.0                U           ug/L          50.0          U              1            YES              S3VEM
     Zinc             Target             1.5                 J          ug/L           1.5          J              1            YES              S3VEM




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                                                  PROOF OF SERVICE OF DOCUMENT


I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
The Orantes Law Firm, P.C. 3435 Wilshire Blvd., Ste. 2920, Los Angeles, CA 90010


A true and correct copy of the foregoing document entitled (specify) FIRST AMENDED DISCLOSURE
STATEMENT AND PLAN OF REORGANIZATION [11 U.S.C. §§ 1123, 1125] will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) 2/2/2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
email addresses stated below:
Katrina M Brown on behalf of Creditor QuarterSpot, Inc.
kbrown@pskbfirm.com

Shirley Cho on behalf of Interested Party Courtesy NEF
scho@pszjlaw.com

Theron S Covey on behalf of Creditor Deutsche Bank National Company
tcovey@raslg.com

Oscar Estrada on behalf of Creditor LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
oestrada@ttc.lacounty.gov

Hal D Goldflam on behalf of Interested Party Courtesy NEF
hgoldflam@frandzel.com, dmoore@frandzel.com

M. Jonathan Hayes on behalf of Interested Party Courtesy NEF
jhayes@rhmfirm.com, roksana@rhmfirm.com;matt@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;priscilla@rhmfirm.com;pard
is@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

Richard Holm on behalf of Creditor Hyundai Steel Company
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Evan M Jones on behalf of Creditor Hyundai Steel Company
ejones@omm.com, evan-jones-5677@ecf.pacerpro.com

David W. Meadows on behalf of Creditor M&A Equities, LLC
david@davidwmeadowslaw.com

David W. Meadows on behalf of Creditor Packo Investments, Inc., et al
david@davidwmeadowslaw.com

David W. Meadows on behalf of Interested Party Courtesy NEF
david@davidwmeadowslaw.com

Kelly L Morrison on behalf of U.S. Trustee United States Trustee (LA)
kelly.l.morrison@usdoj.gov

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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Giovanni Orantes on behalf of Debtor Jong Uk Byun
go@gobklaw.com, gorantes@orantes-
law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com

Valerie Smith on behalf of Interested Party Courtesy NEF
claims@recoverycorp.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov

                                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 2/2/2021, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

U.S. Securities and Exchange Commission                                        Jong Uk Byun
Attn: Bankruptcy Counsel                                                       8201 Santa Fe Avenue,
444 South Flower Street, Suite 900                                             Huntington Park, CA 90255
Los Angeles, CA 90071-9591
                                                                                      Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _____; I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.
                                                                 Service information continued on attached page



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 February 2, 2021               Omar Amaya
 Date                         Printed Name                                                    Signature




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
